                                     Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.1 Page 1 of 211



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                                       2   NORMAN LAU (SBN 253690)
                                           nlau@maynardcooper.com
                                       3   MAYNARD COOPER & GALE LLP
                                           Two Embarcadero Center, Suite 1450
                                       4   San Francisco, California 94111
                                           Telephone: (415) 646-4700
                                       5   Facsimile: (205) 254-1999
                                       6   Attorneys for Defendant
                                           WEST AMERICAN INSURANCE COMPANY
                                       7

                                       8
                                                                    UNITED STATES DISTRICT COURT
                                       9
                                                                  SOUTHERN DISTRICT OF CALIFORNIA
                                      10

                                      11    PONTUS MAG VALLEJO, LLC, a                      Case No. '22CV1086 BEN DEB
                                            Delaware limited liability company,
                                      12                                                    (Removed from San Diego County Superior
                                                                          Plaintiff,        Court Case No. 37-2021-00049771-CU-IC-
                                      13                                                    CTL)
                                                   v.
Two Embarcadero Center, Suite 1450




                                      14                                                    WEST AMERICAN INSURANCE
                                            WEST AMERICAN INSURANCE                         COMPANY’S NOTICE OF
   Maynard Cooper & Gale LLP

     San Francisco, CA 94111




                                      15    COMPANY, an Indiana corporation,                REMOVAL OF ACTION
         (415) 646-4700




                                      16                                  Defendants.
                                      17

                                      18

                                      19         TO ALL PARTIES, THEIR ATTORNEYS OF RECORD IN THIS ACTION
                                      20   AND THE CLERK OF THE ABOVE-ENTITLED COURT:
                                      21         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. sections 1332(a) and
                                      22   1441, defendant West American Insurance Company (“West American”) hereby
                                      23   removes to the United States District Court for the Southern District of California
                                      24   the state court action described below:
                                      25                                  STATE COURT FILINGS
                                      26         1.          On November 24, 2021, plaintiff Pontus Mag Vallejo, LLC
                                      27   (“Plaintiff”) filed an action in the Superior Court for the State of California in and
                                      28   for the County of San Diego, case no. 37-2021-00049771-CU-IC-CTL, entitled

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                                                                                NOTICE OF REMOVAL
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  1   Pontus Mag Vallego, LLC v. West American Insurance Company, et al. Plaintiff’s
  2   complaint alleges it purchased an insurance policy from West American for its
  3   property located at 1001 Admiral Callaghan Lane in Vallejo, California.
  4   (Complaint, ¶ 11, 12.) Plaintiff alleges that fires occurred at the property on our
  5   about June 15 and August 15, 2019 and that it submitted an insurance claim to West
  6   American. (Complaint, ¶ 15.) According to the complaint, West American
  7   investigated the claim and determined that much of the claimed damage was related
  8   to prior acts of theft and vandalism while the property was vacant and did not pay
  9   the full amount claimed by Plaintiff as a result. (Complaint, ¶ 22.) Plaintiff asserts
 10   causes of action for declaratory relief, breach of contract and breach of the implied
 11   covenant of good faith and fair dealing, claiming that West American failed to pay
 12   all policy benefits due and handled its claim unreasonably. (Complaint, ¶¶ 29-56.)
 13            2.          West American was served with copies of the summons and complaint
 14   on January 20, 2022. True and correct copies of the documents served on West
 15   American are attached as Exhibit A.
 16            3.          West American filed its answer to Plaintiff’s complaint in San Diego
 17   County Superior Court on February 18, 2022. A true and correct copy of the
 18   answer is attached as Exhibit B.
 19            4.          Counsel for Plaintiff filed a motion to be relieved as counsel. True and
 20   correct copies of documents filed by counsel for Plaintiff relating to the motion are
 21   attached as Exhibit C.
 22            5.          On July 2, 2022, Plaintiff provided a declaration setting forth its
 23   members. Plaintiff is ultimately owned by Rahim Hassanally, a resident of
 24   California, and the PF Trust (Dated August 16, 2019), whose trustee is Michael
 25   Press, a resident of California. (Declaration of Norman Lau [“Lau Decl.”], ¶ 2, Ex.
 26   1.)
 27

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                                                NOTICE OF REMOVAL
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  1                                    DIVERSITY JURISDICTION
  2          A.          Citizenship
  3          6.          Federal courts have jurisdiction over controversies between “citizens
  4   of different states” pursuant to 28 U.S.C. section 1332(a)(1) and Article III, Section
  5   2, of the United States Constitution. Navarro Sav. Ass’n. v. Lee, 446 U.S. 458, 460-
  6   61 (1980). The determination of citizenship for diversity purposes is governed by
  7   federal rather than state law. See, Rockwell Int’l Credit Corp. v. United States
  8   Aircraft Ins. Group, 823 F.2d 302, 304 (9th Cir. 1987); overruled on other grounds,
  9   Partington v. Gedan, 923 F.2d 686 (9th Cir. 1991).
 10          7.          In determining whether diversity of citizenship exists, only the named
 11   defendants are considered. Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-691
 12   (9th Cir. 1998). The citizenship of defendants sued under fictitious names, such as
 13   “Doe” defendants, is disregarded for diversity jurisdiction purposes. 28 U.S.C. §
 14   1441(a); Soliman v. Philip Morris, Inc., 311 F.3d 966, 971 (9th Cir. 2002). For
 15   diversity purposes, a corporation may have dual citizenship (i.e., “a corporation
 16   shall be deemed a citizen of any State by which it has been incorporated and of the
 17   State where it has its principal place of business.”) (28 U.S.C. § 1332(c)(1)).
 18          8.          This Court has original jurisdiction over this civil action under 28
 19   U.S.C. section 1332 because there is complete diversity between Plaintiff and West
 20   American, the only named parties to this action.
 21          Citizenship of Plaintiff
 22          9.          Plaintiff is a limited liability company. A limited liability company is
 23   a citizen of every state of which its members are citizens. See, e.g., Johnson v.
 24   Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (“[A]
 25   partnership is a citizen of all of the states in which its partners are citizens . . .
 26   [L]ike a partnership, an LLC is a citizen of every state of which its
 27   owners/members are citizens”). Plaintiff’s has two members, one of who is Rahim
 28   Hassanally, a resident of the state of California. The other is Pontus MAG
          {06316833.1}
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                                             NOTICE OF REMOVAL
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  1   Managing Member, LLC, which has a single member, Pontus Net Lease Advisors,
  2   LLC, which also has a single member, Pontus Net Lease Advisors, LLC, which
  3   also has a single member, Pontus Capital, LLC. The sole member of Pontus
  4   Capital, LLC, the PF Trust (Dated August 16, 2019), whose trustee, Michael Press
  5   who at all times relevant to the complaint was a resident of the state of California.
  6   (Lau Dec., ¶ 2, Ex. 1.) A traditional trust’s citizenship for the purposes of
  7   evaluating diversity jurisdiction is based solely on the trustee’s citizenship.
  8   Demarest v. HSBC Bank USA, 920 F.3d 1223, 1230-1231 (2019). Consequently,
  9   the trust is and was at the time of the filing of this action a citizen of California.
 10   Thus, Plaintiff is a citizen of California.
 11         Citizenship of West American
 12         10.         Defendant West American is, and at all times relevant to the complaint
 13   was, a corporation organized and existing under the laws of the State of Indiana.
 14   West Amercian’s principal place of business is in Massachusetts. Thus, West
 15   American is a citizen of Massachusetts and Indiana.
 16         B.          Removal is Timely
 17         11.         28 U.S. Code section 1446(b)(1) provides that a defendant has 30 days
 18   after receipt of a copy of an amended pleading, motion, order or other paper from
 19   which it may first be ascertained that the case is one which is or has become
 20   removable. Here, West American received service of the Complaint on January 20,
 21   2022. However, the Complaint did not identify Plaintiff’s members or state their
 22   citizenship. Thus, it could not be determined whether there was complete diversity.
 23   On July 2, 2022, Plaintiff provided a declaration identifying its members, who
 24   ultimately are residents of California. (Declaration of Norman Lau, ¶ 2.)
 25   Accordingly, July 2, 2022 was the date on which West American first ascertained
 26   that the case is removable. As a result, West American had 30 days from July 2,
 27   2022 to remove this action to federal court, making the last day to file its removal
 28   August 1, 2022. Thus, West American’s Notice of Removal is timely.
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                                            NOTICE OF REMOVAL
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  1         C.          Amount in Controversy
  2         12. This Court also has jurisdiction over this action under 28 U.S.C.
  3   section 1332 because the amount in controversy exceeds $75,000, exclusive of
  4   interest and costs. In the complaint, Plaintiff asserts it is entitled to additional
  5   policy benefits of over $1,208,175. (Complaint, ¶ 24.)
  6         13. Although West American denies that Plaintiff is entitled to recover the
  7   foregoing claimed damages, Plaintiff’s complaint has placed them in controversy.
  8   Accordingly, the amount in controversy exceeds $75,000.
  9         14. Thus, this action may be removed to this Court by West American
 10   pursuant to 28 U.S.C. sections 1332, 1441 and 1446, because the amount in
 11   controversy exceeds $75,000 and there is complete diversity between Plaintiff, on
 12   the one hand, and West American, on the other hand.
 13         WHEREFORE, defendant West American Insurance Company further gives
 14   notice that the above-described action, now pending against it in the Superior Court
 15   for the State of California, County of San Diego, has been removed therefrom to
 16   this Court on the ground of diversity of citizenship. A copy of this Notice of
 17   Removal shall be contemporaneously filed in the office of the clerk for the Superior
 18   Court of San Diego County.
 19
       Dated: July 25, 2022                        MAYNARD COOPER & GALE LLP
 20

 21                                                /s/ Norman Lau
                                                        NICHOLAS J. BOOS
 22                                                     NORMAN LAU
                                                   Attorneys for Defendant
 23                                                WEST AMERICAN INSURANCE
                                                   COMPANY
 24

 25

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                                         NOTICE OF REMOVAL
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            EXHIBIT A
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                                             SUMM06VS                                                                         FOR COrlRT USE ONLY
                                                                                                                          (SOLO PARA USO DELA CORM
                                       (CITACtON JUDIC/AL)

 NOTICE TO DEFENDANT:                                                                                                 ELECTROIJICALL4f FILED
                                                                                                                       Superior Court of Califomia,
 (AV/SO AL DEMANDADO):                                                                                                     County of San Diego
WESTAMERICAN INSURANCE COMPANY, an Indiana corporation; and DOES 1 through 100,                                        '11t2412021 at o2:11:40 Pld
inclusive.
                                                                                                                       Clerk of the Superior Court
YOU ARE BEING SUED BY PLAINTIFF:                                                                                     By tulariejo Guyot,Deputy Clerk
(LO ESTA DEMANDANDO EL D,EMANDANTE):
 PONTUS MAG VALLEJO, LLC, a Delaware limited liability company.

                                                 may decide against you without your being heard unless you

    You have 30 CALENDAR DAYS afterthis summons and legal papers are served on you to file a wriften response at this court and have a copy
 served on the plainGff. A letter or phone call wiil not protect you. Your written response must be in proper legal form tf you want the court to hear your
 ccase. There may be a court form that you can use for your response. You can find these court forms and more informafion at the Califomia Courts
 Ontine SeIFHelp Center (v,rww.courtinfoca.govlsetfhelp), your county law fibrary, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. ff you do not file your response on 6me, you may lose the ease by defautt, and your wages, money, and properiy may
 be taken without further waming Prom the court.
    There are other legal requirements. You may want to call an attomey right away. If you do not knovr an attomey, you may want to call an attomey
 referral service. If you canno₹ afiord an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofd groups at the Califomia Legal Services Web sife (v.nlnv.lavrhelpcalifomia.org), the Carifomia Courts Online Self-Help Center
 (wwwcourGnfo.ca.gov/seUhetp), or by wntacting your local court or county bar assooia6on. NOTE: The court has a statufory lien forwaived fees and
 costs on any settlement or arb'rtra8on award of S10,000 or more in a civil case. The courPs lien must be paid before the court will dismissihe ease.
 rAVISO! Lo han demandado. Sino responde dentro de 30 dias, la corte puede decidtr en su con(ra sin escucharsu versidn. Lea la Tnfomraci6n a
 continuacion.
   Trene 30 DIAS DE CALENDARIO despues de que le entregtuen esta citaci6n y papeles legafes para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia af demandante. Una carfa o una Itamada telef6nica no /o protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto sf desea que procesen su caso en la corte. Es po.sib/e que haya un fonnulario que usted pueda usar para su respuesta.
 Puede encontrar esto.s formularios de Ja corte y mas informacidn en el Centro de Ayuda de tas Cortes de Caftfornia (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en !a corie que le quede mas cerca. SIno puede pagar la cuota de presentaci6n, pida al secretario de la corte que
 le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte !e podra
 qultar su sueldo, dinero y bienes sin mas advertencia.
   Nay otros requtsJtos legates. Es recomendable que Ilame a un abogado inmedlatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisibn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuftos de un
 progrrama de servicios lega/es sin tTnes de lucro. Puede encontrar estas grupos sin hnes de lucro en el sitio web de Califomia Legal Senrices,
 (www.lawheipcalifamia.org), en el Centro de Ayuda de las Cortes de Caltfomia, (wwvr.sucorte.ca.govJ o poniendose en contacto con la corte o el
 colegio de abogados facales. AVtSO: Porley, la corte dene derecho a reclamar fas cuotas y los costos exenfos porimponer un gravamen sobre
 cualquierrecuperacf6n de $10,000 o mas de valor reciblda mediante un acuerdo o una concesicn de arbitraje en un caso de derecho civit. Trene que
 oagar el gravamen de ia corte anfes de que fa corte pueda desechar el caso.
The name and address of the court is:                                                                 I CASE NUMBER: (Numero del Caso):
(El nombre y direecion de la corte es):                                                                 37-2021-OQ049771-CU-IC-CTL
Superior Court of the State of Califomia for the County of San Diego, Hall of Justice, 330
West Broadway, San Diego, California 92101.
The name, address, and telephone number of plainGfPs attomey, or plaintiff without an attomey, is: (EI nombre, /a direccion y el numero
de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
McLeod Law Group. A.P.C., John J. McLeod, Esq., 1155 Camino Del Mar, Suite 510, Del Mar, Califomia 92014. Tel.: (619) 23fi-9938-
DATE:         1.1t2C~2O2 1                                                                Clerk, by                  .I,t,,. 4W                     Deputy
(Fecha)                                                                                   (Secretario)                 M.Guyot                     (Adjunto)
(Forproof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citafidn use el formu/ario Proof of Service of Summons, (POS-010)).
                                NOTICE TO THE PERSON SERVED: You are served
        cplwl~
                                1.        as an individual defendant.
                                                     as the person sued under the f titious name of (specify, :
                                                                                                                  ~r~r~e e 6MFC4~j
                                        2.   0                                                                             ,
  - r •_   f :~'~;.
             k                   ~-.
                                        3.   ~on         behalf of (speafy).
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                                                                                                             c~~
                                                                                                              -
                                                                                                                 s      ~ ~
                                             TTT
                                             unde"'r:        CCP 416.10 (corporation)                    ~         CCP 416.60(~or)
                                                     /~     CCP 416.20 (defunct corporation)                  C]   CCP 416.70 (cofiservatee)
                                                      ~     CCP 416.40 (association or partnership)           0    CCP 416.90 (authorized person)
                                                      ~     other (specify):              l
                                        4.           by personal delivery on (date):   Q t~                                                           Paae i ef 1
Form Adeptod for Mandefory Use
Judicial CouncB of Califomia
                                                                         Sl1MMONS                                            Code of Ctril Proeedure §§ 41220, 485
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SUA7-1o0 [Rev. July 1, 2089]
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 1   John J. McLeod, Esq., State Bar No. 174169                 ELECTROfJICALLY FILED
     jmcleod@mcleodlawgroiT.com                                  Superior Gaurt of Califomia,
     Paul C. Hirst, Esq., State Bar No. 234460                      Courhy af San Diego
 2
     phirstamcleodlaw roup.com                                   17J24d2027 at 02:11:A>3 Ptv1
 3     cLE D LAW G              , A.P.C.                          tsleric of tha Buperior Caurt
     1155 Camino Del Mar, Suite 510                            By+ Ntariajo Guyat,Qeputy CIerk
 4   Del Mar, California 92014
     Telephone: 619) 236-9938
 5   Facsimile: ( 19) 236-9943
 6   Attorn~e~ys for Plaintiff,
     PONTUS MAG VALLEJO, LLC
 7

 8               SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                            FOR THE COUNTY OF SAN DIEGO
10   PONTUS MAG VALLEJO, LLC, a                Case No.: 3F-2021-00040771-CU-IC-CTL
     Delaware limited liability company,
11                                             ICJ:
                 Plaintiff,                    DEPT.:
12
     V.
13
                                               COMPLAINT FOR:
14   WEST AMERICAN INSURANCE
     COMPANY, an Indiana corporation;          1. DECLARATORY RELIEF;
15   and DOES 1 through 100, inclusive,        2. BREACH OF CONTRACT;
                                               3. BREACH OF THE IMPLIED
16               Defendants.                      COVENANT OF GOOD FAITH
                                                  AND FAIR DEALING.
17
18
                                               DEMAND FOR JURY TRIAL
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                                           COMPLAINT
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 1            Plaintiff, PONTUS MAG VALLEJO, LLC ("PONTUS"), hereby alleges as
 2   II follows:
 3                                   GENERAL. ALLEGATIONS
 4   II The Parties
 5           1.       Plaintiff PONTUS is a Delaware limited liability company with its
 6    principal place of business in San Diego, California and was at all relevant times herein
 7    mentioned authorized to do business in the State of California, including the County of
 8    San Diego.
 9           2.       Plaintiff is informed and believes and thereon alleges that defendant
10' WEST AMERICAN INSURANCE COMPANY ("WEST AMERICAN") is an Indiana
11    corporation with its principal place of business in Boston, Massachusetts and was at all
12    relevant times herein mentioned either admitted to do business as an insurer under the
13    laws of the State of California or authorized to sell insurance in the State of California
14    through a licensed surplus lines broker or other permissible means. Plaintiff is further
15    informed and believes and thereon alleges that WEST AMERICAN is affiliate and/or
16    subsidiary and/or division of Liberty Mutual Holding Company, Inc., a Massachusetts .
17    corporation.
18           3.       Plaintiff is informed and believes and thereon alleges that DOES 1 through
19 ~ 25, and each of them, are persons, corporations or other entities that reside in or are
20    authorized to do and are doing business in the State of California as insurers. The true
21    identities of DOES 1 through 25 are currently unknown to Plaintiff and Plaintiff
22 therefore prays for leave to amend this Complaint to assert the proper names of each
23    insurer when their identity is discovered. Each of DOES 1 through 25 issued one or
24    more policies of insurance under which Plaintiff qualifies as an insured or additional
25    insured, and provides coverage for all or a portion of the Loss, as referred to in this
26    Complaint.
27           4.      Defendants WEST AMERICAN and DOES 1 through 25, inclusive, are
28    hereinafter referred to collectively as the "CARRIERS."

                                                   1
                                              COMPLAINT
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 1          5.      Plaintiff is informed and believes and thereon alleges that DOES 26
 2    through 50, and each of them, are persons, corporations or other entities that reside or
 3    are authorized to do and are doing business in the State of California. The true
 4   I identities of DOES 26 through 50 are currently unknown to Plaintiff and Plaintiff
 5    therefore prays for leave to amend this Complaint to assert the proper names of each
 6    person, corporation or other entity when their identity is discovered. Each of DOES 26
 7 through 50 was the managerial agent, employee, predecessor, successor, joint venture,
 81 co-conspirator, alter ego, and/or representative of the CARRIERS, or any of them, and
 9    acted with the permission and authorization and/or ratification and consent of said
10    defendants.
11          6.      Plaintiff is informed and believes and thereon alleges that at all times
12    relevant to the allegations contained in this Complaint, there exists and existed such a
13    unity of interest, ownership and control between the CARRIERS and DOES 26 through
14    50, or any of them, such that there was no separateness or individuality of these
15    defendants, and each of them. As a result of this unity of ownership, control or interest
16    between and among the CARRIERS and DOES 26 through 50, or any of them,
17    adherence to the fiction of any of their separate existences would, under the
18    circumstances of this case, sanction fraud and promote injustice, unfairness and
19    inequity. As such, Plaintiff is informed and believes and thereon alleges that the
20    CARRIERS and DOES 26 through 50, or any of them, are the alter egos of one or more
21    of the others.
22          7.      The CARRIERS and DOES 26 through 50, inclusive, are hereinafter
23 I referred to collectively as the "Defendants."
24          8.      Plaintiff is informed and believes and thereon alleges that each fictitiously
25 I named defendant is in some way responsible for, participated in, or contributed to the
26 matters of which Plaintiff complains and has legal responsibility for those matters.
27          9.      Plaintiff is informed and believes and thereon alleges that this Court has
28 ~ personal jurisdiction over Defendants, and each of them, as they are and/or were at all

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                                             COMPLAINT
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 1 I relevant times hereinafter mentioned insurers, agents or brokers, incorporated,
 2 I headquartered and/or engaged in the business of selling and/or placing insurance in the
 3   State of California, including the County of San Diego.
 4          10.    Plaintiff is informed and believes and thereon alleges that venue lies in
 5 I San Diego County Superior Court because a substantial part of the acts or omissions

 6   giving rise to the claims asserted in this action occurred in the County of San Diego
 7   and/or because one or more of the policies of insurance that are the subject of this
 8   Complaint were negotiated in, sold in, entered into and/or delivered to the insured or its
 9   agents or representatives at their offices in the County of San Diego, State of
10   California.
11   The Property
12          11.    The Property consists of a commercial property located at 1001 Admiral
13   Callaghan Lane, Vallejo, CA 94591. The Property was last used as a car dealership
14   before the Loss. PONTUS is the owner of the Property.
15   The Libert,y Policy
16          12.    In connection with the Property, LIBERTY issued to PONTUS a policy of
17   insurance that, included, among other coverages, a commercial property coverage part,
18   policy no. BKW (20) 59 62 88 50 (effective March 1, 2019 to March 1, 2020) ("Liberry
19   Policy"). The Liberty Policy identified the insurer as WEST AMERICAN. Plaintiff is
20   informed and believes and thereon alleges that WEST AMERICAN is an affiliate,
21   subsidiary and/or division of the Liberty Mutual Holding Company, Inc. A true and
22   correct copy of the Liberty Policy is attached hereto as Exhibit A and is incorporated
23   herein by this reference as if set forth in full.
24         13.     Pursuant to the terms of the Liberty Policy, Liberty generally agreed to,
25   among other things, pay for "direct physical loss of or damage to Covered Property ...
26   caused by or resulting from any Covered Cause of Loss." Covered Properry is defined
27   by the Liberty Mutual policy to include the Property. Covered Cause of Loss is in turn
28   ultimately defined as any "Risks of Direct Physical Loss" not otherwise excluded or

                                                 3
                                              COMPLAINT
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 1   limited. Pursuant to the terms of the Liberty Policy and under California law, Liberty
 2   has a duty to pay for the Loss as hereinafter described. Plaintiff is informed and
 3   believes and thereon alleges that the legal effect of the above-described Liberty Policy
 4   is as set forth in this paragraph and in the Liberry Policy, which is attached hereto and
 5   incorporated herein as Exhibit A.
 6         14.     As it pertains to the Loss (as defined herein), PONTUS has, in fact,
 7   sustained losses and/or damages to Covered Property as a result of a Covered Cause of
 8   Loss, all as defined by the Liberty Policy, and, accordingly, is entitled to be made
 9   whole for such losses and/or damages under the Liberty Policy.
10   The Loss
11         15.     On June 15 and August 15, 2019, fires occurred at the Property, which
12   caused substantial damage (collectively the "Loss"). PONTUS timely notified
13   Defendants of the Loss.
14         16.     Defendants acknowledged that both fire-related incidents were covered
15   losses under the Liberty Policy.
16         17.     Defendants requested certain information from PONTUS. In order to
17   respond to Defendants' requests, the insured engaged Mark Scott Construction to assist
18   with the restoration of the Property—a firm recommended and approved by
19   Defendants.
20         18.     Mark Scott Construction engaged an architectural and engineering firm.
21   Both firms and budgets were approved by Defendants.
22         19.     Based upon the efforts of Mark Scott Construction and the retained
23   architectural and engineering firms, PONTUS submitted documentation showing that
24   the total loss was $2,410,519.
25         20.     These expert consultants along with PONTUS further determined that a
26   portion of this amount ($245,3 86) was attributable to damage caused by prior incidents
27   of theft and vandalism. Thus, PONTUS submitted a claim for the Loss of $2,165,133.
28

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                                          COMPLAINT
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 1           21.    Defendants thereafter retained Madsen Kneppers to investigate the loss.
 2     From the beginning, Defendants seized on the prior theft/vandalism incidents to deny
 3 I   coverage for substantial portions of the Loss.
 4           22.    Ultimately, in or about May 2021, Defendants concluded that more than
 5   1$1.2 million in damages were attributable to such prior theft/vandalism and denied
 6 I   coverage for the same. Defendants further improperly claimed that the Loss was
 7     subject to a 15% "vacancy penalty," effectively denying coverage for a further portion
 8     of the Loss. Defendants ultimately paid PONTUS $755,573.44 for the Loss, a figure
 9     that represents a mere 31.3% of the entire losses and damages sustained by PONTUS.
10           23.    Consequently, Defendants have improperly denied policy benefits to
11 I   PONTUS in the amount of $1,208,175.
12           24.    Plaintiff (or others on behalf of Plaintiff) provided timely notice to
13     Defendants of the Loss, and requested that Defendants afford Plaintiff policy benefits
14     for the losses and/or damages arising out of the Loss pursuant to the Liberty Policy and
15     applicable law.
16           25.    After receiving notice of the Loss, Defendants wrongfully and
17 I   unreasonably denied coverage for substantial portions of the Loss. Plaintiff disputed
18     Defendants' contentions. However, Defendants repeatedly ignored and consciously
19     disregarded evidence provided by Plaintiff, which showed that more than $1.2 million
20     was still owed by Defendants to Plaintiff for the Loss.
21           26.    As a direct and proximate result of Defendants' failure and/or refusal to pay
22     for all covered losses and/or damages arising out of the Loss under the Liberty Policy,
23     Plaintiff has been forced to pay and incur fees, costs and expenses in an amount to be
24     proved at time of trial in the repair of the Property and in responding to Defendants'
25     wrongful and unreasonable withholding of policy benefits.
26           27.    As a direct and proximate result of the failure of Defendants to acknowledge
27     an obligation to pay for the entirety of the damages and/or losses arising out of the Loss,
28     Plaintiff has been forced to pay and incur fees, costs and expenses in an amount to be

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                                             COMPLAINT
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 1 I   proved at time of trial.
 2            28.    As a direct and proximate result of the acts and omissions of Defendants in
 3 I   connection with the Loss, Plaintiff has and will suffer harm and damages, including
 4     without limitation attorney fees and costs in Plaintiff's on-going efforts to obtain from
 5     Defendants the policy benefits promised to Plaintiff and which have to date
 6     unreasonably been withheld.
 7                                  FIRST CAUSE OF ACTION
 8                                         Declaratory Relief
 9                                        (Against Defendants)
10            29.    Plaintiff repeat, re-allege and incorporate herein by this reference each and
11     all of the allegations contained in paragraphs 1 through 28 of this Complaint.
12            30.    As set forth above, Defendants (or others on Defendants' behalf) were
13     each provided timely notice of the Loss, such that Defendants, and each of them, had
14     actual or constructive notice of the Loss and Plaintiff's claims for losses and/or
15     damages arising out of the Loss.
16            31.    Plaintiff requested and demanded that Defendants provide coverage for the
17     Loss pursuant to the Liberty Policy and applicable law. Defendants, and each of them,
18     have wrongfully claimed that portions of the Loss are excluded and/or limited,
19     effectively denying coverage for well more than 60% of the losses and/or damages
20     suffered by Plaintiff and arising out of the Loss. Defendants have expressly and
21     unequivocally refused to afford coverage to Plaintiff as required under the terms of
22     their respective polices and under applicable law.
23            32.    Plaintiff have performed all conditions, covenants and promises required
24     of them to be performed in accordance with the terms and conditions of the subject
25     policies issued by each of Defendants, except to the extent that Plaintiff were prevented
26     by Defendants, or any of them, or excused from such performance or said conditions,
27     covenants and promises have not occurred or been waived.
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                                              COMPLAINT
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 1         33.    A dispute has arisen between Plaintiff and Defendants, and each of them,
 2 I in that Plaintiff contend that Defendants each have an obligation to provide coverage to
 3 I Plaintiff for the claims asserted against them in the Loss pursuant to the Liberty Policy
 4   and applicable law.      Plaintiff is informed and believes and thereon alleges that
 5   Defendants, and each of them, unreasonably contends otherwise.
 6         34.    An actual controversy exists between Plaintiff and Defendants, and each of
 7   them, regarding each of Defendants' respective obligations to provide coverage to
 8   Plaintiff for the losses and/or damages arising out of the Loss pursuant to the Liberty
 9   Policy and applicable law.       A declaratory judgment is therefore necessary and
10   appropriate to determine the rights and duties of the parties under the Liberty Policy
11   and applicable law with respect to each of Defendants' obligations to provide coverage
12   to Plaintiff for the Loss.
13                                SECOND CAUSE OF ACTION
14                                  Breach of Written Contract
15                                     (Against Defendants)
16         35.    Plaintiff repeat, re-allege and incorporate herein by this reference each and
17   all of the allegations contained in paragraphs 1 through 28 of this Complaint.
18         36.    As set forth above, pursuant to the applicable portions of the Liberty
19   Policy, Defendants generally agreed to pay for direct physical loss of or damage to
20   Covered Properry ... caused by or resulting from any Covered Cause of Loss."
21   Pursuant to the Liberty Policy, and under California law, Defendants have a duty to pay
22   for all losses and/or damages to Covered Property caused by or resulting from any
23   Covered Cause of Loss, unless otherwise excluded or limited. In the Loss, Plaintiff
24   has, in fact, suffered losses and/or damages to Covered Properry that were caused by or
25   resulted from a covered cause of loss. Plaintiff is therefore entitled to coverage for the
26   entirety of the losses and/or damages arising out of the Loss.
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                                           COMPLAINT
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 1         37.    Plaintiff is informed and believes and thereon alleges that Defendants
 2 II issued the Liberty Policy as set forth above and said policy does potentially and in fact

 3   extend coverage with reference to the Loss; and that the Liberty Policy does in fact
 4   apply to the entirety of the losses and/or damages sustained by Plaintiff arising out of
 5   the Loss as described hereinabove, requiring Defendants to pay for the entirety of such
 6   losses and/or damages.
 7         38.    Plaintiff (or others on behalf of Plaintiff) duly notified Defendants of the
 8   Loss and of the damages and/or losses sustained by Plaintiff and arising out of the Loss.
 9         39.    After receiving notice of the Loss, Defendants denied coverage to Plaintiff
10 I for substantial portions of the damages and/or losses arising out of the Loss, contending

11   among other things that such damages and/or losses arose out of the prior incidents of
12   theft and/or vandalism, rather than out of the fire. Plaintiff disputed Defendants'
13   contentions and bases for denying coverage to Plaintiff.          However, Defendants
14   repeatedly and unreasonably refused to modify their coverage position, refused to pay
15   any additional policy benefits and ignored evidence that Defendants' coverage
16   investigation and conclusions were unreasonable and flawed.
17         40.    Plaintiff has performed all conditions, covenants and promises required of
18 I it to be performed in accordance with the terms and conditions of each written contract

19   of insurance, except to the extent that Plaintiff was prevented or excused from such
20   performance or said conditions, covenants and promises have occurred or been waived.
21         41.    By reason of Defendants' failure and/or refusal to promptly and timely
22   fund 100% of the losses and/or damages arising out of the Loss, despite their express
23   obligation to do so under the Liberty Policy and applicable law, Defendants, and each
24   of them, have breached the written contract of insurance under which Plaintiff is
25   entitled to coverage.
26         42.    By reason of Defendants' failure and/or refusal to pay Plaintiff all policy
27   benefits owed in connection with the Loss despite their express obligation to do so
28   under the Liberty Policy and applicable law, Defendants, and each of them, have

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                                          COMPLAINT
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     I   breached the written contract of insurance undeir which Plaintiff is entitled to coverage.
 2             43.    As a direct and proximate result of the breaches by Defendants, and each
 3       of them, of their duties, Plaintiff has and will suffer harm and damages, including
 4       without limitation having been forced to pay and incur fees, costs and expenses in an
 5       amount to be proved at time of trial, which fees, costs and expenses exceed the amount of
 6       any deductible and/or self-insured retention under the Liberty Policy (if any and if any are
 7       applicable). Plaintiff has been damaged in an amount presently unknown, but in excess
 8       of the jurisdictional minimum of this Court, to be established at the time of trial.
 9                                    THIRD CAUSE OF ACTION
10                   Breach of the Implied Covenant of Good Faith and Fair Dealing
11                                          (Against Defendants)
12             44.    Plaintiff repeat, re-allege and incorporate herein by this reference each and
13       all of the allegations contained in paragraphs 1 through 28 of this Complaint.
14             45.    Inherent in the Liberty Policy was and is an implied covenant of good faith
15       and fair dealing, which imposed upon Defendants the duty to deal fairly and honestly
16       with Plaintiff in good faith and to do nothing to the detriment of Plaintiff, or to impair,
17       interfere with, hinder, or potentially deprive Plaintiff of their rights and benefits under
18       the Liberty Policy. Defendants were under a further duty to honor the contractual
19       obligations relating to losses and/or damages sustained by Plaintiff, Defendants'
20       insured, as contained in the Liberry Policy and applicable law.
21             46.    Defendants at all material times had a duty to act fairly and in good faith to
22   I   Plaintiff in carrying out its responsibilities under the written contract of insurance.
23             47.    Pursuant to the Liberty Policy, Defendants have implicit obligations to act
24   I   fairly and in good faith to Plaintiff, to promptly and reasonably investigate, adjust and
25       pay policy benefits to Plaintiff, and to make reasonable coverage decisions.
26             48.    Plaintiff has performed all conditions, covenants and promises on its part
27       to be performed in connection with the Liberty Policy, thereby securing the benefits of
28       the policy, except to the extent that Plaintiff is or was prevented or excused from such

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                                                COMPLAINT
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 1 11   performance, or said conditions, covenants and promises have not occurred or been
 2   II waived.
 3            49.    Defendants, and each of them, have disregarded Plaintiff's rights under the
 4      Liberry Policy and unreasonably, wrongfully and in bad faith denied coverage,
 5      including without limitation failing and/or refusing to promptly make a coverage
 6      determination, failing and/or refusing to promptly and timely and fairly consider
 7      evidence of covered losses and/or damages under the Liberry Policy in connection with
 8      the Loss, failing and/or refusing to acknowledge Defendants' obligations to pay for
 9      losses and/or damages arising out of the Loss, and unreasonably denying coverage for
10      substantial portions of the losses and/or damages arising out of the Loss. Defendants
11      (through their respective officers, directors and/or managing agents), and each of them,
12      have breached the implied covenant of good faith and fair dealing contained in the
13      Liberty Policy. Said breaches include, but are not limited to, the following:
14                  a. Unreasonably failing to promptly, timely and unequivocally confirm to
15                      Plaintiff that Defendants, and each of them, would acknowledge the
16                      existence and the validity of coverage under the Liberty Policy for the
17                      losses and/or damages arising out of the Loss;
18                  b. Unreasonably failing to promptly and timely and fully pay policy benefits
19                      for losses and/or damages arising out of the Loss and covered under the
20                      Liberty Policy;
21                  c. Unreasonably denying coverage for substantial portions of the losses
22                      and/or damages arising out of the Loss;
23                  d. Unreasonably failing to timely and fairly adjust the Loss or to consider
24                      evidence of coverage for substantial portions of the losses and/or
25                      damages arising out of the Loss;
26                  e. Unreasonably applying exclusions and limitations in the Liberty Policy to
27                     the Loss when in fact such exclusions and/or limitations were not
28                     applicable and/or not enforceable under applicable law;

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                                             COMPLAINT
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 1                f. Unreasonably seeking to avoid paying policy benefits;
 2                g. Unreasonably subjecting Plaintiff to potentially severe fmancial hardship
 3                   by refusing to pay policy benefits for a substantial portion of the losses
 4                   and/or damages arising out of the Loss, thereby forcing Plaintiff to repair
 5                   the Property without the assistance of substantial policy benefits of more
 6                   than $1.2 million;
 7                h. Failing to give a reasonable interpretation to the provisions of the Liberty
 8                   Policy, failing to reasonably apply provisions of the Liberty Policy to the
 9                   Loss, and failing to timely, promptly and without delay, pay for the
10                   covered losses and/or damages arising out of the Loss; and
11                i. Failing to provide Plaintiff with any reasonable or justifiable basis for the
12                   decision to deny and/or refuse to timely and promptly fiand all such
13                   covered losses and/or damages arising out of the Loss.
14         50.    Inclusive in each of Defendants' respective obligations to act fairly and in
15   good faith to Plaintiff is Defendants' duty to promptly and reasonably investigate the
16   Loss and to make reasonable coverage decisions.          Defendants, and each of them,
17   breached their respective obligations to act fairly and in good faith toward Plaintiff by
18   unreasonably delaying the investigation, evaluation and confirmation of the coverage
19   obligations, and by refusing to comply with such obligations by refusing to timely and
20   promptly and fully pay for the covered losses and/or damages arising out of the Loss.
21         51.    The unreasonable failure and/or refusal of Defendants, and each of them,
22   to promptly and fully provide policy benefits for all covered losses and/or damages
23   arising out of the Loss, even though it was reasonably clear that the same were covered
24   by the Liberty Policy, has compelled Plaintiff to engage legal counsel and to pursue this
25   Complaint to recover such benefits owed and to compel Defendants, and each of them,
26   to honor their respective obligations under the Liberty Policy.
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                                            COMPLAINT
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 1           52.   Plaintiff is informed and believes and thereon alleges that the respective
 2    refusals and denials of Defendants, and each of them, through their respective officers,
 3 I directors and/or managing agents of their duties, to provide coverage for Plaintiff under

 4    the Liberty Policy was willful, malicious, intentional, and was done with the intent to
 S.   oppress Plaintiff and with conscious disregard for Plaintiff's rights under the Liberty
 6    Policy. The willful, malicious and oppressive conduct of Defendants, and each of
 7 them, was engaged in solely to satisfy Defendants' respective profit motives and
 8    corporate financial income objectives to the detriment of Plaintiff. This motive was
 9    evidenced by Defendants', and each of their, adversarial approach to Plaintiff's
10 requests for coverage for all covered losses and/or damages arising out of the Loss,
11    Defendants' repeated refusals to fairly consider evidence of coverage after Defendants
12 wrongfully denied coverage for the same, and Defendants' alignment of their interests
13 with their own companies and not the interests of Plaintiff as insured under the Liberry
14 Policy.
15          53.    Plaintiff is informed and believes and thereon alleges that the respective
16 ~ officers, directors and/or managing agents and/or employees of Defendants, and each of
17 them, participated in, authorized and/or ratified the wrongful conduct of said
18    defendants as alleged hereinabove.
19          54.    Plaintiff is entitled to recover as damages against Defendants, and each of
20 them, all fees, expenses and costs incurred in this action to enforce its rights under the
21    Liberty Policy, plus interest thereon, according to proof.
22          55.    As a direct and proximate result of the breaches by Defendants, and each
23 of them, of their respective duties, Plaintiff has incurred fees, costs, and expenses for
24 the adjustment, repair and/or pursuit of coverage unreasonably withheld in an amount
25 within the jurisdictional limits of this Court, according to proof. Plaintiff has been
26 damaged in an amount presently unknown, but in excess of the jurisdictional minimum
27 of this Court, to be established at the time of trial.
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                                            COMPLAINT
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 1         56.    Plaintiff is informed and believes and thereon alleges that the above-
 2 I described conduct of Defendants, and each of them, has been and continues to be
 3   unreasonable, capricious and arbitrary, and constitutes a breach of the covenant of good
 4   faith and fair dealing contained in the Liberty Policy and referred to in this Complaint.
 5   Plaintiff is informed and believes and thereon alleges that the above-described conduct
 6   further constitutes malicious, oppressive and despicable conduct and conscious
 7   disregard of Plaintiff's rights, and stems from improper or evil motives, including
 8   Defendants', and each of their, desire to reduce or avoid their obligations to Plaintiff, so
 9   as to justify an award of punitive and exemplary damages.
                                              UDAVT,U
10
11         WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
12 I them, as follows:
13                                FIRST CAUSE OF ACTION
14         1.     For a declaratory judgment that Defendants, and each of them, have an
15   obligation to provide coverage to Plaintiff for all of the losses and/or damages arising
16   out of the Loss;
17                               SECOND CAUSE OF ACTION
18         2.     For compensatory and consequential damages according to proof, but in an
19   amount within the jurisdiction of this Court;
20                                THIRD CAUSE OF ACTION
21         3.     For compensatory and consequential damages according to proof, but in an
22   amount within the jurisdiction of this Court;
23         4.     For attorney's fees and costs of suit in obtaining the benefits owed under
24   the Liberty Policy pursuant to BYandt v. Superior Court (1985) 37 Ca1.3d 813,
25   according to proof;
26         5.     For punitive and exemplary damages according to proof;
27                              ON ALL CAUSES OF ACTION
28         6.     For costs of suit herein;

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                                              COMPLAINT
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    1         7.    For prejudgment interest; and
    2         8.    For all such other and further relief as the Court may deem just and proper.
    3                              DIEiVAND FOR JURY TIZrAL
    4         Plaintiff bereby requests a trial by jury on all issues so triable.
    5   I DATED: IVovember 24, 2021           :McL        D AW GROUP, A.P.C.
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                                                     lkh—n . cLeo
   8                                                Paul C. Hirst
                                              Attorne~~ys for Plaintiff, PONTUS MAG
    9                                         VALLEJO, LLC
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                   EXHIBIT A
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        Liberty
        MutuaL
          INSURANCE                           Policyholder    Information


Named Insured & Mailing Address                                      Agent Nlailing Address & Phone No.

PONTUS MAG FAIRFIELD LLC,                                            (858) 487-8839
PONTUS MAG VALLEJO LLC,                                              TANENBAUM-HARBER OF CALIFORNIA
875 PROSPECT ST STE 303                                              INC.
LA JOLLA, CA 92037                                                   11610 IBERIA PL STE 200
                                                                     SAN DIEGO, CA 92128-2453




                    Dear Policyholde>":
                      We know you work hard to build your business. We work together with your agent,
                      TANENBAUM-HARBER OF CALIFORNIA                     (858) 487-8839
                      to help protect the things you care about. Thank you for selecting us.

                      Enclosed are your insurance documents consisting of:




                              •     Commercial Package

                      To find your specific coverages, limits of liability, and premium, please refer to your
                      Declarations page(s).

                      If you have any questions or changes that may affect your insurance needs, please
                      contact your Agent at (858) 487-8839




                                   to
                                  Reminders
                                                  .
                                                  .

                                                  .
                                                       Verify that all information is correct
                                                       If you have any changes, please contact your
                                                       Agent at (858) 487-8839
                                                       In case of a claim, call your Agent or 1-800-362-0000




You Need To Know

. CONTINUED ON NEXT PAGE




To report a claim, call your Agent or 1-800-362-0000


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You Need To Know - continued

. NOTICE(S) TO POLICYHOLDER(S)
  The Important Notice(s) to Policyholder(s) provide a general explanation of changes in coverage to your policy. The
  Important Notice(s) to Policyholder(s) is not a part of your insurance policy and it does not alter policy provisions or
  conditions. Only the provisions of your policy determine the scope of your insurance protection. It is important that you
  read your policy carefully to determine your rights, duties and what is and is not covered.


  FORM NUMBER                    TITLE
  CNI90 11 07 18                 Reporting A Commercial Claim 24 Hours A Day
  NP 72 42 01 15                 Terrorism Insurance Premium Disclosure And Opportunity To Reject
  NP 74 06 01 06                 Flood Insurance Notice
  NP 74 44 09 06                 U.S. Treasury Department's Office of Foreign Assets Control (OFAC) Advisory
                                 Notice to Policyholders
  NP 91 89 02 13                 Important Information Consumer Affairs Policyholder Notice
  NP 95 63 11 13                 Important Notice To Policyholders California Community Service Statement
  NP 98 20 01 15                 Jurisdictional Boiler And Pressure Vessel Inspections
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                                                                                                   CNI 90 11 07 18

                      REPORTING A COMMERCIAL CLAIM 24 HOURS A DAY

    Liberty Mutual Insurance claims professionals across the United States are ready to resolve your claim
    quickly and fairly, so you and your team can focus on your business. Our claims teams are specialized,
    experienced and dedicated to a high standard of service.
    We're Just a Call Away - One Phone Number to Report AII Commercial Insurance Claims
    Reporting a new c!aim has never been easier. A Liberty Mutual customer service representative is
    avai!ab!e to you 24/7 at 800-362-0000 for reporting new property, auto, liability and workers' compensa-
    tion c!aims. With contact centers strategically located throughout the country, for continuity and
    accessibi!ity, we're there when we're needed!

    Additional Resource for Workers' Compensation Customers
~   In many states, emp!oyers are required by law to use state-specific workers compensation c!aims forms
    and posting notices. This type of information can be found in the Policyholders Toolkit section of our
    website a!ong with other he!pful resources such as:
        •   Direct links to state workers compensation         websites   where you can find state-specific   c!aim
            forms
        •   Assistance finding local medical providers
        •   First Fill pharmacy forms - part of our managed care pharmacy program committed             to he!ping
            injured workers recover and return to work

    Our Policyholder Toolkit can be accessed at www.libertymutualgroup.com/toolkit.
"   For all c!aims inquiries p!ease call us at 800-362-0000.




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    CNI 90 11 07 18                                                                                    Page 1 of 1
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PONTUS MAG FAIRFIELD LLC,                                     BKW (20)    59 62 88 50
PONTUS MAG VALLEJO LLC,                                       From 03/01/2019 To 03/01/2020
875 PROSPECT ST STE 303
LA JOLLA, CA 92037


(858) 487-8839
TANENBAUM-HARBER OF CALIFORNIA
INC.
11610 IBERIA PL STE 200
SAN DIEGO, CA 92128-2453

                                TERRORISM INSURANCE PREMIUM DISCLOSURE
                                       AND OPPORTUNITY TO REJECT
This notice contains important information about the Terrorism Risk Insurance Act and its effect on your
policy. Please read it carefully.
THE TERRORISM RISK INSURANCE ACT
The Terrorism Risk Insurance Act, including all amendments ("TRIA" or the "Act"), establishes a program
to spread the risk of catastrophic losses from certain acts of terrorism between insurers and the federal
government. If an individual insurer's losses from certified acts of terrorism exceed a specified deductible
amount, the government will reimburse the insurer for a percentage of losses (the "Federal Share") paid in
excess of the deductible, but only if aggregate industry losses from such acts exceed the "Program Trig-
ger". An insurer that has met its insurer deductible is not liable for any portion of losses in excess of $100
billion per year. Similarly, the federal government is not liable for any losses covered by the Act that exceed
this amount. If aggregate insured losses exceed $100 billion, losses up to that amount may be pro-rated, as
determined by the Secretary of the Treasury.
The Federal Share and Program Trigger by calendar year are:

           Calendar Year                 Federal Share                    Program Trigger
           2015                          85%                              $100,000,000
           2016                          84%                              $120,000,000
           2017                          83%                              $140,000,000
           2018                          82%                              $160,000,000
           2019                          81%                              $180,000,000
           2020                          80%                              $200,000,000

MANDATORY OFFER OF COVERAGE FOR "CERTIFIED ACTS OF TERRORISM" AND DISCLOSURE OF PRE-
MIUM
TRIA requires insurers to make coverage available for any loss that occurs within the United States (or
outside of the U.S. in the case of U.S. missions and certain air carriers and vessels), results from a"certified
act of terrorism" AND that is otherwise covered under your policy.
A"certified act of terrorism" means:
    [A]ny act that is certified by the Secretary [of the Treasury ], in consultation     with the Secretary, of
    Homeland Security, and the Attorney General of the United States.
    (i)   to be an act of terrorism;




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        (ii) to be a violent act or an act that is dangerous to -
             (1) human life;
             (II) property; or
             (III) infrastructure;
        (iii) to have resulted in damage within the United States, or outside of the United States in the case of -
              (1) an air carrier (as defined in section 40102 of title 49, United States Code) or United States flag
                   vessel (or a vessel based principally in the United States, on which United States income tax is
                   paid and whose insurance coverage is subject to regulation in the United States); or
              (II) the premises of a United States mission; and
        (iv) to have been committed           by an individual or individuals as part of an effort to coerce the civilian
             population of the United States or to influence the policy or affect the conduct of the United States
             Government by coercion.
    REJECTING TERRORISM INSURANCE COVERAGE - WHAT YOU MUST DO

N   We have included in your policy coverage for losses resulting from "certified           acts of terrorism"    as defined
    above.
    THE PREMIUM CHARGE FOR THIS COVERAGE APPEARS ON THE DECLARATIONS PAGE OF THE POLICY
    AND DOES NOT INCLUDE ANY CHARGES FOR THE PORTION OF LOSS COVERED BY THE FEDERAL GOV-
~
N
    ERNMENT UNDER THE ACT. If we are providing you with a quote, the premium charge will also appear on
~   your quote as a separate line item charge.
    IF YOU CHOOSE TO REJECT THIS COVERAGE, PLEASE CHECK THE BOX BELOW, SIGN THE ACKNOWL-
    EDGMENT, AND RETURN THIS FORM TO THE ADDRESS BELOW: Please ensure any reiection is received
    within thirty (30) days of the effective date of your policy.
    Before making a decision to reject terrorism           insurance, refer to the Disclaimer for Standard Fire Policy
    States located at the end of this Notice.

N   ❑   I hereby reject this offer of coverage. I understand that by rejecting this ofFer, I will have no coverage for
        losses arising from "certified acts of terrorism" and my policy will be endorsed accordingly.


    Policyholder/Applicant's      Signature                       Print Name                          Date Signed



    Named Insured                                                           Policy Number
    PONTUS MAG FAIRFIELD LLC,                                         BKW    (20)    59 62 88 50
    PONTUS MAG VALLEJO LLC,
    Policy Effective/Expiration    Date
~   From 03/01/2019 To 03/01/2020

    IF YOU REJECTED THIS COVERAGE, PLEASE RETURN THIS FORM TO:
~            Attn: Commercial Lines Division - Terrorism
             PO Box 66400
             London, KY 40742-6400
    Note: Certain states (currently CA, GA, IA, IL, ME, MO, NY, NC, NJ, OR, RI, WA, WI and WV) mandate
    coverage for loss caused by fire following a"certified act of terrorism" in certain types of insurance policies.
    If you reject TRIA coverage in these states on those policies, you will not be charged any additional
    premium for that state mandated coverage.
    The summary of the Act and the coverage under your policy contained in this notice is necessarily general
    in nature. Your policy contains specific terms, definitions, exclusions and conditions. In case of any
    conflict, your policy language will control the resolution of all coverage questions. Please read your policy
    carefully.
    If you have any questions regarding this notice, please contact your agent.

    NP 72 42 01 15                                 © 2015Liberty Mutual Insurance                                Page 2 of 2
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                                                                                           NP 74 06 01 06


                                 FLOOD INSURANCE NOTICE

Unless a Flood Coverage endorsement is attached, your policy does not provide flood coverage and you will
not have coverage for property damage from floods unless you purchase a separate policy for flood insur-
ance through the Federal Emergency Management Agency (FEMA) National Flood Insurance Program.

If you would like more information   about obtaining coverage under the National Flood Insurance Program,
please contact your agent.




NP 74 06 01 06                                                                                Page 1 of 1
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                                                                                                                   NP 74 44 09 06



                     U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                                ASSETS CONTROL ("OFAC")
                           ADVISORY NOTICE TO POLICYHOLDERS

    No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of
    your policy. You should read your policy and review your Declarations page for complete information on the
    coverages you are provided.


    This Notice provides information concerning possible impact on your insurance coverage due to directives
    issued by OFAC. Please read this Notice carefully.


    Please refer any questions you may have to your insurance agent.


~   The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presiden-
o   tial declarations of "national emergency". OFAC has identified and listed numerous:
        •   Foreign agents;
        •   Front organizations;
        •   Terrorists;
        •   Terrorist organizations;      and
~       •   Narcotics traffickers;


    as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
    Treasury's web site - http//www.treas.gov/ofac.


    In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or
    entity claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated
    National and Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen
    contract and all provisions of this insurance are immediately subject to OFAC. When an insurance policy is
    considered to be such a blocked or frozen contract, no payments nor premium refunds may be made
    without authorization from OFAC. Other limitations on the premiums and payments also apply.




                                         © 2011 Liberty Mutual Insurance.All rights reserved.
    NP 74 44 09 06        Includes copyrighted material of Insurance Services Office, Inc., with its permission.     Page 1 of 1
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                                                                                             NP91890213

                                     IMPORTANT INFORMATION

                                      Consumer Affairs - California


Because of the complicated nature of the insurance business, there may be times when you will have
questions regarding your coverage or the premium charged, or a problem may occur with your policy. If this
occurs we urge you to contact either your agent or broker to answer your question or resolve your problem.
However, if you are unable to receive a satisfactory answer or resolution to your problem, please contact us
directly:

                                    American Fire and Casualty Company
                                      Ohio Security Insurance Company
                                    The Ohio Casualty Insurance Company
                                     West American Insurance Company

                                                 1-800-688-8661

If you are still not satisfied, you may contact the following State Agency:

                                  California Department of Insurance
                                            300 South Spring Street
                                             Los Angeles, CA 90013

                               Toll Free Number: 1-800-927-HELP (Calif. only)




NP 91 89 02 13                            © 2013L.iberty Mutual Insurance                       Page 1 of 1
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                                                                                                            NP95631113


                                    IMPORTANT NOTICE TO POLICYHOLDERS

                              CALIFORNIA COMMUNITY                  SERVICE STATEMENT

    Date: 03/08/2019
    Policy Number:       59628850
    Policy Period:    03/01/2019 to 03/01/2020
    Policyholder Name(s):      PONTUS MAG FAIRFIELD LLC


    POlicyholder Address: 875 PROSPECT ST STE 303

~                             LA JOLLA, CA 92037

    Dear Policyholder:
~   We are sending you this questionnaire as required by California Code of Regulations Section 2646.6, which
o   requires all Insurance Companies to request information as to the race or national origin and gender of each
~   policyholder. In order to aid the Insurance Commissioner of the State of California in monitoring the insur-
    ers compliance with the law, all new policyholders are requested to voluntarily provide the following
    information. This information will be reported to the California Department of Insurance.
    You are not required to provide this information, but are encouraged to do so. The Company will not use
    this information you provide here for underwriting or rating purposes. If you have any questions about this
    request, or how to fill out this form, you may call the California Department of Insurance Consumer Hotline
"   at (800) 927-HELP.
    If you do not wish to provide the Department of Insurance with this information, please check   here.

    Under this Regulation, Race or National Origin means one of the following categories. Please check the
    Race or National Origin that best describes you, the policyholder(s). For the purpose of completing this
    form, the policyholder is defined as: An individual, spouse, domestic partner, or business partner(s) named
    on the policy.
                                                         POLICYHOLDER                            CO-POLICYHOLDER
     Race / National Origin                    Male       Female   Business               Male       Female  Business

     African-American
     American Indian or Alaskan Native
~    Asian/Pacific Islander
0
     Latino
     White
m    Other
    Please return this letter to:

              Liberty Mutual Insurance
              Attention: Financial Compliance and Controls
              Mail Stop 108
              62 Maple Avenue
              Keene, NH 03431
    Thank you for your help.

    P/ease Do Not Send This Form With Your Payment or With Any Other Correspondence Regarding Your Po/icy.




    NP 95 63 11 13                               0 2013Liberty Mutual Insurance                               Page 1 of 1
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                                                                                              NP98200115

            JURISDICTIONAL BOILER AND PRESSURE VESSEL INSPECTIONS

Most jurisdictions (cities or states) are governed by laws and regulations that require owners of boilers and
pressure vessels to have their equipment inspected on a routine basis. Jurisdictions require that equipment
is installed and operated according to these regulations, and it is the equipment breakdown engineering
inspector's responsibility to verify the equipment complies with all requirements.

Liberty Mutual Equipment Breakdown is a National Board Accredited Authorized Inspection Agency. This
designation is recognized by authorities having jurisdictions in the U.S. & provinces of Canada and gives
Liberty Mutual commissioned inspectors the ability to perform jurisdictionally required inspection on boil-
ers and pressure 'vessels at insured locations. We have field inspectors strategically located throughout the
U.S. to perform boiler and pressure vessel inspection for our customers and clients.

To request a Jurisdictional Inspection please:

     •   Call the LMEB Hotline (877) 526-0020

Or

     •   Email your request to LMEBInspectionsCaD-Libertymutual.com

The assigned EB Risk Engineer will call to schedule within 24 - 48 hours. When requesting an inspection
please include the following:

     •   Current Policy Number

     •   Location Address

     •   Contact Name

     •   Contact Phone Number and/or Email Address




NP 98 20 01 15                          © 2015 Liberty Mutual Insurance                         Page 1 of 1
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     'ok Mutualm
         Liberty
                                              Coverage Is Provided In:
                                              West American Insurance Company - a stock company
                                                                                                       Policy Number:
                                                                                                       BKW (20) 59 62 88 50
                                                                                                       Policy Period:
                 INSURANCE
                                                                                                       From 03/01/2019 To 03/01/2020
                                                                                                       12:01 am Standard Time
                                                                                                       at Insured Mailing Location
                                              Common Policy Declarations

    Named Insured & Mailing Address                                       Agent Mailing Address & Phone No.
    PONTUS MAG FAIRFIELD LLC,                                             (858) 487-8839
    PONTUS MAG VALLEJO LLC,                                               TANENBAUM-HARBER OF CALIFORNIA
    875 PROSPECT ST STE 303                                               INC.
    LA JOLLA, CA 92037                                                    11610 IBERIA PL STE 200
                                                                          SAN DIEGO, CA 92128-2453

    Named Insured Is: LIMITED LIABILITY COMPANY

    Named Insured Business Is: LRO

    In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to
    provide the insurance as stated in this policy.

    SUMMARY OF COVERAGE PARTS AND CHARGES

    This policy consists of this Common Policy Declarations page, Common Policy Conditions, Coverage Parts
    (which consist of coverage forms and other applicable forms and endorsements, if any, issued to form a part of
    them) and any other forms and endorsements issued to be part of this policy.

    COVERAGE PART                                                             CHARGES

    Commercial Property

    Commercial General Liability

                                                Total Charges for all of the above covera e arts:
                                                Certified Acts of Terrorism Coverage:
                                                                                                               Note: This is not a bill




<

°   IMPORTANT MESSAGES


    . This policy is auditable. Please refer to the conditions of the policy for details or contact your agent.

    . Notice: The Employment-Related Practices Exclusion CG 21 47 is added to this policy to clarify there is no coverage for
      liability arising out of employment-related practices. Please read this endorsement carefully.




    Issue Date                                                                       Authorized Representative

    To report a claim, call your Agent or 1-800-362-0000

    DS 70 21 11 16

           59628850          N0156518   280                                         INSURED COPY      002228         PAGE   13   OF 140
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.36 Page 36 of 211
                                           Coverage Is Provided In:
                                                                                                    Policy Number:
      _ Liberty                            West American Insurance Company - a stock company        BKlIV (20) 59 62 88 50
         MutuaL                                                                                     Policy Period:
           INSURANCE                                                                                From 03/01/2019 To 03/01/2020
                                                                                                    12:01 am Standard Time
                                                                                                    at Insured Mailing Location
                                           Common Policy Declarations

Named Insured                                                           Agent

PONTUS MAG FAIRFIELD LLC,                                               (858) 487-8839
PONTUS MAG VALLEJO LLC,                                                 TANENBAUM-HARBER OF CALIFORNIA
875 PROSPECT ST STE 303                                                 INC.
LA JOLLA, CA 92037                                                      11610 IBERIA PL STE 200
                                                                        SAN DIEGO, CA 92128-2453


SUMMARY OF LOCATIONS

This policy provides coverage for the following under one or more coverage parts. Please refer to the individual
Coverage Declarations Schedules, or, the individual Coverage Forms for locations or territory definition for that
specific Coverage Part.
0001 2575 Auto Mall Pkwy, Fairfield, CA 94533-5803
0002 2545 Auto Mall Pkwy, Fairfield, CA 94533-5803
0003 1001 Admiral Callaghan Ln, Vallejo, CA 94591-3681
0004 2855 Auto Mall Pkwy, Fairfield, CA 94533-6835
0005 2595 Auto Mall Pkwy, Fairfield, CA 94533-5803
0006 2775 Auto Mall Pkwy, Fairfield, CA 94533

POLICY FORMS AND ENDORSEMENTS

This section lists the Forms and Endorsements for your policy. Refer to these documents as needed for detailed
information conceming your coverage.
FORM NUMBER                       TITLE
 CG 00 01 04 13                   Commercial General Liability Coverage Form - Occurrence
 CG 21 06 05 14                   Exclusion - Access Or Disclosure Of Confidential Or Personal Information And
                                  Data-Related Liability - With Limited Bodily Injury Exception
 CG 21 47   12 07                 Employment-Related Practices Exclusion
 CG 21 67   12 04                 Fungi or Bacteria Exclusion
 CG 21 70   01 15                 Cap on Losses from Certified Acts of Terrorism
 CG 21 76   01 15                 Exclusion of Punitive Damages Related to a Certified Act of Terrorism
 CG 24 26   04 13                 Amendment of Insured Contract Definition
 CG 84 99   01 12                 Non-Cumulation Of Liability Limits Same Occurrence



In witness whereof, we have caused this policy to be signed by our authorized officers.


~


            Mark Touhey                                               Paul Condrin
              Secretary                                                 President

To reporf a claim, call your Agent or 1-800-362-0000
DS 70 21 11 16

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    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.37 Page 37 of 211
                                              Coverage Is Provided In:
                                                                                                   Policy Number:
             Liberty                          West American Insurance Company - a stock company    BI(W (20) 59 62 88 50
             Mutual-                                                                               Policy Period:
              iNsuRaNce                                                                            From 03/01/2019 To 03/01/2020
                                                                                                   12:01 am Standard Time
                                                                                                   at Insured Mailing Location
                                              Common Policy Declarations

    Named Insured                                                         Agent

    PONTUS MAG FAIRFIELD LLC,                                             (858) 487-8839
    PONTUS MAG VALLEJO LLC,                                               TANENBAUM-HARBER OF CALIFORNIA
    875 PROSPECT ST STE 303                                               INC.
    LA JOLLA, CA 92037                                                    11610 IBERIA PL STE 200
                                                                          SAN DIEGO, CA 92128-2453
    POLICY FORMS AND ENDORSEMENTS - CONTINUED

~   This section lists all of the Forms and Endorsements for your policy. Refer to these documents as needed for
    detailed information conceming your coverage.
    FORM NUMBER                      TITLE
~    CG 88 10 04 13                  Commercial General Liability Extension
~    CG 88 60 1208                   Each Location General Aggregate Limit
     CG 88 77 12 08                  Medical Expense At Your Request Endorsement
     CG 88 86 12 08                  Exclusion - Asbestos Liability
     CG 90 41 01 13                  Amendment Of Coverage B Personal And Advertising Injury
     CP 00 10 0402                   Building and Personal Property Coverage Form
~    CP 0090 07 88                   Commercial Property Conditions
     CP 0140 0706                    Exclusion of Loss Due to Virus or Bacteria
     CP 0299 11 85                   Cancellation Changes
     CP 04 49 12 05                  Califomia Changes - Replacement Cost
     CP 1030 0402                    Causes of Loss - Special Form
     CP 1032 08 08                   Water Exclusion Endorsement
     CP 10 54 06 95                  Windstorm or Hail Exclusion
     CP 72 97 04 02                  Equipment Breakdown Enhancement Endorsement - Special Form
     CP 88 00 07 10                  Property Extension Endorsement
     CP 88 04 03 10                  Removal Permit
     CP 9059 12 12                   Identity Theft Administrative Services and Expense Coverage
     CP 92 01 05 17                  Property Anti-Stacking Endorsement
o    CP 99 93 1090                   Tentative Rate
     IL 00 17 11 98                  Common Policy Conditions
     IL 00 21 09 08                  Nuclear Energy Liability Exclusion Endorsement (Broad Fonn)
~    IL 01 02 05 05                  California Changes - Actual Cash Value
     IL 01 04 09 07                  California Changes
     IL 02 70 09 12                  California Changes - Cancellation and NonRenewal




    To report a claim, cal/ your Agent or 1 -800-362-0000


    DS 70 21 11 16
          59628850        N0156518      280                                        INSURED COPY    002228       PAGE   15   OF   140
 Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.38 Page 38 of 211
                                          Coverage Is Provided In:                            Policy Number:
     • Liberty                            West American Insurance Company - a stock company   BKW (20) 59 62 88 50
        Mutualm                                                                               P011cy Perlod:
          INSURANCE                                                                           From 03/01/2019 To 03/01/2020
                                                                                              12:01 am Standard Time
                                                                                              at Insured Mailing Location
                                          Common Policy Declarations

Named Insured                                                         Agent

PONTUS MAG FAIRFIELD LLC,                                             (858) 487-8839
PONTUS MAG VALLEJO LLC,                                               TANENBAUM-HARBER OF CALIFORNIA
875 PROSPECT ST STE 303                                               INC.
LA JOLLA, CA 92037                                                    11610 IBERIA PL STE 200
                                                                      SAN DIEGO, CA 92128-2453
POLICY FORMS AND ENDORSEMENTS - CONTINUED

This section lists all of the Forms and Endorsements for your policy. Refer to these documents as needed for
detailed information conceming your coverage.
FORM NUMBER                      TITLE
 IL 09 35 07 02                  Exclusion of Certain Computer-Related Losses
 IL 09 •52 01 15                 Cap On Losses From Certified Acts Of Terrorism
 LC 87 10 05 00                  Punitive or Exemplary Damages Exclusion




To report a claim, call yourAgent or 1-800-362-0000

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     Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.39 Page 39 of 211
                                            Coverage Is Provided In:
                                                                                                 Policy Number:
             Liberty                        West American Insurance Company - a stock company    BKW (20) 59 62 88 50
             MUtU11.                                                                             Policy Period:
               INSURANCE
                                                                                                 From 03/01/2019 To 03/01/2020
                                                                                                 12:01 am Standard Time
                                            Commercial       Property                            at Insured Mailing Location
                                            Declarations

    Named Insured                                                       Agent

    PONTUS MAG FAIRFIELD LLC,                                           (858) 487-8839
    PONTUS MAG VALLEJO LLC,                                             TANENBAUM-HARBER OF CALIFORNIA
                                                                        INC.


    SUMMARY OF CHARGES



    Explanation of          DESCRIPTION                                                                               PREMIUM
    Charges
                            Property Schedule Totals                                                          ~
~                           Certified Acts of Terrorism Coverage                                                  ~
                                                                        Total Advance Charges:               ~
                                                                                                  Note: This is not a bill




    To report a claim, call yourAgent or 1-800-362-0000

    DS 70 22 Ol 08
          59628850         N0156518   280                                        INSURED COPY   002228       PAGE     17   OF   140
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.40 Page 40 of 211
                                         Coverage Is Provided In:
                                                                                                   Policy Number:
     : Libe                              West American Insurance Company- a stock company          BKW (20) 59 62 88 50
       Mutualo                                                                                     Policy Period:
            INSURANCE
                                                                                                   From 03/01/2019 To 03/01/2020
                                                                                                   12:01 am Standard Time
                                         Commercial       Property                                 at Insured Mailing Location
                                         Declarations      Schedule
Named Insured                                                         Agent

PONTUS MAG FAIRFIELD LLC,                                             (858) 487-8839
PONTUS MAG VALLEJO LLC,                                               TANENBAUM-HARBER OF CALIFORNIA
                                                                      INC.


SUMMARY OF PROPERTY COVERAGES - RY LOCATION

Insurance at the described premises applies only for coverages for which a limit of insurance is shown. Optional
coverages apply only when entries are made in this schedule.




0001 2575 Auto Mall Pkwy, Fainreld, CA 94533-5803

Property                 Description:
Characteristics

                         Construction: Joisted Masonry


Building
Coverage                 Occupancy: Automobile Repair or Service Shops Auto Glass Replacement,
                                        Battery Replacement, Brake Adjustment, Tire Changing, Tune
                                        Ups, Oil Changing, Lubrications, Speedometer Adjustments
                                        and Similar Services

                         Descrintion
                         Limit of Insurance - Replacement Cost                                                $ 9, 3 4 6, 210
                         Agreed Value - Expires 03/01/2020
                         Coinsurance                                                                                      10 0 %
                         Covered Causes of Loss
                         Special Form - Including Theft
                         Deductible - All Covered Causes of Loss Unless Otherwise Stated                             $1, 000

                                                                                        Premium                  ~
Equipment
Breakdown
Coverage




To report a claim, call your Agent or 1-800-362-0000

DS 70 23 Ol 08
      59628850          N0156518   280                                        INSURED COPY     002228         PAGE   18     OF     140
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.41 Page 41 of 211
                                              Coverage Is Provided In:
                                                                                                      Policy Number:
         •     Lib e ~'                       West American Insurance ComPanY- a stock companY        BKW (20) 59 62 88 50
               Mutual.                                                                                Policy Period:
                INSURANCE                                                                             From 03/01/2019 To 03/01/2020
                                                                                                         12:01 am Standard Time
                                              Commercial       Property                                  at Insured Mailing Location
                                              Declarations      Schedule

    Named Insured                                                          Agent

    PONTUS MAG FAIRFIELD LLC,                                              (858) 487-8839
    PONTUS MAG VALLEJO LLC,                                                TANENBAUM-HARBER OF CALIFORNIA
                                                                           INC.


    SUMMARY OF PROPERTY COVERAGES - BY LOCATION
                             This Equipment Breakdown insurance applies to the coverages shown for this
                             location. The Equipment Breakdown limit(s) of insurance and deductible are
"                            included in, and not in addition to, the limits and deductible shown for the Building,
                             Your Business Personal Property, Your Business Personal Property of Others,
                             Tenants Improvements and Betterments, Business Income and Extra Expense,
                             Business Income Without Extra Expense, and Extra Expense coverages.
~

                                                                                              Premium                        ~




~   0002 2545 Auto Mal/ Pkwy, Fairfield, CA 94533-5803


    Property                 Descript:ion:
    Characteristics


                             Construction: Joisted Masonry


    Building
    Coverage                 Occupancy: Automobile Repair or Service Shops Auto Glass Replacement,
                                             Battery Replacement, Brake Adjustment, Tire Changing, Tune
                                             Ups, Oil Changing,. Lubrications, Speedometer Adjustments
o                                            and Sinular Services

                             Descrintion
                             Limit of Insurance - Replacement Cost                                                    $ 3, 3 8 3, 7 9 0
`                            Agreed Value - Expires 03/01/2020
                             Coinsurance                                                                                         10 0 %
                             Covered Causes of Loss
                             Special Form - Including Theft
                             Deductible - All Covered Causes of Loss Unless Otherwise Stated                                 $1, 0 0 0

                                                                                              Premium                    ~




    To report a claim, ca/l your Agent or 1-800-362-0000

    DS 70 23 Ol 08
          59628850          N0156518    280                                         INSURED COPY      002228          PAGE    19   OF     140
 Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.42 Page 42 of 211
                                           Coverage Is Provided In:
                                                                                                  Policy Number:
 'O~Libe                                   West American Insurance Company - a stock company      BKW (20) 59 62 88 50
           Mutualm                                                                                Policy Period:
           INSURANCE
                                                                                                  From 03/01/2019 To 03/01/2020
                                                                                                  12:01 am Standard Time
                                           Commercial      Property                               at Insured Mailing Location
                                           Declarations     Schedule

Named Insured                                                          Agent

PONTUS MAG FAIRFIELD LLC,                                              (858) 487-8839
PONTUS MAG VALLEJO LLC,                                                TANENBAUM-HARBER OF CALIFORNIA
                                                                       INC.


SUMMARY OF PROPERTY COVERAGES - BY LOCATION

 Continuation of 2545 Auto Mall Pkwy, Fairfield, CA 94533-5803

Equipment               This Equipment Breakdown insurance applies to the coverages shown for this
Breakdown               location. The Equipment Breakdown limit(s) of insurance and deductible are
Coverage                included in, and not in addition to, the limits and deductible shown for the Building,
                        Your Business Personal Property, Your Business Personal Property of Others,
                        Tenants Improvements and Betterments, Business Income and Extra Expense,
                        Business Income Without Extra Expense, and Extra Expense coverages.


                                                                                          Premium                       ~



0003 1001 Admiral Callaghan Ln, Vallejo, CA 94591-3681


Property                Description:
Characteristics


                        Construction: Frame




To report a claim, call your Agent   or 1-800-362-0000

DS 70 23 Ol 08
      59628850         N0156518      280                                        INSURED COPY     002228          PA6E   20   OF   140
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.43 Page 43 of 211
                                              Coverage Is Provided In:
                                                                                                       Policy Number:
         • Liberty                            West American Insurance Company - a stock company        BKyI (20) 59 62 88 50
               Mutual®                                                                                 Policy Period:
                INSURANCE
                                                                                                      From 03/01/2019 To 03/01/2020
                                                                                                      92:01 am Standard Time
                                              Commercial      Property                                at Insured Mailing Location
                                              Declarations        Schedule
    Named Insured                                                            Agent

    PONTUS MAG FAIRFIELD LLC,                                                (858) 487-8839
    PONTUS MAG VALLEJO LLC,                                                  TANENBAUM-HARBER OF CALIFORNIA
                                                                             INC.


    SUMMARY OF PROPERTY COVERAGES - BY LOCATION

    Continuation of 1001 Admiral Callaghan Ln, . Vallejo, CA 94591-3681

    Building
    Coverage                 Occupancy: Automobile Repair or Service Shops Auto Glass Replacement,
                                           Battery Replacement, Brake Adjustment, Tire Changing, Tune
~                                          Ups, Oil Changing, Lubrications, Speedometer Adjustments
                                           and Similar Services

                             Descrintion
                             Limit of Insurance - Replacement Cost                                                    $ 6, 4 2 0, 0 0 0
                             Agreed Value - Expires 03/01/2020
~                            Coinsurance                                                                                              10 0 %
                             Covered Causes of Loss
                             Special Form - Excluding Windstorm or Hail
                                              - Including Theft
                             Deductible - All Covered Causes of Loss Unless Otherwise Stated                                 $1, 000

                                                                                               Premium                   ~
    Equipment                This Equipment Breakdown insurance applies to the coverages shown for this
    Breakdown                location. The Equipment Breakdown limit(s) of insurance and deductible are
    Coverage                 included in, and not in addition to, the limits and deductible shown for the Building,
                             Your Business Personal Property, Your Business Personal Properry of Others,
~                            Tenants Improvements and Betterments, Business Income and Extra Expense,
                             Business Income Without Extra Expense, and Extra Expense coverages.


~                                                                                              Premium                       ~




    To report a claim, call yourAgent or 1-800-362-0000

    DS 70 23 Ol 08
          59628850          N0156518    280                                          INSURED COPY     002228          PAGE       21     OF     140
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.44 Page 44 of 211
                                         Coverage Is Provided In:
                                                                                                Policy Number:
           Liberty                       West American Insurance Company - a stock company      BKW (20) 59 62 88 50
           Mutualo                                                                              Policy Period:
           INSURANCE                                                                            From 03/01/2019 To 03/01/2020
                                                                                                12:01 am Standard Time
                                         Commercial      Property                               at Insured Mailing Location
                                         Declarations      Schedule

Named Insured                                                         Agent

PONTUS MAG FAIRFIELD LLC,                                             (858) 487-8839
PONTUS MAG VALLEJO LLC,                                               TANENBAUM-HARBER OF CALIFORNIA
                                                                      INC.


SUMMARY OF PROPERTY COVERAGES - BY LOCATION




0004 2855 Auto Mall Pkwy, Fairfield, CA 94533-6835

Property                Description:
Characteristics

                        Construction: Frame


Building
Coverage                Occupancy: Automobile Repair or Service Shops Auto Glass Replacement,
                                       Battery Replacement, Brake Adjustment, Tire Changing, Tune
                                       Ups, Oil Changing, Lubrications, Speedometer Adjustments
                                       and Similar Services

                          es rintion
                        Limit of Insurance - Replacement Cost                                                   $ 8, 6 0 0, 0 0 0
                        Agreed Value - Expires 03/01/2020
                        Coinsurance                                                                                         10 0 %
                        Covered Causes of Loss
                        Special Form - Including Theft
                        Deductible - All Covered Causes of Loss Unless Otherwise Stated                                $1, 000

                                                                                         Pt-emium                  ~
Equipment              This Equipment Breakdown insurance applies to the coverages shown for this
Breakdown              location. The Equipment Breakdown limit(s) of insurance and deductible are
Coverage               included in, and not in addition to, the limits and deductible shown for the Building,
                       Your Business Personal Property, Your Business Personal Property of Others,
                       Tenants Improvements and Betterments, Business Income and Extra Expense,
                       Business Income Without Extra Expense, and Extra Expense coverages.


                                                                                         Premium                       ~




To report a claim, call yourAgent or 1-800-362-0000

DS 70 23 Ol 08
      59628850         N0156518    280                                         INSURED COPY     002228          PAGE       22   OF   140
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.45 Page 45 of 211
                                             Coverage Is Provided In:
                                                                                                     Policy Number:
         • Liberty                           West American Insurance Company - a stock company       BKW (20) 59 62 88 50
           Mutualo                                                                                   Policy Period:
               INSURANCE                                                                             From 03/01/2019 To 03/01/2020
                                                                                                     12:01 am Standard Time
                                             Commercial      Property                                at Insured Mailing Location
                                             Declarations     Schedule

    Named Insured                                                        Agent

    PONTUS MAG FAIRFIELD LLC,                                            (858) 487-8839
    PONTUS MAG VALLEJO LLC,                                              TANENBAUM-HARBER OF CALIFORNIA
                                                                         INC.


    SUMMARY OF PROPERTY COVERAGES - BY LOCATION


~

    0005 2595 Auto Mall Pkwy, FairFeld, CA 94533-5803


N
    Property                Description:
~   Characteristics

                            Construction: Frame


    Building
~   Coverage                Occupancy: Automobile Repair or Service Shops Auto Glass Replacement,
                                           Battery Replacement, Brake Adjustment, Tire Changing, Tune
                                           Ups, Oil Changing, Lubrications, Speedometer Adjustments
                                           and Similar Services

                            Deccrintion
                            Limit of Insurance - Replacement Cost                                                    $ 2, 414 , 7 9 0
                            Agreed Value - Expires 03/01/2020
                            Coinsurance                                                                                       10 0 %
                            Covered Causes of Loss
                            Special Form - Including Theft
                            Deductible - All Covered Causes of Loss Unless Otherwise Stated                                 $1, 000

~                                                                                            Premium                    ~

    Equipment               This Equipment Breakdown insurance applies to the coverages shown for this
~   Breakdown               location. The Equipment Breakdown limit(s) of insurance and deductible are
    Coverage                included in, and not in addition to, the limits and deductible shown for the Building,
                            Your Business Personal Property, Your Business Personal Property of Others,
                            Tenants Improvements and Betterments, Business Income and Extra Expense,
                            Business Income Without Extra Expense, and Extra Expense coverages.


                                                                                             Premium




    To report a claim, call your Agent or 9-800-362-0000

    DS 70 23 Ol 08
          59628850         N0156518    280                                         INSURED COPY      002228          PAOE   23   OF     140
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.46 Page 46 of 211
                                        Coverage Is Provided In:
                                                                                                Policy Number:
           Liberty                      West American Insurance Company - a stock company       BKW (20) 59 62 88 50
  0        Mutual.                                                                              Policy Period:
           INSURANCE                                                                            From 03/01/2019 To 03/01/2020
                                                                                                  12:01 am Standard Time
                                        Commercial      Property                                  at Insured Mailing Location
                                        Declarations      Schedule
Named Insured                                                        Agent

PONTUS MAG FAIRFIELD LLC,                                            (858) 487-8839
PONTUS MAG VALLEJO LLC,                                              TANENBAUM-HARBER OF CALIFORNIA
                                                                     INC.


SUMMARY OF PROPERTY COVERAGES - BY LOCATION




0006 2775 Auto Mall Pkwy, Fairrield, CA 94533

Property                Description:
Characteristics

                        Construction: Frame


Building
Coverage                Occupancy: Automobile Repair or Service Shops Auto Glass Replacement,
                                       Battery Replacement, Brake Adjustment, Tire Changing, Tune
                                       Ups, Oil Changing, Lubrications, Speedometer Adjustments
                                       and Similar Services

                        Deccription
                        Limit of Insurance - Replacement Cost                                                   $3,165, 210
                        Agreed Value - Expires 03/01/2020
                        Coinsurance                                                                                             10 0 %
                        Covered Causes of Loss
                        Special Form - Including TheB
                        Deductible - All Covered Causes of Loss Unless Otherwise Stated                                $1, 000

                                                                                        Premium                   ~0                     1
Equipment              This Equipment Breakdown insurance applies to the coverages shown for this
Breakdown              location. The Equipment Breakdown limit(s) of insurance and deductible are
Coverage               included in, and not in addition to, the limits and deductible shown for the Building,
                       Your Business Personal Property, Your Business Personal Property of Others,
                       Tenants Improvements and Betterments, Business Income and Extra Expense,
                       Business Income Without Extra Expense, and Extra Expense coverages.


                                                                                        Premium                        ~



To report a claim, call yourAgent or 1-800-362-0000

DS 70 23 01 08
      59628850         N0156518   280                                         INSURED COPY      002228          PAGE       24     0F     140
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.47 Page 47 of 211
                                             Coverage Is Provided In:
                                                                                                           Policy Number:
         • Liberty                           West American Insurance Company - a stock company             BKW (20) 59 62 88 50
               Mutualo                                                                                     Policy Period:
                INSURANCE                                                                              From 03/01/2019 To 03/01/2020
                                                                                                       12:01 am Standard Time
                                             Commercial      Property                                  at Insured Mailing Location
                                             Declarations     Schedule

    Named Insured                                                        Agent

    PONTUS MAG FAIRFIELD LLC,                                            (858) 487-8839
    PONTUS MAG VALLEJO LLC,                                              TANENBAUM-HARBER OF CALIFORNIA
                                                                         INC.


    SUMMARY OF OTHER PROPERTY COVERAGES

    Identity Theft           Descrsntion                                                                                                      _
"   Administrative           Limit of Insurance                                                   See Endorsement CP9059
    Services
    And Expense Coverage                                                                     Premium                            _

~   Property                 Description
~   Extension                Property Extension Endorsement                                       $. 0 0
    Endorsement
                                                                                             Premium                        -

    Commercial Property Schedule Total:                                                                                     $27,188.00




    To report a claim, call yourAgent or 1 -800-362-0000


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                                              Coverage Is Provided In:                             Policy Number:
                 Liberty                      West American Insurance Company - a stock company    BI(W (20) 59 62 88 50
                 Mutual®                                                                           Policy Period:
                 INSURANCE                                                                         From 03/01/2019 To 03/01/2020
                                                                                                   12.01 am Standard Time
                                              Commercial      General Liability                    at Insured Mailing Location
                                              Declarations
                                                Basis: Occurrence

    Named Insured                                                          Agent

    PONTUS MAG FAIRFIELD LLC,                                              (858) 487-8839
    PONTUS MAG VALLEJO LLC,                                                TANENBAUM-HARBER OF CALIFORNIA
                                                                           INC.


    SUMiNARY OF LIMITS AND CHARGES


    Commercial               DESCRIPTION                                                                                          LIMIT
    General                  Each Occurrence Limit                                                                      1,000,000
    L'lability               Damage To Premises Rented To You Limit (Any One Premises)                                    100,000
~   Limits of
    Insurance                Medical Expense Limit (Any One Person)                                                         5,000
                             Personal and Advertising Injury Limit                                                      1,000,000
                             General Aggregate Limit (Other than Products - Completed Operations)                       2,000,000
                             Products - Completed Operations Aggregate Limit                                            2,000,000




    Explanation of           DESCRIPTION                                                                                     PREMIUM
    Charges                  General Liability Schedule Totals                                                          -
                             Certified Acts of Terrorism Coverage                                                             -
                                                                         Total Advance Charges:                         ~
                                                                                                            Note: This is not a bill




    To report a claim, cal/ your Agent or 1-800-362-0000

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            59628850         N0156518   280                                         INSURED COPY   002228        PAGE   27    OF    140
 Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.50 Page 50 of 211
                                        Coverage Is Provided In:                                  Policy Number:
       _ Liberty                        West American Insurance Company - a stock company         BKW (20) 59 62 88 50
         Mutual-                                                                                   Policy Period:
           INSURANCE                                                                              From 03/01/2019 To 03/01/2020
                                                                                                  12.01 am Standard Time
                                        Commercial      General Liability                         at Insured Mailing Location
                                        Declarations     Schedule
Named Insured                                                       Agent

PONTUS MAG FAIRFIELD LLC,                                           (858) 487-8839
PONTUS MAG VALLEJO LLC,                                             TANENBAUM-HARBER OF CALIFORNIA
                                                                    INC.

SUMMARY OF CLASSIFICATIONS - BY LOCATION


0001   2575 Auto Mall Pkwy, Fairfield, CA 94533-5803
       Insured: PONTUS MAG FAIRFIELD LLC,


       CLASSIFICATION - 61217
       Buildings Or Premises - Bank Or Office - Mercantile Or
       Manufacturing - Maintained By The Insured (Lessor's Risk
       Only) - For Profit
       Products-Completed Operations Are Subject To The General
       Aggregate Limit.


                                                                                                RATED / PER
       COVERAGE DESCRIPTION                        PREMIUM BASED ON -                               1,000                   PREMIUM

       Premise/Operations                          42,737 Square Feet Of Area                    37.530             ~


                                                                                       Total:                           -

0002   2545 Auto Mall Pkwy, Fairtield, CA 94533-5803
       Insured: PONTUS MAG FAIRFIELD LLC,


       CLASSIFICATION - 61217
       Buildings Or Premises - Bank Or Office - Mercantile Or
       Manufacturing - Maintained By The Insured (Lessor's Risk
       Only) - For Profit
       Products-Completed Operations Are Subject To The General
       Aggregate Limit.


                                                                                                RATED / PER
       COVERAGE DESCRIPTION                        PREMIUM BASED ON -                               1,000                   PREMIUM
       Premise/Operations                          15,473 Square Feet Of Area                    37.530                 ~


                                                                                      Total:                            -




To report a claim, call your Agent or 1-800-362-0000

DS 70 23 10 16
       59628850        N0156518   280                                           INSURED COPY      002228            PAGE     28   0F   140
     Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.51 Page 51 of 211
                                            Coverage Is Provided In:                                Policy Number:
              Liberty                       West American Insurance Company - a stock company       BKW (20) 59 62 88 50
     'ok     Mutualo                                                                                Policy Period:
               INSURANCE                                                                            From 03/01/2019 To 03/01/2020
                                                                                                    12:01 am Standard Time
                                            Commercial      General Liability
                                                                                                    at Insured Mailing Location
                                            Declarations     Schedule
    Named Insured                                                       Agent

    ,PONTUS MAG FAIRFIELD LLC,                                          (858) 487-8839
     PONTUS MAG VALLEJO LLC,                                            TANENBAUM-HARBER OF CALIFORNIA
                                                                        INC.

    SUMMARY OF CLASSIFICATIONS - BY LOCATION                    - continued


~   0003   1001 Admiral Callaghan Ln, Vallejo, CA 94591-3681
„          Insured: PONTUS MAG FAIRFIELD LLC,


           CLASSIFICATION - 61217
           Buildings Or Premises - Bank Or Office - Mercantile Or
~          Manufacturing - Maintained By The Insured (Lessor's Risk
~          Only) - For Profit
           Products-Completed Operations Are Subject To The General
           Aggregate Limit.


                                                                                                 RATED / PER
~          COVERAGE DESCRIPTION                        PREMIUM BASED ON -                             1,000            PREMIUM
           Premise/Operations                          26,828 Square Feet Of Area                 37.530        ~


                                                                                        Total:                         -

    0004   2855 Auto Mal/ Pkwy, FairPeld, CA 94533-6835
           Insured: PONTUS MAG FAIRFIELD LLC,


           CLASSIFICATION - 61217
           Buildings Or Premises - Bank Or Office - Mercantile Or
           Manufacturing - Maintained By The Insured (Lessor's Risk
~          Only) - For Profit
~          Products-Completed Operations Are Subject To The General
           Aggregate Limit.


~                                                                                                RATED / PER
           COVERAGE DESCRIPTION                        PREMIUM BASED ON -                            1,000             PREMIUM
           Premise/Operations                          29,006 Square Feet Of Area                 37.530        ~


                                                                                        Total:                         _




    To report a claim, call yourAgent or 1-800-362-0000

    DS 70 23 10 16
          59628850         N0156518   280                                        INSURED COPY      002228       PAGE       29   OF   140
 Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.52 Page 52 of 211
                                         Coverage Is Provided In:                                   Policy Number:
         Liberty                         West American Insurance Company - a stock company          BKW (20) 59 62 88 50
         Mutual®                                                                                    Policy Period:
          INSURANCE                                                                                 From 03/01/2019 To 03/01/2020
                                                                                                    12:01 am Standard Time
                                         Commercial      General Liability                          at Insured Mailing Location
                                         Declarations      Schedule
Named Insured                                                         Agent

PONTUS MAG FAIRFIELD LLC,                                             (858) 487-8839
PONTUS MAG VALLEJO LLC,                                               TANENBAUM-HARBER OF CALIFORNIA
                                                                      INC.

SUMMARY OF CLASSIFICATIONS - BY LOCATION                     - continued


0005   2595 Auto Mall Pkwy, Fairfield, CA 94533-5803
       Insured: PONTUS MAG FAIRFIELD LLC,


       CLASSIFICATION - 61217
       Buildings Or Premises - Bank Or Office - Mercantile Or
       Manufacturing - Maintained By The Insured (Lessor's Risk
       Only) - For Profit
       Products-Completed Operations Are Subject To The General
       Aggregate Limit.


                                                                                                  RATED / PER
       COVERAGE DESCRIPTION                          PREMIUM BASED ON -                                1,000                PREMIUM
       Premise/Operations                            11,229 Stluare Feet Of Area                   37.530              ~


                                                                                         Total:                            -

0006   2775 Auto Mall Pkwy, Fairfleld, CA 94533
       Insured: PONTUS MAG FAIRFIELD LLC,


       CLASSIFICATION - 61217
       Buildings Or Premises - Bank Or Office - Mercantile Or
       Manufacturing - Maintained By The Insured (Lessor's Risk
       Only) - For Profit
       Products-Completed Operations Are Subject To The General
       Aggregate Limit.


                                                                                                  RATED / PER
       COVERAGE DESCRIPTION                          PREMIUM BASED ON -                               1,000                 PREMIUM

       Premise/Operations                            14,720 Square Feet Of Area                    37.530              -


                                                                                         Total:                            -




 To repon: a claim, cal/ your Agent or 1-800-362-0000

DS 70 23 10 16
       59628850        N0156518    280                                             INSURED COPY     002228           PA6E      30   0F   140
 Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.53 Page 53 of 211
                                          Coverage Is Provided In:
                                                                                               Policy Number:
           Lberty                         West American Insurance Company - a stock company   BKW (20) 59 62 88 50
    ~
           MutuaL                                                                              Policy Period:
             INSURANCE
                                                                                              From 03/01/2019 To 03/01/2020
                                                                                               12:01 am Standard Time
                                          Commercial      General Liability                    at Insured Mailing Location
                                          Declarations     Schedule
Named Insured                                                         Agent

 PONTUS MAG FAIRFIELD LLC,                                            (858) 487-8839
 PONTUS MAG VALLEJO LLC,                                              TANENBAUM-HARBER OF CALIFORNIA
                                                                      INC.

SUMMARY OF OTHER COVERAGE - continued


        COVERAGE DESCRIPTION                                                                                       PREMIUM




Commercial General Liability Schedule Total




To report a claim, call yourAgent or 1-800-362-0000


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                                                                POLICY NUMBER
                                                                BKW (20) 59 62 88 50
                                                                Policy Period:
                       Named Insured Endorsement                From 03/01/2019 To 03/01/2020
                                                                12:01 am Standard Time
                                                                at Insured Mailing Location




                     This Endorsement Changes The Policy. Please Read it Carefully.

                     The.complete Named Insured reads as follows:

                     PONTUS MAG FAIRFIELD LLC,
~                    PONTUS MAG VALLEJO LLC,
                     PONTUS FAIRFIELD LLC


~




    DS 88 04 03 15                                                                   PAGE 1 OF 1
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                                                                               COMMERCIAL GENERAL LIABILITY
                                                                                              CG 00 01 04 13

                       COMMERCIAL GENERAL LIABILITY COVERAGE FORM

    Various provisions in this policy restrict coverage.            b.   This insurance applies to "bodily injury"
    Read the entire policy carefully to determine                        and "property damage" only if:
    rights, duties and what is and is not covered.                       (1) The "bodily       injury" or "property
    Throughout this policy the words "you" and                               damage" is caused by an "occur-
    "your" refer to the Named Insured shown in the                           rence" that takes place in the "cov-
    Declarations, and any other person or organiza-                          erage territory";
    tion qualifying as a Named Insured under this                        (2) The "bodily injury" or "property
    policy. The words "we", "us" and "our" refer to                          damage" occurs during the policy
    the company providing this insurance.                                    period; and
    The word "insured" means any person or organi-                       (3) Prior to the policy period, no insured
    zation qualifying as such under Section II - Who Is                      listed under Paragraph 1. of Section
~   An Insured.                                                              II - Who Is An Insured and no "em-
    Other words and phrases that appear in quotation                         ployee" authorized by you to give or
    marks have special meaning. Refer to Section V-                          receive notice of an "occurrence" or
    Definitions.                                                             claim, knew that the "bodily injury"
~                                                                            or "property damage" had occurred,
~   SECTION I - COVERAGES                                                    in whole or in part. If such a listed
    COVERAGE A- BODILY INJURY AND PROPERTY                                   insured or authorized "employee"
    DAMAGE LIABILITY                                                         knew, prior to the policy period, that
                                                                             the "bodily injury" or "property dam-
    1.   Insuring Agreement
                                                                             age" occurred, then any continu-
         a.   We will pay those sums that the insured                        ation, change or resumption of such
              becomes legally obligated to pay as dam-                       "bodily injury" or "property dam-
~             ages because of "bodily injury" or "prop-                      age" during or after the policy period
              erty damage" to which this insurance ap-                       will be deemed to have been known
              plies. We will have the right and duty to                      prior to the policy period.
              defend the insured against any "suit"
                                                                    C.   "Bodily injury" or "property damage"
              seeking those damages. However, we
                                                                         which occurs during the policy period
              will have no duty to defend the insured
                                                                         and was not, prior to the policy period,
              against any "suit" seeking damages for
                                                                         known to have occurred by any insured
              "bodily injury" or "property damage" to
                                                                         listed under Paragraph 1. of Section II -
              which this insurance does not apply. We
                                                                         Who Is An Insured or any "employee" au-
              may, at our discretion, investigate any
              „occurrence„ and settle any claim or                       thorized by you to give or receive notice
                                                                         of an "occurrence” or claim, includes any
              "suit” that may result. But:
                                                                         continuation, change or resumption of
              (1) The amount we will pay for damages                     that "bodily injury" or "property dam-
~                 is limited as described in Section 111 -               age" after the end of the policy period.
e                 Limits Of Insurance; and
                                                                    d.   "Bodily injury" or "property damage"
              (2) Our right and duty to defend ends                      will be deemed to have been known to
                  when we have used up the applica-                      have occurred at the earliest time when
                  ble limit of insurartce in the payment                 any insured listed under Paragraph 1. of
                  of judgments or settlements under                      Section II - Who Is An Insured or any
                  Coverages A or B or medical ex-                        "employee" authorized by you to give or
                  penses under Coverage C.                               receive notice of an "occurrence"     or
              No other obligation or liability to pay                    claim:
              sums or perform acts or services is cov-                   (1) Reports all, or any part, of the "bod-
              ered unless explicitly provided for under                      ily injury" or "property damage" to
              Supplementary    Payments - Coverages A                        us or any other insurer;
              and B.
                                                                         (2) Receives a written or verbal demand
                                                                             or claim for damages because of the
                                                                             "bodily injury" or "property dam-
                                                                             age"; or



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          (3) Becomes aware by any other means                   c.   Liquor Liability
              that "bodily injury" or "property                       "Bodily injury" or "property damage" for
              damage" has occurred or has begun                       which any insured may be held liable by
              to occur.                                               reason of:
     e.   Damages because of "bodily injury" in-                      (1) Causing or contributing to the intoxi-
          clude damages claimed by any person or                          cation of any person;
          organization for care, loss of services or
                                                                      (2) The furnishing of alcoholic bever-
          death resulting at any time from the
                                                                          ages to a person under the legal
          "bodily injury".
                                                                          drinking age or under the influence
2.   Exclusions                                                           of alcohol; or
     This insurance does not apply to:                                (3) Any statute; ordinance or regulation
     a. Expected Or Intended Injury                                       relating to the sale, gift, distribution
        "Bodily injury" or "property damage" ex-                          or use of alcoholic beverages.
        pected or intended from the standpoint of                     This exclusion applies even if the claims
        the insured. This exclusion does not ap-                      against any insured allege negligence or
        ply to "bodily injury" resulting from the                     other wrongdoing in:
        use of reasonable force to protect per-                           (a) The supervision, hiring, employ-
        sons or property.                                                     ment, training or monitoring of
     b. Contractual Liability                                                 others by that insured; or
        "Bodily injury" or "property damage" for                          (b) Providing or failing to provide
        which the insured is obligated to pay                                 transportation   with respect to
        damages by reason of the assumption of                                any person that may be under
        liability in a contract or agreement. This                            the influence of alcohol;
        exclusion does not apply to liability for                     if the "occurrence" which caused the
        damages:                                                      "bodily injury" or "property damage", in-
          (1) That the insured would have in the                      volved that which is described in Para-
              absence of the contract or agree-                       graph (1), (2) or (3) above.
              ment; or                                                However, this exclusion applies only if
          (2) Assumed in a contract or agreement                      you are in the business of manufacturing,
              that is an "insured contract", pro-                     distributing, selling, serving or furnishing
              vided the "bodily injury" or "proper-                   alcoholic beverages. For the purposes of
              ty damage" occurs subsequent to the                     this exclusion, permitting a person to
              execution of the contract or agree-                     bring alcoholic beverages on your prem-
              ment. Solely for the purposes of li-                    ises, for consumption on your premises,
              ability assumed in an "insured con-                     whether or not a fee is charged or a li-
              tract", reasonable attorneys' fees                      cense is required for such activity, is not
              and necessary litigation expenses in-                   by itself considered the business of sell-
              curred by or for a party other than an                  ing, serving or furnishing alcoholic bev-
              insured are deemed to be damages                        erages.
              because of "bodily injury" or "prop-               d.   Workers'   Compensation      And    Similar
              erty damage", provided:                                 Laws
               (a) Liability to such party for, or for                Any obligation of the insured under a
                   the cost of, that party's defense                  workers' compensation, disability bene-
                   has also been assumed in the                       fits or unemployment compensation law
                   same "insured contract"; and                       or any similar law.
               (b) Such attorneys' fees and litiga-              e.   Employer's Liability
                   tion expenses are for defense of
                                                                      "Bodily injury" to:
                   that party against a civil or alter-
                   native dispute resolution pro-                     (1) An "employee" of the insured aris-
                   ceeding in which damages to                            ing out of and in the course of:
                   which this insurance applies are                       (a) Employment by the insured; or
                   alleged.                                               (b) Performing duties related to the
                                                                              conduct of the insured's busi-
                                                                              ness; or




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             (2) The spouse, child, parent, brother or                           (iii) "Bodily injury" or "property
                 sister of that "employee" as a con-                                   damage" arising out of heat,
                 sequence of Paragraph (1) above.                                      smoke or fumes from a
             This exclusion applies whether the in-                                    "hostile fire";
             sured may be liable as an employer or in                      (b) At or from any premises, site or
             any other capacity and to any obligation                          location which is or was at any
             to share damages with or repay someone                            time used by or for any insured
             else who must pay damages because of                              or others for the handling, stor-
             the injury.                                                       age, disposal,    processing   or
             This exclusion does not apply to liability                        treatment of waste;
             assumed by the insured under an "in-                          (c) Which are or were at any time
             sured contract".                                                  transported,  handled,     stored,
        f.   Pollution                                                         treated, disposed of, or pro-
                                                                               cessed as waste by or for:
             (1) "Bodily injury" or "property dam-
                 age" arising out of the actual, al-                             (i)   Any insured; or
"                leged    or threatened       discharge,                         (ii) Any person or organization
                 dispersal, seepage, migration, re-                                   for whom you may be legal-
                 lease or escape of "pollutants":                                     ly responsible; or
                 (a) At or from any premises, site or                      (d) At or from any premises, site or
o                    location which is or was at any                           location on which any insured or
~                    time owned or occupied by, or                             any contractors or subcontrac-
                     rented or loaned to, any insured.                         tors working directly or indirect-
                     However,     this  subparagraph                           ly on any insured's behalf are
                     does not apply to:                                        performing     operations  if the
                     (i)   "Bodily injury" if sustained                        "pollutants" are brought on or to
                           within a building and caused                        the premises, site or location in
"                          by smoke, fumes, vapor or                           connection with such operations
                           soot produced by or origi-                          by such insured, contractor or
                           nating from equipment that                          subcontractor.    However,     this
                           is used to heat, cool or de-                        subparagraph does not apply to:
                           humidify    the building, or                          (i)   "Bodily injury" or "property
                           equipment that is used to                                   damage" arising out of the
                           heat water for personal use,                                escape of fuels, lubricants or
                           by the building's occupants                                 other operating fluids which
                           or their guests;                                            are needed to perform the
                     (ii) "Bodily injury" or "property                                 normal electrical, hydraulic
                          damage" for which you may                                    or mechanical        functions
                          be held liable, if you are a                                 necessary for the operation
                          contractor and the owner or                                  of "mobile equipment"        or
                          lessee of such premises, site                                its parts, if such fuels,
~                         or location has been added                                   lubricants or other operating
                          to your policy as an addi-                                   fluids escape from a vehicle
                          tional insured with respect                                  part designed to hold, store
                          to your ongoing operations                                   or receive them. This excep-
m                         performed for that addition-                                 tion does not apply if the
                          al insured at that premises,                                 "bodily injury" or "property
                          site or location and such                                    damage" arises out of the
                          premises, site or location is                                intentional         discharge,
                          not and never was owned or                                   dispersal or release of the
                          occupied by, or rented or                                    fuels, lubricants or other op-
                          loaned to, any insured, other                                erating fluids, or if such fu-
                          than that additional insured;                                els, lubricants or other oper-
                          or                                                           ating fluids are brought on
                                                                                       or to the premises, site or lo-
                                                                                       cation with the intent that
                                                                                       they be discharged,        dis-
                                                                                       persed or released as part of


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                            the operations being per-               g.   Aircraft, Auto Or Watercraft
                            formed by such insured,
                                                                         "Bodily injury" or "property damage"
                            contractor or subcontractor;
                                                                         arising out of the ownership, mainten-
                     (ii) "Bodily injury" or "property                   ance, use or entrustment to others of any
                           damage" sustained within a                    aircraft, "auto" or watercraft owned or
                           building and caused by the                    operated by or rented or loaned to any
                          release of gases, fumes or                     insured. Use includes operation and
                           vapors      from    materials                 "loading or unloading".
                          brought into that building in
                                                                         This exclusion applies even if the claims
                          connection with operations
                                                                         against any insured allege negligence or
                          being performed by you or
                                                                         other wrongdoing in the supervision, hir-
                          on your behalf by a contrac-
                                                                         ing, employment, training or monitoring
                          tor or subcontractor; or
                                                                         of others by that insured, if the "occur-
                     (iii) Bodily injury" or "property                   rence" which caused the "bodily injury"
                          damage" arising out of heat,                   or "property damage" involved the own-
                          smoke or fumes from a                          ership, maintenance, use or entrustment
                          "hostile fire".                                to others of any aircraft, "auto" or water-
                (e) At or from any premises, site or                     craft that is owned or operated by or
                     location on which any insured or                    rented or loaned to any insured.
                     any contractors or subcontrac-                      This exclusion does not apply to:
                     tors working directly or indirect-
                                                                         (1) A watercraft while ashore on prem-
                     ly on any insured's behalf are
                                                                             ises you own or rent;
                     performing operations if the op-
                     erations are to test for, monitor,                  (2) A watercraft you do not own that is:
                     clean up, remove, contain, treat,                       (a) Less than 26 feet long; and
                     detoxify or neutralize, or in any                       (b) Not being used to carry persons
                     way respond to, or assess the ef-                           or property for a charge;
                     fects of, "pollutants".
                                                                         (3) Parking an "auto" on, or on the ways
            (2) Any loss, cost or expense arising out                        next to, premises you own or rent,
                of any:                                                      provided the "auto" is not owned by
                   (a) Request, demand, order or statu-                      or rented or loaned to you or the in-
                       tory or regulatory requirement                        sured;
                       that any insured or others test                   (4) Liability assumed under any "in-
                       for, monitor, clean up, remove,                       sured contract" for the ownership,
                       contain, treat, detoxify or neu-                      maintenance or use of aircraft or
                       tralize, or in any way respond to,                    watercraft; or
                       or assess the effects of, "pollu-
                                                                         (5) "Bodily injury" or "property     dam-
                       tants"; or
                                                                             age" arising out of:
                   (b) Claim or suit by or on behalf of a
                                                                             (a) The operation of machinery or
                        governmental authority for dam-
                                                                                 equipment that is attached to, or
o
                        ages because of testing for,
                                                                                 part of, a land vehicle that would
                        monitoring, cleaning up, remov-
                                                                                 qualify under the definition of
                        ing, containing, treating, detox-
                                                                                  mobile equipment        if it were
                        ifying or neutralizing, or in any
                                                                                 not subject to a compulsory or
m                       way responding to, or assessing
                                                                                 financial responsibility     law or
                        the effects of, "pollutants".
                                                                                 other motor vehicle insurance
                   However, this paragraph does not                              law where it is licensed or princi-
                   apply to liability for damages be-                            pally garaged; or
                   cause of "property damage" that the
                                                                             (b) The operation of any of the ma-
                   insured would have in the absence of
                                                                                 chinery . or equipment listed in
                   such request, demand, order or stat-
                                                                                 Paragraph f.(2) or f.(3) of the
                   utory or regulatory requirement, or
                                                                                 definition   of "mobile   equip-
                   such claim or "suit" by or on behalf
                                                                                 inent".
                   of a governmental authority.




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        h.   Mobile Equipment                                           (6) That particular part of any property
             "Bodily injury"   or "property     damage"                     that must be restored, repaired or re-
             arising out of:                                                placed because "your work" was in-
                                                                            correctly performed on it.
             (1) The transportation of "mobile equip-
                 ment" by an "auto" owned or oper-                      Paragraphs (1), (3) and (4) of this exclu-
                 ated by or rented or loaned to any                     sion do not apply to "property damage"
                 insured; or                                            (other than damage by fire) to premises,
                                                                        including the contents of such premises,
             (2) The use of "mobile equipment" in, or
                                                                        rented to you for a period of seven or
                 while in practice for, or while being
                                                                        fewer consecutive days. A separate limit
                 prepared for, any prearranged rac-
                                                                        of insurance applies to Damage To Prem-
                 ing, speed, demolition, or stunting
                                                                        ises Rented To You as described in Sec-
                 activity.
                                                                        tion 111 - Limits Of Insurance.
        i.   War
                                                                        Paragraph (2) of this exclusion doe's not
             "Bodily injury" or "property damage",                      apply if the premises are "your work"
~            however caused, arising, directly or indi-                 and were never occupied, rented or held
             rectly, out of:                                            for rental by you.
             (1) War, including    undeclared    or civil               Paragraphs (3), (4), (5) and (6) of this ex-
                   war;                                                 clusion do not apply to liability assumed
~            (2) Warlike action by a military force, in-                under a sidetrack agreement.
~                cluding action in hindering or de-                     Paragraph (6) of this exclusion does not
                 fending against an actual or expect-                   apply to "property damage" included in
                 ed attack, by any government,                          the "products-completed   operations haz-
                 sovereign or other authority using                     ard".
                 military personnel or other agents;
                                                                   k.   Damage To Your Product
                   or
                                                                        "Property damage" to "your product"
~            (3) Insurrection, rebellion,  revolution,
                                                                        arising out of it or any part of it.
                 usurped power, or action taken by
                 governmental authority in hindering                    Damage To Your Work
                 or defending against any of these.                     "Property damage" to "your work" aris-
       j.    Damage To Property                                         ing out of it or any part of it and included
                                                                        in the "products-completed        operations
             "Property damage" to:
                                                                        hazard".
             (1) Property you own, rent, or occupy,
                                                                        This exclusion does not apply if the
                 including any costs or expenses in-
                                                                        damaged work or the work out of which
                 curred by you, or any other person,
                                                                        the damage arises was performed on
                 organization or entity, for repair, re-
                                                                        your behalf by a subcontractor.
                 placement, enhancement,       restora-
                 tion or maintenance of such property              m. Damage To Impaired Property Or Prop-
                 for any reason, including prevention                 erty Not Physically Injured
~                of injury to a person or damage to                     "Property damage" to "impaired proper-
o                another's property;                                    ty" or property that has not been phys-
             (2) Premises you sell, give away or                        ically injured, arising out of:
                 abandon, if the "property damage"                      (1) A defect, deficiency, inadequacy or
                 arises out of any part of those prem-                      dangerous condition in "your prod-
                 ises;                                                      uct" or "your work"; or
             (3) Property loaned to you;                                (2) A delay or failure by you or anyone
             (4) Personal property in the care, custo-                      acting on your behalf to perForm a
                 dy or control of the insured;                              contract or agreement in accordance
                                                                            with its terms.
             (5) That particular part of real property
                 on which you or any contractors or                     This exclusion does not apply to the loss
                 subcontractors  working directly or                    of use of other property arising out of
                 indirectly on your behalf are per-                     sudden and accidental physical injury to
                 forming operations, if the "property                   "your product" or "your work" after it
                 damage" arises out of those oper-                      has been put to its intended use.
                 ations; or



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        n.   Recall Of Products, Work Or Impaired                         (4) Any federal, state or local statute, or-
             Property                                                         dinance or regulation, other than the
             Damages claimed for any loss, cost or ex-                        TCPA, CAN-SPAM Act of 2003 or
             pense incurred by you or others for the                          FCRA and their amendments and ad-
             loss of use, withdrawal, recall, inspec-                         ditions, that addresses, prohibits, or
             tion, repair, replacement, adjustment, re-                       limits the printing, dissemination,
             moval or disposal of:                                            disposal, collecting, recording, send-
                                                                              ing, transmitting, communicating or
             (1) "Your product";
                                                                              distribution of material or informa-
             (2) "Your work"; or                                              tion.
             (3) "Impaired property";                                Exclusions c. through n. do not apply to dam-
             if such product, work, or property is with-             age by fire to premises while rented to you or
             drawn or recalled from the market or                    temporarily occupied by you with permission
             frorri use by any person or organization                of the owner. A separate limit of insurance
             because of a known or suspected defect,                 applies to this coverage as described in Sec-
             deficiency,   inadequacy    or dangerous                tion III - Limits Of Insurance.
             condition in it.
        o.   Personal And Advertising Injury                    COVERAGE B- PERSONAL AND ADVERTISING
                                                                INJURY LIABILITY
             "Bodily injury" arising out of "personal
             and advertising injury".                           1.   Insuring Agreement

        p.   Electronic Data                                         a.   We will pay those sums that the insured
                                                                          becomes legally obligated to pay as dam-
             Damages arising out of the loss of, loss
                                                                          ages because of personal and advertis-
             of use of, damage to, corruption of, in-                               „
                                                                                       to which this insurance ap-
             ability to access, or inability to manipu-                   ing injury
                                                                          plies. We will have the right and duty to
             late electronic data.
                                                                          defend the insured against any "suit"
             However, this exclusion does not apply                       seeking those damages. However, we
             to liability for damages because of "bod-                    will have no duty to defend the insured
             ily injury".                                                 against any "suit" seeking damages for
             As used in this exclusion, electronic data                   "personal   and advertising     injury"  to
             means information, facts or programs                         which this insurance does not apply. We
             stored as or on, created or used on, or                      may, at our discretion, investigate any of-
             transmitted to or from computer soft-                        fense and settle any claim or "suit" that
             ware, including, systems and applications                    may result. But:
             software, hard or floppy disks, CD-ROMs,                     (1) The amount we will pay for damages
             tapes, drives, cells, data processing de-                        is limited as described in Section III -
             vices or any other media which are used                          Limits Of Insurance; and
             with electronically controlled equipment.
                                                                          (2) Our right and duty to defend end
        q.   Recording And Distribution Of Material                           when we have used up the applica-
             Or Information In Violation Of Law                               ble limit of insurance in the payment
~            "Bodily injury" or "property damage"                             of judgments or settlements under
~            arising directly or indirectly out of any ac-                    Coverages A or B or medical ex-
             tion or omission that violates or is al-                         penses under Coverage C.
             leged to violate:                                            No other obligation or liability to pay
`            (1) The Telephone Consumer Protection                        sums or perform acts or services is cov-
                 Act (TCPA), including any amend-                         ered unless explicitly provided for under
                 ment of or addition to such law;                         Supplementary Payments - Coverages A.
             (2) The CAN-SPAM Act of 2003, includ-                        and B.
                 ing any amendment of or addition to                 b.   This insurance applies to "personal and
                 such law;                                                advertising injury" caused by an offense
             (3) The Fair Credit Reporting Act (FCRA),                    arising out of your business but only if
                 and any amendment of or addition to                      the offense was committed in the "cov-
                 such law, including the Fair and Ac-                     erage territory" during the policy period.     ,
                 curate   Credit   Transactions    Act
                 (FACTA); or




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    2.   Exclusions                                                I.   Infringement  Of Copyright,         Patent,
         This insurance does not apply to:                              Trademark Or Trade Secret
         a.   Knowing Violation Of Rights Of Another                    "Personal and advertising injury" arising
                                                                        out of the infringement of copyright, pat-
              "Personal and advertising injury" caused
                                                                        ent, trademark, trade secret or other in-
              by or at the direction of the insured with
                                                                        tellectual property rights. Under this ex-
              the knowledge that the act would violate
                                                                        clusion, such other intellectual property
              the rights of another and would inflict
                                                                        rights do not include the use of another's
              "personal and advertising injury".
                                                                        advertising idea in your "advertisement".
         b.   Material Published With Knowledge Of
                                                                        However, this exclusion does not apply
              Falsity
                                                                        to infringement, in your "advertisement",
              "Personal and advertising injury" arising                 of copyright, trade dress or slogan.
              out of oral or written publication, in any           j    Insureds In Media     And Internet Type
              manner, of material, if done by or at the
                                                                        Businesses
              direction of the insured with knowledge
              of its falsity.                                           "Personal and advertising injury" com-
~
                                                                        mitted by an insured whose business is:
         c.   Material Published Prior To Policy Period
              "Personal and advertising injury" arising                 (1) Advertising, broadcasting,     publish-
                                                                            ing or telecasting;
              out of oral or written publication, in any
~             manner, of material whose first publica-                  (2) Designing or determining     content of
~             tion took place before the beginning of                       web sites for others; or
              the policy period.                                        (3) An Internet search, access, content
         d.   Criminal Acts                                                 or service provider.
              "Personal and advertising injury" arising                 However, this exclusion does not apply
              out of a criminal act committed by or at                  to Paragraphs 14.a., b. and c. of "person-
              the direction of the insured.                             al and advertising injury" under the Defi-
                                                                        nitions section.
"        e.   Contractual Liability
                                                                        For the purposes of this exclusion, the
              "Personal and advertising injury" for
                                                                        placing of frames, borders or links, or ad-
              which the insured has assumed liability
                                                                        vertising, for you or others anywhere on
              in a contract or agreement. This exclu-
                                                                        the Intemet, is not by itself, considered
              sion does not apply to liability for dam-
                                                                        the business of advertising, broadcast-
              ages that the insured would have in the
                                                                        ing, publishing or telecasting.
              absence of the contract or agreement.
                                                                   k.   Electronic Chatrooms Or Bulletin Boards
         f.   Breach Of Contract
                                                                        "Personal and advertising injury" arising
              "Personal and advertising injury" arising
                                                                        out of an electronic chatroom or bulletin
              out of a breach of contract, except an im-
                                                                        board the insured hosts, owns, or over
              plied contract to use another's advertis-
                                                                        which the insured exercises control.
              ing idea in your "advertisement".
                                                                   I.   Unauthorized Use Of Another's Name Or
         g.   Quality Or Performance Of Goods - Fail-
                                                                        Product
o             ure To Conform To Statements
                                                                        "Personal and advertising injury" arising
              "Personal and advertising injury" arising
                                                                        out of the unauthorized use of another's
              out of the failure of goods, products or
                                                                        name or product in your e-mail address,
              services to conform with any statement
                                                                        domain name or metatag, or any other
~             of quality or performance made in your
                                                                                   tactics mislead another's po-
              "advertisement".
                                                                        tentilalr custo
         h.   Wrong Description Of Prices
                                                                   m. Pollution
              "Personal and advertising injury" arising
                                                                        "Personal and advertising injury" arising
              out of the wrong description of the price
                                                                        out of the actual, alleged or threatened
              of goods, products or services stated in
                                                                        discharge, dispersal, seepage, migration,
              your "advertisement".
                                                                        release or escape of "pollutants" at any
                                                                        time.




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    n.   Pollution-related                                       (4) Any federal, state or local statute, or-
         Any loss, cost or expense arising out of                    dinance or regulation, other than the
         any:                                                        TCPA, CAN-SPAM Act of 2003 or
                                                                     FCRA and their amendments and ad-
         (1) Request, demand, order or statutory
                                                                     ditions, that addresses, prohibits, or
              or regulatory requirement that any
                                                                     limits the printing, dissemination,
              insured or others test for, monitor,
                                                                     disposal, collecting, recording, send-
              clean up, remove, contain, treat, de-
                                                                     ing, transmitting, communicating or
              toxify or neutralize, or in any way re-
                                                                     distribution of material or informa-
              spond to, or assess the effects of,
                                                                     tion.
              "pollutants"; or
                                                           COVERAGE C - MEDICAL PAYMENTS
         (2) Claim or suit by or on behalf of a
              governmental authority for damages           1.   Insuring Agreement
              because of testing for, monitoring,               a. We will pay medical expenses as de-
              cleaning up, removing, containing,                    scribed below for "bodily injury" caused
              treating, detoxifying or neutralizing,                by an accident:
              or in any way responding to, or as-                   (1) On premises you own or rent;
              sessing the effects of, "pollutants".
                                                                     (2) On ways next to premises you own
    o.   War                                                             or rent; or
         "Personal and advertising injury", how-                     (3) Because of your operations;
         ever caused, arising, directly or indirect-
                                                                     provided that:
         ly, out of:
                                                                          (a) The accident takes place in the
         (1) War, including    undeclared    or civil
                                                                               "coverage territory" and during
             war;
                                                                               the policy period;
         (2) Warlike action by a military force, in-
                                                                          (b) The expenses are incurred and
             cluding action in hindering or de-
                                                                               reported to us within one year of
             fending against an actual or expect-
                                                                               the date of the accident; and
             ed attack, by any government,
             sovereign or other authority using                           (c) The injured person submits to
             military personnel or other agents;                               examination, at our expense, by
             or                                                                physicians of our choice as often
                                                                               as we reasonably require.
         (3) Insurrection, rebellion, revolution,
             usurped power, or action taken by                  b.   We will make these payments regardless
             governmental authority in hindering                     of fault. These payments will not exceed
             or defending against any of these.                      the applicable limit of insurance. We will
                                                                     pay reasonable expenses for:
    p.   Recording And Distribution Of Material
         Or Information In Violation Of Law                          (1) First aid administered   at the time of
                                                                         an accident;
          Personal and advertising injury arising
         directly or indirectly out of any action or                 (2) Necessary medical, surgical, X-ray
         omission that violates or is alleged to vio-                    and dental services, including pros-
         late:                                                           thetic devices; and
         (1) The Telephone Consumer Protection                       (3) Necessary ambulance, hospital, pro-
             Act (TCPA), including any amend-                            fessional nursing and funeral ser-
             ment of or addition to such law;                            vices.
         (2) The CAN-SPAM Act of 2003, includ-             2•   Exclusions
             ing any amendment of or addition to                We will not pay expenses for "bodily injury":
             such law;                                          a. Any Insured
         (3) The Fair Credit Reporting Act (FCRA),                   To any insured,       except     "volunteer
             and any amendment of or addition to                     workers".
             such law, including the Fair and Ac-
                                                                b.   Hired Person
             curate    Credit  Transactions    Act
             (FACTA); or                                             To a person hired to do work for or on
                                                                     behalf of any insured or a tenant of any
                                                                     insured.




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                c.   Injury On Normally Occupied Premises                    g•   AII interest on the full amount of any
                                                                                  judgment that accrues after entry of the
                     To a person injured on that part of prem-
                                                                                  judgment and before we have paid, of-
                     ises you own or rent that the person nor-
                                                                                  fered to pay, or deposited in court the
                     mally occupies.
                                                                                  part of the judgment that is within the ap-
                d.   Workers'     Compensation      And   Similar                 plicable limit of insurance.
                     Laws
                                                                             These payments will not reduce the limits of
                     To a person, whether or not an "employ-                 insurance.
                     ee" of any insured, if benefits for the
                                                                        2.   If we defend an insured against a"suit" and
                      bodily injury    are payable or must be
                                                                             an indemnitee of the insured is also named as
                     provided under a workers' compensation
                                                                             a party to the "suit", we will defend that
                     or disability benefits law or a similar law.
                                                                             indemnitee if all of the following conditions
                e.   Athletics Activities                                    are met:
                     To a person injured while practicing, in-               a.   The "suit" against the indemnitee seeks
                     structing or participating in any physical                   damages for which the insured has as-
~                    exercises or games, sports, or athletics                     sumed the liability of the indemnitee in a
                     contests.                                                    contract or agreement that is an "insured
    MMMM        f.   Products-Completed Operations Hazard                         contract";
                     Included within the "products-completed                 b.   This' insurance applies to such liability
R                    operations hazard".                                          assumed by the insured;
~               g.   Coverage A Exclusions                                   c.   The obligation to defend, or the cost of
                     Excluded under Coverage A.                                   the defense of, that indemnitee, has also
                                                                                  been assumed by the insured in the same
           SUPPLEMENTARY PAYMENTS - COVERAGES A
                                                                                  insured contract';
           AND B
                                                                             d.   The allegations in the "suit" and the in-
           1.   We will pay, with respect to any claim we in-
                                                                                  formation we know about the "occur-
                vestigate or settle, or any "suit" against an
N                                                                                 rence" are such that no conflict appears
                insured we defend:
                                                                                  to exist between the interests of the in-
                a.   AII expenses we incur.                                       sured    and   the   interests   of   the
                b.   Up to $250 for cost of bail bonds required                   indemnitee;
                     because of accidents or traffic law viola-              e.   The indemnitee and the insured ask us to
                     tions arising out of the use of any vehicle                  conduct and control the defense of that
                     to which the Bodily Injury Liability Cov-                    indemnitee against such "suit" and agree
                     erage applies. We do not have to furnish                     that we can assign the same counsel to
                     these bonds.                                                 defend the insured and the indemnitee;
                c.   The cost of bonds to release attachments,                    and
                     but only for bond amounts within the ap-                f.   The indemnitee:
                     plicable limit of insurance. We do not
                                                                                  (1) Agrees in writing to:
                     have to furnish these bonds.
                                                                                      (a) Cooperate with us in the inves-
~               d.   All reasonable expenses incurred by the
                                                                                          tigation, settlement or defense
o                    insured at our request to assist us in the
                                                                                          of the suit ,
                     investigation or defense of the claim or
                     "suit", including actual loss of earnings                        (b) Immediately send us copies of
                     up to $250 a day because of time off from                            any demands,      notices, sum-
~                    work.                                                                monses or legal papers received
                                                                                          in connection with the "suit";
                e.   AII court costs taxed against the insured
                     in the "suit".   However, these payments                         (c) Notify any other insurer whose
                     do not include attorneys' fees or attor-                               coverage is available    to   the
                     neys' expenses taxed against the in-                                   indemnitee; and
                     sured.                                                           (d) Cooperate with us with respect
                f.   Prejudgment interest awarded against                                 to coordinating other applicable
                     the insured on that part of the judgment                             insurance     available to   the
                     we pay. If we make an offer to pay the                               indemnitee; and
                     applicable limit of insurance, we will not
                     pay any prejudgment interest based on
                     that period of time after the offer.



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                (2) Provides us with written      authoriza-            e.   A trust, you are an insured. Your trustees
                    tion to:                                                 are also insureds, but only with respect
                    (a) Obtain records and other infor-                      to their duties as trustees.
                        mation related to the "suit"; and          2.   Each of the following is also an insured:
                    (b) Conduct and control the defense                 a.   Your "volunteer workers" only while per-
                        of the indemnitee in such "suit".                    forming duties related to the conduct of
         So long as the above conditions are met, at-                        your business, or your "employees", oth-
         torneys' fees incurred by us in the defense of                      er than either your "executive officers" (if
         that    indemnitee,    necessary    litigation   ex-                you are an organization other than a part-
         penses incurred by us and necessary litiga-                         nership, joint venture or limited liability
         tion expenses incurred by the indemnitee at                         company) or your managers (if you are a
         our request will be paid as Supplementary                           limited liability company), but only for
         Payments. Notwithstanding the provisions of                         acts within the scope of their employ-
         Paragraph 2.b.(2) of Section I- Coverage A-                         ment by you or while performing duties
         Bodily Injury And Property Damage Liability,                        related to the conduct of your business.
         such payments will not be deemed to be                              However, none of these "employees" or
         damages for "bodily injury" and "property                           "volunteer workers" are insureds for:
         damage" and will not reduce the limits of in-                       (1) "Bodily injury" or "personal and ad-
         surance.                                                                vertising injury":
         Our obligation      to defend an insured's                              (a) To you, to your partners or
         indemnitee and to pay for attorneys' fees and                               members (if you are a partner-
         necessary litigation expenses as Supplemen-                                 ship or joint venture), to your
         tary Payments ends when we have used up                                     members (if you are a limited li-
         the applicable limit of insurance in the pay-                               ability company), to a co-"em-
         ment of judgments or settlements or the con-                                ployee" while in the course of
         ditions set forth above, or the terms of the                                his or her employment or per-
         agreement described in Paragraph f. above,                                  forming duties related to the
         are no longer met.                                                          conduct of your business, or to
    SECTION II - WHO IS AN INSURED                                                    your other "volunteer    workers"
                                                                                      while performing duties related
    1.   If you are designated in the Declarations as:
                                                                                      to the conduct of your business;
         a.     An individual, you and your spouse are
                                                                                 (b) To the spouse, child, parent,
                insureds, but only with respect to the
                                                                                     brother or sister of that co- "em-
                conduct of a business of which you are
                                                                                     ployee" or "volunteer worker"
                the sole owner.
                                                                                     as a consequence of Paragraph
         b.     A partnership or joint venture, you are an                           (1)(a) above;
                insured. Your members, your partners,
                                                                                 (c) For which there is any obligation
                and their spouses are also insureds, but
                                                                                     to share damages with or repay
                only with respect to the conduct of your
                                                                                     someone else who must pay
                business.
                                                                                     damages because of the injury
`        c.     A limited liability company, you are an                              described in Paragraph (1)(a) or
~               insured. Your members are also in-                                   (b) above; or
                sureds, but only with respect to the con-
                                                                                 (d) Arising out of his or her provid-
                duct of your business. Your managers are
                                                                                     ing or failing to provide profes-
~               insureds, but only with respect to their
                                                                                     sional health care services.
                duties as your managers.
                                                                             (2) "Property damage" to property:
         d.     An organization other than a partnership,
                joint venture or limited liability company,                      (a) Owned, occupied or used by;
                you are an insured. Your "executive of-                          (b) Rented to, in the care, custody or
                ficers" and directors are insureds, but                              control of, or over which phys-
                only with respect to their duties as your                            ical control is being exercised for
                officers or directors. Your stockholders                             any purpose by;
                are also insureds, but only with respect                         you, any of your "employees", "vol-
                to their liability as stockholders.                              unteer workers",        any partner or
                                                                                 member (if you are a partnership or
                                                                                 joint venture), or any member (if you
                                                                                 are a limited liability company).


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         b.   Any person (other than your "employee"                  b.   Damages under Coverage A, except dam-
              or "volunteer worker"), or any organiza-                     ages because of "bodily injury" or "prop-
              tion while acting as your real estate man-                   erty damage" included in the "products-
              ager.                                                        completed operations hazard"; and
         c.   Any person or organization having prop-                 c.   Damages under Coverage B.
              er temporary custody of your property if           3.   The Products-Completed Operations Aggre-
              you die, but only:                                      gate Limit is the most we will pay under
              (1) With respect to liability arising out of            Coverage A for damages because of "bodily
                  the maintenance or use of that prop-                injury" and "property damage" included in
                  erty; and                                           the "products-completed operations hazard".
              (2) Until your legal representative     has        4.   Subject to Paragraph 2. above, the Personal
                  been appointed.                                     And Advertising Injury Limit is the most we
         d.   Your legal representative if you die, but               will pay under Coverage B for the sum of all
              only with respect to duties as such. That               damages because of all "personal and adver-
              representative will have all your rights                tising injury" sustained by any one person or
"             and duties under this Coverage Part.                    organization.
    3.   Any organization you newly acquire or form,             5.   Subject to Paragraph 2. or 3. above, - which-
         other than a partnership, joint venture or                   ever applies, the Each Occurrence Limit is the
         limited liability company, and over which you                most we will pay for the sum of:
o
         maintain ownership or majority interest, will                a.   Damages under Coverage A; and
         qualify as a Named Insured if there is no oth-               b.   Medical expenses under Coverage C
         er similar insurance available to that organi-
                                                                      because of all "bodily injury" and "property
         zation. However:
                                                                      damage" arising out of any one "occur-
         a.   Coverage under this provision is afforded               rence".
              only until the 90th day after you acquire
                                                                 6.   Subject to Paragraph 5. above, the Damage
              or form the organization or the end of the
                                                                      To Premises Rented To You Limit is the most
"             policy period, whichever is earlier;
                                                                      we will pay under Coverage A for damages
         b.   Coverage A does not apply to "bodily in-                because of "property damage" to any one
              jury" or "property damage" that occurred                premises, while rented to you, or in the case
              before you acquired or formed the orga-                 of damage by fire, while rented to you or tem-
              nization; and                                           porarily occupied by you with permission of
         c.   Coverage B does not apply to "personal                  the owner.
              and advertising injury" arising out of an          7.   Subject to Paragraph 5. above, the Medical
              offense committed before you acquired                   Expense Limit is the most we will pay under
              or formed the organization.                             Coverage C for all medical expenses because
    No person or organization is an insured with re-                  of "bodily injury" sustained by any one per-
    spect to the conduct of any current or past part-                 son.
    nership, joint venture or limited liability company          The Limits of Insurance of this Coverage Part ap-
    that is not shown as a Named Insured in the Dec-             ply separately to each consecutive annual period
'   larations.                                                   and to any remaining period of less than 12
0
    SECTION III - LIMITS OF INSURANCE                            months, starting 'with the beginning of the policy
    1.   The Limits of Insurance shown in the Declara-           period shown in the Declarations, unless the poli-
         tions and the rules below fix the most we will          cy period is extended after issuance for an addi-
~        pay regardless of the number of:                        tional period of less than 12 months. In that case,
                                                                 the additional period will be deemed part of the
         a.   Insureds;
                                                                 last preceding period for purposes of determining
         b.   Claims made or "suits" brought; or                 the Limits of Insurance.
         c.   Persons or organizations    making claims          SECTION    IV   -  COMMERCIAL            GENERAL
              or bringing "suits".                               LIABILITY CONDITIONS
    2.   The General Aggregate Limit is the most we              1.   Bankruptcy
         will pay for the sum of:
                                                                      Bankruptcy or insolvency of the insured or of
         a.   Medical expenses under Coverage C;                      the insured's estate will not relieve us of our
                                                                      obligations under this Coverage Part.




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    2.   Duties In The Event Of Occurrence, Offense,                A person or organization may sue us to re-
         Claim Or Suit                                              cover on an agreed settlement or on a final
         a. You must see to it that we are notified as              judgment against an insured; but we will not
             soon as practicable of an "occurrence" or              be liable for damages that are not payable un-
             an offense which may result in a claim.                der the terms of this Coverage Part or that are
             To the extent possible, notice should in-              in excess of the applicable limit of insurance.
             clude:                                                 An agreed settlement means a settlement
                                                                    and release of liability signed by us, the in-
             (1) How, when and where the "occur-
                                                                    sured and the claimant or the claimant's legal
                  rence" or offense took place;
                                                                    representative.
             (2) The names and addresses of any in-             4
                                                                    Other Insurance
                 jured persons and witnesses; and
                                                                    If other valid and collectible insurance is
              (3) The nature and location of any injury
                                                                    available to the insured for a loss we cover
                  or damage arising out of the "occur-
                                                                    under Coverages A or B of this Coverage Part,
                  rence" or offense.
                                                                    our obligations are limited as follows:
         b.   If a claim is made or "suit" is brought
                                                                    a.   Primary Insurance
              against any insured, you must:
                                                                         This insurance is primary except when
              (1) Immediately record the specifics of
                                                                         Paragraph b. below applies. If this insur-
                  the claim or "suit" and the date re-
                                                                         ance is primary, our obligations are not
                  ceived; and
                                                                         affected unless any of the other insur-
              (2) Notify us as soon as practicable.                      ance is also primary. Then, we will share
              You must see to it that we receive written                 with all that other insurance by the meth-
              notice of the claim or "suit" as soon as                   od described in Paragraph c. below.
              practicable.                                          b.   Excess Insurance
         c.   You and any other involved insured                         (1) This insurance is excess over:
              must:
                                                                             (a) Any of the other insurance,
              (1) Immediately send us copies of any                              whether primary, excess, contin-
                  demands, notices, summonses or le-                             gent or on any other basis:
                  gal papers received in connection
                                                                                   (i) That is Fire, Extended Cov-
                  with the claim or "suit";
                                                                                       erage, Builder's Risk, Instal-
              (2) Authorize us to obtain records and                                   lation   Risk    or   similar
                  other information;                                                   coverage for "your work";
              (3) Cooperate with us in the investiga-                              (ii) That is Fire insurance for
                  tion or settlement of the claim or de-                                premises rented to you or
                  fense against the "suit"; and                                         temporarily occupied by you
              (4) Assist us, upon our request, in the                                   with permission of the own-
                  enforcement of any right against any                                  er;
                  person or organization which may be                              (iii) That is insurance purchased
                  liable to the insured because of in-                                   by you to cover your liability
~                 jury or damage to which this insur-                                    as a tenant for "property
~                 ance may also apply.                                                   damage" to premises rented
         d.   No insured will, except at that insured's                                  to you or temporarily occu-
              own cost, voluntarily make a payment,                                      pied by you with permission
"             assume any obligation, or incur any ex-                                    of the owner; or
              pense, other than for first aid, without our                         (iv) If the loss arises out of the
              consent.                                                                  maintenance or use of air-
    3.   Legal Action Against Us                                                        craft, "autos" or watercraft
         No person or organization     has a right under                                to the extent not subject to
         this Coverage Part:                                                            Exclusion g. of Section I-
                                                                                        Coverage A - Bodily Injury
         a.   To join us as a party or otherwise bring
                                                                                        And Property Damage Li-
              us into a"suit" asking for damages from
                                                                                        ability.
              an insured; or
         b.   To sue us on this Coverage Part unless all
              of its terms have been fully complied
              with.


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                  (b) Any other primary insurance                     b.   Premium shown in this Coverage Part as
                      available to you covering liabil-                    advance premium is a deposit premium
                      ity for damages arising out of the                   only. At the close of each audit period we
                      premises or operations, or the                       will compute the earned premium for
                      products and completed oper-                         that period and send notice to the first
                      ations, for which you have been                      Named Insured. The due date for audit
                      added as an additional insured.                      and retrospective premiums is the date
              (2) When this insurance is excess, we                        shown as the due date on the bill. If the
                  will have no duty under Coverages A                      sum of the advance and audit premiums
                  or B to defend the insured against                       paid for the policy period is greater than
                  any "suit" if any other insurer has a                    the earned premium, we will return the
                  duty to defend the insured against                       excess to the first Named Insured.
                  that "suit". If no other insurer de-                c.   The first Named Insured must keep
                  fends, we will undertake to do so, but                   records of the information we need for
                  we will be entitled to the insured's                     premium     computation,  and send us
N                 rights against all those other insur-                    copies at such times as we may request.
                  ers.                                           6.   Representations
              (3) When this insurance is excess over                  By accepting this policy, you agree:
                  other insurance, we will pay only our
                                                                      a.   The statements in the Declarations     are
                  share of the amount of the loss, if
                                                                           accurate and complete;
o                 any, that exceeds the sum of:
                                                                      b.   Those statements are based upon repre-
                  (a) The total amount that all such
                                                                           sentations you made to us; and
                      other insurance would pay for
                      the loss in the absence of this in-             c.   We have issued this policy     in reliance
                      surance; and                                         upon your representations.

                  (b) The total of all deductible and            7.   Separation Of Insureds
~                     self-insured amounts under all                  Except with respect to the Limits of Insur-
                      that other insurance.                           ance, and any rights or duties specifically as-
              (4) We will share the remaining loss, if                signed in this Coverage Part to the first
                  any, with any other insurance that is               Named Insured, this insurance applies:
                  not described in this Excess Insur-                 a.   As if each Named Insured were the only
                  ance provision and was not bought                        Named Insured; and
                  specifically to apply in excess of the              b.   Separately to each insured against whom
                  Limits of Insurance shown in the                         claim is made or "suit" is brought.
                  Declarations of this Coverage Part.
                                                                 8.   Transfer Of Rights Of Recovery Against Oth-
         c.   Method Of Sharing                                       ers To Us
              If all of the other insurance permits con-              If the insured has rights to recover all or part
              tribution by equal shares, we will follow               of any payment we have made under this
              this method also. Under this approach                   Coverage Part, those rights are transferred to
~             each insurer contributes equal amounts                  us. The insured must do nothing after loss to
o             until it has paid its applicable limit of in-           impair them. At our request, the insured will
              surance or none of the loss remains,                    bring "suit" or transfer those rights to us and
              whichever comes first.                                  help us enforce them.
p             If any of the other insurance does not per-        9.   When We Do Not Renew
              mit contribution by equal shares, we will
                                                                      If we decide not to renew this Coverage Part,
              contribute by limits. Under this method,
                                                                      we will mail or deliver to the first Named In-
              each insurer's share is based on the ratio
                                                                      sured shown in the Declarations written no-
              of its applicable limit of insurance to the
                                                                      tice of the nonrenewal not less than 30 days
              total applicable limits of insurance of all
                                                                      before the expiration date.
              insurers.
                                                                      If notice is mailed, proof of mailing   will be
    5.   Premium Audit
                                                                      sufficient proof of notice.
         a.   We will compute all premiums for this
              Coverage Part in accordance with our
              rules and rates.




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SECTION V - DEFINITIONS                                                (3) "Personal and advertising injury"
1. "Advertisement"     means a notice that is                              offenses that take place through the
   broadcast or published to the general public                            Internet or similar electronic means
   or specific market segments about your                                  of communication;
   goods, products or services for the purpose of                 provided the insured's responsibility to pay
   aftracting customers or supporters. For the                    damages is determined in a"suit" on the
   purposes of this definition:                                   merits, in the territory described in Paragraph
   a. Notices that are published include mate-                    a. above or in a settlement we agree to.
        rial placed on the Internet or on similar            5.   "Employee"      includes a "leased worker".
        electronic means of communication; and                    "Employee" does not include a "temporary
   b. Regarding web sites, only that part of a                    worker".
        web site that is about your goods, pro-              6.   "Executive officer" means a person holding
        ducts or services for the purposes of at-                 any of the officer positions created by your
        tracting customers or supporters is con-                  charter, constitution, bylaws or any other
        sidered an advertisement.                                 similar governing document.
2.   "Auto" means:                                           7.   "Hostile fire" means one which becomes un-
     a. A land      motor   vehicle,   trailer or                 controllable or breaks out from where it was
        semitrailer designed for travel on public                 intended to be.
        roads, including any attached machinery              8.   "Impaired property" means tangible proper-
        or equipment; or                                          ty, other than "your product" or "your work",
     b. Any other land vehicle that is subject to a               that cannot be used or is less useful because:
        compulsory or financial responsibility                    a.   It incorporates "your product" or "your
        law or other motor vehicle insurance law                       work" that is known or thought to be de-
        where it is licensed or principally ga-                        fective, deficient, inadequate or danger-
        raged.                                                         ous; or
     However "auto"      does not include "mobile                 b.   You have failed to fulfill the terms of a
     equipment".                                                       contract or agreement;
3.   "Bodily injury" means bodily injury, sickness                if such property can be restored to use by the
     or disease sustained by a person, including                  repair, replacement, adjustment or removal
     death resulting from any of these at any time.               of "your product" or "your work" or your ful-
4.   "Coverage territory" means:                                  filling the terms of the contract or agreement.
     a.   The United States of America (including            9.   "Insured contract" means:
          its territories and possessions), Puerto                a.   A contract for a lease of premises. How-
          Rico and Canada;                                             ever, that portion of the contract for a
     b. International waters or airspace, but only                     lease of premises that indemnifies any
        if the injury or damage occurs in the                          person or organization for damage by fire
        course of travel or transportation be-                         to premises while rented to you or tem-
        tween any places included in Paragraph                         porarily occupied by you with permission
        a. above; or                                                   of the owner is not an "insured contract";
     c.   AII other parts of the world if the injury or           b.   A sidetrack agreement;
          damage arises out of:                                   c.   Any easement or license agreement, ex-
          (1) Goods or products made or sold by                        cept in connection with construction or
              you in the territory described in Para-                  demolition operations on or within 50
              graph a. above;                                          feet of a railroad;
          (2) The activities of a person whose                    d.   An obligation, as required by ordinance,
              home is in the territory described in                    to indemnify a municipality, except in
              Paragraph a. above, but is away for a                    connection with work for a municipality;
              short time on your business; or                     e.   An elevator maintenance agreement;




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    f.   That part of any other contract or agree-             b.   While it is in or on an aircraft, watercraft
         ment pertaining to your business (includ-                  or "auto"; or
         ing an indemnification of a municipality              c. While it is being moved from an aircraft,
         in connection with work perFormed for a                    watercraft or "auto" to the place where it
         municipality) under which you assume                       is finally delivered;
         the tort liability of another party to pay
                                                               but "loading or unloading" does not include
         for "bodily injury" or "property damage"
                                                               the movement of property by means of a me-
         to a third person or organization. Tort li-
                                                               chanical device, other than a hand truck, that
         ability means a liability that would be im-
                                                               is not aftached to the aircraft, watercraft or
         posed by law in the absence of any con-
                                                               "auto".
         tract or agreement.
                                                           12. "Mobile equipment" means any of the fol-
         Paragraph f. does not include that part of
                                                               lowing types of land vehicles, including any
         any contract or agreement:
                                                               attached machinery or equipment:
         (1) That indemnifies a railroad for "bod-
                                                               a. Bulldozers, farm machinery, forklifts and
             ily injury" or "property damage"
                                                                    other vehicles designed for use principal-
             arising    out of construction       or
                                                                    ly off public roads;
             demolition operations, within 50 feet
             of any railroad property and affecting            b. Vehicles maintained for use solely on or
             any railroad bridge or trestle, tracks,                next to premises you own or rent;
             road-beds, tunnel, underpass or                   c.   Vehicles that travel on crawler treads;
             crossing;                                         d.   Vehicles, whether self-propelled or not,
         (2) That indemnifies an architect, engi-                   maintained primarily to provide mobility
             neer or surveyor for injury or dam-                    to permanently mounted:
             age arising out of:                                    (1) Power cranes, shovels, loaders, dig-
             (a) Preparing, approving, or failing                        gers or drills; or
                 to prepare or approve, maps,                       (2) Road construction       or resurfacing
                 shop drawings, opinions, re-                            equipment such as graders, scrapers
                 ports, surveys, field orders,                           or rollers;
                 change orders or drawings and
                                                               e.   Vehicles not described in Paragraph a.,
                 specifications; or
                                                                    b., c. or d. above that are not self-
             (b) Giving directions or instructions,                 propelled and are maintained primarily to
                 or failing to give them, if that is                provide mobility to permanently attached
                 the primary cause of the injury                    equipment of the following types:
                 or damage; or
                                                                    (1) Air compressors, pumps and gener-
         (3) Under which the insured, if an archi-                       ators, including spraying, welding,
             tect, engineer or surveyor, assumes                         building cleaning, geophysical ex-
             liability for an injury or damage aris-                     ploration, lighting and well servicing
             ing out of the insured's rendering or                       equipment; or
             failure to render professional ser-
                                                                    (2) Cherry pickers and similar devices
             vices, including those listed in (2)
                                                                         used to raise or lower workers;
             above and supervisory, inspection,
             architectural or engineering activi-              f.   Vehicles not described in Paragraph a.,
             ties.                                                  b., c. or d. above maintained primarily for
                                                                    purposes other than the transportation of
10. "Leased worker" means a person leased to
                                                                    persons or cargo.
    you by a labor leasing firm under an agree-
    ment between you and the labor leasing firm,                    However, self-propelled vehicles with the
    to perForm duties related to the conduct of                     following types of permanently aftached
    your business. "Leased worker" does not in-                     equipment are not "mobile equipment"
    clude a "temporary worker".                                     but will be considered "autos":
11. "Loading or unloading" means the handling                       (1) Equipment designed primarily for:
    of property:                                                        (a) Snow removal;
    a. After it is moved from the place where it                        (b) Road maintenance, but not con-
         is accepted for movement into or onto an                           struction or resurfacing; or
         aircraft, watercraft or "auto";                                (c) Street cleaning;




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             (2) Cherry pickers and similar devices             16. "Products-completed     operations hazard":
                 mounted on automobile or truck                     a.   Includes   all "bodily injury" and "property
                 chassis and used to raise or lower                      damage"     occurring away from premises
                 workers; and                                            you own    or rent and arising out of "your
             (3) Air compressors, pumps and gener-                       product"   or "your work" except:
                 ators, including spraying, welding,                     (1) Products that are still in your phys-
                 building cleaning, geophysical ex-                          ical possession; or
                 ploration, lighting and well servicing
                                                                         (2) Work that has not yet been complet-
                 equipment.
                                                                             ed or abandoned. However, "your
        However, "mobile equipment" does not in-                             work" will be deemed completed at
        clude any land vehicles that are subject to a                        the earliest of the following times:
        compulsory or financial responsibility law or
                                                                             (a) When all of the work called for in
        other motor vehicle insurance law where it is
                                                                                 your contract has been complet-
        licensed or principally garaged. Land vehicles
                                                                                 ed.
        subject to a compulsory or financial respon-
        sibility law or other motor vehicle insurance                        (b) When all of the work to be done
        law are considered "autos".                                              at the job site has been complet-
                                                                                 ed if your contract calls for work
    13. "Occurrence" means an accident, including
                                                                                 at more than one job site.
        continuous or repeated exposure to substan-
        tially the same general harmful conditions.                          (c) When that part of the work done
                                                                                 at a job site has been put to its
    14. "Personal and advertising injury" means in-
                                                                                 intended use by any person or
        jury, including consequential "bodily injury",
                                                                                 organization other than another
        arising out of one or more of the following
                                                                                 contractor    or   subcontractor
        offenses:
                                                                                 working on the same project.
        a.   False arrest, detention or imprisonment;
                                                                             Work that may need service, main-
        b.   Malicious prosecution;                                          tenance, correction, repair or re-
        c.   The wrongful eviction from, wrongful en-                        placement, but which is otherwise
             try into, or invasion of the right of private                   complete, will be treated as complet-
             occupancy of a room, dwelling or prem-                          ed.
             ises that a person occupies, committed                 b.   Does not include "bodily     injury"      or
             by or on behalf of its owner, landlord or                   "property damage" arising out of:
             lessor;
                                                                         (1) The transportation of property, un-
        d.   Oral or written publication, in any man-                        less the injury or damage arises out
             ner, of material that slanders or libels a                      of a condition in or on a vehicle not
             person or organization or disparages a                          owned or operated by you, and that
             person's or organization's goods, pro-                          condition was created by the "load-
             ducts or services;                                              ing or unloading" of that vehicle by
        e.   Oral or written publication, in any man-                        any insured;
             ner, of material that violates a person's                   (2) The existence of tools, uninstalled
o            right of privacy;                                               equipment or abandoned or unused
        f.   The use of another's advertising     idea in                    materials; or
             your "advertisement"; or                                    (3) Products or operations for which the
        g.   Infringing  upon another's     copyright,                       classification, listed in the Declara-
~            trade dress or slogan in your "advertise-                       tions or in a policy Schedule, states
             ment".                                                          that products-completed     operations
    15. "Pollutants" mean any solid, liquid, gaseous                         are subject to the General Aggregate
        or thermal irritant or contaminant, including                        Limit.
        smoke, vapor, soot, fumes, acids, alkalis,              17. "Property damage" means:
        chemicals and waste. Waste includes materi-                 a.   Physical injury to tangible property, in-
        als to be recycled, reconditioned      or re-                    cluding all resulting loss of use of that
        claimed.                                                         property. AII such loss of use shall be
                                                                         deemed to occur at the time of the phys-
                                                                         ical injury that caused it; or




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        b.   Loss of use of tangible     property that is      21. "Your product":
             not physically injured.    AII such loss of           a.   Means:
             use shall be deemed to     occur at the time
                                                                        (1) Any goods or products, other than
             of the "occun-ence" that   caused it.
                                                                            real property, manufactured, sold,
        For the purposes of this insurance, electronic                      handled, distributed or disposed of
        data is not tangible property.                                      by.
        As used in this definition, electronic data                         (a) You;
        means information, facts or programs stored
                                                                            (b) Others trading under your name;
        as or on, created or used on, or transmitted to
                                                                                or
        or from computer software, including sys-
        tems and applications software, hard or flop-                       (c) A person or organization whose
        py disks, CD-ROMs, tapes, drives, cells, data                           business or assets you have ac-
        processing devices or any other media which                             quired; and
        are used with electronically controlled equip-                  (2) Containers (other than vehicles), ma-
        ment.                                                               terials, parts or equipment furnished
~   18. "Suit" means a civil proceeding in which                            in connection with such goods or
        damages because of "bodily injury", "prop-                           products.
        erty damage", or "personal and advertising                 b.   Includes:
        injury" to which this insurance applies are al-                 (1) Warranties or representations made
        leged. "Suit" includes:                                             at any time with respect to the fit-
~       a.   An arbitration proceeding in which such                        ness, quality,    durability, perior-
             damages are claimed and to which the                           mance or use of "your product"; and
             insured must submit or does submit with                    (2) The providing of or failure to provide
             our consent; or                                                warnings or instructions.
        b.   Any other alternative dispute resolution              c.   Does not include vending machines or
             proceeding in which such damages are                       other property rented to or located for the
~            claimed and to which the insured sub-                      use of others but not sold.
             mits with our consent.
                                                               22. "Your work":
    19. "Temporary worker" means a person who is
                                                                   a.   Means:
        furnished to you to substitute for a permanent
        "employee" on leave or to meet seasonal or                      (1) Work or operations perFormed        by
        short-term workload conditions.                                     you or on your behalf; and
    20. "Volunteer worker" means a person who is                        (2) Materials, parts or equipment fur-
        not your "employee", and who donates his or                         nished in connection with such work
        her work and acts at the direction of and with-                     or operations.
        in the scope of duties determined by you, and              b.   Includes:
        is not paid a fee, salary or other compensa-                    (1) Warranties or representations made
        tion by you or anyone else for their work per-                      at any time with respect to the fit-
        formed for you.                                                     ness, quality,    durability, perFor-
~                                                                           mance or use of "your work"; and
~                                                                       (2) The providing of or failure to provide
                                                                            warnings or instructions.




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                                                                                COMMERCIAL GENERAL LIABILITY
                                                                                               CG 21 06 05 14

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          EXCLUSION - ACCESS OR DISCLOSURE OF
                       CONFIDENTIAL OR PERSONAL INFORMATION AND
                               DATA-RELATED LIABILITY - WITH
                             LIMITED BODILY INJURY EXCEPTION

    This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART

    A.   Exclusion 2.p. of Section I- Coverage A- Bod-                        As used in this exclusion, electronic
         ily Injury And Property Damage Liability is                          data means information, facts or pro-
         replaced by the following:                                           grams stored as or on, created or
         2.   Exclusions                                                      used on, or transmitted to or from
                                                                              computer software, including sys-
              This insurance does not apply to:
                                                                              tems and applications software, hard
              p.   Access Or Disclosure Of Confiden-                          or floppy disks, CD-ROMs, tapes,
                   tial Or Personal Information And                           drives, cells, data processing devices
                   Data-related Liability                                     or any other media which are used
                   Damages arising out of:                                    with electronically controlled equip-
                   (1) Any access to or disclosure of                         ment.
                       any person's or organization's           B.   The following is added to Paragraph 2. Exclu-
                       confidential or personal informa-             sions of Section I- Coverage B- Personal And
                       tion, including patents, trade se-            Advertising Injury Liability:
                       crets, processing methods, cus-               2.   Exclusions
                       tomer         lists,      financial
                                                                          This insurance does not apply to:
                       information, credit card informa-
                       tion, health information or any                    Access Or Disclosure Of Confidential Or
                       other type of nonpublic informa-                   Personal Information
                       tion; or                                           "Personal and advertising injury" arising
                   (2) The loss of, loss of use of, dam-                  out of any access to or disclosure of any
                       age to, corruption of, inability to                person's or organization's confidential or
                       access, or inability to manipulate                 personal information, including patents,
                       electronic data.                                   trade secrets, processing methods, cus-
                                                                          tomer lists, financial information, credit
~                  This exclusion applies even if dam-
                                                                          card information, health information or
~                  ages are claimed for notification
                                                                          any other type of nonpublic information.
                   costs, credit monitoring expenses,
                   forensic expenses, public relations                    This exclusion applies even if damages
~                  expenses or any other loss, cost or                    are claimed for notification costs, credit
~                  expense incurred by you or others                      monitoring expenses, forensic expenses,
                   arising out of that which is described                 public relations expenses or any other
                   in Paragraph (1) or (2) above.                         loss, cost or expense incurred by you or
                                                                          others arising out of any access to or dis-
                   However, unless Paragraph (1) above
                                                                          closure of any person's or organization's
                   applies, this exclusion does not ap-
                                                                          confidential or personal information.
                   ply to damages because of "bodily
                   injury".




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 47 12 07

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   EMPLOYMENT - RELATED PRACTICES EXCLUSION

This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

A.   The following exclusion is added to Para-              B. The following exclusion is added to Para-
     graph 2., Exclusions of Section I- Coverage A             graph 2., Exclusions of Section I- Coverage B
     - Bodily Injury And Property Damage Liabil-               - Personal And Advertising Injury Liability:
     ity:
                                                                This insurance does not apply to:
     This insurance does not apply to:                          "Personal and advertising injury" to:
     "Bodily injury" to:                                        (1) A person arising out of any:
     (1) A person arising out of any:                               (a) Refusal to employ that person;
         (a) Refusal to employ that person;                         (b) Termination of that person's employ-
         (b) Termination of that person's employ-                       ment; or
             ment; or                                               (c) Employment-related      practices, poli-
         (c) Employment-related      practices, poli-                   cies, acts or omissions, such as coer-
             cies, acts or omissions, such as                           cion,      demotion,          evaluation,
             coercion,     demotion,       evaluation,                  reassignment,     discipline,    defama-
             reassignment,     discipline,    defama-                   tion, harassment, humiliation,        dis-
             tion, harassment, humiliation, dis-                        crimination or malicious prosecution
             crimination or malicious prosecution                       directed at that person; or
             directed at that person; or                        (2) The spouse, child, parent, brother or sis-
     (2) The spouse, child, parent, brother or sis-                 ter of that person as a consequence of
         ter of that person as a consequence of                     "personal and advertising injury" to that
         "bodily injury" to that person at whom                     person at whom any of the employment-
         any of the employment-related practices                    related practices described in paragraphs
         described in Paragraphs (a), (b), or (c)                   (a), (b) or (c) above is directed.
         above is directed.
                                                                This exclusion applies:
     This exclusion applies:                                   (1) Whether the injury-causing       event de-
     (1) Whether the injury-causing event de-                      scribed in Paragraphs (a), (b) or (c) above
         scribed in Paragraphs (a), (b) or (c) above               occurs before employment, during em-
         occurs before employment, during em-                      ployment or after employment of that
         ployment or after employment of that                      person;
         person;                                               (2) Whether the insured may be liable as an
     (2) Whether the insured may be liable as an                   employer or in any other capacity; and
         employer or in any other capacity; and                (3) To any obligation to share damages with
     (3) To any obligation to share damages with                   or repay someone else who must pay
         or repay someone else who must pay                        damages because of the injury.
         damages because of the injury.




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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 67 12 04

                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      FUNGI OR BACTERIA EXCLUSION

    This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE PART

    A.    The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
          Exclusions of Section I- Coverage A- Bodily                Exclusions of Section I- Coverage B- Personal
          Injury And Property Damage Liability:                      And Advertising Injury Liability:
          2., Exclusions                                              2.   Exclusions
              This insurance does not apply to:                            This insurance does not apply to:
              Fungi or Bacteria                                            Fungi or Bacteria
              a.   "Bodily injury" or "property damage"                    a.   "Personal and advertising injury" which
                   which would not have occurred, in                            would not have taken place, in whole or
                   whole or in part, but for the actual, al-                    in part, but for the actual, alleged or
                   leged or threatened inhalation of, inges-                    threatened inhalation of, ingestion of,
                   tion of, contact with, exposure to, exis-                    contact with, exposure to, existence of,
                   tence of, or presence of, any "fungi" or                     or presence of any "fungi" or bacteria
                   bacteria on or within a building or struc-                   on or within a building or structure, in-
                   ture, including its contents, regardless                     cluding its contents, regardless of
                   of whether any other cause, event, ma-                       whether any other cause, event, mate-
                   terial or product contributed concurrent-                    rial or product contributed concurrently
                   ly or in any sequence to such injury or                      or in any sequence to such injury.
                   damage.                                                 b.   Any loss, cost or expense arising out of
              b.   Any loss, cost or expenses arising out of                    the abating, testing . for, monitoring,
                   the abating, testing for, monitoring,                        cleaning up, removing,        containing,
                   cleaning    up, removing,     containing,                    treating, detoxifying, neutralizing, re-
                   treating, detoxifying, neutralizing, re-                     mediating or disposing of, or in any way
                   mediating or disposing of, or in any way                     responding to, or assessing the effects
                   responding to, or assessing the effects                      of, "fungi" or bacteria, by any insured
                   of, "fungi" or bacteria, by any insured                      or by any other person or entity.
                   or by any other person or entity.             C.   The following definition   is added to the Defini-
              This exclusion does not apply to any "fungi"            tions Section:
              or bacteria that are, are on, or are contained          "Fungi" means any type or form of fungus, in-
              in, a good or product intended for bodily               cluding mold or mildew and any mycotoxins,
              consumption.                                            spores, scents or by-products produced or re-
x                                                                     leased by fungi.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 70 01 15

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART
     UNDERGROUND STORAGE TANK POLICY

A.   If aggregate insured losses attributable to ter-            2.   The act is a violent act or an act that is
     rorist acts certified under the federal Terror-                  dangerous to human life, property or in-
     ism Risk Insurance Act exceed $100 billion in                    frastructure and is committed by an in-
     a calendar year and we have met our insurer                      dividual or individuals as part of an effort
     deductible under the Terrorism Risk Insur-.                      to coerce the civilian population of the
     ance Act, we shall not be liable for the pay-                    United States or to influence the policy or
     ment of any portion of the amount of such                        affect the conduct of the United States
     losses that exceeds $100 billion, and in such                    Government by coercion.
     case insured losses up to that amount are              B.   The terms and limitations of any terrorism ex-
     subject to pro rata allocation in accordance                clusion, or the inapplicability or omission of a
     with procedures established by the Secretary                terrorism exclusion, do not serve to create
     of the Treasury.                                            coverage for injury or damage that is other-
     "Certified act of terrorism" means an act that              wise excluded under this Coverage Part.
     is certified by the Secretary of the Treasury,
     in accordance with the provisions of the fed-
     eral Ten•orism Risk Insurance Act, to be an act
     of terrorism pursuant to such Act. The criteria
     contained in the Terrorism Risk Insurance Act
     for a"certified act of terrorism" include the
     following:
     1. The act resulted in insured losses in ex-
          cess of $5 million in the aggregate, attrib-
          utable to all types of insurance subject to
          the Terrorism Risk Insurance Act; and




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 76 01 15
                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          EXCLUSION OF PUNITIVE DAMAGES
                      RELATED TO A CERTIFIED ACT OF TERRORISM
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD' PROTECTIVE LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                           2.   The act is a violent act or an act that is
                                                                    dangerous to human life, property or in-
    This insurance does not apply to:
                                                                    frastructure and is committed by an in-
    TERRORISM PUNITIVE DAMAGES                                      dividual or individuals as part of an effort
                                                                    to coerce the civilian population of the
    Damages arising, directly or indirectly, out of
                                                                    United States or to influence the policy or
    a"certified act of terrorism" that are awarded
                                                                    affect the conduct of the United States
    as punitive damages.
                                                                    Government by coercion.
B. The following definition is added:
                                                           C. The terms and limitations of any terrorism ex-
    "Certified act of terrorism" means an act that            clusion, or the inapplicability or omission of a
    is certified by the Secretary of the Treasury,            terrorism exclusion, do not serve to create
    in accordance with the provisions of the fed-             coverage for injury or damage that is other-
    eral Terrorism Risk Insurance Act, to be an act           wise excluded under this Coverage Part.
    of terrorism pursuant to such Act. The criteria
    contained in the Terrorism Risk Insurance Act
    for a"certified act of terrorism" include the
    following:
    1.   The act resulted in insured losses in ex-
         cess of $5 million in the aggregate, attrib-
         utable to all types of insurance subject to
         the Terrorism Risk Insurance Act; and




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 24 26 04 13

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      AMENDMENT              OF INSURED CONTRACT DEFINITION
    This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

    The definition of "insured contract" in the Defini-                 Paragraph f. does not include that part of
    tions section is replaced by the following:                         any contract or agreement:
    "Insured contract" means:                                           (1) That indemnifies a railroad for "bod-
        a.   A contract for a lease of premises. How-                       ily injury" or "property damage"
~            ever, that portion of the contract for a                       arising    out    of construction    or
             lease of premises that indemnifies any                         demolition operations, within 50 feet
             person or organization for damage by fire                      of any railroad property and affecting
             to premises while rented to you or tem-                        any railroad bridge or trestle, tracks,
~            porarily occupied by you with permission                       road-beds,     tunnel,  underpass    or
~            of the owner is not an "insured contract";                     crossing;

        b.   A sidetrack agreement;                                     (2) That indemnifies an architect, engi-
                                                                            neer or surveyor for injury or dam-
        c.   Any easement or license agreement, ex-                         age arising out of:
             cept in connection with construction or
             demolition operations on or within 50                          (a) Preparing, approving, or failing
             feet of a railroad;                                                to prepare or approve, maps,
                                                                                shop drawings,      opinions,  re-
"       d.   An obligation, as required by ordinance,
                                                                                ports,   surveys, ` field  orders,
             to indemnify a municipality, except in
                                                                                change orders or drawings and
             connection with work fot a municipality;                           specifications; or
        e.   An elevator maintenance agreement;
                                                                            (b) Giving directions or instructions,
        f.   That part of any other contract or agree-                          or failing to give them, if that is
             ment pertaining to your business (includ-                          the primary cause of the injury
             ing an indemnification of a municipality                           or damage; or
             in connection with work periormed for a                   (3) Under which the insured, if an archi-
             municipality) under which you assume                          tect, engineer or surveyor, assumes
             the tort liability of another party to pay                    liability for an injury or damage aris-
             for "bodily injury" or "property damage"                      ing out of the insured's rendering or
             to a third person or organization, pro-                       failure to render professional ser-
             vided the "bodily injury" or "property                        vices, including those listed in (2)
o            damage" is caused, in whole or in part,                       above and supervisory, inspection,
             by you or by those acting on your behalf.                      architectural   or engineering   activi-
             However, such part of a contract or                            ties.
             agreement shall only be considered an
~            "insured contract" to the extent your as-
             sumption of the tort liability is permitted
             by law. Tort liability means a liability that
             would be imposed by law in the absence
             of any contract or agreement.




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                                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                                         CG84990112



                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           NON-CUMULATION OF LIABILITY LIMITS
                                  (SAME OCCURRENCE)

This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following is added to Paragraph 5. under Section III - Limits Of Insurance:

    Non-Cumulation of Liability - Same Occurrence - If one "occurrence" causes "bodily injury" or "property
    damage" during the policy period and during the policy period of one or more prior, or future, general
    liability policies issued to you by us, then this policy's Each Occurrence Limit will be reduced by the
    amount of each payment made by us under the other policies because of such "occurrence."

    "For purposes of this endorsement, the term "us" also includes any other company that is or was part of
    the Liberty Mutual Agency Corporation division of Liberty Mutual Group."




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                                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                                            CG 88 10 04 13

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                         COMMERCIAL GENERAL LIABILITY EXTENSION
    This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART


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    With respect to coverage afforded by this endorsement, the provisions of the policy apply unless modified by
    the endorsement.
    A.    NON-OWNED AIRCRAFT

          Under Paragraph 2. Exclusions of Section I- Coverage A- Bodily Injury And Property Damage Liability,
          exclusion g. Aircraft, Auto Or Watercraft does not apply to an aircraft provided:
          1. It is not owned by any insured;
          2. It is_hired, chartered or loaned with atrained paid crew;
          3. The pilot in command holds a currently effective certificate, issued by the duly constituted authority of
             the United States of America or Canada, designating her or him a commercial or airline pilot; and
          4.   It is not being used to carry persons or property for a charge.
          However, the insurance afforded by this provision does not apply if there is available to the insured other
          valid and collectible insurance, whether primary, excess (other than insurance written to apply specifically
          in excess of this policy), contingent or on any other basis, that would also apply to the loss covered under
          this provision.
    B.    NON-OWNED WATERCRAFT

          Under Paragraph 2. Exclusions of Section I- Coverage A- Bodily Injury And Property Damage Liability,
          Subparagraph (2) of exclusion g. Aircraft, Auto Or Watercraft is replaced by the following:
               This exclusion does not apply to:
               (2) A watercraft you do not own that is:
                    (a) Less than 52 feet long; and
                    (b) Not being used to carry persons or property for a charge.
    C.    PROPERTY DAMAGE LIABILITY - ELEVATORS

          1. Under Paragraph 2. Exclusions of Section I- Coverage A- Bodily Injury And Property Damage Liabil-
             ity, Subparagraphs (3), (4) and (6) of exclusion j. Damage To Property do not apply if such "property
             damage" results from the use of elevators. For the purpose of this provision, elevators do not include
             vehicle lifts. Vehicle lifts are lifts or hoists used in automobile service or repair operations.
          2.   The following is added to Section IV - Commercial General Liability Conditions, Condition 4. Other
               Insurance, Paragraph b. Excess Insurance:

               The insurance afforded by this provision of this endorsement is excess over any property insurance,
               whether primary, excess, contingent or on any other basis.
    D.    EXTENDED DAMAGE TO PROPERTY RENTED TO YOU (Tenant's Property Damage)

'
0
          If Damage To Premises Rented To You is not otherwise excluded from this Coverage Part:
          1.   Under Paragraph 2. Exclusions of Section I- Coverage A- Bodily Injury and Property Damage Liability:
               a.   The fourth from the last paragraph of exclusion j. Damage To Property is replaced by the follow-
°                   ing:
                    Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" (other than damage
                    by fire, lightning, explosion, smoke, or leakage from an automatic fire protection system) to:
                    (i) Premises rented to you for a period of 7 or fewer consecutive days; or
                    (ii) Contents that you rent or lease as part of a premises rental or lease agreement for a period of
                         more than 7 days.
                    Paragraphs (1), (3) and (4) of this exclusion do not apply to "property                    damage" to contents of
                    premises rented to you for a period of 7 or fewer consecutive days.
                    A separate limit of insurance applies to this coverage as described in Section III - Limits of
                    Insurance.


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               b.   The last paragraph of subsection 2. Exclusions is replaced by the following:

                    Exclusions c. through n. do not apply to damage by fire, lightning, explosion, smoke or leakage
                    from automatic fire protection systems to premises while rented to you or temporarily occupied by
                    you with permission of the owner. A separate limit of insurance applies to Damage To Premises
                    Rented To You as described in Section III - Limits Of Insurance.

          2.   Paragraph 6. under Section III - Limits Of Insurance is replaced by the following:

               6.   Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will
                    pay under Coverage A for damages because of "property damage" to:
                    a.   Any one premise:
                         (1) While rented to you; or
                         (2) While rented to you or temporarily occupied by you with permission of the owner for
                             damage by fire, lightning, explosion, smoke or leakage from automatic protection sys-
                             tems; or
~                   b.   Contents that you rent or lease as part of a premises rental or lease agreement.

          3.   As regards coverage provided by this provision D. EXTENDED DAMAGE TO PROPERTY RENTED TO
               YOU (Tenant's Property Damage) - Paragraph 9.a. of Definitions is replaced with the following:

~              9.a. A contract for a lease of premises. However, that portion of the contract for a lease of premises
~                   that indemnifies any person or organization for damage by fire, lightning, explosion, smoke, or
                    leakage from automatic fire protection systems to premises while rented to you or temporarily
                    occupied by you with the permission of the owner, or for damage to contents of such premises
                    that are included in your premises rental or lease agreement, is not an "insured contract".

    E. MEDICAL PAYMENTS EXTENSION

~         If Coverage C Medical Payments is not otherwise excluded, the Medical Payments provided by this policy
          are amended as follows:

               Under Paragraph 1. Insuring Agreement of Section I- Coverage C- Medical Payments, Subparagraph
               (b) of Paragraph a. is replaced by the following:

               (b) The expenses are incurred and reported within three years of the date of the accident; and

    F.    EXTENSION OF SUPPLEMENTARY PAYMENTS - COVERAGES A AND B

          1.   Under Supplementary Payments - Coverages A and B, Paragraph 1.b. is -replaced by the following:

               b.   Up to $3,000 for cost of bail bonds required because of accidents or traffic law violations arising
                    out of the use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have
                    to furnish these bonds.

<         2.   Paragraph 1.d. is replaced by the following:

~              d.   AII reasonable expenses incurred by the insured at our request to assist us in the investigation or
                    defense of the claim or "suit", including actual loss of earnings up to $500 a day because of time
                    off from work.

~   G. ADDITIONAL INSUREDS - BY CONTRACT, AGREEMENT OR PERMIT

          1.   Paragraph 2. under Section II - Who Is An Insured is amended to include as an insured any person or
               organization whom you have agreed to add as an additional insured in a written contract, written
               agreement or permit. Such person or organization is an additional insured but only with respect to
               liability for "bodily injury", "property damage" or "personal and advertising injury" caused in whole
               or in part by:

               a.   Your acts or omissions, or the acts or omissions of those acting on your behalf, in the performance
                    of your on going operations for the additional insured that are the subject of the written contract or
                    written agreement provided that the "bodily injury" or "property damage" occurs, or the "per-
                    sonal and advertising injury" is committed, subsequent to the signing of such written contract or
                    written agreement; or


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            b.   Premises or facilities rented by you or used by you; or

            c.   The maintenance, operation or use by you of equipment rented or leased to you by such person or
                 organization; or

            d.   Operations performed by you or on your behalf for which the state or political subdivision                         has
                 issued a permit subject to the following additional provisions: .

                 (1) This insurance does not apply to "bodily injury", "property damage", or "personal and ad-
                     vertising injury" arising out of the operations performed for the state or political subdivision;

                 (2) This insurance does not apply to "bodily                 injury"   or "property     damage" included within the
                     "completed operations hazard".

                 (3) Insurance applies to premises you own, rent, or control but only with respect to the following
                       hazards:
                     (a) The existence, maintenance, repair, construction, erection, or removal of advertising
                         signs, awnings, canopies, cellar entrances, coal holes, driveways, manholes, marquees,
                         hoist away openings, sidewalk vaults, street banners, or decorations and similar expo-
                         sures; or

                     (b) The construction, erection, or removal of elevators; or

                     (c) The ownership, maintenance, or use of any elevators covered by this insurance.

            However:

            1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and

            2.   If coverage provided to the additional insured is required by a contract or agreement, the insur-
                 ance afforded to such additional insured will not be broader than that which you are required by
                 the contract or agreement to provide for such additional insured.

            With respect to Paragraph 1.a. above, a person's or organization's                        status as an additional   insured
            under this endorsement ends when:

                 (1) AII work, including materials, parts or equipment furnished in connection with such work, on
                     the project (other than service, maintenance or repairs) to be performed by or on behalf of the
                     additional insured(s) at the location of the covered operations has been completed; or

                 (2) That portion of "your work" out of which the injury or damage arises has been put to its
                     intended use by any person or organization other than another contractor or subcontractor
                     engaged in periorming operations for a principal as a part of the same project.
            With respect to Paragraph 1.b. above, a person's or organization's status as an additional insured
            under this endorsement ends when their written contract or written agreement with you for such
            premises or facilities ends.

;           With respects to Paragraph 1.c. above, this insurance does not apply to any "occurrence"                      which takes
            place after the equipment rental or lease agreement has expired or you have returned such equipment
            to the lessor.

~           The insurance provided by this endorsement applies only if the written contract or written agreement
            is signed prior to the "bodily injury" or "property damage".

            We have no duty to defend an additional insured under this endorsement until we receive written
            notice of a"suit" by the additional insured as required in Paragraph b. of Condition 2. Duties In the
            Event Of Occurrence, Offense, Claim Or Suit under Section IV - Commercial General Liability Condi-
            tions.




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          2.   With respect to the insurance provided by this endorsement, the following are added to Paragraph 2.
               Exclusions under Section I- Coverage A- Bodily Injury And Property Damage Liability:

               This insurance does not apply to:

               a.   "Bodily injury" or "property damage" arising from the sole negligence of the additional insured.

               b.   "Bodily injury" or "property damage" that occurs prior to you commencing                         operations at the
                    location where such "bodily injury" or "property damage" occurs.

               c.   "Bodily injury", "property damage" or "personal and advertising injury" arising out of the render-
                    ing of, or the failure to render, any professional architectural, engineering or surveying services,
                    including:
                    (1) The preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions,
                        reports, surveys, field orders, change orders or drawings and specifications; or

                    (2) Supervisory, inspection, architectural or engineering activities.
               This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in
~              the supervision, hiring, employment, training or monitoring of others by that insured, if the "occur-
               rence" which caused the "bodily injury" or "property damage", or the offense which caused the
               "personal and advertising injury", involved the rendering of, or the failure to render, any professional
               architectural, engineering or surveying services.
~
~              d.   "Bodily injury" or "property damage" occurring after:

                    (1) AII work, including materials, parts or equipment furnished in connection with such work, on
                        the project (other than service, maintenance or repairs) to be performed by or on behalf of the
                        additional insured(s) at the location of the covered operations has been completed; or

                    (2) That portion of "your work" out of which the injury or damage arises has been put to its
~                       intended use by any person or organization other than another contractor or subcontractor
                        engaged in performing operations for a principal as a part of the same project.

               e.   Any person or organization specifically designated as an additional insured for ongoing operations
                    by a separate ADDITIONAL INSURED -OWNERS, LESSEES OR CONTRACTORS endorsement is-
                    sued by us and made a part of this policy.
          3.   With respect to the insurance afforded to these additional insureds, the following is added to Section III
               - Limits Of Insurance:
               If coverage provided to the additional insured is required by a contract or agreement, the most we will
               pay on behalf of the additional insured is the amount of insurance:
               a.   Required by the contract or agreement; or
               b.   Available under the applicable Limits of Insurance shown in the Declarations;

<              whichever is less.
o              This endorsement shall not increase the applicable Limits of Insurance shown in the Declaratio ns.

    H.    PRIMARY AND NON-CONTRIBUTORY ADDITIONAL INSURED EXTENSION
          This provision applies to any person or organization who qualifies as an additional insured under any form
°         or endorsement under this policy.

          Condition 4. Other Insurance of SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS is amend-
          ed as follows:

          a.   The following is added to Paragraph a. Primary Insurance:

               If an additional insured's policy has an Other Insurance provision making its policy excess, and you
               have agreed in a written contract or written agreement to provide the additional insured coverage on a
               primary and noncontributory basis, this policy shall be primary and we will not seek contribution from
               the additional insured's policy for damages we cover.




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          b.   The following is added to Paragraph b. Excess Insurance:

               When a written contract or written agreement, other than a premises lease, facilities rental contract or
               agreement, an equipment rental or lease contract or agreement, or permit issued by a state or political
               subdivision between you and an additional insured does not require this insurance to be primary or
               primary and non-contributory, this insurance is excess over any other insurance for which the addi-
               tional insured is designated as a Named Insured.

               Regardless of the written agreement between you and an additional insured, this insurance is excess
               over any other insurance whether primary, excess, contingent or on any other basis for which the
               additional insured has been added as an additional insured on other policies.

    I.    ADDITIONAL INSUREDS - EXTENDED PROTECTION OF YOUR "LIMITS OF INSURANCE"

          This provision applies to any person or organization who qualifies as an additional insured under any form
          or endorsement under this policy.

               1.   The following is added to Condition 2. Duties In The Event Of Occurrence, OfFense, Claim or Suit:

                    An additional insured under this endorsement will as soon as practicable:

                    a.   Give written notice of an "occurrence"          or an offense that may result in a claim or "suit" under
                         this insurance to us;

                    b.   Tender the defense and indemnity of any claim or "suit"                     to all insurers whom also have
                         insurance available to the additional insured; and

                    c.   Agree to make available any other insurance which the additional insured has for a loss we
                         cover under this Coverage Part.
                    d.   We have no duty to defend or indemnify an additional insured under this endorsement until
                         we receive written notice of a"suit" by the additional insured.

               2.   The limits of insurance applicable to the additional insured .are those specified in a written contract
                    or written agreement or the limits of insurance as stated in the Declarations of this policy and
                    defined in Section 111 - Limits of Insurance of this policy, whichever are less. These limits are
                    inclusive of and not in addition to the limits of insurance available under this policy.

    J.    WHO IS AN INSURED - INCIDENTAL MEDICAL ERRORS / MALPRACTICE
          WHO IS AN INSURED - FELLOW EMPLOYEE EXTENSION - MANAGEMENT EMPLOYEES
          Paragraph 2.a.(1) of Section II - Who Is An Insured is replaced with the following:

          (1) "Bodily injury" or "personal and advertising injury":

               (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if
                   you are a limited liability company), to a co-"employee" while in the course of his or her employ-
~                  ment or perForming duties related to the conduct of your business, or to your other "volunteer
~                  workers" while performing duties related to the conduct of your business;
               (b) To the spouse, child, parent, brother or sister of that co-"employee"                    or "volunteer   worker" as a
                   consequence of Paragraph (1) (a) above;
~
               (c) For which there is any obligation to share damages with or repay someone else who must pay
                   damages because of the injury described in Paragraphs (1) (a) or (b) above; or
               (d) Arising out of his or her providing or failing to provide professional health care services. However,
                   if you are not in the business of providing professional health care services or providing profes-
                   sional health care personnel to others, or if coverage for providing professional health care ser-
                   vices is not otherwise excluded by separate endorsement, this provision (Paragraph (d)) does not
                   apply.

          Paragraphs (a) and (b) above do not apply to "bodily injury" or "personal and advertising injury" caused by
          an "employee" who is acting in a supervisory capacity for you. Supervisory capacity as used herein means
          the "employee's" job responsibilities assigned by you, includes the direct supervision of other "employ-
          ees" of yours. However, none of these "employees" are insureds for "bodily injury" or "personal and


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          advertising injury" arising out of their willful conduct, which is defined as the purposeful or willful intent to
          cause "bodily injury" or "personal and advertising injury", or caused in whole or in part by their intoxica-
          tion by liquor or controlled substances.

          The coverage provided by provision J. is excess over any other valid and collectable insurance available to
          your "employee".
    K.    NEWLY FORMED OR ADDITIONALLY ACQUIRED ENTITIES
          Paragraph 3. of Section II - Who Is An Insured is replaced by the following:
              3.   Any organization you newly acquire or form and over which you maintain ownership or majority
                   interest, will qualify as a Named Insured if there is no other similar insurance available to that
                   organization. However:
                   a.   Coverage under this provision is afforded only until the expiration                     of the policy period in
                        which the entity was acquired or formed by you;
                   b.   Coverage A does not apply to "bodily injury" or "property damage" that occurred before you
                        acquired or formed the organization; and
~                  c.   Coverage B does not apply to "personal and advertising                     injury"   arising out of an offense
                        committed before you acquired or formed the organization.
                   d.   Records and descriptions of operations must be maintained by the first Named Insured.

~         No person or organization is an insured with respect to the conduct of any current or past partnership, joint
~         venture or limited liability company that is not shown as a Named Insured in the Declarations or qualifies
          as an insured under this provision.

    L.    FAILURE TO DISCLOSE HAZARDS AND PRIOR OCCURRENCES

          Under Section IV - Commercial General Liability Conditions, the following is added to Condition 6. Repre-
          sentations:

~             Your failure to disclose all hazards or prior "occurrences" existing as of the inception date of the policy
              shall not prejudice the coverage afforded by this policy provided such failure to disclose all hazards or
              prior "occurrences" is not intentional.

    M. KNOWLEDGE OF OCCURRENCE, OFFENSE, CLAIM OR SUIT

          Under Section IV - Commercial General Liability Conditions, the following is added to Condition 2. Duties
          In The Event of Occurrence, Offense, Claim Or Suit:

              Knowledge of an "occurrence", offense, claim or "suit" by an agent, servant or "employee" of any
              insured shall not in itself constitute knowledge of the insured unless an insured listed under Paragraph
              1. of Section 11 - Who Is An Insured or a person who has been designated by them to receive reports of
              "occurrences", offenses, claims or "suits" shall have received such notice from the agent, servant or
              "employee".
<
~   N.    LIBERALIZATION CLAUSE

          If we revise this Commercial General Liability Extension Endorsement to provide more coverage without
          additional premium charge, your policy will automatically provide the coverage as of the day the revision is
~         effective in your state.

    O. BODILY INJURY REDEFINED

          Under Section V- Definitions, Definition 3. is replaced by the following:

              3.   "Bodily Injury" means physical injury, sickness or disease sustained by a person. This includes
                   mental anguish, mental injury, shock, fright or death that results from such physical injury, sick-
                   ness or disease.




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P. EXTENDED PROPERTY DAMAGE
   Exclusion a. of COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE LIABILITY is replaced by the
   following:

       a.   Expected Or Intended Injury

            "Bodily injury" or "property damage" expected or intended from the standpoint of the insured.
            This exclusion does not apply to "bodily injury" or "property damage" resulting from the use of
            reasonable force to protect persons or property.
Q. WAIVER OF TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US - WHEN REQUIRED IN A
   CONTRACT OR AGREEMENT WITH YOU

   Under Section IV - Commercial General Liability Conditions, the following                  is added to Condition 8. Trans-
   fer Of Rights Of Recovery Against Others To Us:

       We waive any right of recovery we may have against a person or organization because of payments we
       make for injury or damage arising out of your ongoing operations or "your work" done under a
       contract with that person or organization and included in the "products-completed operations hazard"
       provided:
       1. You and that person or organization have agreed in writing in a contract or agreement that you
           waive such rights against that person or organization; and

       2.   The injury or damage occurs subsequent to the execution of the written contract or written agree-
            ment.




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                                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                                          CG 88 60 12 08

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          EACH LOCATION GENERAL AGGREGATE LIMIT
    This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART

    A.   For all sums which the insured becomes legally obligated to pay as damages caused by "occurrences"
         under Section I- Coverage A- Bodily Injury And Property Damage Liability, and for all medical ex-
         penses caused by accidents under Section I- Coverage C Medical Payments, which can be attributed
         only to operations at a single "9ocation" owned by or rented to you:

N        1.   A separate Each Location General Aggregate Limit applies to each "9ocation",                   and that limit is equal
              to the amount of the General Aggregate Limit shown in the Declarations.
         2.   The Each Location General Aggregate Limit is the most we will pay for the sum of all damages
              under Coverage A, except damages because of "bodily injury" or "property damage" included in
              the "products-completed operations hazard", and for medical expenses under Coverage C regard-
o             less of the number of:
              a.   Insureds;
              b.   Claims made or "suits" brought; or
              c.   Persons or organizations making claims or bringing "suits".
         3.   Any payments made under Coverage A for damages or under Coverage C for medical expenses
              shall reduce the Each Location General Aggregate Limit for that "9ocation". Such payments shall
~             not reduce the General Aggregate Limit shown in the Declarations nor shall they reduce any other
              Each Location General Aggregate Limit for any other "9ocation".
         4.   The limits shown in the Declarations for Each Occurrence, Fire Damage and Medical Expense
              continue to apply. However, instead of being subject to the General Aggregate Limit shown in the
              Declarations, such limits will be subject to the applicable Each Location General Aggregate Limit.

    B.   For all sums which the insured becomes legally obligated to pay as damages caused by "occurrences"
         under Section I- Coverage A- Bodily Injury And Property Damage Liability, and for all medical ex-
         penses caused by accidents under Section I- Coverage C Medical Payments, which cannot be attrib-
         uted only to operations at a single "9ocation" owned by or rented to you:
         1.   Any payments made under Coverage A for damages or under Coverage C for medical expenses
              shall reduce the amount available under the General Aggregate Limit or the Products-Completed
              Operations Aggregate Limit, whichever is applicable; and
0        2.   Such payments shall not reduce any Each Location General Aggregate Limit.

    C.   When coverage for liability arising out of the "products-completed operations hazard" is provided, any
         payments for damages because of "bodily injury" or "property damage" included in the "products-
~        completed operations hazard" will reduce the Products-Completed Operations Aggregate Limit, and not
         reduce the General Aggregate Limit nor the Each Location General Aggregate Limit.

    D.   For the purposes of this endorsement, the following definition is added to Sectio n V- Definitions:
         "Location" means premises involving the same or connecting lots, or premises whose connection is
         interrupted only by a street, roadway, waterway or right-of-way of a railroad.

    E.   The provisions of Section III - Limits Of Insurance not otherwise modified by this endorsement shall
         continue to apply as stipulated.




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                                                                                     COMMERCIAL GENERAL LIABILITY
                                                                                                    CG 88 77 12 08

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             MEDICAL EXPENSE AT YOUR REQUEST ENDORSEMENT
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following is added to Section 1- Coverage C- Medical Payments:

If Medical Payments or Medical Expenses are not otherwise excluded from the policy, medical expenses
will be paid only if an insured has requested that we pay such expenses.




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                                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                                          CG 88 86 12 08

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   EXCLUSION - ASBESTOS LIABILITY
    This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART
         OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
         POLLUTION LIABILITY COVERAGE PART
         PRODUCTS AND COMPLETED OPERATIONS COVERAGE PART
         RAILROAD PROTECTIVE LIABILITY COVERAGE PART


"   This insurance does not apply to:

    1.   "Bodily injury", "property damage" or "personal and advertising injury" arising, in whole or in part,
         either directly or indirectly out of the manufacture, storage, processing, mining, use, sale, installation,
~        removal, disposal, distribution, handling, inhalation, ingestion, absorption, or existence of, exposure to
~        or contact with asbestos, asbestos contained in goods, products or materials, asbestos fibers or asbes-
         tos dust; or

    2.   Any loss, cost or expense arising out of any:

         a.   Request, demand, order, or statutory or regulatory requirement that any insured or others test for,
~             monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
              the effects of asbestos, asbestos contained in goods, products or materials, asbestos fibers or
              asbestos dust; or

         b.   Claim or "suit" by or on behalf of a governmental authority for damages because of testing for,
              monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
              responding to, or assessing the effects of asbestos, asbestos contained in goods, products or
              materials, asbestos fibers or asbestos dust.




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                                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                                           CG 90 41 01 13

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           AMENDMENT OF COVERAGE B PERSONAL
                             AND ADVERTISING INJURY LIABILITY

This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Paragraph 1. "Advertisement" of Section V- Definitions is replaced by the following:
   1. "Advertisement" means dissemination of information or images to the general public for the purpose
       of inducing the sale of your goods, products or services through:
               a.   Radio; or
               b.   Television; or
               c.   Billboard; or
               d.   Magazine; or
               e.   Newspaper; or
               f.   The internet; or
             g. "Your web site".
   However, "advertisement" does not include the design, printed material, information or images contained
   in, on or upon the packaging or labeling of any goods or products.
B. Subparagraph g. of Paragraph 14. "Personal and Advertising Injury" of Section V- Definitions is replaced
   by the following:
   g. Infringing upon another's copyright or slogan in your "advertisement".
C. The following definition "Your web site" is added to Section V- Definitions:
   "Your web site" means a web page or set of interconnected web pages prepared and maintained by you or
   on your behalf, that is accessible over the internet.
D. Exclusion i. under Paragraph 2., Exclusions of Section I- Coverage B- Personal And Advertising Injury
   Liability is replaced with the following:
      2.   Exclusions
           This insurance does not apply to:
           i. Infringement Of Copyright, Patent, Trademark, Trade Dress Or Trade Secret
               "Personal and advertising injury" arising out of the infringement of copyright, patent, trademark,
               trade secret, trade dress or other intellectual property rights. Under this exclusion, such other
               intellectual property rights do not include the use of another's advertising idea in your "adver-
               tisement".
               However, this exclusion does not apply to infringement, in your "advertisement", of copyright or .
               slogan.




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                                                                                        COMMERCIAL PROPERTY
                                                                                                CP 00 10 04 02

                                      BUILDING AND PERSONAL
                                     PROPERTY COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties and what is and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations.
The words "we", "us" and "our" refer to the Company providing this insurance.

Other words and phrases that appear in quotation marks have special meaning. Refer to Section H-
Definitions.

A.   Coverage                                                                    (b) Materials, equipment, sup-
     We will pay for direct physical loss of or dam-                                  plies and temporary struc-
     age to Covered Property at the premises de-                                      tures, on or within 100 feet
     scribed in the Declarations caused by or re-                                     of the described premises,
     sulting from any Covered Cause of Loss.                                          used for making additions,
     1. Covered Property                                                              alterations or repairs to the
                                                                                      building or structure.
          Covered Property, as used in this
          Coverage Part, means the type of prop-                       b.   Your Business Personal Property lo-
          erty described in this Section, A.1., and                         cated in or on the building described
          limited in A.2., Property Not Covered, if a                       in the Declarations or in the open (or
          Limit of Insurance is shown in the Dec-                           in a vehicle) within 100 feet of the
          larations for that type of property.                              described premises, consisting of the
                                                                            following unless otherwise specified
          a. Building, meaning the building or
                                                                            in the Declarations or on the Your
                structure described in the Declara-
                                                                            Business Personal Property - Separa-
                tions, including:
                                                                            tion of Coverage form:
               (1) Completed additions;
                                                                            (1) Furniture and fixtures;
               (2) Fixtures, including outdoor fix-
                                                                            (2) Machinery and equipment;
                     tures;
                                                                            (3) "Stock";
               (3) Permanently installed:
                                                                            (4) AII other personal          property
                     (a) Machinery and
                                                                                 owned by you and used in your
                     (b) Equipment;                                              business;
               (4) Personal property owned by you                           (5) Labor, materials or services fur-
                     that is used to maintain or ser-                            nished or arranged by you on
                     vice the building or structure or                           personal property of others;
                     its premises, including:.
                                                                            (6) Your use interest as tenant in im-
                     (a) Fire extinguishing        equip-                        provements       and betterments.
                          ment;                                                  Improvements and betterments
                     (b) Outdoor furniture;                                      are fixtures, alterations, installa-
                     (c) Floor coverings; and                                    tions or additions:
                     (d) Appliances used for refriger-                           (a) Made a part of the building
                          ating, ventilating, cooking,                                or structure you occupy but
                          dishwashing or laundering;                                  do not own; and
               (5) If not covered by other insur-                                (b) You acquired or made at
                     ance:                                                            your expense but cannot le-
                     (a) Additions under construc-                                    gally remove;
                          tion, alterations and repairs                     (7) Leased personal property for
                          to the building or structure;                          which you have a contractual re-
                                                                                 sponsibility    to insure, unless
                                                                                 otherwise provided for under
                                                                                 Personal Property of Others.

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             c.    Personal Property of Others that is:                     n.   Electronic data, except as provided
                   (1) In your care, custody or control; .                       under Additional Coverages - Elec-
                       and                                                       tronic Data. Electronic data means
                   (2) Located in or on the building de-                         information, facts or computer pro-
                       scribed in the Declarations or in                         grams stored as or on, created or
                       the open (or in a vehicle) within                         used on, or transmitted to or from
                       100 feet of the described. prem-                          computer software (including sys-
                       ises.                                                     tems and applications software), on
                                                                                 hard or floppy disks, CD-ROMs,
                   However, our payment for loss of or
                                                                                 tapes, drives, cells, data processing
                   damage to personal property of oth-
                                                                                 devices or any other repositories of
                   ers will only be for the account of the
                                                                                 computer software which are used
                   owner of the property.
                                                                                 with electronically controlled' equip-
        2.   Property Not Covered                                                ment. The term computer programs,
             Covered Property does not include:                                  referred to in the foregoing descrip-
             a.    Accounts,    bills,  currency,  food                          tion of electronic data, means a set of
                   stamps or other evidences of debt,                            related electronic instructions which
                   money, notes or securities. Lottery                           direct the operations and functions
                   tickets held for sale are not securi-                         of a computer or device connected to
                   ties;                                                         it, which enable the computer or de-
             b.    Animals, unless owned by others                               vice to receive, process, store, re-
                   and boarded by you, or if owned by                            trieve or send data. This paragraph,
                   you, only as "stock" while inside of                          n., does not apply to your "stock" of
                   buildings;                                                    prepackaged software.
             c.    Automobiles   held for sale;                             o.   The cost to replace or restore the in-
             d.    Bridges, roadways, walks, patios or                           formation on valuable papers and
                   other paved surfaces;                                         records, including those which exist
                                                                                 as electronic data. Valuable papers
             e.    Contraband,   or    property    in    the
                                                                                 and records include but are not limit-
                   course of illegal   transportation     or
                                                                                 ed to proprietary information, books
                   trade;
                                                                                 of account, deeds, manuscripts, ab-
             f.    The cost of excavations,        grading,                      stracts, drawings and card index sys-
                   backfilling or filling;                                       tems. Refer to the Coverage Exten-
             g.    Foundations of buildings, structures,                         sion    for  Valuable    Papers   And
                   machinery or boilers if their founda-                         Records (Other Than Electronic Data)
                   tions are below:                                              for limited coverage for valuable pa-
                   (1) The lowest basement floor; or                             pers and records other than those
                   (2) The surFace of the ground,         if                     which exist as electronic data.
                       there is no basement;                                p.   Vehicles or self-propelled machines
             h.    Land (including land on which the                             (including aircraft or watercraft) that:
                   property is located), water, growing                          (1) Are licensed    for use on public
~                  crops or lawns;                                                   roads; or
°            i.    Personal property   while airborne or                         (2) Are operated principally   away
                   waterborne;                                                       from the described premises.
             j.    Bulkheads, pilings, piers, wharves or                         This paragraph does not apply to:
~                  docks;                                                        (a) Vehicles or self-propelled  ma-
             k.    Property that is covered under an-                                chines or autos you manufac-
                   other coverage form of this or any                                ture, process or warehouse;
                   other policy in which it is more spe-                         (b) Vehicles or self-propelled ma-
                   cifically described, except for the ex-                           chines, other than autos, you
                   cess of the amount due (whether you                               hold for sale;
                   can collect on it or not) from that oth-                      (c) Rowboats or canoes out of water
                   er insurance;                                                     at the described premises; or
             I.    Retaining walls that are not part of a                        (d) Trailers, but only to the extent
                   building;                                                         provided for in the Coverage Ex-
             m. Underground pipes, flues or drains;                                  tension   for Non-Owned      De-
                                                                                     tached Trailers.



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             q.   The following   property while outside                     (4) We will pay up to an additional
                  of buildings:                                                  $10,000 for debris removal ex-
                  (1) Grain, hay, straw or other crops;                          pense, for each location, in any
                  (2) Fences, radio or television an-                            one occurrence of physical loss
                      tennas     (including    satellite                         or damage to Covered Property,
                      dishes) and their lead-in wiring,                          if one or both of the following
                      masts or towers, signs (other                              circumstances apply:
                      than signs attached to build-                              (a) The total of the actual debris
                      ings), trees, shrubs or plants                                 removal expense plus the
                      (other than "stock"     of trees,                              amount we pay for direct
                      shrubs or plants), all except as                               physical loss or damage ex-
                      provided in the Coverage Exten-                                ceeds the Limit of Insurance
                      sions.                                                         on the Covered Property that
        3.   Covered Causes Of Loss                                                  has sustained loss or dam-
                                                                                     age.
             See applicable Causes of Loss Form as
             shown in the Declarations.                                          (b) The actual debris removal
                                                                                     expense exceeds 25% of the
~       4.   Additional Coverages
                                                                                     sum of the deductible plus
             a.   Debris Removal                                                     the amount that we pay for
                  (1) Subject to Paragraphs (3) and                                  direct physical loss or dam-
                      (4), we will pay your expense to                               age to the Covered Property
~                     remove debris of Covered Prop-                                 that has sustained loss or
                      erty caused by or resulting from                               damage.
                      a Covered Cause of Loss that oc-                          Therefore, if (4)(a) and/or (4)(b)
                      curs during the policy period.                            apply, our total payment for di-
                      The expenses will be paid only if                         rect physical loss or damage and
                      they are reported to us in writing                        debris removal expense may
                      within 180 days of the date of di-                        reach but will never exceed the
"                     rect physical loss or damage.                             Limit of Insurance on the Cov-
                  (2) Debris Removal does not apply                             ered Property that has sustained
                      to costs to:                                              loss or damage, plus $10,000.
                      (a) Extract "pollutants"     from                      (5) Examples
                          land or water; or                                     The following examples assume
                      (b) Remove, restore or replace                            that there is no coinsurance pen-
                          polluted land or water.                               alty.
                  (3) Subject to the exceptions in             Example #1
                      Paragraph (4), the following pro-          Limit of Insurance                      $ 90,000
                      visions apply:
                                                                 Amount of Deductible                    $     500
                      (a) The most we will pay for the
                                                                 Amount of Loss                          $ 50,000
                          total of direct physical loss
                          or damage plus debris re-              Amount of Loss Payable                  $ 49,500
o                         moval expense is the Limit                                              ($50,000 -$500)
                          of Insurance applicable to             Debris Removal Expense                  $ 10,000
                          the Covered Property that              Debris Removal Expense
                          has sustained loss or dam-             Payable                                 $ 10,000
^                         age.
                                                                 ($10,000 is 20% of $50,000)
                      (b) Subject to (a) above, the
                                                                                The debris removal expense is
                          amount we will pay for de-
                                                                                less than 25°/° of the sum of the
                          bris removal      expense is
                                                                                loss payable plus the deductible.
                          limited to 25% of the sum of
                                                                                The sum of the loss payable and
                          the    deductible   plus  the
                                                                                the debris     removal   expense
                          amount that we pay for di-
                                                                                ($49,500 +$10,000 =$59,500) is
                          rect physical loss or damage
                                                                                less than the Limit of Insurance.
                          to the Covered Property that
                                                                                Therefore the full amount of de-
                          has sustained loss or dam-
                                                                                bris removal expense is payable
                          age.
                                                                                in accordance with the terms of
                                                                                Paragraph (3).



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    Example #2                                                            c.    Fire Department Service Charge
     Limit of Insurance                           $ 90,000                      When the fire department is called to
     Amount of Deductible                         $    500                      save or protect Covered Property
      Amount of Loss                             $ 80,000                       from a Covered Cause of Loss, we
                                                                                will pay up to $1,000 for your liability
      Amount of Loss Payable                     $ 79,500
                                                                                for fire department service charges:
                                           ($80,000 -$500)
                                                                               (1) Assumed by contract or agree-
      Debris Removal Expense                     $ 30,000                             ment prior to loss; or
      Debris Removal Expense                                                   (2) Required by local ordinance.
      Payable                                                                  No Deductible applies to this Addi-
                    Basic Amount                 $ 10,500                       tional Coverage.
                    Additional Amount            $ 10,000
                                                                          d.   Pollutant Clean Up And Removal
                         The basic amount payable for                          We will pay your expense to extract
                          debris removal expense under                         "pollutants"    from land or water at
                         the terms of Paragraph (3) is cal-                    the described premises if the dis-
                         culated     as follows:     $80,000                   charge, dispersal, seepage, migra-
                         ($79,500 + $500) x.25             =                   tion, release or escape of the "pollu-
                         $20,000; capped at $10,500. The                       tants" is caused by or results from a
                         cap applies because the sum of                        Covered Cause of Loss that occurs
                         the loss payable ($79,500) and                        during the policy period. The ex-
                         the basic amount payable for de-                      penses will be paid only if they are
                         bris removal expense ($10,500)                        reported to us in writing within 180
                         cannot exceed the Limit of Insur-                     days of the date on which the Cov-
                         ance ($90,000).                                       ered Cause of Loss occurs.
                         The additional amount payable                         This Additional Coverage does not
                         for debris removal expense is                         apply to costs to test for, monitor or
                         provided in accordance with the                       assess the existence, concentration
                         terms of Paragraph (4), because                       or effects of "pollutants". But we will
                         the debris removal         expense                    pay for testing which is perFormed in
                         ($30,000) exceeds 25% of the                          the course of extracting the "pollu-
                         loss payable plus the deductible                      tarits" from the land or water.
                         ($30,000 is 37.5% of $80,000),
                                                                               The most we will pay under this Ad-
                         and because the sum of the loss
                                                                               ditional Coverage for each described
                         payable and debris removal ex-
                                                                               premises is $10,000 for the sum of all
                         pense ($79,500 +$30,000 =
                                                                               covered expenses arising out of Cov-
                         $109,500) would exceed the Lim-
                                                                               ered Causes of Loss occurring during
                         it of Insurance ($90,000). The ad-
                                                                               each separate 12 month period of
                         ditional amount of covered de-
                                                                               this policy.
                         bris removal expense is $10,000,
                         the maximum         payable under                e.   Increased Cost Of Construction
                         Paragraph (4). Thus the total                         (1) This Additional      Coverage ap-
~                        payable for debris removal ex-                             plies only to buildings to which
~                        pense     in   this   example    is                        the Replacement Cost Optional
                         $20,500; $9,500 of the debris re-                          Coverage applies.
                         moval expense is not covered.                         (2) In the event of damage by a Cov-
^           b.     Preservation Of Property                                         ered Cause of Loss to a building
                   If it is necessary to move Covered                               that is Covered Property, we will
                   Property from the described prem-                                pay the increased costs incurred
                   ises to preserve it from loss or dam-                            to comply with enforcement of
                   age by a Covered Cause of Loss, we                               an ordinance or law in the
                   will pay for any direct physical loss                            course of repair, rebuilding or re-
                   or damage to that property:                                     placement of damaged parts of
                                                                                   that property, subject to the limi-
                   (1) While it is being moved or while
                                                                                   tations stated in e.(3) through
                        temporarily stored at another lo-
                                                                                   e.(9) of this Additional Coverage.
                        cation; and
                   (2) Only if the loss or damage oc-
                        curs within 30 days after the
                        property is first moved.

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                (3) The ordinance or law referred to                           The amount payable under this
                    in e.(2) of this Additional Cover-                         Additional Coverage is addition-
                    age is an ordinance or law that                            al insurance.
                    regulates the construction or re-                      (7) With respect to this Additional
                    pair of buildings or establishes                           Coverage:
                    zoning or land use requirements                            (a) We will not pay for the In-
                    at the described premises, and is                               creased Cost of Construc-
                    in force at the time of loss.                                   tion:
                (4) Under this Additional Coverage,                                (i) Until the property is ac-
                    we will not pay any costs due to                                      tually    repaired      or
                    an ordinance or law that:                                             replaced, at the same or
                    (a) You were required to com-                                         another premises; and
                         ply with before the loss,                                 (ii) Unless the repairs or re-
                         even when the building was                                       placement are made as
                         undamaged; and                                                   soon as reasonably pos-
                     (b) You failed to comply with.                                       sible after the loss or
~               (5) Under this Additional Coverage,                                       damage, not to exceed
                     we will not pay for:                                                 two years. We may ex-
                     (a) The enforcement of any or-                                       tend this period in writ-
                          dinance or law which re-                                        ing during      the two
                          quires demolition, repair, re-                                  years.
o
                         placement,     reconstruction,                        (b) If the building is repaired or
                         remodeling or remediation                                 replaced at the same prem-
                         of property due to contami-                               ises, or if you elect to rebuild
                         nation by "pollutants"       or                           at another premises, the
                         due to the presence, growth,                              most we will pay for the In-
                         proliferation, spread or any                              creased Cost of Construc-
«                        activity of "fungus", wet or                              tion, subject to the provi-
                         dry rot or bacteria; or                                   sions       of e.(6)    of this
                    (b) Any costs associated with                                  Additional Coverage, is the
                         the enforcement of an ordi-                               increased cost of construc-
                         nance or law which requires                               tion at the same premises.
                         any insured or others to test                         (c) If the ordinance or law re-
                         for, monitor, clean up, re-                               quires relocation to another
                         move, contain, treat, detoxi-                             premises, the most we will
                         fy or neutralize, or in any                               pay for the Increased Cost of
                         way respond to, or assess                                 Construction, subject to the
                         the effects of "pollutants",                              provisions of e.(6) of this
                         "fungus", wet or dry rot or                               Additional Coverage, is the
                         bacteria.                                                 increased cost of construc-
                (6) The most we will pay under this                                tion at the new premises.
;                   Additional    Coverage, for each                       (8) This Additional Coverage is not
                    described building insured un-                             subject to the terms of the Ordi-
                    der this Coverage Form, is                                 nance or Law Exclusion, to the
                    $10,000 or 5% of the Limit of In-                          extent that such Exclusion would
                    surance applicable to that build-                          conflict with the provisions of
                    ing, whichever is less. If a                               this Additional Coverage.
                    damaged building is covered un-                        (9) The costs addressed in the Loss
                    der a blanket Limit of Insurance                           Payment and Valuation Condi-
                    which applies to more than one                             tions, and the Replacement Cost
                    building or item of property,                              Optional Coverage, in this Cov-
                    then the most we will pay under                            erage Form, do not include the
                    this Additional     Coverage, for                          increased cost attributable to en-
                    that damaged building, is the                              forcement of an ordinance or
                    lesser of: $10,000 or 5% times                             law. The amount payable under
                    the value of the damaged build-                            this Additional     Coverage, as
                    ing as of the time of loss times                           stated in e.(6) of this Additional
                    the applicable coinsurance per-                            Coverage, is not subject to such
                    centage.                                                   limitation.
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        f.     Electronic Data                                                       system (including electronic
               (1) Under this Additional Coverage,                                   data) by any employee, in-
                   electronic data has the meaning                                   cluding    a temporary       or
                   described under Property Not                                      leased employee, or by an
                   Covered - Electronic Data.                                        entity retained by you or for
               (2) Subject to the provisions of this                                 you to inspect, design, in-
                   Additional Coverage, we will pay                                  stall, modify, maintain, re-
                   for the cost to replace or restore                                pair or replace that system.
                   electronic data which has been                           (4) The most we will pay under this
                   destroyed or corrupted by a Cov-                             Additional Coverage - Electronic
                   ered Cause of Loss. To the ex-                               Data is $2,500 for all loss or
                   tent that electronic data is not re-                         damage sustained in any one
                   placed or restored, the loss will                            policy year, regardless of the
                   be valued at the cost of replace-                            number of occurrences of loss or
                   ment of the media on which the                               damage or the number of prem-
                   electronic data was stored, with                             ises, locations or computer sys-
                   blank media of substantially                                 tems involved. If loss payment
                   identical type.                                              on the first occurrence does not
               (3) The Covered Causes of Loss ap-                               exhaust this amount, then the
                   plicable to Your Business Per-                               balance is available for subse-
                   sonal Property apply to this Ad-                             quent loss or damage sustained
                   ditional Coverage - Electronic                               in but not after that policy year.
                   Data, subject to the following:                              With respect to an occurrence
                                                                                which begins in one policy year
                   (a) If the Causes of Loss - Spe-
                                                                                and continues or results in addi-
                       cial Form applies, coverage
                                                                                tional loss or damage in a subse-
                       under this Additional Cover-
                                                                                quent policy year(s), all loss or
                       age - Electronic Data is limit-
                                                                                damage is deemed to be sus-
                       ed to the "specified causes
                                                                                tained in the policy year in which
                       of loss" as defined in that
                                                                                the occurrence began.
                       Form, and Collapse as set
                       forth in that Form.                       5.   Coverage Extensions
                   (b) If the Causes of Loss - Broad                  Except as otherwise provided, the follow-
                       Form applies, coverage un-                     ing Extensions apply to property located
                       der this Additional Coverage                   in or on the building described in the Dec-
                       - Electronic Data includes                     larations or in the open (or in a vehicle)
                       Collapse as set forth in that                  within 100 feet of the described prem-
                       Form.                                          ises.
                   (c) If the Causes of Loss Form is                  If a Coinsurance percentage of 80% or
                       endorsed to add a Covered                      more or, a Value Reporting period sym-
                       Cause of Loss, the additional                  bol, is shown in the Declarations, you
                       Covered Cause of Loss does                     may extend the insurance provided by
                       not apply to the coverage                      this Coverage Part as follows:
                       provided under this Addi-                      a. Newly Acquired Or Constructed
                       tional Coverage - Electronic                        Property
                       Data.                                               (1) Buildings
                   (d) The Covered Causes of Loss                              If this policy covers Building,
                       include   a virus, harmful                              you may extend that insurance
                       code or similar instruction                             to apply to:
                       introduced into or enacted                              (a) Your new buildings while
                       on a computer system (in-                                    being built on the described
                       cluding electronic data) or a                                premises; and
                       network to which it is con-                             (b) Buildings you acquire at lo-
                       nected, designed to damage                                   cations, other than the de-
                       or destroy any part of the                                   scribed premises, intended
                       system or disrupt its normal                                 for:
                       operation. But there is no
                                                                                    (i) Similar use as the build-
                       coverage for loss or damage
                                                                                         ing described in the
                       caused by or resulting from
                                                                                         Declarations; or
                       manipulation of a computer

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                    (ii) Use as a warehouse.                                 (b) 30 days expire after you ac-
                The most we will pay for loss or                                   quire the property or begin
                damage under this Extension ,is                                    construction of that part of
                $250,000 at each building.                                         the building    that would
            (2) Your Business Personal Proper-                                     qualify as covered property;
                ty                                                                 or
                (a) If this policy covers Your                               (c) You report values to us.
                    Business Personal Property,                              We will charge you additional
                    you may extend that insur-                               premium for values reported
                    ance to apply to:                                        from the date you acquire the
                    (i) Business personal prop-                              property or begin construction of
                         erty,    including   such                           that part of the building that
                         property that you newly                             would qualify as covered prop-
                         acquire, at any location                            erty.
                         you acquire other than                    b.   Personal Effects And Property Of
                         at fairs, trade shows or                       Others
                         exhibitions;                                   You may extend the insurance that
                    (ii) Business personal prop-                        applies to Your Business Personal
                         erty,    including   such                      Property to apply to:
                         property that you newly                        (1) Personal effects owned by you,
                         acquire, located at your                            your officers, your partners or
                         newly constructed       or                          members, your managers or
                         acquired buildings      at                          your employees. This extension
                         the location described                              does not apply to loss or dam-
                         in the Declarations; or                             age by theft.
                     (iii) Business personal prop-                      (2) Personal property of others in
                           erty that you newly ac-                           your care, custody or control.
                           quire, located at the de-                    The most we will pay for loss or
                           scribed premises.                            damage under this Extension is
                     The most we will pay for                           $2,500 at each described premises.
                     loss or damage under this                          Our payment for loss of or damage
                     Extension is $100,000 at                           to personal property of others will
                     each building.                                     only be for the account of the owner
                 (b) This Extension does not ap-                        of the property.
                     ply to:                                       C.   Valuable Papers And Records (Other
                      (i) Personal      property   of                   Than Electronic Data)
                           others that is temporar-                     (1) You may extend the insurance
                           ily in your possession in                        that applies to Your Business
                           the course of installing                         Personal Property to apply to
                           or pen`orming work on                            your cost to replace or restore
                           such property; or                                the lost information on valuable
                      (ii) Personal     property   of                       papers and records for which du-
                           others that is temporar-                         plicates do not exist. But this Ex-
                           ily in your possession in                        tension does not apply to valu-
                           the course of your man-                          able papers and records which
                           ufacturing              or                       exist as electronic data. Electron-
                           wholesaling activities.                          ic data has the meaning de-
            (3) Period of Coverage                                          scribed under Property Not Cov-
                                                                            ered - Electronic Data.
                With respect to insurance on or
                at each newly acquired or con-                          (2) If the Causes of Loss - Special
                structed property, coverage will                            Form applies, coverage under
                end when any of the following                               this Extension is limited to the
                first occurs:                                               "specified causes of loss" as de-
                                                                            fined in that Form, and Collapse
                (a) This policy expires;
                                                                            as set forth in that Form.




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               (3) If the Causes of Loss - Broad                     e.   Outdoor Property
                   Form applies, coverage under                           You may extend the insurance pro-
                   this Extension includes Collapse                       vided by this Coverage Form to apply
                   as set forth in that Form.                             to your outdoor fences, radio and
               (4) Under this Extension, the most                         television antennas (including satel-
                   we will pay to replace or restore                      lite dishes), signs (other than signs
                   the lost information is $2,500 at                      attached to buildings), trees, shrubs
                   each described premises, unless                        and plants (other than "stock" of
                   a higher limit is shown in the                         trees, shrubs or plants), including de-
                   Declarations. Such amount is ad-                       bris removal expense, caused by or
                   ditional insurance. We will also                       resulting from any of the following
                   pay for the cost of blank material                     causes of loss if they are Covered
                   for reproducing        the records                     Causes of Loss:
                   (whether or not duplicates exist),                     (1) Fire;
                   and (when there is a duplicate)                        (2) Lightning;
                   for the cost of labor to transcribe
                                                                          (3) Explosion;
                   or copy the records. The costs of
                   blank material and labor are sub-                      (4) Riot or Civil Commotion; or
                   ject to the applicable Limit of In-                    (5) Aircraft.
                   surance on Your Business Per-                          The most we will pay for loss or
                   sonal Property and therefore                           damage under this Extension is
                   coverage of such costs is not ad-                      $1,000, but not more than $250 for
                   ditional insurance.                                    any one tree, shrub or plant. These
        d.     Property OfP-Premises                                      limits apply to any one occurrence,
               (1) You may extend the insurance                           regardless of the types or number of
                   provided by this Coverage Form                         items lost or damaged in that occur-
                   to apply to your Covered Prop-                         rence.
                   erty while it is away from the de-                f.   Non-Owned Detached Trailers
                   scribed premises, if it is:                            (1) You may extend the insurance
                   (a) Temporarily at a location                               that applies to Your Business
                        you do not own, lease or op-                           Personal Property to apply to
                        erate;                                                 loss or damage to trailers that
                   (b) In storage at a location you                            you do not own, provided that:
                        lease, provided the lease                              (a) The trailer is used in your
                        was executed after the be-                                  business;
                        ginning of the current policy                          (b) The trailer is in your care,
                        term; or                                                    custody or control at the
                   (c) At any fair, trade show or                                   premises described in the
                        exhibition.                                                 Declarations; and
               (2) This Extension does not apply to                            (c) You have a contractual re-
                   property:                                                        sponsibility to pay for loss
                   (a) In or on a vehicle; or                                       or damage to the trailer.
                   (b) In the care, custody or con-                       (2) We will not pay for any loss or
                        trol of your salespersons,                             damage that occurs:
                        unless the property is in                              (a) While the trailer is attached
                        such care, custody or con-                                  to any motor vehicle or mo-
                        trol at a fair, trade show or                               torized conveyance, whether
                        exhibition.                                                 or not the motor vehicle or
               (3) The most we will pay for loss or                                 motorized conveyance is in
                   damage under this Extension is                                   motion;
                   $10,000.                                                    (b) During        hitching      or
                                                                                    unhitching   operations,   or
                                                                                    when a trailer becomes ac-
                                                                                    cidentally unhitched from a
                                                                                    motor vehicle or motorized
                                                                                    conveyance.




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              (3) The most we will pay for loss or          Example No. 1:
                   damage under this Extension is           (This example assumes there is no coinsurance
                   $5,000, unless a higher limit is         penalty.)
                   shown in the Declarations.                    Deductible:                     $     250
              (4) This insurance is excess over the              Limit of Insurance - Bldg. 1:   $ 60,000
                   amount due (whether you can                   Limit of Insurance - Bldg. 2:   $ 80,000
                   collect on it or not) from any oth-
                                                                 Loss to Bldg. 1:                $ 60,100
                  er insurance covering such prop-
                                                                 Loss to Bldg. 2:                $ 90,000
                  erty.
    Each of these Extensions is additional insur-
                                                                    The amount of loss to Bldg. 1($60,100) is
    ance unless otherwise            indicated.   The
                                                                    less than the sum ($60,250) of the Limit of
    Additional Condition, Coinsurance, does not
                                                                    Insurance applicable to Bldg. 1 plus the
    apply to these Extensions.
                                                                    Deductible.
B. Exclusions And Limitations
                                                                    The Deductible will be subtracted from
    See applicable Causes of Loss Form as                           the amount of loss in calculating the loss
    shown in the Declarations.
                                                                    payable for Bldg. 1:
C. Limits Of Insurance
                                                                     $60,100
    The most we will pay for loss or damage in                           - 250
    any one occurrence is the applicable Limit of                    $59,850         Loss Payable - Bldg. 1
    Insurance shown in the Declarations.
    The most we will pay for loss or damage to                  The Deductible applies once per occurrence
    outdoor signs attached to buildings is $1,000               and therefore is not subtracted in determining
    per sign in any one occurrence.                             the amount of loss payable for Bldg. 2. Loss
    The limits applicable to the Fire Department                payable for Bldg. 2 is the Limit of Insurance of
    Service Charge and Pollutant Clean Up and                   $80,000.
    Removal Additional Coverages are in addi-                   Total amount of loss payable:         $59,850 +
    tion to the Limits of Insurance.                            80,000 = $139,850
   Payments under the Preservation of Property             Example No. 2:
   Additional Coverage will not increase the ap-           (This example, too, assumes there is no coinsur-
   plicable Limit of Insurance:                            ance penalty.)
D. Deductible                                              The Deductible and Limits of Insurance are the
   In any one occurrence of loss or damage                 same as those in Example No. 1.
   (hereinafter referred to as loss), we will first
                                                           Loss to Bldg. 1:              $ 70,000
   reduce the amount of loss if required by the
                                                                (exceeds Limit of Insurance plus Deductible)
   Coinsurance Condition or the Agreed Value               Loss to Bldg. 2:              $ 90,000
   Optional Coverage. If the adjusted amount of
                                                                (exceeds Limit of Insurance plus Deductible)
   loss is less than or equal to the Deductible,
                                                           Loss Payable - Bldg. 1:          $60,000
   we will not pay for that loss. If the adjusted              (Limit of Insurance)
   amount of loss exceeds the Deductible, we
                                                           Loss Payable - Bldg. 2:          $80,000
   will then subtract the Deductible from the ad-              (Limit of Insurance)
   justed amount of loss, and will pay the result-         Total amount of loss payable:
   ing amount or the Limit of Insurance, which-
                                                                                           $140,000
   ever is less.
   When the occurrence involves loss to more               E. Loss Conditions
   than one item of Covered Property and sepa-
                                                              The following conditions apply in addition to
   rate Limits of Insurance apply, the losses will
                                                              the Common Policy Conditions and the Com-
   not be combined in determining application
                                                              mercial Property Conditions.
   of the Deductible. But the Deductible will be
   applied only once per occurrence.                          1. Abandonment
                                                                  There can be no abandonment of any
                                                                  property to us.




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    2.   Appraisal                                                       (6) As often as may be reasonably
         If we and you disagree on the value of the                           required, permit us to inspect
         property or the amount of loss, either                               the property proving the loss or
         may make written demand for an ap-                                   damage      and examine        your
         praisal of the loss. In this event, each par-                        books and records.
         ty will select a competent and impartial                             Also permit us to take samples
         appraiser. The two appraisers will select                            of damaged and undamaged
         an umpire. If they cannot agree, either                              property for inspection, testing
         may request that selection be made by a                              and analysis, and permit us to
         judge of a court having jurisdiction. The                            make copies from your books
         appraisers will state separately the value                           and records.
         of the property and amount of loss. If                          (7) Send us a signed, sworn proof of
         they fail to agree, they will submit their                           loss containing the information
         differences to the umpire. A decision                                we request to investigate the
         agreed to by any two will be binding.                                claim. You must do this within
         Each party will:                                                     60 days after our request. We
         a. Pay its chosen appraiser; and                                     will supply you with the neces-
         b. Bear the other expenses of the ap-                                sary forms.
               praisal and umpire equally.                               (8) Cooperate with us in the inves-
         If there is an appraisal, we will still retain                       tigation or settlement of the
         our right to deny the claim.                                         claim.
    3.   Duties In The Event Of Loss Or Damage                       b. We may examine any insured under
         a. You must see that the following are                          oath, while not in the presence of
               done in the event of loss or damage                       any other insured and at such times
               to Covered Property:                                      as may be reasonably required,
                                                                         about any matter relating to this in-
              (1) Notify the police if a law may
                                                                         surance or the claim, including an in-
                    have been broken.
                                                                         sured's books and records. In the
              (2) Give us prompt notice of the loss                      event of an examination,         an in-
                    or damage. Include a description                     sured's answers must be signed.
                    of the property involved.
                                                                4.   Loss Payment
              (3) As soon as possible, give us a
                                                                     a. In the event of loss or damage cov-
                    description of how, when and
                                                                         ered by this Coverage Form, at our
                    where the loss or damage oc-
                                                                         option, we will either:
                    curred.
                                                                         (1) Pay the value of lost or damaged
              (4) Take all reasonable steps to pro-
                                                                              property;
                    tect the Covered Property from
                    further damage, and keep a                           (2) Pay the cost of repairing or re-
                    record of your expenses neces-                            placing the lost or damaged
                    sary to protect the Covered Prop-                         property, subject to b. below;
                    erty, for consideration in the set-                  (3) Take all or any part of the prop-
                    tlement of the claim. This will                           erty at an agreed or appraised
                    not increase the Limit of Insur-                          value; or
                    ance. However, we will not pay                      (4) Repair, rebuild or replace the
                    for any subsequent loss or dam-                           property with other property of
                    age resulting from a cause of                             like kind and quality, subject to
                    loss that is not a Covered Cause                          b. below.
                    of Loss. Also, if feasible, set the                  We will determine the value of lost or
                    damaged property aside and in                        damaged property, or the cost of its
                    the best possible order for ex-                      repair or replacement, in accordance
                    amination.                                           with the applicable terms of the Valu-
              (5) At our request, give us complete                       ation Condition in this Coverage
                    inventories of the damaged and                       Form or any applicable provision
                    undamaged       property. Include                    which amends or supersedes the
                    quantities,   costs, values and                     Valuation Condition.
                    amount of loss claimed.




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             b.   The cost to repair, rebuild or replace                         (a) When this policy is issued to
                  does not include the increased cost                                a tenant, and with respect to
                  aftributable to enforcement of any                                 that tenant's interest in Cov-
                  ordinance or law regulating the con-                               ered    Property,     building
                  struction, use or repair of any prop-                              means the unit or suite
                  erty.                                                              rented or leased to the ten-
             c.   We will give notice of our intentions                              ant. Such building is vacant
                  within 30 days after we receive the                                when it does not contain
                  sworn proof of loss.                                               enough business personal
             d.   We will not pay you more than your                                 property to conduct custom-
                  financial interest in the Covered                                  ary operations.
                  Property.                                                      (b) When this policy is issued to
                                                                                     the owner or general lessee
             e.   We may adjust losses with the own-
                                                                                     of   a building,     building
                  ers of lost or damaged property if
                                                                                     means the entire building.
                  other than you. If we pay the owners,
                                                                                     Such building is vacant un-
                  such payments will satisfy your
                                                                                     less at least 31% of its total
"                 claims against us for the owners'
                                                                                     square footage is:
                  property. We will not pay the owners
                  more than their financial interest in                                (i)   Rented to a lessee or
                  the Covered Property.                                                      sub-lessee and used by
                                                                                             the lessee or sublessee
             f.   We may elect to defend you against
                                                                                             to conduct its custom-
~                 suits arising from claims of owners
                                                                                             ary operations; and/or
                  of property. We will do this at our ex-
                  pense.                                                               (ii) Used by the building
                                                                                            owner to conduct cus-
             g.   We will pay for covered loss or dam-
                                                                                            tomary operations.
                  age within 30 days after we receive
                  the sworn proof of loss, if you have                       (2) Buildings under construction or
~                 complied with all of the terms of this                         renovation are not considered
                  Coverage Part and:                                             vacant.
                  (1) We have reached agreement                         b.   Vacancy Provisions
                      with you on the amount of loss;                        If the building where loss or damage
                      or                                                     occurs has been vacant for more
                  (2) An appraisal    award   has been                       than 60 consecutive days before that
                      made.                                                  loss or damage occurs:
        5.   Recovered Property                                              (1) We will not pay for any loss or
                                                                                 damage caused by any of the fol-
             If either you or we recover any property
                                                                                 lowing even if they are Covered
             after loss settlement, that party must give
                                                                                 Causes of Loss:
             the other prompt notice. At your option,
             the property will be returned to you. You                           (a) Vandalism;
             must then return to us the amount we                                (b) Sprinkler  leakage,   unless
~            paid to you for the property. We will pay                               you have protected the sys-
~            recovery expenses and the expenses to                                   tem against freezing;
             repair the recovered property, subject to                           (c) Building glass breakage;
             the Limit of Insurance.                                             (d) Water damage;
~       6.   Vacancy                                                             (e) Theft; or
             a.   Description Of Terms                                           (f)   Attempted theft.
                  (1) As used in this Vacancy Condi-                         (2) With respect to Covered Causes
                      tion, the term building and the                            of Loss other than those listed in
                      term vacant have the meanings                              b.(1)(a) through b.(1)(f) above,
                      set forth in (1)(a) and (1)(b) be-                         we will reduce the amount we
                      low:                                                       would otherwise pay for the loss
                                                                                 or damage by 15%.
                                                                   7.   Valuation
                                                                        We will determine the value of Covered
                                                                        Property in the event of loss or damage
                                                                        as follows:



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        a. At actual cash value as of the time of             F.   Additional Conditions
            loss or damage, except as provided                     The following conditions apply in addition to
           in b., c., d., e. and f. below.                         the Common Policy Conditions and the Com-
        b. If the Limit of Insurance for Building                  mercial Property Conditions.
           satisfies the Additional Condition,                     1. Coinsurance
           Coinsurance, and the cost to repair                         If a Coinsurance percentage is shown in
            or replace the damaged building                            the Declarations, the following condition
           property is $2,500 or less, we will                         applies.
           pay the cost of building repairs or re-
                                                                       a. We will not pay the full amount of
           placement.
                                                                            any loss if the value of Covered Prop-
           The cost of building repairs or re-                              erty at the time of loss times the Co-
           placement does not include the in-                               insurance percentage shown for it in
           creased        cost      attributable       to                   the Declarations is greater than the
           enforcement of any ordinance or law                              Limit of Insurance for the property.
           regulating the construction, use or
                                                                            Instead, we will determine the most
           repair of any property. However, the
                                                                            we will pay using the following
           following property will be valued at
                                                                            steps:
           the actual cash value even when at-
           tached to the building:                                          (1) Multiply the value of Covered
                                                                                  Property at the time of loss by
           (1) Awnings or floor coverings;
                                                                                  the Coinsurance percentage;
           (2) Appliances        for      refrigerating,
                                                                            (2) Divide the Limit of Insurance of
                ventilating, cooking, dishwash-
                                                                                  the property by the figure deter-
                ing or laundering; or
                                                                                  mined in Step (1) ;
           (3) Outdoor equipment or furniture.
                                                                            (3) Multiply the total amount of
        c. "Stock" you have sold but not deliv-                                   loss, before the application of
           ered at the selling price less dis-                                    any deductible, by the figure de-
           counts and expenses you otherwise                                      termined in Step (2) ; and
           would have had.
                                                                            (4) Subtract the deductible from the
        d. Glass at the cost of replacement with                                  figure determined in Step (3) .
           safety glazing material if required by
                                                                            We will pay the amount determined
           law.
                                                                            in Step (4) or the limit of insurance,
        e. Tenant's Improvements and Better-                                whichever is less. For the remainder,
           ments at:                                                        you will either have to rely on other
           (1) Actual cash value of the lost or                             insurance or absorb the loss' your-
                damaged property if you make                                self.
                repairs promptly.
           (2) A proportion of your original                  Example No. 1(Underinsurance):
                cost if you do not make repairs                   When: The value of the prop-
                promptty. We will determine the                             erty is                   $ 250,000
                proportionate value as follows:                             The Coinsurance per-
                (a) Multiply the original cost by                           centage for it is              80%
                      the number of days from the                           The Limit of Insurance
                      loss or damage to the expi-                           for it is                 $ 100,000
                      ration of the lease; and                              The Deductible is         $     250
                (b) Divide the amount deter-                                The amount of loss is     $ 40,000
                      mined in (a) above by the                   Step (1): $250,000 x 80% =$200,000
                      number of days from the in-                           (the minimum amount of insurance
                      stallation of improvements                            to meet your Coinsurance require-
                      to the expiration          of the                     ments)
                      lease.                                      Step (2): $100,000 = $200,000 = .50
                If your lease contains a renewal                  Step (3): $40,000 x.50 — $20,000
                option, the expiration of the re-                 Step (4): $20,000
                                                                                      -$250 — $19,750
                newal option period will replace
                the expiration of the lease in this           We will pay no more than $19,750. The remaining
                procedure.                                    $20,250 is not covered.
           (3) Nothing if others pay for repairs
                or replacement.

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    Example No. 2(Adequate Insurance):                                b.   We will pay for covered loss of or
       When:     The value of the prop-                                    damage to buildings or structures to
                 erty is                      $ 250,000                    each mortgageholder shown in the
                 The Coinsurance per-                                      Declarations in their order of prece-
                 centage for it is                 80%                     dence, as interests may appear.
                 The Limit of Insurance                              c.    The mortgageholder has the right to
                 for it is                    $ 200,000                    receive loss payment even if the
                 The Deductible is            $     250                    mortgageholder has started foreclo-
                 The amount of loss is        $ 40,000                     sure or similar action on the building
                 The minimum amount of insurance                           or structure.
                 to meet your Coinsurance require-                   d.    If we deny your claim because of
                 ment is $200,000 ($250,000 x 80%).                        your acts or because you have failed
                 Therefore, the Limit of Insurance in                      to comply with the terms of this Cov-
                 this Example is adequate and no                           erage Part, the mortgageholder will
                 penalty applies. We will pay no' more                     still have the right to receive loss
~                than $39,750 ($40,000 amount of loss                      payment if the mortgageholder:
~                minus the deductible of $250).                            (1) Pays any premium due under
            b.   If one Limit of Insurance applies to                            this Coverage Part at our request
                 two or more separate items, this con-                           if you have failed to do so;
                 dition will apply to the total of all                     (2) Submits a signed, sworn proof
~                property to which the limit applies.                            of loss within 60 days after re-
~   Example No. 3:                                                               ceiving notice from us of your
       When: The value of property                                               failure to do so; and
               is:                                                         (3) Has notified us of any change in
               Bldg. at Location No. 1       $ 75,000                            ownership, occupancy or sub-
               Bldg. at Location No. 2       $ 100,000                           stantial change in risk known to
               Personal Property at                                              the mortgageholder.
~              Location No. 2                $ 75,000                      AII of the terms of this Coverage Part
                                             $ 250,000                     will then apply directly          to the
                 The Coinsurance                                           mortgageholder.
                 percentage for it is             90%                e.    If we pay the mortgageholder for any
                 The Limit of Insurance                                    loss or damage and deny payment to
                 for Buildings and                                         you because of your acts or because
                 Personal Property at                                      you have failed to comply with the
                 Location Nos. 1 and 2 is    $ 180,000                     terms of this Coverage Part:
                 The Deductible is           $ 1,000
                                                                           (1) The mortgageholder's rights un-
                 The amount of loss is:
                                                                               der the mortgage will be trans-
                 Bldg. at Location No. 2     $ 30,000
                                                                               ferred to us to the extent of the
                 Personal Property at
                                                                               amount we pay; and
                 Location No. 2              $ 20,000
                                                                           (2) The mortgageholder's     right to
                                             $ 50,000
~                                                                              recover the full amount of the
~       Step (1): $250,000 x 90% = $225,000
                                                                               mortgageholder's claim will not
                  (the minimum amount of insurance
                                                                               be impaired.
                  to meet your Coinsurance require-
                                                                           At our option, we may pay to the
                  ments and to avoid the penalty
                                                                           mortgageholder the whole principal
~                 shown below)
                                                                           on the mortgage plus any accrued in-
        Step (2): $180,000 =$225,000 =.80
                                                                           terest. In this event, your mortgage
        Step (3): $50,000 x.80 =$40,000.                                   and note will be transferred to us and
        Step (4): $40,000 -$1,000 =$39,000.                                you will pay your remaining mort-
        We will pay no more than $39,000. The .re-                         gage debt to us.
        maining $11,000 is not covered.                               f.   If we cancel this policy, we will give
        2. Mortgageholders                                                 written notice to the mortgageholder
            a. The term mortgageholder includes                            at least:
                  trustee.                                                 (1) 10 days before the effective date
                                                                                of cancellation if we cancel for
                                                                                your nonpayment of premium;
                                                                               or


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                   (2) 30 days before the effective date                        (3) The number of days since the
                       of cancellation if we cancel for                             beginning of the current policy
                       any other reason.                                            year or the effective date of the
              g.   If we elect not to renew this policy,                            most    recent   policy   change
                   we will give written notice to the                               amending the Limit of Insurance,
                   mortgageholder at least 10 days be-                              divided by 365.
                   fore the expiration date of this policy.
                                                                 Example:
    G.   Optional Coverages                                          If:        The applicable Limit
         If shown as applicable in the Declarations, the                        of Insurance is                $ 100,000
         following Optional Coverages apply separate-                           The annual percentage
         ly to each item.                                                       increase is                          8%
         1.   Agreed Value                                                      The number of days
                                                                                since the beginning of
              a.   The Additional Condition, Coinsur-
                                                                                the policy year (or last
                   ance, does not apply to Covered
                                                                                policy change) is                   146
                   Property to which this Optional Cov-
                                                                                The amount of increase
                   erage applies. We will pay no more
                                                                                is $100,000 x.08 x
                   for loss of or damage to that property
                                                                                146 = 365=                     $   3,200
                   than the proportion that the Limit of
                   Insurance under this Coverage Part                3.    Replacement Cost
                   for the property bears to the Agreed                    a.   Replacement Cost (without deduc-
                   Value shown for it in the Declara-                           tion for depreciation) replaces Actual
                   tions.                                                       Cash Value in the Loss Condition,
              b.   If the expiration date for this Option-                      Valuation, of this Coverage Form.
                   al Coverage shown in the Declara-                       b.   This Optional Coverage does not ap-
                   tions is not extended, the Additional                        ply to:
                   Condition, Coinsurance, is reinstated                        (1) Personal property of others;
                   and this Optional Coverage expires.                          (2) Contents of a residence;
              c.   The terms of this Optional Coverage                          (3) Works of art, antiques or rare ar-
                   apply only to loss or damage that oc-                            ticles, including etchings, pic-
                   curs:                                                            tures,      statuary,   marbles,
                   (1) On or after the effective date of                            bronzes, porcelains and bric-a-
                       this Optional Coverage; and                                  brac; or
                   (2) Before the Agreed Value expira-                          (4) "Stock",   unless the Including
                       tion date shown in the Declara-                              "Stock" option is shown in the
                       tions or the policy expiration                               Declarations.
                       date, whichever occurs first.                            Under the terms of this Replacement
         2.   Inflation Guard                                                   Cost Optional Coverage, tenants' im-
              a.   The Limit of Insurance for property to                       provements and betterments are not
                   which this Optional Coverage ap-                             considered to be the personal prop-
~                  plied will automatically increase by                         erty of others.
~                  the annual percentage shown in the                      c.   You may make a claim for loss or
                   Declarations.                                                damage covered by this insurance on
              b.   The amount of increase will be:                              an actual cash value basis instead of
~                  (1) The Limit of Insurance that ap-                          on a replacement cost basis. In the
                       plied on the most recent of the                          event you elect to have loss or dam-
                       policy inception date, the policy                        age settled on an actual cash value
                       anniversary date, or any other                           basis, you may still make a claim for
                       policy   change    amending     the                      the additional coverage this Optional
                       Limit of Insurance, times                                Coverage provides if you notify us of
                                                                                your intent to do so within 180 days
                   (2) The percentage of annual in-
                                                                                after the loss or damage.
                       crease shown in the Declara-
                       tions, expressed as a decimal                       d.   We will not pay on a replacement
                       (example: 8% is .08), times                              cost basis for any loss or damage:
                                                                                (1) Until the lost or damaged prop-
                                                                                    erty is actually repaired or re-
                                                                                    placed; and


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                 (2) Unless the repairs or replace-                  4.   Extension Of Replacement Cost To Per-
                     ment are made as soon as                             sonal Property Of Others
                     reasonably possible after the                        a. If the Replacement Cost Optional
                     loss or damage.                                          Coverage is shown as applicable in
                 With respect to tenants' improve-                            the Declarations, then this Extension
                 ments and betterments, the follow-                           may also be shown as applicable. If
                 ing also apply:                                              the Declarations show this Extension
                 (3) If the conditions in d.(1) and d.(2)                     as applicable, then Paragraph 3.b.(1)
                     above are not met, the value of                          of the Replacement Cost Optional
                     tenants' improvements and bet-                           Coverage is deleted and all other
                     terments will be determined as a                         provisions of the Replacement Cost
                     proportion of your original cost,                        Optional Coverage apply to replace-
                     as set forth in the Valuation Con-                       ment cost on personal property of
                     dition of this Coverage Form;                            others.
                     and                                                  b. With respect to replacement cost on
                 (4) We will not pay for loss or dam-                         the personal property of others, the
"                      age to tenants' improvements                           following limitation applies:
                       and betterments if others pay for                      If an item(s) of personal property of
                       repairs or replacement.                                others is subject to a written contract
            e.   We will not pay more for loss or                             which governs your liability for loss
                 damage on a replacement cost basis                           or damage to that item(s), then valu-
~                than the least of (1), (2) or (3), subject                   ation of that item(s) will be based on
                 of f. below:                                                 the amount for which you are liable
                 (1) The Limit of Insurance applica-                          under such contract, but not to ex-
                       ble to the lost or damaged prop-                       ceed the lesser of the replacement
                       erty;                                                  cost of the property or the applicable
                                                                              Limit of Insurance.
                 (2) The cost to replace the lost or
~                    damaged property with other
                     property:                                  H.   DEFINITIONS
                     (a) Of comparable material and                  1.   "Fungus" means any type or form of fun-
                         quality; and                                     gus, including mold or mildew, and any
                                                                          mycotoxins, spores, scents or by-pro-
                     (b) Used for the same purpose;
                                                                          ducts produced or released by fungi.
                         or
                                                                     2•   "Pollutants" means any solid, liquid, gas-
                 (3) The amount actually spent that
                                                                          eous or thermal irritant or contaminant,
                     is necessary to repair or replace
                                                                          including smoke, vapor, soot, fumes,
                     the lost or damaged property.
                                                                          acids, alkalis, chemicals and waste.
                 If a building is rebuilt at a new prem-                  Waste includes materials to be recycled,
                 ises, the cost described in e.(2) above                  reconditioned or reclaimed.
                 is limited to the cost which would
                                                                     3.   "Stock" means merchandise held in stor-
                 have been incurred if the building
                                                                          age or for sale, raw materials and in-pro-
~                had been rebuilt at the original prem-
                                                                          cess or finished goods, including sup-
°                ises.
                                                                          plies used in their packing or shipping.
            f.   The cost of repair or replacement
                 does not include the increased cost
~                attributable to enforcement of any
                 ordinance or law regulating the con-
                 struction, use or repair of any prop-
                 erty.




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                                                                                        COMMERCIAL PROPERTY



                               COMMERCIAL PROPERTY CONDITIONS

    This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable
    Loss Conditions and Additional Conditions in Commercial Property Coverage Forms.


    A.   CONCEALMENT, MISREPRESENTATION OR                    E. LIBERALIZATION
         FRAUD                                                     If we adopt any revision that would broaden
         This Coverage Part is void in any case of                 the coverage under this Coverage Part with-
         fraud by you as it relates to this Coverage Part          out additional premium within 45 days prior
         at any time. It is also void if you or any other          to or during the policy .period, the broadened
         insured, at any time, intentionally conceal or            coverage will immediately apply to this Cov-
         misrepresent a material fact concerning:                  erage Part.

         1.   This Coverage Part;                             F. NO BENEFIT TO BAILEE

         2.   The Covered Property;                                No person or organization, other than you,
                                                                   having custody of Covered Property will
         3.   Your interest in the Covered Property; or
                                                                   benefit from this insurance.
         4.   A claim under this Coverage Part.
                                                              G. OTHER INSURANCE
    B. CONTROL OF PROPERTY
                                                                   1.   You may have other insurance subject to
         Any act or neglect of any person other than                    the same plan, terms, conditions and pro-
         you beyond your direction or control will not                  visions as the insurance under this Cov-
         affect this insurance.                                         erage Part. If you do, we will pay our
                                                                        share of the covered loss or damage. Our
         The breach of any condition of this Coverage
                                                                        share is the proportion that the applica-
         Part at any one or more locations will not af-
                                                                        ble Limit of Insurance under this Cover-
         fect coverage at any location where, at the
                                                                        age Part bears to the Limits of Insurance
         time of loss or damage, the breach of con-
                                                                        of all insurance covering on the same ba-
         dition does not exist.
                                                                        sis.
    C. INSURANCE UNDER TWO OR MORE COVER-
                                                                   2,   If there is other insurance. covering the
       AGES
                                                                        same loss or damage, other than that de-
         If two or more of this policy's coverages ap-                  scribed in 1. above, we will pay only for
         ply to the same loss or damage, we will not                    the amount of covered loss or damage in
         pay more than the actual amount of the loss                    excess of the amount due from that other
         or damage.                                                     insurance, whether you can collect on it
                                                                        or not. But we will not pay more than the
~   D.   LEGALACTION AGAINST US
~                                                                       applicable Limit of Insurance.
         No one may bring a legal action against us
                                                              H.   POLICY PERIOD, COVERAGE TERRITORY
         under this Coverage Part unless:
                                                                   Under this Coverage Part:
~        1.   There has been full compliance with all of
              the terms of this Coverage Part; and                 1.   We cover loss or damage commencing:
         2.   The action is brought within 2 years after                a.   During the policy period shown in
              the date on which the direct physical loss                     the Declarations; and
              or damage occurred.
                                                                        b.   Within the coverage territory.




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     2.   The coverage territory is:                          cure our rights and must do nothing after loss
                                                              to impair them. But you may waive your
          a.   The United States of America (in-
                                                              rights against another party in writing:
               cluding its territories and posses-
               sions);                                        1. Prior to a loss to your Covered Property
                                                                 or Covered Income.
          b.   Puerto Rico; and
                                                              2.   After a loss to your Covered Property or
          c.   Canada.
                                                                   Covered Income only if, at time of loss,
I.   TRANSFER OF RIGHTS            OF    RECOVERY                  that party is one of the following:
     AGAINST OTHERS TO US                                          a.   Someone insured by this insurance;

     If any person or organization to or for whom                  b.   A business firm:
     we make payment under this Coverage Part                           (1) Owned or controlled by you; or
     has rights to recover damages from another,
     those rights are transferred to us to the extent                   (2) That owns or controls you; or
     of our payment. That person or organization                   c.   Your tenant.
     must do everything necessary to se-
                                                              This will not restrict your insurance.




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                                                                                 COMMERCIAL PROPERTY
                                                                                         CP 01 40 07 06

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
This endorsement modifies insurance provided under the following:

    COMMERCIAL PROPERTYCOVEAGE PART
    STANDARD PROPERTYPOLICY
A. The exclusion set forth in Paragraph B. ap-           D.   The following provisions in this Coverage
   plies to all coverage under all forms and en-              Part or Policy are hereby amended to remove
   dorsements that comprise this Coverage Part                reference to bacteria:
   or Policy, including but not limited to forms              1. Exclusion of "Fungus", Wet Rot, Dry Rot
   or endorsements that cover property damage                    And Bacteria; and
   to buildings or personal property and forms                2.   Additional Coverage - Limited Coverage
   or endorsements that cover business income,                     for "Fungus", Wet Rot, Dry Rot And Bac-
   extra expense or action of civil authority.                     teria, including any endorsement increas=
B. We will not pay for loss or -damage caused by                   ing the scope or amount of coverage.
   or resulting from any virus, bacterium or oth-        E.   The terms of the exclusion in Paragraph B., or
   er microorganism that induces or is capable                the inapplicability of this exclusion to a par-
   of inducing physical distress, illness or dis-             ticular loss, do not serve to create coverage
   ease.                                                      for any loss that would otherwise be excluded
    However, this exclusion does not apply to                 under this Coverage Part or Policy.
    loss or damage caused by or resulting from
    "fungus", wet rot or dry rot. Such loss or
    damage is addressed in a separate exclusion
    in this Coverage Part or Policy.
C. With respect to any loss or damage subject to
   the exclusion in Paragraph B., such exclusion
   supersedes any exclusion relating to "pollu-
   tants".




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                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 02 99 11 85

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         CANCELLATION CHANGES

    This endorsement modifies insurance provided under the following:

         COMMERCIAL PROPERTYCOVERAGE PART

    The following is added to the CANCELLATION                C.   The building has:
    Common Policy Condition:
                                                                   1.   An outstanding order to vacate;
    If any one of the following conditions exists at any
    building that is Covered Property in this policy,              2•   An outstanding demolition order;
    we may cancel this Coverage Part by mailing or                 3.   Been declared unsafe by governmental
    delivering to the first Named Insured written no-                   authority.
    tice of cancellation at least 5 days before the ef-
    fective date of cancellation.                             D.   Fixed and salvageable items have been or are
                                                                   being removed from the building and are not
o   A.   The building has been vacant or unoccupied                being replaced. This does not apply to such
         60 or more consecutive days. This does not                removal that is necessary or incidental to any
         apply to:                                                 renovation or remodeling.
         1.   Seasonal unoccupancy;
                                                              E.   Failure to:
         2.   Buildings in the course of construction,
              renovation or addition; or                           1.   Furnish necessary heat, water, sewer ser-
         3.   Buildings to which the Vacancy Permit                     vice or electricity for 30 consecutive days
~
                                                                        or more, except during a period of sea-
              endorsement applies.
                                                                        sonal unoccupancy; or
         Buildings with 65% or more of the rental units
         or floor area vacant or unoccupied are consid-            2.   Pay property taxes that are owing and
         ered unoccupied under this provision.                          have been outstanding for more than one
                                                                        year following the date due, except that
    B.   After damage by a covered cause of loss, per-                  this provision will not apply where you
         manent repairs to the building:                                are in a bona fide dispute with the taxing
         1.                                                             authority regarding payment of such tax-
              Have not started, and
                                                                        es.
         2.   Have not been contracted for,
         within 30 days of initial payment of loss.


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                                                                                           COMMERCIAL PROPERTY
                                                                                                   CP 04 49 12 05

                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CALIFORNIA CHANGES - REPLACEMENT COST

    This endorsement modifies insurance provided under the following:

         COMMERCIAL PROPERTYCOVERAGE PART

    A.   An "open policy" is a policy under which the                3.   We will not pay on a replacement cost
         value of Covered Property is not fixed at poli-                  basis for any loss or damage until the lost
         cy inception, but is determined at the time of                   or damaged property is actually repaired
         loss in accordance with policy provisions on                     or replaced. Prior to such repair or re-
         valuation. The term "open policy" does not                       placement, and in accordance with the
         apply to Covered Property that is subject to                     terms of the applicable Loss Payment
         an Agreed Value clause or similar clause that                    conditions in this policy, we will pay the
         establishes an agreed value prior to loss, un-                   actual cash value of the lost or damaged
         less such clause has expired.                                    property as described in Paragraph 4. be-
    B.   Under an "open policy", when the Replace-                        low. If the actual cash value does not ex-
         ment Cost Optional Coverage (Replacement                         haust the applicable Limit of Insurance,
         Cost) is shown as applicable in the Declara-                     we will then pay the difference between
         tions, that Coverage is replaced by the follow-                  the actual cash value and the replace-
         ing:                                                             ment cost, provided that the repair or re-
                                                                          placement is completed:
         Replacement Cost
                                                                          a.   Within 12 months after our payment
         1.   Replacement Cost (without deduction for
                                                                               of the actual cash value; or
              depreciation) replaces Actual Cash Value
              in the Loss Condition, Valuation, of the                    b.   Within 24 months after our payment
              applicable Coverage Form.                                        of the actual cash value if the loss or
                                                                               damage relates to a state of emer-
         2.   This Optional Coverage does not apply
                                                                               gency as described in Section 8558
              to:
                                                                               of the Government Code;
              a.    Personal property of others;
                                                                          unless we extend the time period for
              b.    Contents of a residence;                              good cause.
              c.    Works of art, antiques or rare arti-                  The foregoing provisions do not consti-
                    cles, including    etchings, pictures,                tute a waiver of our right to deny the
                    statuary, marbles, bronzes, porce-                    claim for any valid reason or to restrict
                    lains and bric-a-brac; or                             payment in cases of suspected fraud.
              d.    "Stock",   unless    the  Including              4.   Actual cash value is determined      as fol-
~                   "Stock" option is shown in the Dec-                   lows:
°                   larations.
                                                                          a.   In the event of a total loss to a build-
              Under the terms of this Replacement                              ing or structure, actual cash value is
              Cost Optional Coverage, tenants' im-                             calculated as the Limit of Insurance .
°             provements and betterments are not con-                          applicable to that building or struc-
              sidered to be the personal property of                           ture or the fair market value of the
              others.                                                          building or structure, whichever is
                                                                               less.




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             b.     In the event of a partial loss to a                     b.   The cost to replace the lost or
                    building or structure, actual cash val-                      damaged property with other prop-
                    ue is calculated as b.1. or b.2., which-                     erty:
                    ever is less:                                                1.   Of comparable     material   and
                    1.   The amount it would cost to re-                              quality; and
                         pair, rebuild or replace the                            2.   Used for the same purpose; or
                         property less a fair and reason-
                                                                            c.   The amount actually spent that is
                         able deduction for physical de-
                                                                                 necessary to repair or replace the
                         preciation of the components of
                                                                                 Iost or damaged property.
                         the building or structure that are
                         normally subject to repair or re-                  If a building is rebuilt at a new premises,
                         placement during its useful life.                  the cost described in 6.b. above is limited
                         Physical depreciation is based                     to the cost which would have been in-
                         upon the condition of the prop-                    curred if the building had been rebuilt at
                         erty at the time of the loss;                      the original premises.
~                   2.   The Limit of Insurance applica-               7.   The cost of repair or replacement does
                         ble to the property.                               not include the increased cost attribut-
                                                                            able to enforcement of any ordinance or
             c.     In the event of a partial or total loss
                                                                            law regulating the construction, use or
                    to Covered Property other than a
                                                                            repair of any property.
                    building or structure, actual cash val-
~                   ue is calculated as c.1. or c.2., which-      C.   Extension Of Replacement Cost To Personal
                    ever is less:                                      Property Of Others
                    1.   The amount it would cost to re-               1.   Under an "open policy", when the Re-
                         pair or replace the property less                  placement Cost Optional Coverage is
                         a fair and reasonable deduction                    shown as applicable in the Declarations,
                         for physical depreciation, based                   then this Extension may also be shown
~                        on the condition of the property                   as applicable. If the Declarations show
                         at the time of loss;                               this Extension as applicable, then Para-
                                                                            graph B.2.a. of the Replacement Cost Op-
                    2.   The Limit of Insurance applica-
                                                                            tional Coverage is deleted and all other
                         ble to the property.
                                                                            provisions of the Replacement Cost Op-
        5.   With respect to tenants' improvements                          tional Coverage apply to replacement
             and betterments, the following also ap-                        cost on personal property of others.
             piy'                                                      2.   With respect to replacement cost on the
             a.     If the property is not repaired or re-                  personal property of others, the following
                    placed, the value of tenants' im-                       limitation applies:
                    provements and betterments will be
                                                                            If an item(s) of personal property of oth-
                    determined as a proportion of your
                                                                            ers is subject to a written contract which
                    original cost, as set forth in the Valu-
                                                                            governs your liability for loss or damage
                    ation Condition of the applicable
                                                                            to that item(s), then valuation of that
                    Coverage Form.
~                                                                           item(s) will be based on the amount for
~            b.     We will not pay for loss or damage to                   which you are liable under such contract,
                    tenants' improvements and better-                       but not to exceed the lesser of the re-
                    ments if others pay for repair or re-                   placement cost of the property or the ap-
„                   placement.                                              plicable Limit of Insurance.
        6.   We will not pay more for loss or damage
             on a replacement cost basis than - the
             least of a., b. or c., subject to 7. below:
             a.     The Limit of Insurance applicable to
                    the lost or damaged property;




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                                                                                   COMMERCIAL PROPERTY
                                                                                           CP10300402


                        CAUSESOF LOSS - SPECIALFORM
Words and phrases that appear in quotation marks have special meaning. Refer to Section F. - Definitions.

A.   Covered Causes Of Loss                                              (4) Earth     sinking   (other    than
                                                                              sinkhole collapse), rising or
     When Special is shown in the Declarations,
                                                                              shifting including soil condi-
     Covered Causes of Loss means Risks Of Di-
                                                                              tions which cause settling,
     rect Physical Loss unless the loss is:
                                                                              cracking or other disarrange-
     1. Excluded in Section B., Exclusions; or                              . ment of foundations or other
     2.   Limited in Section C., Limitations;                                 parts of realty. Soil conditions
     that follow.                                                             include contraction, expansion,
                                                                              freezing, thawing, erosion, im-
B.   Exclusions                                                               properly compacted soil and
     1.   We will not pay for loss or damage                                  the action of water under the
          caused directly or indirectly by any of                             ground surface.
          the following. Such loss or damage is                          But if Earth Movement, as described
          excluded regardless of any other cause
                                                                         in b.(1) through (4) above, results in
          or event that contributes concurrently or                      fire or explosion, we will pay for the
          in any sequence to the loss.
                                                                         loss or damage caused by that fire
          a.   Ordinance Or Law                                          or explosion.
               The enforcement    of any ordinance                       (5) Volcanic eruption, explosion or
               or law:                                                        effusion. But if volcanic erup-
               (1) Regulating    the construction,                            tion, explosion or effusion re-
                   use or repair of any property; or                          sults in fire, building glass
                                                                              breakage or Volcanic Action, we
               (2) Requiring the tearing down of
                                                                              will pay for the loss or damage
                   any property, including the cost
                                                                              caused by that fire, building
                   of removing its debris.
                                                                              glass breakage or Volcanic Ac-
               This exclusion, Ordinance or Law,                              tion.
               applies whether the loss results
               from:                                                         Volcanic action means direct
                                                                             loss or damage resulting from
               (1) An ordinance or law that is en-                           the eruption of a volcano when
                   forced even if the property has                           the loss or damage is caused
                   not been damaged; or                                      by:
               (2) The increased costs incurred to                           (a) Airborne volcanic blast or
                   comply with an ordinance or
                                                                                 airborne shock waves;
                   law in the course of construc-
                   tion, repair, renovation, remod-                          (b) Ash, dust     or   particulate
                   eling or demolition of property,                              matter; or
                   or removal of its debris, follow-                         (c) Lava flow.
                   ing a physical loss to that prop-                         AII volcanic eruptions that oc-
                   erty.                                                     cur within any 168 hour period
          b.   Earth Movement                                                will constitute a single occur-
               (1) Earthquake, including any earth                           rence.
                   sinking, rising or shifting relat-                        Volcanic action does not in-
                   ed to such event;                                         clude the cost to remove ash,
               (2) Landslide, including any earth                            dust or particulate matter that
                   sinking, rising or shifting relat-                        does not cause direct physical
                   ed to such event;                                         loss or damage to the described
               (3) Mine subsidence, meaning sub-                             property.
                   sidence of a man-made mine,
                   whether or not mining activity
                   has ceased;



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         c.   Governmental Action                                      g.   Water
              Seizure or destruction of property                            (1) Flood, surface water, waves,
              by order of governmental authority.                               tides, tidal waves, overFlow of
                                                                                any body of water, or their
              But we will pay for loss or damage
                                                                                spray, all whether driven by
              caused by or resulting from acts of
                                                                                wind or not;
              destruction ordered by governmen-
              tal authority and taken at the time of                        (2) Mudslide or mudflow;
              a fire to prevent its spread, if the fire                     (3) Water that backs up or over-
              would be covered under this Cover-                                flows from a sewer, drain or
              age Part.                                                         sump; or
         .p   Nuclear Hazard                                                (4) Water under the ground surface
              Nuclear reaction or radiation, or ra-                             pressing on, or flowing or seep-
              dioactive contamination,      however                             ing through:
              caused.                                                            (a) Foundations, walls,     floors
              But if nuclear reaction or radiation,                                  or paved surfaces;
              or radioactive contamination,        re-                           (b) Basements, whether paved
              sults in fire, we will pay for the loss                                or not; or
              or damage caused by that fire.                                     (c) Doors, windows      or other
         e.   Utility Services                                                       openings.
              The failure of power or other utility                         But if Water, as described in g. (1)
              service supplied to the described                             through g. (4) above, results in fire,
              premises, however caused, if the                              explosion or sprinkler leakage, we
              failure occurs away from the de-                              will pay for the loss or damage
              scribed premises. Failure includes                            caused by that fire, explosion or
              lack of sufficient capacity and reduc-                        sprinkler leakage.
              tion in supply.                                          h.   "Fungus", Wet Rot, Dry Rot And
              But if the failure of power or other                          Bacteria
              utility service results in a Covered                          Presence,    growth,     proliferation,
              Cause of Loss, we will pay for the                            spread or any activity of "fungus",
              loss or damage caused by that Cov-                            wet or dry rot or bacteria.
              ered Cause of Loss.                                           But if "fungus", wet or dry rot or
              This exclusion does not apply to the                          bacteria results in a "specified
              Business Income coverage or to Ex-                            cause of loss", we will pay for the
              tra Expense coverage. Instead, the                            loss or damage caused by that
              Special Exclusion in paragraph                                "specified cause of loss".
              B.4.a.(1) applies to these coverages.                         This exclusion does not apply:
         f.   War And Military Action                                       1.   When "fungus", wet or dry rot
              (1) War, including      undeclared    or                           or bacteria results from fire or
                  civil war;                                                     lightning; or
              (2) Warlike action by a military                              2.     To. the extent that coverage is
                  force, including action in hin-                                  provided in the Additional Cov-
                  dering or defending against an                                   erage - Limited Coverage For
                  actual or expected attack, by                                    "Fungus", Wet Rot, Dry Rot And
                  any government, sovereign or                                     Bacteria with respect to loss or
                  other authority using military                                   damage by a cause of loss other
                  personnel or other agents; or                                  . than fire or lightning.
              (3) Insurrection, rebellion, revolu-                     Exclusions B.1.a. through B.1.h. apply
                  tion, usurped power, or action                       whether or not the loss event results in
                  taken by governmental author-                        widespread damage or affects a sub-
                  ity in hindering or defending                        stantial area.
                  against any of these.                           2.   We will not pay for loss or damage
                                                                       caused by or resulting from any of the
                                                                       following:




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             a.   Artificially generated electrical cur-                       also pay for loss or damage caused
                  rent, including electric arcing, that                        by or resulting from the explosion of
                  disturbs electrical devices, appli-                          gases or fuel within the furnace of
                  ances or wires.                                              any fired vessel or within the flues
                                                                               or passages through which the gas-
                  But if artificially generated electrical                     es of combustion pass.
                  current results in fire, we will pay
                                                                          f.   Continuous or repeated seepage or
                  for the loss or damage caused by
                                                                               leakage of water, or the presence or
                  that fire.
                                                                               condensation of humidity, moisture
             b.   Delay, loss of use or loss of market.                        or vapor, that occurs over a period
             c.   Smoke, vapor or gas from agricul-                            of 14 days or more.
                  tural smudging or industrial oper-                      g.   Water, other liquids, powder or mol-
                  ations.                                                      ten material that leaks or flows from
             d.   (1) Wear and tear;                                           plumbing, heating, air conditioning
                  (2) Rust, or other corrosion, decay,                         or other equipment (except fire pro-
                      deterioration, hidden or latent                          tective systems) caused by or result-
                      defect or any quality in property                        ing from freezing, unless:
                      that causes it to damage or de-                          (1) You do your best to maintain
                      stroy itself;                                                heat in the building or struc-
                  (3) Smog;                                                        ture; or
                  (4) Settling, cracking, shrinking or                         (2) You drain the equipment and
                      expansion;                                                   shut off the supply if the heat is
                                                                                   not maintained.
                  (5) Nesting or infestation, or dis-
                      charge or release of waste pro-                     h.   Dishonest or criminal act by you,
                      ducts or secretions, by insects,                         any of your partners, members, of-
                      birds, rodents or other animals.                         ficers, managers, employees (in-
                                                                               cluding leased employees), direc-
                  (6) Mechanical breakdown, includ-
                                                                               tors,       trustees,     authorized
                      ing rupture or bursting caused
                                                                               representatives or anyone to whom
                      by centrifugal force. But if ine-
                                                                               you entrust the property for any pur-
                      chanical breakdown results in
                                                                               pose:
                      elevator collision, we will pay
                      for the loss or damage caused                            (1) Acting alone or in collusion
                      by that elevator collision.                                  with others; or
                  (7) The following causes of loss to                          (2) Whether or not occurring dur-
                      personal property:                                           ing the hours of employment.
                      (a) Dampness or dryness of at-                           This exclusion does not apply to
                          mosphere;                                            acts of destruction by your employ-
                      (b) Changes in or extremes of                            ees (including leased employees);
                          temperature; or                                      but theft by employees (including
                                                                               leased employees) is not covered.
                      (c) Marring or scratching.
                                                                          i.   Voluntary parting with any property
                  But if an excluded cause of loss that                        by you or anyone else to whom you
                  is listed in 2.d. (1) through (7) results                    have entrusted the property if in-
                  in a"specified cause of loss" or                             duced to do so by any fraudulent
a                 building glass breakage, we will pay                         scheme, trick, device or false pre-
                  for the loss or damage caused by                             tense.
                  that "specified cause of loss" or
                                                                          j.   Rain, snow, ice or sleet to personal
                  building glass breakage.
                                                                               property in the open.
             e.   Explosion of steam boilers, steam
                                                                          k.   Collapse, except as provided below
                  pipes, steam engines or steam
                                                                               in the Additional Coverage for Col-
                  turbines owned or leased by you, or
                                                                               lapse. But if collapse results in a
                  operated under your control. But if
                                                                               Covered Cause of Loss at the de-
                  explosion of steam boilers, steam
                                                                               scribed premises, we will pay for
                  pipes, steam engines or steam
                                                                               the loss or damage caused by that
                  turbines results in fire or combus-
                                                                               Covered Cause of Loss.
                  tion explosion, , we will pay for the
                  loss or damage caused by that fire
                  or combustion explosion. We will

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              I.   Discharge, dispersal, seepage, mi-                     a.   Business Income (And Extra Ex-
                   gration, release or escape of "pollu-                       pense) Coverage Form, Business In-
                   tants"    unless    the   discharge,                        come (Without Extra Expense) Cov-
                   dispersal, seepage, migration, re-                          erage Form, or Extra Expense
                   lease or escape is itself caused by                         Coverage Form
                   any of the "specified     causes of
                                                                               We will not pay for:
                   loss".    But   if   the  discharge,
                                                                               (1) Any loss caused directly or in-
                   dispersal, seepage, migration, re-
                                                                                   directly by the failure of power
                   lease or escape of "pollutants"    re-
                                                                                   or other utility service supplied
                   sults in a"specified cause of loss",
                                                                                   to the described premises, how-
                   we will pay for the loss or damage
                                                                                   ever caused, if the failure oc-
                   caused by that "specified cause of
                                                                                   curs outside of a covered build-
                   loss".
                                                                                   ing. Failure includes lack of
                   This exclusion, 1., does not apply to                           sufficient capacity and reduc-
                   damage to glass caused by chemi-                                tion in su I
                   cals applied to the glass                                                  pp y
                                                                                   But if the failure of power or
~             m. Neglect of an insured to use all rea-
                                                                                   other utility service results in a
                 sonable means to save and preserve
                                                                                   Covered Cause of Loss, we will
                 property from further damage at
                                                                                   pay for the loss resulting from
                 and after the time of loss.
                                                                                   that Covered Cause of Loss.
~        3.   We will not pay for loss or damage
                                                                               (2) Any loss caused by or resulting
~             caused by or resulting from any of the
                                                                                   from:
              following, 3.a. through 3.c. But if an ex-
              cluded cause of loss that is listed in 3.a.                          (a) Damage or destruction       of
              through 3.c. results in a Covered Cause                                  "finished stock"; or
              of Loss, we will pay for the loss or dam-                            (b) The time required to repro-
              age caused by that Covered Cause of                                      duce "finished stock".
~             Loss.
                                                                                   This exclusion does not apply
              a.   Weather conditions. But this exclu-                             to Extra Expense.
                   sion only applies if weather condi-
                                                                               (3) Any loss caused by or resulting
                   tions contribute in any way with a
                                                                                   from direct physical loss or
                   cause or event excluded in para-
                                                                                   damage to radio or television
                   graph 1. above to produce the loss
                                                                                   antennas    (including   satellite
                   or damage.
                                                                                   dishes) and their lead-in wiring,
              b.   Acts or decisions, including the fail-                          masts or towers.
                   ure to act or decide, of any person,
                                                                               (4) Any increase of loss caused by
                   group, organization or governmen-
                                                                                   or resulting from:
                   tal body.
                                                                                   (a) Delay in rebuilding, repair-
              C.   Faulty, inadequate or defective:
                                                                                       ing or replacing the proper-
                   (1) Planning, zoning, development,                                  ty   or   resuming     "oper-
~                      surveying, siting;                                              ations", due to interference
°                  (2) Design, specifications,  work-                                  at the location of the re-
                       manship, repair, construction,                                  building, repair or replace-
                       renovation, remodeling,  grad-                                  ment by strikers or other
„                      ing, compaction;                                                persons; or
                   (3) Materials     used in repair, con-                          (b) Suspension, lapse or can-
                       struction,   renovation or remod-                               cellation   of any license,
                       eling; or                                                       lease or contract. But if the
                   (4) Maintenance;                                                    suspension, lapse or can-
                                                                                       cellation is directly caused
                   of part or all of any property on or                                by the "suspension"         of
                   off the described premises.                                         "operations", we will cover
         4.   Special Exclusions                                                       such loss that affects your
                                                                                       Business Income during the
              The following provisions apply only to
                                                                                       "period of restoration" and
              the specified Coverage Forms.
                                                                                       any extension of the "peri-
                                                                                       od of restoration" in accor-
                                                                                       dance with the terms of the


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                          Extended Business Income                                         (i)   Your assumption of li-
                          Additional    Coverage and                                             ability was executed
                          the Extended Period Of In-                                             prior to the accident;
                          demnity Optional Coverage                                              and
                          or any variation of these.                                       (ii) The building is Cov-
                  (5) Any Extra Expense caused by or                                            ered Property under
                      resulting   from     suspension,                                          this Coverage Form.
                      lapse or cancellation of any li-                                (b) Nuclear Hazard
                      cense, lease or contract beyond
                                                                                           ~Ne will not defend any
                      the "period of restoration".
                                                                                           claim or "suit", or pay any
                   6 Any other consequential loss.
                  ()                                                                       damages, Ioss, expense or
             b.   Leasehold Interest Coverage Form                                         obligation, resulting from
                  (1) Paragraph B.1.a. Ordinance Or                                        nuclear reaction or radi-
                      Law, does not apply to insur-                                        ation, or radioactive con-
                      ance under this Coverage Form.                                       tamination,         however
                                                                                           caused.
                  (2) We will not pay for any loss
                      caused by:                                 C.   Limitations
                      (a) Your cancelling the lease;                  The following limitations apply to all policy
                                                                      forms and endorsements, unless otherwise
                      (b) The suspension, lapse or
                                                                      stated.
                          cancellation of any license;
                          or                                          1.      We will not pay for loss of or damage to
                      (c) Any     other    consequential                      property, as described and limited in
                          loss.                                               this section. In addition, we will not pay
                                                                              for any loss that is a consequence of loss
             C.   Legal Liability Coverage Form
                                                                              or damage as described and limited in
                  (1) The following exclusions do not                         this section.
                      apply to insurance under this
                                                                           a.     Steam boilers, steam pipes, steam
                      Coverage Form:
                                                                                  engines or steam turbines caused
                      (a) Paragraph   B.1.a.,       Ordi-                         by or resulting from any condition
                          nance Or Law;                                           or event inside such equipment. But
                      (b) Paragraph B.1.c., Govern-                               we will pay for loss of or damage to
                          mental Action;                                          such equipment caused by or result-
                      (c) Paragraph       B.1.d., Nuclear                         ing from an explosion of gases or
                          Hazard;                                                 fuel within the furnace of any fired
                                                                                  vessel or within the flues or pas-
                      (d) Paragraph    B.1.e.,     Utility
                                                                                  sages through which the gases of
                          Services; and
                                                                                  combustion pass.
                      (e) Paragraph B.1.f., War And
                                                                           b.     Hot water boilers or other water
                          Military Action.
                                                                                  heating equipment caused by or re-
                  (2) The following additional exclu-                             sulting from any condition or event
~                     sions apply to insurance under                              inside such boilers or equipment,
~                     this Coverage Form:                                         other than an explosion.
                      (a) Contractual Liability                            c.     The interior of any building or struc-
                          We will not defend any                                  ture, or to personal property in the
~                         claim or "suit", or pay dam-                            building or structure, caused by or
                          ages that you are legally                               resulting from rain, snow, sleet, ice,
                          liable to pay, solely by rea-                           sand or dust, whether driven by
                          son of your assumption of                               wind or not, unless:
                          liability in a contract or                              (1) The building or structure first
                          agreement. But this exclu-                                  sustains damage by a Covered
                          sion does not apply to a                                    Cause of Loss to its roof or
                          written lease agreement in                                  walls through which the rain,
                          which you have assumed li-                                  snow, sleet, ice, sand or dust
                          ability for building damage                                 enters; or
                          resulting from an actual or
                          attempted burglary or rob-
                          bery, provided that:



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                   (2) The loss or damage is caused                     3.      The special limit shown for each cate-
                       by or results from thawing of                            gory, a. through d., is the total limit for
                       snow, sleet or ice on the build-                         loss of or damage to all property in that
                       ing or structure.                                        category. The special limit applies to
              d.   Building materials and supplies not                          any one occurrence of theft, regardless
                   attached as part of the building or                          of the types or number of articles that
                   structure, caused by or resulting                            are lost or damaged in that occurrence.
                   from theft.                                                  The special limits are:
                                                                                a.   $2,500 for furs, fur garments      and
                   However,     this limitation   does not
                                                                                     garments trimmed with fur.
                   apply to:
                                                                                b.   $2,500 for jewelry, watches, watch
                   (1) Building materials and supplies
                                                                                     movements,     jewels, pearls, pre-
                       held for sale by you, unless they
                                                                                     cious and semi-precious       stones,
                       are insured under the Builders
                                                                                     bullion, gold, silver, platinum and
                       Risk Coverage Form; or
                                                                                     other precious alloys or metals. This
                   (2) Business Income coverage          or                          limit does not apply to jewelry and
N                      Extra Expense coverage.                                       watches worth $100 or less per
              e.   Property that is missing, where the                               item.
                   only evidence of the loss or damage                          c.   $2,500 for patterns, dies, molds and
                   is a shortage disclosed on taking in-                             forms.
~                  ventory, or other instances where
                                                                                d.   $250 for stamps, tickets, including
o                  there is no physical evidence to
                                                                                     lottery tickets held for sale, and let-
                   show what happened to the proper-
                                                                                     ters of credit.
                   ty.
                                                                                These special limits are part of, not in
              f.   Property that has been transferred
                                                                                addition to, the Limit of Insurance appli-
                   to a person or to a place outside the
                                                                                cable to the Covered Property.
                   described premises on the basis of
                   unauthorized instructions.                                   This limitation, C.3., does not apply to
~        2.   We will not pay for loss of or damage to                          Business Income coverage or to Extra
              the following types of property unless                            Expense coverage.
              caused by the "specified causes of loss"                  4.   We will not pay the cost to repair any
              or building glass breakage:                                    defect to a system or appliance from
              a.   Animals, and then only if they are                        which water, other liquid, powder or
                   killed or their destruction is made                       molten material escapes. But we will
                   necessary.                                                pay the cost to repair or replace
                                                                             damaged parts of fire extinguishing
              b.   Fragile   articles   such as statuary,
                                                                                equipment if the damage:
                   marbles, chinaware and porcelains,
                   if broken. This restriction    does not                   a.      Results in discharge of any sub-
                   apply to:                                                         stance from an automatic fire pro-
                                                                                     tection system; or
                   (1) Glass; or
                                                                             b.      Is directly caused by freezing.
~                  (2) Containers of property held for
°                      sale.                                                 However, this limitation does not apply
                                                                             to Business Income coverage or to Extra
              c.   Builders'  machinery,   tools, and
                                                                             Expense coverage.
                   equipment owned by you or entrust-
~                  ed to you, provided such property is            D.   Additional Coverage - Collapse
                   Covered Property.                                    The term Covered Cause of Loss includes the
                                                                        Additional Coverage - Collapse as described
                   However,    this limitation    does not
                                                                        and limited in D.1, through D.5. below.
                   apply:
                                                                        1.   With respect to buildings:
                   (1) If the property is located on or
                       within 100 feet of the described                      a.      Collapse means an abrupt falling
                       premises, unless the premises                                 down or caving in of a building or
                       is insured under the Builders                                 any part of a building with the result
                       Risk Coverage Form; or                                        that the building or part of the build-
                                                                                     ing cannot be occupied for its in-
                   (2) To Business Income coverage
                                                                                     tended purpose;
                       or to Extra Expense coverage.




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              b.   A building or any part of a building                      The criteria set forth in 1.a. through 1.d.
                   that is in danger of falling down or                      do not limit the coverage otherwise pro-
                   caving in is not considered to be in a                    vided under this Causes of Loss Form for
                   state of collapse;                                        the causes of loss listed in 2.a., 2.d. and
              c.   A part of a building that is standing                     2•e•
                   is not considered to be in a state of             3.      With respect to the following property:
                   collapse even if it has separated                         a.   Outdoor radio or television anten-
                   from another part of the building;                             nas (including satellite dishes) and
              d.   A building that is standing or any                             their   lead-in wiring,   masts or
                   part of a building that is standing is                         towers;
                   not considered to be in a state of                        b.   Awnings, gutters and downspouts;
                   collapse even if it shows evidence of
                                                                             c.   Yard fixtures;
                   cracking, bulging, sagging, bending,
                   leaning, settling, shrinkage or ex-                       d.   Outdoor swimming pools;
                   pansion.                                                  e.   Fences;
         2.   We will pay for direct physical loss or                        f.   Piers, wharves and docks;
              damage to Covered Property, caused by                          g.   Beach or diving platForms or appur-
              collapse of a building or any part of a                             tenances;
              building that is insured under this Cov-
                                                                             h.   Retaining walls; and
              erage Form or that contains Covered
              Property insured under this Coverage                           i.   Walks, roadways    and other paved
              Form, if the collapse is caused by one or                           surfaces;
              more of the following:                                         if the collapse is caused by a cause of
              a.   The "specified causes of loss" or                         loss listed in 2.b. through 2.f., we will
                   breakage of building glass, all only                      pay for loss or damage to that property
                   as insured against in this Coverage                       only if:
                   Part;                                                  a.      Such loss or damage is a direct re-
              b.   Decay that is hidden from view, un-                            sult of the collapse of a building in-
                   less the presence of such decay is                             sured under this Coverage Form;
                   known to an insured prior to col-                              and
                   lapse;                                                 b.      The property is Covered Property
              c.   Insect or vermin damage that is hid-                           under this Coverage Form.
                   den from view, unless the presence                4.   If personal property abruptly falls down
                   of such damage is know to an in-                       or caves in and such collapse is not the
                   sured prior to collapse.                               result of collapse of a building, we will
              d.   Weight of people or personal prop-                     pay for loss or damage to Covered Prop-
                   erty;                                                  erty caused by such collapse of personal
              e.   Weight of rain that collects    on a                   property only if:
                   roof;                                                  a.      The collapse was caused by a Cause
              f.   Use of defective material or meth-                             of Loss listed in 2.a. through 2.f.
~                  ods in construction, remodeling or                             above;
~                  renovation if the collapse occurs                      b.      The personal property which        col-
                   during the course of the construc-                             lapses is inside a building; and
                   tion, remodeling       or renovation.                  c.      The property which collapses is not
~                  However, if the collapse occurs after                          of a kind listed in 3. above, regard-
                   construction, remodeling or renova-                            less of whether that kind of property
                   tion is complete and is caused in                              is considered to be personal prop-
                   part by a cause of loss listed in 2.a.                         erty or real property.
                   through 2.e., we will pay for the loss
                                                                          The coverage stated in this Paragraph 4.
                   or damage even if use of defective
                                                                          does not apply to personal property if
                   material or methods, in construc-
                                                                          marring and/or scratching is the only
                   tion, remodeling or renovation, con-
                                                                          damage    to that personal      property
                   tributes to the collapse.
                                                                          caused by the collapse.




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          Collapse of personal property does not                         total of $15,000 even if the "fungus",
          mean cracking, bulging, sagging, bend-                         wet or dry rot or bacteria continues to be
          ing, leaning, settling, shrinkage or ex-                       present or active, or recurs, in a later
          pansion.                                                       policy period.
     5.   This Additional Coverage - Collapse, will               4.     The coverage provided under this Limit-
          not increase the Limits of Insurance pro-                      ed Coverage does not increase the ap-
          vided in this Coverage Part.                                   plicable Limit of Insurance on any Cov-
E.   Additional Coverage - Limited Coverage For                          ered Property. If a particular occurrence
     "Fungus", Wet Rot, Dry Rot And Bacteria                             results in loss or damage by "fungus",
                                                                         wet or dry rot or bacteria, and other loss
     1. The coverage described in E.2. and E.6.                          or damage, we will not pay more, for the
         only applies when the "fungus", wet or                          total of all loss or damage, than the ap-
         dry rot or bacteria is the result of one or                     plicable Limit of Insurance on the affect-
        more of the following causes that occurs
                                                                         ed Covered Property.
         during the policy period and only if all
         reasonable means were used to save                              If there is covered loss or damage to
         and preserve the property from further                          Covered Property, not caused by "fun-
         damage at the time of and after that oc-                        gus , wet or dry rot or bacteria, loss pay-
        currence.                                                        ment will not be limited by the terms of
                                                                         this Limited Coverage, except to the ex-
          a.   A"specified cause of loss" other
                                                                         tent that "fungus", wet or dry rot or bac-
               than fire or lightning; or                                teria causes an increase in the loss. Any
          b.   Flood, if the Flood Coverage En-                          such increase in the loss will be subject
               dorsement applies to the affected                         to the terms of this Limited Coverage.
               premises.                                         5.      The terms of this Limited Coverage do
     2.   We will pay for loss or damage by "fun-                        not increase or reduce the coverage pro-
          gus", wet or dry rot or bacteria. As used                      vided under Paragraph F.2. (Water Dam-
          in this Limited Coverage, the term loss                        age, Other Liquids, Powder Or Molten
          or damage means:                                               Material Damage) of this Causes Of Loss
          a.   Direct physical loss or damage to                         Form or under the Additional Coverage -
               Covered Property caused by "fun-                          Collapse.
               gus", wet or dry rot or bacteria, in-             6.      The following, 6.a. or 6.b. , applies only if
               cluding the cost of removal of the                        Business Income and/or Extra Expense
               "fungus", wet or dry rot or bacteria;                     coverage applies to the described prem-
          b.   The cost to tear out and replace any                      ises and only if the "suspension" of "op-
               part of the building or other prop-                       erations" satisfies all terms and condi-
               erty as needed to gain access to the                      tions of the applicable Business Income
               "fungus", wet or dry rot or bacteria;                     and/or Extra Expense coverage form.
               and                                                       a.   If the loss which resulted in "fun-
          c.    The cost of testing performed after                           gus", wet or dry rot or bacteria does
               removal, repair, replacement or res-                           not in itself necessitate a "suspen-
               toration of the damaged property is                            sion" of "operations",      but such
               completed, provided there is a rea-                            "suspension" is necessary due to
               son to believe that "fungus", wet or                           loss or damage to property caused
               dry rot or bacteria are present.                               by "fungus", wet or dry rot or bac-
     3.   The coverage described under E.2. of                                teria, then our payment under Busi-
          this Limited Coverage is limited to                                 ness Income and/or Extra Expense
          $15,000. Regardless of the number of                                is limited to the amount of loss
          claims, this limit is the most we will pay                          and/or expense sustained in a peri-
          for the total of all loss or damage arising                         od of not more than 30 days. The
          out of all occurrences of "specified                                days need not be consecutive.
          causes of loss" (other than fire or light-                   b.     If a covered "suspension" of "oper-
          ning) and Flood which take place in a                               ations" was caused by loss or dam-
          12-month period (starting with the be-                              age other than "fungus", wet or dry
          ginning of the present annual policy pe-                            rot or bacteria but remediation of
          riod). With respect to a particular occur-                          "fungus", wet or dry rot or bacteria
          rence of loss which results in "fungus",                            prolongs the "period of restora-
          wet or dry rot or bacteria, we will not                             tion", we will pay for loss and/or ex-
          pay more than a                                                     pense sustained during the delay


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             (regardless of when such a delay oc-                3.   Glass
             curs during the "period of restora-                      a. We will pay for expenses incurred to
             tion"), but such coverage is limited                         put up temporary plates or board up
             to 30 days. The days need not be                             openings if repair or replacement of
             consecutive.                                                 damaged glass is delayed.
F.   Additional Coverage Extensions                                   b.   We will pay for expenses incurred to
     1. Property In Transit.                                               remove or replace obstructions
        This Extension applies only to your per-                           when repairing or replacing glass
        sonal property to which this form ap-                              that is part of a building. This does
        plies.                                                             not include removing or replacing
                                                                           window displays.
        a. You may extend the insurance pro-
             vided by this Coverage Part to apply                     This Coverage Extension, F.3., does not
             to your personal property (other                         increase the Limit of Insurance.
             than property in the care, custody or          G.   Definitions
             control of your salespersons) in                    1.   "Fungus" means any type or form of
             transit more than 100 feet from the                      fungus, including mold or mildew, and
             described premises. Property must                        any mycotoxins, spores, scents or by-
             be in or on a motor vehicle you own,                     products produced or released by fungi.
             lease or operate while between
             points in the coverage territory.                   2•   "Specified Causes of Loss" means the
                                                                      following:    Fire; lightning;   explosion;
          b.   Loss or damage must be caused by                       windstorm or hail; smoke; aircraft or ve-
               or result from one of the following                    hicles; riot or civil commotion; vandal-
               causes of loss:                                        ism; leakage from fire extinguishing
               (1) Fire,   lightning,   explosion,                    equipment; sinkhole collapse; volcanic
                   windstorm or hail, riot or civil                   action; falling objects; weight of snow;
                   commotion, or vandalism.                           ice or sleet; water damage.
               (2) Vehicle collision, upset or over-                  a. Sinkhole collapse means the sud-
                   turn. Collision means accidental                        den sinking or collapse of land into
                   contact of your vehicle with an-                        underground empty spaces created
                   other vehicle or object. It does                        by the action of water on limestone
                   not mean your vehicle's contact                         or dolomite. This cause of loss does
                   with the road bed.                                      not include:
               (3) Theft of an entire bale, case or                        (1) The cost of filling sinkholes; or
                   package by forced entry into a                          (2) Sinking or collapse of land into
                   securely locked body or com-                                man-made underground        cav-
                   partment of the vehicle. There                              ities.
                   must be visible marks of the
                   forced entry.                                      b.   Falling objects does not include loss
                                                                           or damage to:
          c.   The most we will pay for loss or
               damage under this Extension is                              (1) Personal property in the open;
               $5000.                                                          or
          This Coverage Extension is additional                            (2) The interior of a building or
          insurance. The Additional Condition, Co-                             structure, or property inside a
          insurance, does not apply to this Exten-                             building or structure, unless the
          sion.                                                                roof or an outside wall of the
                                                                               building or structure is first
     2.   Water Damage, Other Liquids, Powder                                  damaged by a falling object.
          Or Molten Material Damage.
                                                                      c.   Water damage means accidental
          If loss or damage caused by or resulting                         discharge or leakage of water or
          from covered water or other liquid, pow-                         steam as the direct result of the
          der or molten material damage loss oc-                           breaking apart or cracking of a
          curs, we will also pay the cost to tear out                      plumbing, heating, air conditioning
          and replace any part of the building or                          or other system or appliance (other
          structure to repair damage to the system                         than a sump system including its re-
          or appliance from which the water or                             lated equipment and parts), that is
          other substance escapes. This Coverage                           located on the described premises
          Extension does not increase the Limit of                         and contains water or steam.
          Insurance.


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                                                                                        COMMERCIAL PROPERTY
                                                                                                CP10320808

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            WATER EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART
STANDARD PROPERTY POLICY

A.   The exclusion in Paragraph B. replaces the                     5.    Waterborne material carried or other-
     Water Exclusion in this Coverage Part or                             wise moved by any of the water referred
     Policy.                                                              to in Paragraph 1., 3. or 4., or material
B.   Water                                                                carried or otherwise moved by mudslide
                                                                          or mudflow.
     1.   Flood, surFace water, waves (including
          tidal wave and tsunami), tides, tidal wa-                 This exclusion applies regardless of whether
          ter, overflow of any body of water, or                    any of the above, in Paragraphs 1. through
          spray from any of these, all whether or                   5., is caused by an act of nature or is other-
          not driven by wind (including storm                       wise caused. An example of a situation to
          surge);                                                   which this exclusion applies is the situation
                                                                    where a dam, levee, seawall or other bound-
     2.   Mudslide or mudflow;                                      ary or containment system fails in whole or
     3.   Water that backs up or overFlows or is                    in part, for any reason, to contain the water.
          otherwise discharged from a sewer,                        But if any of the above, in Paragraphs 1.
          drain, sump, sump pump or related                         through 5., results in fire, explosion or sprin-
          equipment;                                                kler leakage, we will pay for the loss or dam-
     4.   Water under the ground surf'ace press-                    age caused by that fire, explosion or sprin-
          ing on, or flowing or seeping through:                    kler leakage (if sprinkler leakage is a Covered
          a.   Foundations, walls, floors or paved                  Cause of Loss).
               surFaces;
          b.   Basements, whether paved or not;
               or
          c.   Doors, windows or other openings;
               or




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POLICY NUMBER:                                                                     COMMERCIAL PROPERTY
                                                                                           CP10540695

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       WINDSTORM OR HAIL EXCLUSION
This endorsement modifies insurance provided under the following:
     CAUSES OF LOSS - BASIC FORM
     CAUSES OF LOSS - BROAD FORM
     CAUSES OF LOSS - SPECIAL FORM
     STANDARD PROPERTYPOLICY

A.   The following is added to the EXCLUSIONS             B. Under ADDITIONAL COVERAGE - COLLAPSE,
     section and is therefore not a Covered Cause            in the Causes of Loss - Broad Form,
     of Loss:                                                Windstorm or Hail is deleted from paragraph
     WINDSTORM OR HAIL                                       a.(1).
                                                          C. In the Causes of Loss - Special Form,
     We will not pay for loss or damage:
                                                             Windstorm or Hail is deleted from the "speci-
     1. Caused      directly    or  indirectly   by          fied causes of loss".
        Windstorm or Hail, regardless of any oth-
                                                          D. Under ADDITIONAL COVERAGE EXTEN-
        er cause or event that contributes concur-
                                                             SIONS - PROPERTY IN TRANSIT, in the
        rently or in any sequence to the loss or
                                                             Causes of Loss - Special Form, Windstorm or
        damage; or
                                                             Hail is deleted from paragraph b.(1).
     2. Caused by rain, snow, sand or dust,
        whether driven by wind or not, if that loss
        or damage would not have occurred but
        for the Windstorm or Hail.
         But if Windstorm or Hail results in a
         cause of loss other than rain, snow, sand
         or dust, and that resulting cause of loss is
         a Covered Cause of Loss, we will pay for
         the loss or damage caused by such Cov-
         ered Cause of Loss. For example, if the
         Windstorm or Hail damages a heating
         system and fire results, the loss or dam-
         age attributable to the fire is covered sub-
         ject to any other applicable policy provi-
         sions.




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                                                                                                           COMMERCIAL PROPERTY
                                                                                                                   CP 72 97 04 02

                         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   EQUIPMENT BREAKDOWN
                           ENHANCEMENT ENDORSEMENT- SPECIAL FORM
    This endorsement modifies insurance provided under the following:

          BUILDING AND PERSONAL PROPERTYCOVERAGE FORM
          BUILDERS RISK COVERAGE FORM
          CONDOMINIUM ASSOCIATION COVERAGE FORM
          CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
          CAUSES OF LOSS - SPECIAL FORM

    I.    The following change applies to the BUILDING AND PERSONAL PROPERTY COVERAGE FORM, the
          BUILDERS RISK COVERAGE FORM, the CONDOMINIUM ASSOCIATION COVERAGE FORM and the
          CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM:
          The following wording is added under the Pollutant Clean Up And Removal Additional Coverage:
o
          A. Coverage
               4.   Additional Coverages
                    d.     Pollutant Clean Up And Removal
                           We will pay for the pollutant clean up and removal for loss resulting from an Equipme nt
                           Breakdown. The most we will pay for the pollutant clean up and removal is $25,000
~                          unless a higher limit is provided by an endorsement to the property form for which this
                           endorsement is attached. In that case, whichever limit is greater will apply.
    II.   The following change applies to the BUILDING AND PERSONAL PROPERTYCOVERAGE FORM and the
          CONDOMINIUM ASSOCIATION COVERAGE FORM:
          The following Additional Condition is added:
          F.   Additional Conditions
               3.   Suspension
                    Whenever Covered Property is found to be in, or exposed to, a dangerous condition, any of our
                    representatives may immediately suspend the insurance against loss to that Covered Property
                    for the perils covered by this endorsement. Coverage can be suspended and possibly re-
                    instated by delivering or mailing a written notice of suspension/coverage reinstatement to:
                    a.    Your last known address; or
~                   b.    The address where the property is located.
°                   If we suspend your insurance, you will get a pro rata refund of premium. But the suspension
                    will be effective even if we have not yet made or offered a refund.
               4.   Inspections and Surveys
~                   a.    We have the right to:
                          (1) Make inspections and surveys at any time;
                          (2) Give you reports on the conditions we find: and
                          (3) Recommend changes.
                    b.    We are not obligated to make any inspections, surveys, reports or recommendations and
                          any such actions we do undertake relate only to insurability and the premiums to be
                          charged. We do not make safety inspections. We do not undertake to perform the duty of
                          any person or organization to provide for the health or safety of workers or the public. And
                          we do not warrant that conditions:




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                    (1) Are safe or healthful; or
                    (2) Comply with laws, regulations, codes or standards.
                c. Paragraphs a. and b. of this condition apply not only to us, but also to any rating, advisory,
                    rate service or similar organization which makes insurance inspections, surveys, reports
                    or recommendations.
                d. Paragraph b. of this condition does not apply to any inspections, surveys, reports, or
                    recommendations we may make relative to certification, under state or municipal stat-
                    utes, ordinances or regulations, of boilers, pressure vessels or elevators.
                e. If Covered Property requires inspection to comply with state or municipal boiler and
                    pressure vessel regulations, we agree to perform such inspection on your behalf.
Ill.   The following change applies to the BUILDERS RISK COVERAGE FORM:
       The following Additional Condition is added:
       F. Additional Conditions
           5.   Suspension
                Whenever Covered Property is found to be in, or exposed to, a dangerous condition, any of our
                representatives may immediately suspend the insurance against loss to that Covered Property
                for the perils covered by this endorsement. Coverage can be suspended and possibly re-
                instated by delivering or mailing a written notice of suspension/coverage reinstatement to:
                a. Your last known address; or
                b.   The address where the property is located.
                If we suspend your insurance, you will get a pro rata refund of premium. But the suspension
                will be effective even if we have not yet made or offered a refund.
IV.    The following change applies to the CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE
       FORM:
       The following Additional Condition is added:
       F. Additional Conditions
           Suspension
           Whenever Covered Property is found to be in, or exposed to, a dangerous condition, any of our
           representatives may immediately suspend the insurance against loss to that Covered Property for
           the perils covered by this endorsement. Coverage can be suspended and possibly reinstated by
           delivering or mailing a written notice of suspension/coverage reinstatement to:
           a. Your last known address; or
           b.   The address where the property is located.
           If we suspend your insurance, you will get a pro rata refund of premium. But the suspension will
           be effective even if we have not yet made or offered a refund.
V.     The following changes apply to the CAUSES OF LOSS - SPECIAL FORM:
       B. Exclusions
          As respects to the coverage provided by this endorsement Exclusion 1.e. Utility Services, is
          replaced by the following:
          1.    e.   Utility Services
                     Loss resulting from Equipment Breakdown to power supplied from utility, landlord, or
                     other services supplied to the described premises, however caused, if the failure occurs
                     beyond 1,000 feet from the described premises. Failure includes lack of sufficient capacity
                     and reduction in supply.
                     But if failure of power or other utility service results in a Covered Cause of Loss, we will
                     pay for the loss or damage caused by that Covered Cause of Loss.
                     However, we will not pay for any loss, damage, cost or expense directly caused by,
                     contributed to by, resulting from or arising out of the following causes of loss:




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                              Fire, lightning, combustion explosion, windstorm or hail, weight of snow, ice or sleet,
                              falling objects, smoke, aircraft or vehicles, riot or civil commotion, vandalism,
                              sinkhole collapse, volcanic action, leakage from fire extinguishing equipment, water
                              damage, earth movement and flood.
                          This exclusion does not apply to the Business Income coverage or to Extra Expense
                          coverage. Instead the Special Exclusion in paragraph B.4.a.(1) applies to these coverages.
                          The most we will pay for loss or damage under this coverage is $250,000 unless a higher
                          limit is provided by an endorsement to the property form for which this endorsement is
                          attached. In that case, whichever limit is greater will apply.
              The following Exclusions are removed:
              2.a.        Artificially generated electrical current, including            electric arcing, that disturbs electrical
                          devices, appliances or wires.
                          But if artificially generated electrical current results in fire, we will pay for the loss or
                          damage caused by that fire.
              2.d.(6)     Mechanical breakdown, including rupture or bursting caused by centrifugal force.
~                         But if inechanical breakdown results in a Covered Cause of Loss, we will pay for the loss
                          or damage caused by that Covered Cause of Loss.
              2.e.        Explosion of steam boilers, steam pipes, steam engines or steam turbines                       owned or
~                         leased by you, or operated under your control.
~                         But if explosion of steam boilers, steam pipes, steam engines or steam turbines results in
                          fire or combustion explosion, we will pay for the loss or damage caused by that fire or
                          combustion explosion.
              As respect to the coverage provided by this endorsement subparagraph (1) under a. of section 4.
              Special Exclusion a. is changed to read as follows:
              4.     Special Exclusions
"                    a.   Business Income (And Extra Expense) Coverage Form, Business Income (Without Extra
                          Expense) Coverage Form or Extra Expense Coverage Form
                          Loss resulting from Equipment Breakdown, we will not pay for:
                          (1) Any loss caused directly or indirectly by the failure of power supplied from utility,
                              landlord, or other services supplied to the described premises, however caused, if the
                              failure occurs beyond 1,000 feet of the described premises. Failure includes lack of
                              sufficient capacity and reduction in supply.
                              But if the failure of power or other utility service results in a Covered Cause of Loss,
                              we will pay for the loss resulting from that Covered Cause of Loss.
                              However, we will not pay for any loss, damage, cost or. expense directly caused by,
                              contributed to by, resulting from or arising out of the following causes of loss:
                                   Fire, lightning, combustion explosion, windstorm or hail, weight of snow, ice or
~                                  sleet, falling objects, smoke, aircraft or vehicles, riot or civil commotion, vandal-
~                                  ism, sinkhole collapse, volcanic action, leakage from fire extinguishing equip-
                                   ment, water damage, earth movement and flood.
                              The most we will pay for loss or damage under this coverage is $250,000 unless a
~                             higher limit is provided by an endorsement to the property form for which this en-
                              dorsement is attached. In that case, whichever limit is greater will apply.
         C.   Limitations
              As respects to the coverage provided by this endorsement, the following Limitations are removed:
              1.a. Steam boilers, steam pipes, steam engines, or steam turbines caused by or resulting from any
                   condition or event inside such equipment.
                     But we will pay for loss of or damage to such equipment caused by or resulting from an
                     explosion of gases or fuel within the furnace of any fired vessel or within the flues or passages
                     through which the gases of combustion pass.
              1.b. Hot water boilers or other water heating equipment caused by or resulting from any condition
                   or event inside such boilers or equipment, other than any explosion.




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        F.   Additional Coverage Extensions
             The following Additional Coverage Extensions are added:
             4.   Expediting Expenses
                  We will pay for the expediting           expense loss resulting from an Equipment Breakdown with
                  respect to your damaged Covered Property. We will pay the reasonable extra cost to:
                  a.   Make temporary repairs;
                  b.   Expedite permanent repairs; and
                  c.   Expedite permanent replacement.
                  Reasonable extra cost shall mean "the extra cost of temporary repair and of expediting the
                  repair of such damaged equipment of the insured, including overtime and the extra cost of
                  express or other rapid means of transportation" which will be a part of and not in addition to
                  the limit per loss.
             5.   Refrigerant Contamination
                  Contamination by a refrigerant resulting from Equipment Breakdown with respect to your
                  damaged Covered Property to refrigerating, cooling or humidity control equipment at the
                  described premises.
                  The most we will pay for loss or damage under this coverage is $25,000 unless a higher limit is
                  provided by an endorsement to the property form for which this endorsement is aftached. In
                  that case, whichever limit is greater will apply.
             6.   Spoilage Coverage
                  Any other consequential loss, except that we will pay for loss of perishable goods due to
                  spoilage resulting from lack of power, light, heat, steam or refrigeration caused by Equipment
                  Breakdown to types of property covered by this policy, that are:
                       (1) located on or within 1,000 feet of your described premises;
                       (2) owned by the building             owner at your described premises,               or owned by a public
                           utility; and
                       (3) used to supply telephone, electricity, air conditioning,               heating, gas, water or steam to
                           your described premises.
                  However, we will not pay for any loss, damage, cost or expense directly caused by, contri-
                  buted to by, resulting from or arising out of the following causes of loss:
                       Fire, lightning, combustion explosion, windstorm or hail, weight of snow, ice or sleet,
                       falling objects, smoke, aircraft or vehicles, riot or civil commotion, vandalism, sinkhole
                       collapse, volcanic action, leakage from fire extinguishing equipment, water damage, earth
                       movement and flood.
                  The most we will pay for loss or damage under this coverage is $25,000 unless a higher limit is
                  provided by an endorsement to the property form for which this endorsement is attached. In
                  that case, whichever limit is greater will apply.
~            7.   Data Restoration
~                 We will pay you the cost to research, replace and restore data, including programs and operat-
                  ing systems, that is lost or corrupted due to the cause of loss provided by this endorsement.
                  This coverage is provided up to a Data Restoration coverage limit of $100,000. This limit is part
~                 of and not in addition to the policy limits.
             8.   Environmental, Safety and Efficiency Improvements
                  If Covered Property requires replacement due to a loss covered by this endorsement, we will
                  pay your additional cost to replace with equipment that is better for the environment, safer or
                  more efficient than the equipment being replaced.
                  However, we will not pay more than 125% of what the cost would have been to repair or
                  replace with like kind and quality. This coverage does not increase any of the applicable limits.
                  This coverage does not apply to any property indicated as being valued on an Actual Cash
                  Value.




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             9.   Demolition and ICC (Increased Cost of Construction)
                  If a building that is Covered Property is damaged by a loss covered by this endorsement and
                  the loss is increased by enforcement of any ordinance or law in force at the time of the
                  Equipment Breakdown that regulates the construction or repair of buildings, or establishes
                  zoning or land use requirements, we will pay for the following additional costs to comply with
                  such ordinance or law:
                  (1) Your actual expenditures for the cost to demolish and clear the site of undamaged parts.
                  (2) Your actual expenditures for increased costs to repair, rebuild or construct the building. If
                      the building is repaired or rebuilt, it must be intended for similar use or occupancy as the
                      current building, unless otherwise required by zoning or land use ordinance or law.
                  (3) Your loss as described in Business Income and Extra Expense coverages caused by loss
                      covered in (1) or (2) above, if these coverages are indicated in the policy Declarations.
                  We will not pay for:
                  (1) Any fine;
~                 (2) Any liability to a third party;
                  (3) Any increase in loss due to a"hazardous substance"; or
                  (4) Increased construction costs until the building is actually repaired or replaced.
                  The most we will pay for loss or damage under this coverage is $100,000 unless a higher limit
                  is provided by an endorsement to the property form for which this endorsement is attached. In
~                 that case, .whichever limit is greater will apply.
         G. Definitions
             The following Definition "Specified Causes of Loss" has been added to as follows: .
             "Specified Causes of Loss" also means Equipment Breakdown.
             Equipment Breakdown as used herein means:
~            a.   Physical loss or damage both originating within:
                  (1) Boilers, fired or unfired pressure vessels, vacuum vessels and pressure piping, all nor-
                      mally subject to vacuum or internal pressure other than static pressure of contents, ex-
                      cluding:
                      (a) waste disposal piping;
                      (b) any piping forming part of a fire protective system;
                      (c) furnaces; and
                      (d) any water piping other than:
                           (i) boiler feed water piping between the feed pump and the boiler;
                           (ii) boiler condensate return piping; or
                           (iii) water piping forming part of a refrigerating or air conditioning                system used for
                                 cooling, humidifying or space heating purposes.
a
;                 (2) AII mechanical, electrical, electronic or fiber optic equipment; and
             b.   Caused by, resulting from, or consisting of:
                  (1) Mechanical breakdown; or
~                 (2) Electrical or electronic breakdown; or
                  (3) Rupture, bursting, bulging, implosion or steam explosion.
             c.   Should covered electrical equipment require drying out as a result of a flood, we will reim-
                  burse only the direct expenses of such drying out, not the repair or replacement of the elec-
                  trical equipment, subject to the Property Damage limit and the Property Damage deductible.




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         However, Equipment Breakdown will not mean:
             Physical loss or damage caused by or resulting from any of the following; however if loss or
             damage not otherwise excluded results, then we will pay for such resulting damage:
             (1) Wear and tear;
             (2) Rust or other corrosion, decay, deterioration, hidden or latent defect, mold or any other
                 quality in property that causes it to damage or destroy itself;
             (3) Smog;
             (4) Settling, cracking, shrinking or expansion;
             (5) Nesting or infestation, or discharge or release of waste products or secretions, by birds,
                 rodents or other animals;
             (6) Any accident, loss, damage, cost, claim, or expense, whether preventative, remedial,. or
                 otherwise, directly or indirectly arising out of or relating to the recognition, interpretation,
                 calculation, comparison, differentiation, sequencing, or processing of data by any com-
                 puter system including any hardware, programs or software; or
             (7) The following causes of loss to personal property:
                 (a) Dampness and dryness of atmosphere; or
                 (b) Marring and scratching.




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                                                                                                  COMMERCIAL PROPERTY
                                                                                                          CP 88 00 07 10

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               PROPERTY EXTENSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTYCOVERAGE FORM
CAUSES OF LOSS - BROAD FORM
CAUSES OF LOSS - SPECIAL FORM
WATER EXCLUSION ENDORSEMENT

The following is a summary of increased limits of insurance and additional coverages provided by this
endorsement. This endorsement is subject to the provisions of your policy which means that it is subject to
all limitations and conditions applicable to this Coverage Part, Coverage Form and Causes of Loss - Broad
Form and Causes of Loss - Special Form unless specifically deleted, replaced, or modified herein. Except as
otherwise stated herein, this endorsement is applicable only to those premises described in the Declara-
tions.
Coverage for Extra Expense, whether provided by this endorsement or elsewhere, does not apply if a loss
is covered only as a result of this endorsement.
If loss or damage is covered elsewhere in this policy and under this endorsement, the amount payable
under this endorsement will apply excess over that payable elsewhere in this policy unless otherwise
stated. We will not pay more than the actual amount of the covered loss or damage.

Coverage Description                                                        Limit of Insurance
Special Deductible Provision                                                Included
Broadened Premises                                                          Included
Additional Covered Property                                                 Included
Real Property of Others Required by Contract                                $     20,000 at any one location
Fire Department Service Charge                                              $      2,500 at any one location
Electronic Data                                                             $      5,000 in any one policy year
Arson or Theft Reward                                                       $     10,000 at any one location, regardless
                                                                                         of the number of persons
                                                                                         providing information
Newly Acquired or Constructed Property                                      180 days
     Buildings                                                              $ 500,000 at each building
     Business Personal Property                                             $ 250,000 at each building
Personal Effects and Property of Others                                     $     10,000 at each described premises
Valuable Papers and Records (Other Than Electronic Data)                    $     10,000 at each described premises
Outdoor Property                                                            $      5,000 in any one occurrence
Accounts Receivable                                                         $     10,000 at any one location
Fine Arts                                                                   $     10,000 at any one location
Fire Protective Devices                                                     $     10,000 in each separate 12-month
                                                                                         policy period
Loss of Refrigeration                                                       $     10,000 at any one location
Computer Equipment (Including Laptop/Portable Computers)                    $     15,000 at any one location
Lock Replacement                                                            $      1,000 at any one location
Money and Securities
      Inside the Premises                                                          2,500 in   any   one   "occurrence"
      Outside the Premises                                                         2,500 in   any   one   "occurrence"
Utility Services Interruption - Direct Damage                                      5,000 at   any   one   location
Extra Expense                                                                     10,000 at   any   one   location
Utility Services Interruption - Business Income                                    2,500 at   any   one   location
Loss Adjustment Expenses                                                           2,500 in   any   one   occurrence
Appurtenant Structures
      Buildings                                                                   50,000 at any one location
      Business Personal Property                                                   5,000 at any one location



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    Coverage Description                                                        Limit of Insurance
    Salespersons Samples                                                        $     1,000 for each salesperson,
                                                                                            in any one occurrence
    Signs (Outdoor)                                                             $     5,000 in any one occurrence
    Special Valuation Provision                                                 $     5,000
    Property In Transit                                                         $    10,000 in any one occurrence
    Back-Up of Sewers or Drains                                                 $    10,000 at any one location

    A.   The following is added to Section D. DEDUCTIBLE, of the BUILDING AND PERSONAL PROPERTY
         COVERAGE FORM:
              Special Deductible Provision
              From any loss or damage covered under this endorsement, we will deduct the amount of the
              Deductible shown in the Declarations that applies to the peril of fire unless otherwise stated in this
              endorsement. In the event there is more than one different deductible on the policy applying to
              fire, the smallest such deductible will apply. The deductible shall apply separately to each occur-
              rence.
    B.   The following changes apply to Section A. COVERAGE of the BUILDING AND PERSONAL PROPERTY
         COVERAGE FORM.
         1.   Broadened Premises
              The words within 100 feet of the described premises in Paragraph A.1.a.(5)(b), Building; Para-
              graph A.1.b., Your Business Personal Property; Paragraph A.1.c.(2), Personal Property of Others;
              and Paragraph A.5., Coverage Extensions are deleted and replaced by within 1,000 feet of the
              described premises.
         2.   Additional Covered Property
              The following   are added to item a. Building of Paragraph A.I. Covered Property:
              (6) Bridges not exceeding 30 feet in length, roadways, walks, patios or other paved surfaces;
              (7) Retaining walls (except retaining walls two feet or higher used to contain water or protect
                  against wave action or storm surges) that are not part of a building.
              Additional Condition F.1. Coinsurance does not apply to bridges which qualify as Additional               Cov-
              ered Property under this endorsement.
              Item d. of Paragraph A.2. Property Not Covered is deleted and replaced by the following:
                  d.   Bridges exceeding 30 feet in length.
              Item I. of Paragraph A.2. Property Not Covered is deleted and replaced by the following:
                  I.   Retaining walls two feet or higher used to contain water or protect against wave action or
                       storm surges.
         3.   Real Property of Others Required by Contract
              The following   is added to item b. Your Business Personal Property of Paragraph A.1. Covered
~             Property:
~             (8) Real Property including but not limited to building, doors and windows you are responsible for
                  due to contract or lease agreement.
                  The most we will pay for loss or damage to covered property at any one location is $20,000.
         4.   Fire Department Service Charge
              The limit of insurance in item c. Fire Department Service Charge of Paragraph A.4. Additional
              Coverages is increased from $1,000 to $2,500 at any one location.
         5.   Electronic Data
              The limit of insurance in item f.(4) Electronic Data of Paragraph A.4. Additional Coverages is
              increased from $2,500 to $5,000 in any one policy year.




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         6.   The following are added to paragraph A.4 Additional Coverages:
              Arson or Theft Reward
              We will pay on behalf of the insured up to $10,000 at any one location for information which leads
              to an arson conviction or theft conviction in connection with a fire loss or theft loss covered under
              the BUILDING AND PERSONAL PROPERTY COVERAGE FORM. Regardless of the number of per-
              sons involved in providing information, our liability under this Additional Coverage will not be
              increased.
              No deductible applies to this coverage.
         7.   Newly Acquired or Constructed Property
              The limit of insurance in item a.(1)• Newly Acquired or Constructed Property - Buildings of Para-
              graph A.S. Coverage Extensions is increased from $250,000 to $500,000 at each building.
              The limit of insurance in item a.(2) Newly Acquired or Constructed Property - Your Business
              Personal Property of Paragraph A.S. Coverage Extensions is increased from $100,000 to $250,000.
              The number of days in item a.(3)(b) Newly Acquired or Constructed Property - Period of Coverage
~             of Paragraph A.S. Coverage Extensions is increased from 30 to 180 days.
         8.   Personal Eff,ects and Property of Others
              The last paragraph of item b. Personal Effects and Property of Others of Paragraph A.S. Coverage
~             Extensions is deleted and replaced by the following:
8             The most we will pay for loss or damage under this Extension is $10,000 at each premises de-
              scribed in the Declarations. Our payment for loss of or damage to personal property of others
              (including property of others held by you on consignment) will only be for the account of the
              owner of the property.
         9. Valuable Papers and Records (Other Than Electronic Data)
              The limit of insurance in item c.(4) Valuable Papers and Records (Other Than Electronic Data) of
~             Paragraph A.S. Coverage Extensions is increased from $2,500 to $10,000 at each described prem-
              ises.
         10. Outdoor Property
              Item e. Outdoor Property of Paragraph A.S. Coverage Extensions is deleted and replaced by the
              following:
              You may extend the insurance provided by this Coverage Form to apply to your outdoor fences,
              lighting, lighting standards, radio and television antennas, satellite dishes, playground equipment,
              scoreboards, trees, shrubs and plants (other than "stock" of trees, shrubs or plants), including
              debris removal expense, caused by or resulting from any of the Covered Causes of Loss.
              The most we will pay for loss or damage under this Extension is $5,000, but not more than $500 for
              any one tree, shrub or plant. These limits apply to any one occurrence, regardless of the types or
              numbers of items lost or damaged in that occurrence.
~             Item q.(2) of Paragraph A.2. Property Not Covered is deleted and replaced by the following:
~             (2) Fences, radio or television antennas (including satellite dishes) and their lead-in wiring, masts
                  or towers, trees, shrubs or plants (other than "stock" of trees, shrubs or plants), all except as
                  provided in the Coverage Extensions.
~       11. The following are added to Paragraph A.S. Coverage Extensions:
              g.   Accounts Receivable
                   We will pay:
                   (1) AII amounts due from your customers that you are unable to collect;
                   (2) Interest charges on any loan required to offset amounts you are unable to collect pending
                       our payment of these amounts;
                   (3) Collection expenses in excess of your normal collection expenses that are made neces-
                       sary by the loss or damage; and




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                     (4) Other reasonable expenses that you incur to re-establish your records of accounts receiv-
                         able;
                     that result from a Covered Cause of Loss to your records of accounts receivable.
                     The most we will pay for loss at any one location under this Extension is $10,000.
             h.   Fine Arts
                     You may extend the insurance that applies to Your Business Personal Property to apply to
                     your fine arts and fine arts owned by others that are in your care, custody or control.
                  This Extension does not apply to loss or damage caused by or resulting from:
                  (1) Any repairing, restoration or retouching process;
                  (2) Insects, birds, rodents or other animals;
                  (3) Wear and tear;
                  (4) Rust, corrosion, fungus, decay, deterioration, hidden or latent defect or any quality in the
                      property that causes it to damage or destroy itself;
                  (5) Breakage of art glass windows, statuary, marbles, glassware, bric-a-brac, porcelains and
                      similar fragile articles. But we will pay for loss or damage caused directly by fire, light-
                      ning, aircraft, theft or attempted theft, cyclone, tornado, windstorm, explosion, vandal-
                      ism, or by accident to the vehicle carrying the property.
                  The most we will pay for loss or damage at any one location under this Extension is $10,000.
                  This Extension does not apply to fine arts at any fair or on exhibition.
             i.   Fire Protective Devices
                  You may extend the insurance provided by the BUILDING AND PERSONALY PROPERTYCOV-
                  ERAGE FORM to apply to recharging or refilling of your fire extinguishers or fire protective
                  devices that are permanently installed in buildings at premises described in the Declarations
                  when such devices have been discharged by accident or after being used in fighting a fire. This
                  Extension does not apply to periodic recharge or refilling.
                  The most we will pay under this Extension is $10,000 for each separate 12-month period of
                  this policy.
             j.   Loss of Refrigeration
                  You may extend the insurance provided by the BUILDING AND PERSONAL PROPERTYCOV-
                  ERAGE FORM to apply to direct physical loss of or damage to property owned by you and
                  used in your business or owned by others and in your care, custody or control, contained in
                  any refrigeration or cooling apparatus or equipment resulting from:
                  (1) The fluctuation or total interruption of electrical power, either on or off the described
                      premises, due to conditions beyond your control; or
                  (2) Mechanical failure of any refrigeration or cooling apparatus or equipment (on premises).
~                 The most we will pay for loss or damage at any one location under this Extension is $10,000.
°            k.   Computer Equipment


                  You may extend the insurance that applies to Your Business Personal Property to apply to loss
~                 or damage to "computer equipment" owned by you or similar property of others in your care,
                  custody or control for which you are legally liable, caused by a Covered Cause of Loss.
                  You may extend the insurance that applies to Your Business Personal Property to apply to loss
                  or damage to "9aptop/portable      computers" owned by you and in your care, custody and
                  control or in the care, custody or control of your employee.
                  (1) Property Not Covered
                        We will not cover the following kinds of property under this Extension:
                        (a) Property which you rent or lease to others;
                        (b) Software or other electronic data;




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                     (c) Accounts, bills, evidences of debt, valuable -papers, records, abstracts, deeds, manu-
                         scripts, program documentation or other documents.
                     (d) "Computer equipment" held for sale by you;
                     (e) "Computer equipment"            of others on which you are perForming repairs or work;
                     (f)   "Computer equipment"          that is part of any:
                           (i)   Production or processing equipment (such as CAD, CAM or CNC machines);
                           (ii) Equipment used to maintain or service your building (such as heating, ventilat-
                                ing, cooling or alarm systems); or
                           (iii) Communication       equipment (such as telephone systems).
                     (g) Property that is covered under another coverage form of this or any other policy in
                         which such property is more specifically described, except for the excess of the
                         amount due (whether you can collect on it or not) from that other insurance.
                 (2) Property In Transit
                     We will pay for your "computer              equipment",      or "9aptop/portable          computer"   while in
                     transit.
                 (3) Section B. Exclusions, 1.b. Earth Movement of the CAUSES OF LOSS - BROAD FORM and
                     the CAUSES OF LOSS - SPECIAL FORM, as respects A.5.k. Computer Equipment, is de-
~                    leted in its entirety.
~                (4) Section B. Exclusions, 1.e. Utility Services of the CAUSES OF LOSS - BROAD FORM and
                     the CAUSES OF LOSS - SPECIAL FORM, as respects A.5.k. Computer Equipment, is de-
                     leted in its entirety.
                 (5) Section B. Exclusions, 1.g. Water of the CAUSES OF LOSS - BROAD FORM and the
                     CAUSES OF LOSS - SPECIAL FORM, as respects A.5.k. Computer Equipment, is deleted in
                     its entirety.
N
                 (6) The artificially generated electrical current exclusion, Item B.2.a. of the CAUSES OF LOSS
                     - BROAD FORM and the CAUSES OF LOSS - SPECIAL FORM, as respects A.5.k. Computer
                     Equipment, is deleted in its entirety.
                 (7) The mechanical breakdown exclusion, Item B.2.c. of the CAUSES OF LOSS - BROAD
                     FORM and the CAUSES OF LOSS - SPECIAL FORM, as respects A.5.k. Computer Equip-
                     ment, is deleted and replaced by the following:
                     (6) Mechanical breakdown, failure or derangement, except:
                           (a) This exclusion does not apply for the accidental loss or damage caused by a
                               resulting fire or explosion.
                           (b) This exclusion does not apply if any of the above is sudden and accidental and
                               manifests itself by physical damage to "computer equipment" which requires
                               repair or replacement.
;                (8) Loss Payment will be determined as follows:
                     "Computer equipment"          or "9aptop/portable     computers"
                           We will pay the least of the following amounts:
                           (i) The cost of reasonably restoring that property to its condition immediately                  before
                               the loss or damage; or
                           (ii) The cost of replacing that property with identical property of comparable material
                                and quality and used for the same purpose.
                           However, when repair or replacement with identical property is not possible, we will
                           pay the cost to replace that property with similar property capable of perForming the
                           same functions.
                           If not repaired or replaced, the property will be valued at its actual cash value.
                     "Computer equipment" means a network of electronic machine components capable of
                     accepting information, processing it according to instructions and producing the results in
                     a desired form.



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                     "Laptop/portable computers" means "computer equipment" and accessories that are de-
                     signed to function with it that can easily be carried and is designed to be used at more
                     than one location.
                     The most we will pay under this Extension for loss or damage to "computer                     equipment"
                     including "9aptop/portable       computers" at any one location is $15,000. This Extension also
                     applies to "9aptop/portable      computers"      which are away from the described premises.
            I.   Lock Replacement
                 You may extend the insurance provided by the BUILDING AND PERSONAL PROPERTYCOV-
                 ERAGE FORM to apply to replacement of locks necessitated by theft of Covered Property or
                 theft of keys from the premises described in the Declarations.
                 The most we will pay for loss under this Coverage Extension is $1,000 in any one occurrence.
             m. Money and Securities
                 (1) You may extend the insurance that applies to Your Business Personal Property to apply to
                     loss of "money" and "securities" used in your business while at a bank or savings institu-
                     tion, within your living quarters or the living quarters of.your partners or any employee
                     having use and custody of the property, at the described premises, or in transit between
                     any of these places, resulting directly from:
                     (a) Theft, meaning any act of stealing;
                     (b) Disappearance; or
                     (c) Destruction.
                 (2) In addition to the Limitations       and Exclusions applicable to property coverage, we will not
                     pay for loss:
                     (a) Resulting from accounting or arithmetical errors or omissions;
                     (b) Due to the giving or surrendering of property in any exchange or purchase; or
                     (c) Of property contained in any money-operated device unless the amount of "money"
                         deposited in it is recorded by a continuous recording instrument in the device.
                 (3) The most we will pay for loss in any one "occurrence"               is:
                     (a) $2,500 for Inside the Premises for "money"             and "securities"      while:
                         (i) In or on the described premises; or
                         (ii) Within a bank or savings institution;          and
                     (b) $2,500 for Outside the Premises for "money"               and "securities"     while anywhere else.
                 (4) As respects this Additional Coverage, all loss:
                     (a) Caused by one or more persons; or
                     (b) Involving a single act or series of related acts;
~                    is considered one "occurrence".
~                (5) You must keep records of all "money"              and "securities"        so we can verify the amount of
                     any loss or damage.
                 (6) "Money"    means:
a
`                    (a) Currency, coins and bank notes in current use and having a face value; and
                     (b) Travelers checks, register checks and money orders held for sale to the public.
                 (7) "Securities" means negotiable and non-negotiable                instruments      or contracts representing
                     either "money" or other property and includes:
                     (a) Tokens, tickets, revenue and other stamps (whether represented by actual stamps or
                         unused value in a meter) in current use; and
                     (b) Evidences of debt issued in connection with credit or charge cards, which cards are
                         not issued by you;
                     but does not include "money".




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             n.   Utility Services Interruption - Direct Damage
                  You may extend the insurance provided by the BUILDING AND PERSONAL PROPERTYCOV-
                  ERAGE FORM to apply to loss of or damage to Covered Property caused by an interruption in
                  utility service to the described premises. The interruption in utility service must result from
                  direct physical loss or damage by a Covered Cause of Loss to the following property not on the
                  described premises:
                  (1) Water Supply Services, meaning the following                 types of property supplying water to the
                      described premises:
                      (a) Pumping stations; and
                      (b) Water mains.
                  (2) Communication Supply Services, meaning property supplying communication services,
                      including telephone, radio, microwave or television services to the described premises,
                      such as:
                      (a) Communication         transmission lines, including optic fiber transmission          lines;
~                     (b) Coaxial cables; and
                      (c) Microwave radio relays except satellites.
                      It does not include above ground communication               lines.
                  (3) Power Supply Services, meaning the following                  types of property supplying          electricity,
~                     steam or gas to the described premises:
                      (a) Utility generating plants;
                      (b) Switching stations;
                      (c) Substations;
                      (d) Transformers;      and
~                     (e) Transmission lines.
                      It does not include above ground transmission             or distribution    lines.
                  This Extension does not apply to loss of or damage to property owned by you and used in your
                  business or owned by others and in your care, custody or control, contained in any refrigera-
                  tion or cooling apparatus or equipment, resulting from:
                      (a) The fluctuation or total interruption of electrical power, either on or off the described
                          premises, due to conditions beyond your control; or
                      (b) Mechanical failure of any refrigeration or cooling apparatus or equipment.
                  The most we will pay at any one location under this Extension is $5,000.
             o.   Extra Expense
                  Unless amended by endorsement elsewhere in this policy, "Period of Restoration"                    means the
~                 period of time as defined in this Coverage Extension.
'                 We will pay the actual and necessary Extra Expense you incur due to direct physical loss of or
                  damage to the property at the premises described in the Declarations, including Business
                  Personal Property in the open or in a vehicle, within 1,000 feet of the premises, caused by or
~                 resulting from a Covered Cause of Loss.
                  If you are a tenant, your premise is the portion of the building which you rent, lease or occupy,
                  including:
                          (i) AII routes within the building to gain access to the described premises; and
                          (ii) Your personal property in the open (or in a vehicle) within 1,000 feet.




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                  Extra Expense means necessary expenses you incur during the "period of restoration" that
                  you would not have incurred if there had been no direct physical loss or damage to property.
                  Coverage pertains to expenses which are incurred to:
                      (a) Avoid or minimize the "suspension"              of business and to continue "operations":
                           1.    At the described premises; or
                           2.    At replacement premises or at temporary locations, including:
                                (a) Relocation expenses; or
                                (b) Costs to equip and operate the replacement or temporary locations.
                      (b) Minimize the "suspension"           of business if you cannot continue "operations."
                      (c) To repair or replace any property; or
                      (d) To research, replace or restore the lost information               on damaged valuable papers and
                          records;
                      to the extent it reduces the amount of loss that otherwise would have been payable under
                      this Coverage Extension.
                  The following definitions are added as respects to this Coverage Extension:
                           1.    "Operations" means the type of your business activities                     occurring at the de-
                                 scribed premises.
                           2.   "Period of Restoration" means the period of time that:
                                (a) Begins immediately after the time of direct physical loss or damage;
                                (b) Ends on the earlier of:
                                      (i) The date when the property at the described premises should be re-
                                          paired, rebuilt or replaced with reasonable speed and similar quality; or
                                      (ii) The date when business is resumed at a new permanent location.
                  "Period of Restoration" does not include any increased period required due to the enforce-
                  ment of any ordinance or law that:
                      (a) Regulates the construction,            use or repair, or requires           the tearing down of any
                          property; or
                      (b) Requires any insured or others to test for, monitor, clean up, remove, contain, treat,
                          detoxify or neutralize, or in any way respond to, or assess the effects of "pollutants".
                  The expiration date of this policy will not cut short the "period of restoration."
                           3.   "Suspension"       means:
                                (a) The slowdown or cessation of your business activities; or
                                (b) That a part of all of the described premises is rendered untenantable.

a                               The most we will pay at any one location under this Extension is $10,000.
o            p.   Utility Services Interruption - Business Income
                  We will pay up to $2,500 at any one location for the actual loss of Business Income you sustain
                  at the described premises due to the necessary "suspension" of your "operations" during the
~                 "period of restoration" caused by an interruption in utility service to the described premises.
                  The interruption in utility service must result from direct physical loss or damage by a Covered
                  Cause of Loss to the following types of property located outside of a covered building de-
                  scribed in the Declarations:
                  (1) Water Supply Services, meaning the following                 types of property supplying water to the
                      described premises:
                      (a) Pumping stations; and
                      (b) Water mains.




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                  (2) Communication Supply Services, meaning property supplying communication services,
                      including telephone, radio, microwave or television services to the described premises,
                      such as:
                      (a) Communication           transmission lines, including optic fiber transmission lines;
                      (b) Coaxial cables; and
                      (c) Microwave radio relays except satellites.
                      It does not include above ground communication                  lines.
                  (3) Power Supply Services, meaning the following                     types of property supplying          electricity,
                      steam or gas to the described premises:
                      (a) Utility generating plants;
                      (b) Switching stations;
                      (c) Substations;
                      (d) Transformers;         and
~                     (e) Transmission lines.
                      It does not include above ground transmission                or distribution    lines.
                  Coverage under this Extension does not apply to Business Income loss related to interruption
~                 in utility service which causes loss or damage to electronic data, including destruction or
o                 corruption of electronic data. The term electronic data has the meaning described in the
                  BUILDING AND PERSONAL PROPERTYCOVERAGE FORM under Property Not Covered - Elec-
                  tronic Data.
                  (4) Business Income means the:
                      (a) Net Income (net profit or loss before income taxes) that would have been earned or
                          incurred, including "Rental Value", and
~                     (b) Continuing normal operating expenses incurred, including payroll.
                      For manufacturing         risks, Net Income includes the net sales value of production.
                  (5) "Rental Value" means Business Income that consists of:
                      a.     Net Income (Net Profit or Loss before income taxes) that would have been earned or
                             incurred as rental income from tenant occupancy of the premises described in the
                             Declarations as furnished and equipped by you, including fair rental value of any
                             portion of the described premises which is occupied by you; and
                      b.     Continuing      normal operating expenses incurred in connection                      with that premises,
                             including:
                             (1) Payroll; and
                             (2) The amount of charges which are the legal obligation                   of the tenant(s) but would
                                 otherwise be your obligations.
o                 Refer to the Extra Expense Coverage Extension for the following definitions:
                  (1) "Operations"
                  (2) "Period of Restoration"
'                 (3) "Suspension"
             q.   Loss Adjustment Expenses
                  You may extend the insurance provided by the BUILDING AND PERSONAL PROPERTYCOV-
                  ERAGE FORM to apply to your expenses for preparation of loss data, including inventories and
                  appraisals, in connection with any claim covered under this policy. We will not pay for ex-
                  penses incurred in using the services of a public adjuster or an attorney.
                  The most we will pay at any one location under this Extension is $2,500.




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              r.   Salespersons Samples
                   You may extend the insurance that applies to Your Business Personal Property to apply to
                   Salespersons' Samples of your stock in trade, including their containers, while they are in the
                   care, custody or control of your sales representative(s), agent(s) or yourself while acting as a
                   sales representative.
                   The most we will pay for loss to Salespersons Samples in any one occurrence is $1,000 for
                   property in the custody of any one salesperson.
              s.   Appurtenant Structures
                   If not otherwise covered by this policy, you may extend the insurance that applies to Building
                   to apply to your storage buildings, your garages and your other appurtenant structures, except
                   outdoor fixtures, at the premises described in the Declarations. The most we will pay at any
                   one location for such loss or damage under this Extension in $50,000.
                   If not otherwise covered by this policy, you may extend the insurance that applies to Business
                   Personal Property to apply to such property in your storage buildings, your garages and your
                   other appurtenant structures at the premises described in the Declarations. The most we will
                   pay for such loss or damage under this Extension is $5,000.
    C.   The second paragraph of Section C. LIMITS OF INSURANCE of the BUILDING AND PERSONAL PROP-
         ERTY COVERAGE FORM is deleted and replaced by the following:
         Signs (Outdoor)
         The most we will pay for loss or damage to outdoor signs, whether or not the sign is attached to a
         building, is $5,000 per sign in any one occurrence.
    D.   The following changes are applicable to Section E. Loss Conditions of the BUILDING AND PERSONAL
         PROPERTYCOVERAGE FORM.
         Special Valuation Provision
         The limit of insurance in Paragraph 7.b. Valuation is increased from $2,500 to $5,000.
    E.   Property In Transit
         The 100-foot limitation in Paragraph 1.a. Property In Transit of Section F. Additional Coverage Exten-
         sions of the CAUSES OF LOSS - SPECIAL FORM is changed to 1,000 feet.
         The limit of insurance in Paragraph 1.c. Property In Transit of Section F. Additional Coverage Exten-
         sions of the CAUSES OF LOSS - SPECIAL FORM is increased from $5,000 to $10,000 in any one
         occurrence.
         The following is added to Paragraph 1. Property In Transit of Section F. Additional Coverage Exten-
         sions of the CAUSES OF LOSS - SPECIAL FORM:
         d.   This Coverage Extension does not apply to fine arts in transit as provided in item h. Fine Arts of
              Paragraph B.11. Coverage Extensions of endorsement CP 88 00.
    F.   Back-Up of Sewers or Drains
~
o        Paragraph B.3. WATER of the WATER EXCLUSION ENDORSEMENT is deleted and replaced by the
         following:
         (3) Except as provided under the Back-Up of Sewers or Drains Additional Coverage Extension, water
~            that backs up or overflows or is otherwise discharged from a sewer, drain, sump, sump pump or
~            related equipment;
         The following is added to Section F. Additional Coverage Extensions of the CAUSES OF LOSS -
         SPECIAL FORM:




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     4.   Back-Up of Sewers or Drains
          We cover direct physical loss or damage caused by water:
          a.   Which backs up into a building or structure through sewers or drains which are directly
               connected to a sanitary sewer or septic system; or
          b.   Which enters into and overFlows from within a sump pump, sump pump well or other type of
               system designed to remove subsurface water which is drained from the foundation area.
          This coverage does not apply if the loss or damage is caused by your negligence.
          We will not pay for water or other materials that back up, overflow, or are discharged from a
          sewer, drain, sump, sump pump or related equipment when it is caused by any flood, whether the
          flood is caused by an act of nature or is otherwise caused.
          The most we will pay for loss or damage at any one location under this Coverage Extension is
          $10,000.

AII other terms and conditions remain unchanged.




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                                                                                                   COMMERCIAL PROPERTY
                                                                                                           CP 88 04 03 10

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 REMOVAL PERMIT
This endorsement modifies insurance provided under the following:

    COMMERCIAL PROPERTYCOVERAGE PART


If Covered Property is removed to a new location that is added by endorsement to the policy subsequent to
its original issue, you may extend this insurance to include that Covered Property at each location during the
removal. Coverage at each location will apply in the proportion that the value at each location bears to the
value of all Covered Property being removed. This permit applies up to 10 days after the effective date of the
endorsement adding the new location; after that, this insurance does not apply at the previous location.




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                                                                                                       COMMERCIAL PROPERTY
                                                                                                               CP 90 59 12 12

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           IDENTITY THEFT ADMINISTRATIVE SERVICES
                                   AND EXPENSE COVERAGE
    This endorsement modifies insurance provided under the following:

        BUILDING AND PERSONAL PROPERTYCOVERAGE FORM

    The following is added to paragraph A.4. Additional Coverages:
    IDENTITY THEFT ADMINISTRATIVE SERVICES AND EXPENSE COVERAGE
    We will provide "Identity Theft Administrative Services" and will reimburse up to $25,000 for "Identity Theft
    Expenses" incurred by an "identity theft insured" as a direct result of any one "identity theft" in the
    "coverage territory" if all of the following requirements are met:
         1.   The personal identity of an "identity theft insured" under this policy was the subject of an "identity
              theft"; and

0        2.   Such "identity theft" is first discovered by the "identity theft insured" during the policy period for
              which this Identity Theft Expense Coverage is applicable; and
         3.   Such "identity theft" is reported to us as soon as practicable but in no event later than 60 days
              after it is first discovered by the "identity theft insured"; and
         4.   The "identity theft insured" reports the "identity           theft" in writing to the appropriat e law enforce-
              ment agency.
~        Any act or series of acts committed by one or more persons, or in which such person or persons are
         aiding or abetting others, against an "identity theft insured" is considered to be one "identity theft",
         even if a series of acts continues into a subsequent policy period.
    LIMITS
    Regardless of the number of claims or "Identity Theft Insureds", the most we will pay in the aggregate for
    all "identity theft expenses" resulting from "identity theft" discovered during the policy period is $25,000.
         1.   The $25,000 Identity Theft Expense Limit shall be reduced by the amount of any payment made by
              us under the terms of this insurance. If the Identity Theft Expense Limit of Insurance is exhausted,
              we will have no further liability to pay for loss which may be discovered during the remainder of
              the policy period.
         2.   Any recovery made by us after settlement of a loss covered by this insurance shall not be used to
              increase or reinstate the Limit of Insurance.
~        3.   "Identity Theft Incident Administrative          Services" is provided up to 12 consecutive months after
~             service begins.
         4.   "Identity Theft Administrative      Services "do not reduce the "Identity Theft" limit.
    This "Identity Theft Administrative     Service" and "Identity Theft Expense" Coverage is additional insurance.
N

'   EXCLUSIONS
    The following exclusions are added to the applicable Cause of Loss Form shown on the Declarations.
    We do not provide "Identity Theft Administrative          Services" or cover "identity theft expenses":
         1.   Incurred as the result of "identity theft" due to any fraudulent, dishonest, or criminal act by you,
              your partners, employees, members, "executive officers", managers, directors, or trustees or by
              any authorized representative of yours, whether acting alone or in collusion with others.
              In the event of any such act, no "identity theft insured" is entitled to "identity theft expenses",
              even an "identity theft insured" who did not commit or conspire to commit the act causing the
              "identity theft".



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     2. Arising out of "identity theft" committed by or with knowledge of any relative or former relative of
        the "identity theft insured".
     3. Arising out of an "identity theft" first discovered by the "identity theft insured "prior to the policy
        period or after the policy period, even if the "identity theft" began or continued during the policy
        period.
     4.   Arising out of an "identity theft" that is not reported to us within 60 days after it is first discovered
          by the "identity theft insured".
DEDUCTIBLE
     1. There is no deductible applicable to the "Identity Theft Administrative                   Services".
     2.   We will not pay for "identity theft expenses" resulting from an "identity theft" unless the amount
          exceeds $250. We will then pay the amount of "identity theft expense" in excess of the Deductible
          Amount, up to the Limit of Insurance. Each "identity theft insured" shall be subject to only one
          deductible during any one policy period.
CONDITIONS
The following    additional conditions are added for "Identity              Theft Administrative        Services" and Expense
Coverage:
     1.   The coverage provided under this endorsement will be excess over any other insurance covering
          the same loss or damage, whether you can collect on it or not. But we will not pay any more than
          the Identity Theft Expense Limits of Insurance applicable to this coverage.
     2.   Reimbursement for "Identity Theft Expense" will be made to the "Identity Theft Insured."
     3.   "Identity Theft Administrative        Senrices" will provide instructions on:
                a.   How to respond to a potential "Identity Theft";
                b.   How to submit a request for "Identity Theft Administrative                Services"; and
                c.   Information needed for reimbursement             of "Identity Theft Expenses".
          We may provide "Identity Theft Administrative Senrices" prior to a final determination of "Identity
          Theft." However, if we determine there was not an "Identity Theft" these services will end and we
          will not have a right or duty to continue these services. Offering "Identity Theft Administrative
          Service" does not indicate an admission of liability under this policy.
     4.   Identify Theft Administrative        Services. The following apply with respect to "Identity Theft Admin-
          istrative Services":
                a.   Services will depend on the cooperation, permissions,                   and assistance provided by the
                     "Identity Theft Insured";
                b.   There is no warranty or guarantee that "Identity                Theft" issues will end and it will not
                     prevent future "Identity Theft" incidences; and
                c.   AII services may not be offered or applicable to all "Identity Theft Insureds." For example,
                     minors may not have credit reports available to be monitored.
DEFINITIONS
    1.    "Coverage Territory" means:
                a.   The United States of America (including its territories and possessions);
                b.   Puerto Rico; and
                c.   Canada.
    2.    "Executive officers" means a person holding any of the officer positions created by your charter,
          constitution, by-laws or -any other similar governing document.
    3.    "Identity theft" means the act of knowingly transferring or using, without lawful authority, a
          means of identification of an "identity theft insured' with the intent to commit, or to aid or abet
          another to commit, any unlawful activity that constitutes a violation of federal law or a felony
          under any applicable state or local law. "Identity theft" does not include the fraudulent use of a
          business name, d/b/a or any other method of identifying a business activity.



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     4.   "Identity Theft Expenses" means the following                 reasonable and necessary items incurred as a
          result of "identity theft":
              a.   Costs for notarizing affidavits or similar documents attesting to fraud required by financial
                   institutions or similar credit grantors or credit agencies.
              b.   Costs for certified mail to law enforcement agencies, credit agencies, financial institutions
                   or similar credit grantors.
              c.   Costs for obtaining credit reports.
              d.   Charges incurred for long distance telephone calls to merchants, vendors, suppliers, cus-
                   tomers, law enforcement agencies, financial institutions or similar credit grantors, or
                   credit agencies to report or discuss an actual "identity theft".
              e.   Application fees for re-applying for a loan, or loans when the original application is re-
                   jected solely because the lender received incorrect credit information as a result of a
                   covered "identity theft."
              f.   Lost income resulting from time taken off from work to complete fraud affidavits, meet
                   with or talk to law enforcement agencies, credit agencies and/or legal counsel, up to a
                   maximum of $250 per day. Total payment for loss of income is not to exceed $5,000 per
                   "identity theft insured" and is included within the "identity theft expense" and aggregate
                   limits.
              g.   Attorney fees to:
                        i.   Defend lawsuits brought against an "identity theft insured" by merchants, ven-
                             dors, suppliers, financial institutions, or their collection agencies.
                        ii. Remove any criminal or civil judgments wrongly entered against an "identity
                            theft insured"; and
                        iii. Challenge the accuracy or completeness of any information                        in a consumer credit
                             report.
              h.   Advertising expenses to restore the reputation of your business after an "identity theft
                   insured" has been the victim of "identity theft". Total payment for advertising expenses is
                   not to exceed $5,000 per "identity theft insured" and is included within the "identity theft
                   expense" and aggregate limits.
     5.   "Identity Theft Administrative Services" means one or more individuals assigned by us to the
          "identity theft insured" to assist with the communication needed to re-establish the integrity of the
          "identity theft insured's" identity, including with the "identity's theft insured's" permission and
          cooperation, written and telephone communication with law enforcement authorities, government
          agencies, credit agencies, and individual creditors and businesses.
     6.   "Identity Theft Insured" means the following if you are designated in the Declarations as:
              a.   An individual or sole proprietorship,         you and your spouse are insureds.
              b.   A partnership or joint venture, your members, your partners, and their spouses are in-
                   sured's.
              c.   A limited liability company, your members are insured's.
              d. . An organization other than a partnership, joint venture, or limited liability company, your
                   "executive officers" and directors are insureds. Your stockholders are not "identity theft
                   insureds."




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                                                                                COMMERCIAL PROPERTY
                                                                                        CP 92 01 05 17

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         PROPERTY ANTI-STACKING ENDORSEMENT

This endorsement modifies insurance provided under the following:

    COMMERCIAL PROPERTY COVERAGE PART

This policy may contain multiple editions of one or more property forms and/or endorsements. Where
coverage for specific loss or damage is provided by more than one edition of the same form and/or endorse-
ment, payment under only one such edition shall apply in any given occurrence.
When coverage and/or limits differ among the various editions of the same form or endorsemen t, the claim
will be settled using the edition that provides the most favorable outcome to you.




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                                                                                COMMERCIAL PROPERTY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         TENTATIVE RATE

The rates used in the development of the premium for the Commercial Property Coverage Part are tentative.
We will adjust the premium effective from the inception date of this Coverage Part once the rates are
promulgated. If this is a renewal of a policy previously issued by us, we will adjust the premium effective
from the renewal date of this Coverage Part once the rates are promulgated.




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                                                                                                               IL 00 17 11 98


                                     COMMON            POLICY CONDITIONS

    AII Coverage Parts included in this policy are subject to the following         conditions.

    A.   CANCELLATION                                                D.   INSPECTIONS AND SURVEYS
         1.   The first Named Insured shown in the                        1.   We have the right to:
              Declarations may cancel this policy by                           a.    Make inspections and surveys at any
              mailing or delivering to us advance writ-                              time;
              ten notice of cancellation.
                                                                               b.    Give you reports on the conditions
         2.   We may cancel this policy by mailing or                                we find; and
              delivering to the first Named Insured
                                                                               c.    Recommend changes.
              written notice of cancellation at least:
                                                                          2•   We are not obligated to make any inspec-
              a.   10 days before the effective date of
                                                                               tions, surveys, reports or recommenda-
                   cancellation if we cancel for nonpay-
                                                                               tions and any such actions we do under-
                   ment of premium; or
                                                                               take relate only to insurability and the
              b.   30 days before the effective date of                        premiums to be charged. We do not
                   cancellation if we cancel for any oth-                      make safety inspections. We do not un-
                   er reason.                                                  dertake to perform the duty of any person
         3.   We will mail or deliver our notice to the                        or organization to provide for the health
              first Named Insured's last mailing ad-                           or safety of workers or the public. And we
              dress known to us.                                               do not warrant that conditions:
         4.   Notice of cancellation will state the effec-                     a.    Are safe or healthful;   or
              tive date of cancellation. The policy pe-                        b.    Comply     with  laws,        regulations,
              riod will end on that date.                                            codes or standards.
         S.   If this policy is cancelled, we will send                   3.   Paragraphs 1. and 2. of this condition ap-
              the first Named Insured any premium re-                          ply not only to us, but also to any rating,
              fund due. If we cancel, the refund will be                       advisory, rate service or similar organiza-
              pro rata. If the first Named Insured can-                        tion which makes insurance inspections,
              cels, the refund may be less than pro                            surveys, reports or recommendations.
              rata. The cancellation will be effective
                                                                          4.   Paragraph 2. of this condition does not
              even if we have not made or offered a
                                                                               apply to any inspections, surveys, reports
              refund.
                                                                               or recommendations we may make rela-
         6.   If notice is mailed, proof of mailing will                       tive to certification, under state or mu-
              be sufficient proof of notice.                                   nicipal statutes, ordinances or regula-
                                                                               tions, of boilers, pressure vessels or
    B.   CHANGES                                                               elevators.
         This policy contains all the agreements be-
~        tween you and us concerning the insurance                   E.   PREMIUMS
~        afforded. The first Named Insured shown in                       The first Named Insured shown in the Dec-
         the Declarations     is authorized  to make                      larations:
         changes in the terms of this policy with our
                                                                          1.   Is responsible for the payment of all pre-
~        consent. This policy's terms can be amended
                                                                               miums; and
         or waived only by endorsement issued by us
         and made a part of this policy.                                  2.   Will be the payee for any return premi-
                                                                               ums we pay.
    C.   EXAMINATION        OF   YOUR     BOOKS      AND
         RECORDS                                                     F.   TRANSFER OF YOUR RIGHTS AND DUTIES
                                                                          UNDER THIS POLICY
         We may examine and audit your books and
         records as they relate to this policy at any                     Your rights and duties under this policy may
         time during the policy period and up to three                    not be transferred without our written con-
         years afterward.                                                 sent except in the case of death of an individ-
                                                                          ual named insured.




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    If you die, your rights and duties under this
    policy will be transferred to your legal repre-
    sentative but only while acting within the
    scope of duties as your legal representative.
    Until your legal representative is appointed,
    anyone having proper temporary custody of
    your property will have your rights and duties
    but only with respect to that property.




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                                                                                           IL 00 21 09 08

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
                                            (Broad Form)
This endorsement modifies insurance provided under the following:
     COMMERCIAL AUTOMOBILE COVERAGE PART
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     FARM COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART
     UNDERGROUND STORAGE TANK POLICY


1.   The insurance does not apply:                           B. Under any Medical Payments coverage,
     A. Under any Liability Coverage, to "bodily                to expenses incurred with respect to
        injury" or "property damage":                           "bodily injury" resulting from the "haz-
                                                                ardous properties" of "nuclear materi-
        (1) With respect to which an "insured"                  al" and arising out of the operation of a
            under the policy is also an insured                 "nuclear facility" by any person or or-
            under a nuclear energy liability poli-              ganization.
            cy issued by Nuclear Energy Liabil-
            ity Insurance Association, Mutual                C. Under any Liability Coverage, to "bodily
            Atomic Energy Liability Underwrit-                  injury" or "property damage" resulting
            ers, Nuclear Insurance Association                  from "hazardous properties" of "nuclear
            of Canada or any of their succes-                   material", if:
            sors, or would be an insured under                   (1) The "nuclear material" (a) is at any
            any such policy but for its termina-                     "nuclear facility" owned by, or op-
            tion upon exhaustion of its limit of                     erated by or on behalf of, an "in-
            liability; or                                            sured" or (b) has been discharged
        (2) Resulting    from    the "hazardous                      or dispersed therefrom;
            properties"    of "nuclear material"                 (2) The "nuclear material" is contained
            and with respect to which (a) any                        in "spent fuel" or "waste" at any
            person or organization is required                       time possessed, handled, used, pro-
            to maintain financial protection pur-                    cessed,    stored, transported    or
            suant to the Atomic Energy Act of                        disposed of, by or on behalf of an
            1954, or any law amendatory there-                       "insured"; or
            of, or (b) the "insured" is, or had
            this policy not been issued would
            be, entitled to indemnity from the
            United States of America, or any
            agency thereof, under any agree-
            ment entered into by the United
            States of America, or any agency
            thereof, with any person or organi-
            zation.




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             (3) The "bodily    injury"  or "property               "Nuclear facility"   means:
                 damage" arises out of the furnish-                     (a) Any "nuclear reactor";
                 ing by an "insured"      of services,
                 materials, parts or equipment in                       (b) Any equipment or device designed
                 connection with the planning, con-                         or used for (9) separating the iso-
                 struction, maintenance, operation or                       topes of uranium or plutonium, (2)
                 use of any "nuclear facility", but if                      processing or utilizing "spent fuel",
                 such facility is located within the                        or (3) handling, processing or pack-
                 United States of America, its ter-                         aging "waste";
                 ritories or possessions or Canada,                     (c) Any equipment or device used for
                 this exclusion (3) applies only to                         the    processing,  fabricating or
                 "property damage" to such "nucle-                          alloying of "special nuclear mate-
                 ar   facility"   and   any     property                     rial" if at any time the total amount
                 thereat.                                                    of such material in the custody of
    2.   As used in this endorsement:                                        the "insured"    at the premises
                                                                             where such equipment or device is
~        "Hazardous properties" includes radioactive,
                                                                             located consists of or contains
         toxic or explosive properties.                                      more than 25 grams of plutonium
         "Nuclear material" means "source materi-                            or uranium 233 or any combination
         al", "special nuclear material" or "by-prod-                        thereof, or more than 250 grams of
~        uct material".                                                      uranium 235;
~        "Source material", "special nuclear mate-                      (d) Any structure,   basin, excavation,
         rial", and "by-product   material" have the                        premises or place prepared or used
         meanings given them in the Atomic Energy                           for the storage or disposal of
         Act of 1954 or in any law amendatory there-                        "waste";
         of.
                                                                    and includes the site on which any of the
         "Spent fuel" means any fuel element or fuel                foregoing is located, all operations conduct-
"        component, solid or liquid, which has been                 ed on such site and all premises used for
         used or exposed to radiation in a"nuclear                  such operations.
         reactor".                                                  "Nuclear reactor" means any apparatus de-
         "Waste" means any waste material (a) con-                  signed or used to sustain nuclear fission in
         taining "by-product material" other than the               a self-supporting chain reaction or to con-
         tailings or wastes produced by the extrac-                 tain a critical mass of fissionable material.
         tion or concentration of uranium or thorium                "Property damage" includes all forms of ra-
         from any ore processed primarily for its                   dioactive contamination of property.
         "source material" content, and (b) resulting
         from the operation by any person or or-
         ganization of any "nuclear facility" included
         under the first two paragraphs of the defini-
         tion of "nuclear facility".




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                                                                                           IL 01 02 05 05
                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    CALIFORNIA CHANGES               - ACTUAL         CASH VALUE
This endorsement modifies insurance provided under the following:

    CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTYCOVERAGE PART
    FARM COVERAGE PART
    STANDARD PROPERTY POLICY

With respect to an "open policy", the following         C. In the event of a partial or total loss to
are added to any provision which uses the term             Covered Property other than a building or
actual cash value:                                         structure, actual cash value is calculated as
A. In the event of a total loss to a building or           the lesser of the following:
    structure, actual cash value is calculated as          1. The amount it would cost to repair or
    the lesser of the following:                                replace the property less a fair and rea-
    1. The Limit of Insurance applicable to                     sonable deduction for physical depreci-
         that building or structure; or                         ation, based on the condition of the
    2. The fair market value of the building or                 property at the time of loss; . or
         structure.                                        2. The Limit of Insurance applicable to the
B. In the event of a partial loss to a building or              property.
    structure, actual cash value is calculated as       D. An "open policy" is a policy under which
    the lesser of the following:                           the value of Covered Property is not fixed at
    1. The amount it would cost to repair, re-             policy inception, but is determined at the
         build or replace the property less a fair         time of loss in accordance with policy provi-
         and reasonable deduction for physical             sions on valuation. The term "open policy"
         depreciation of the components of the             does not apply to Covered Property that is
         building or structure that are normally           subject to an Agreed Value clause or similar
         subject to repair or replacement during           clause that establishes an agreed value pri-
         its useful life. Physical depreciation is         or to loss, unless such clause has expired.
         based upon the condition of the prop-
         erty at the time of the loss; or
    2. The Limit of Insurance applicable to the
         property.




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                                                                                           IL 01 04 09 07
                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    CALIFORNIA CHANGES
This endorsement modifies insurance provided under the following:

     COMMERCIAL INLAND MARINE COVERAGE PART
     COMMERCIAL PROPERTY COVERAGE PART
     EQUIPMENT BREAKDOWN COVERAGE PART
     FARM COVERAGE PART - FARM PROPERTY- OTHER FARM PROVISIONS FORM - ADDITIONAL
     COVERAGES, CONDITIONS, DEFINITIONS
     FARM COVERAGE PART - LIVESTOCK COVERAGE FORM
     FARM COVERAGE PART - MOBILE AGRICULTURAL MACHINERY AND EQUIPMENT COVERAGE FORM
     STANDARD PROPERTY POLICY

A. When this endorsement is attached to the                 4. A claim under this Coverage Part or
   Standard Property Policy CP 00 99 the term                  Coverage Form.
   Coverage Part in this endorsement is re-            D. Except as provided in E., the Appraisal Con-
   placed by the term Policy.                             dition is replaced by the following:
B. The Concealment, Misrepresentation          Or         If we and you disagree on the value of the
   Fraud Condition is replaced by the following           property or the amount of loss ("loss"), ei-
   with respect to loss ("loss") or damage                ther may make written request for an ap-
   caused by fire:                                        praisal of the loss ("loss"). If the request is
   We do not provide coverage to the insured              accepted, each party will select a competent
   ("insured") who, whether before or after a             and impartial appraiser. Each party shall
   loss ("loss"), has committed fraud or inten-           notify the other of the appraiser selected
   tionally concealed or misrepresented any               within 20 days of the request. The two ap-
   material fact or circumstance concerning:              praisers will select an umpire. If they cannot
   1. This Coverage Part;                                 agree within 15 days, either may request
   2. The Covered Property;                               that selection be made by a judge of a court
                                                          having jurisdiction. The appraisers will state
   3. That insured's ("insured's") interest in
                                                          separately the value of the property and
        the Covered Property; or
                                                          amount of loss ("loss"). If they fail to agree,
   4. A claim under this Coverage Part or                 they will submit their differences to the um-
         Coverage Form.                                   pire. A decision agreed to by any two will
C. The Concealment, Misrepresentation          Or         be binding. Each party will:
   Fraud Condition is replaced by the following           1. Pay its chosen appraiser; and
   with respect to loss ("loss") or damage
                                                          2. Bear the other expenses of the apprais-
   caused by a Covered Cause of Loss other
                                                               al and umpire equally.
   than fire:
                                                          If there is an appraisal, we will still retain
   This Coverage Part is void if any insured
                                                          our right to deny the claim.
   ("insured"), whether before or after a loss
   ("loss"), has committed fraud or intention-         E. The Appraisal Condition in:
   ally concealed or misrepresented any ma-               1. Business Income (And Extra Expense)
   terial fact or circumstance concerning:                     Coverage Form CP 00 30; and
   1. This Coverage Part;                                 2. Business Income (Without Extra Ex-
   2. The Covered Property;                                    pense) Coverage Form CP 00 32;
   3. An insured's ("insured's")      interest in
        the Covered Property; or




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    is replaced by the following:
    If we and you disagree on the amount of
    Net Income and operating expense or the
    amount of Ioss, either may make written
    request for an appraisal of the loss. If the
    request is accepted, each party will select a
    competent and impartial       appraiser. Each
    party shall notify the other of the appraiser
    selected within 20 days of the request. The
    two appraisers will select an umpire. If they
    cannot agree within 15 days, either may
    request that selection be made by a judge
    of a court having jurisdiction. The apprais-
    ers will state separately the amount of Net
    Income and operating expense or amount of
    loss. If they fail to agree, they will submit
    their differences to the umpire. A decision
    agreed to by any two will be binding. Each
    party will:
    a. Pay its chosen appraiser; and
    b.   Bear the other expenses of the apprais-
         al and umpire equally.
    If there is an appraisal, we will still retain
    our right to deny the claim.




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                                                                                               I L 02 70 09 12

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         CALIFORNIA CHANGES - CANCELLATION
                                 AND NONRENEWAL
This endorsement modifies insurance provided under the following:

     CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
     COMMERCIAL AUTOMOBILE COVERAGE PART
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     COMMERCIAL INLAND MARINE COVERAGE PART
     COMMERCIAL PROPERTY COVERAGE PART
     CRIME AND FIDELITY COVERAGE PART
     EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
     EQUIPMENT BREAKDOWN COVERAGE PART
     FARM COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


A.   Paragraphs 2. and 3. of the Cancellation                 3.   AII Policies In Effect For More Than 60
     Common Policy Condition are replaced by                       Days
     the following:                                                a. If this policy has been in effect for
     2. AII Policies In Effect For 60 Days Or                          more than 60 days, or is a renewal
          Less                                                         of a policy we issued, we may can-
         If this policy has been in effect for 60                      cel this policy only upon the occur-
          days or less, and is not a renewal of a                      rence, after the effective date of the
          policy we have previously issued, we                         policy, of one or more of the fol-
         may cancel this policy by mailing or                          lowing:
          delivering to the first Named Insured, at                    (1) Nonpayment of premium, in-
         the mailing address shown in the poli-                             cluding payment due on a prior
         cy, and to the producer of record, ad-                             policy we issued and due dur-
         vance written notice of cancellation,                              ing the current policy term cov-
         stating the reason for cancellation, at                            ering the same risks.
         least:                                                        (2) Discovery of fraud or material
         a. 10 days before the effective date of                            misrepresentation by:
               cancellation if we cancel for:                               (a) Any insured or his or her
               (1) Nonpayment of premium; or                                     representative in obtaining
               (2) Discovery of fraud by:                                        this insurance; or
                    (a) Any insured or his or her                           (b) You or your representative
                         representative in obtaining                             in pursuing a claim under
                         this insurance; or                                      this policy.
                    (b) You or your representative                     (3) A judgment by a court or an
                         in pursuing a claim under                          administrative tribunal that you
                         this policy.                                       have violated a California or
         b. 30 days before the effective date of                            Federal law, having as one of
               cancellation if we cancel for any                            its necessary elements an act
               other reason.                                                which materially increases any
                                                                            of the risks insured against.




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             (4) Discovery of willful or grossly          B.   The following   provision is added to the
                 negligent acts or omissions, or               Cancellation Common Policy Condition:
                 of any violations of state laws               7. Residential Property
                 or regulations establishing safe-                This provision applies to coverage on
                 ty standards, by you or your                     real property which is used predomi-
                 representative, which materially                 nantly for residential purposes and con-
                 increase any of the risks in-                    sisting of not more than four dwelling
                 sured against.                                   units, and to coverage on tenants'
             (5) Failure by you or your repre-                    household personal property in a resi-
                 sentative to implement reason-                   dential unit, if such coverage is written
                 able loss control requirements,                  under one of the following:
                 agreed to by you as a condition                  Commercial Property Coverage Part
                 of policy issuance, or which
                                                                  Farm Coverage Part - Farm Property -
                 were conditions precedent to
                                                                  Farm Dwellings, Appurtenant Structures
                 our use of a particular rate or
                                                                  And Household Personal Property Cov-
                 rating plan, if that failure ma-
                                                                  erage Form
                 terially increases any of the
                 risks insured against.                            a.   If such coverage has been in effect
                                                                        for 60 days or less, and is not a
             (6) A determination      by the Com-
                                                                        renewal of coverage we previously
                 missioner of Insurance that the:
                                                                        issued, we may cancel this cover-
                 (a) Loss of, or changes in, our                        age for any reason, except as pro-
                      reinsurance covering all or                       vided in b. and c. below.
                      part of the risk would
                                                                   b.   We may not cancel this policy sole-
                      threaten our financial integ-
                                                                        ly because the first Named Insured
                      rity or solvency; or
                                                                        has:
                 (b) Continuation of the policy
                                                                        (1) Accepted an offer of earthquake
                      coverage would:
                                                                             coverage; or
                     (i)   Place us in violation of
                                                                        (2) Cancelled or did not renew a
                            California law or the
                                                                             policy issued by the California
                           laws of the state where
                                                                             Earthquake Authority (CEA) that
                           we are domiciled; or
                                                                             included an earthquake policy
                      (ii) Threaten our solvency.                            premium surcharge.
             (7) A change by you or your repre-                         However, we shall cancel this poli-
                 sentative in the activities or                         cy if the first Named Insured has
                 property of the commercial or                          accepted a new or renewal policy
                 industrial enterprise, which re-                       issued by the CEA that includes an
                 sults in a materially added, in-                       earthquake    policy   premium    sur-
                 creased or changed risk, unless                        charge but fails to pay the earth-
                 the      added,      increased  or                     quake policy premium        surcharge
                 changed risk is included in the                        authorized by the CEA.
                 policy.
                                                                  c.    We may not cancel such coverage
        b.   We will mail or deliver advance                            solely because corrosive soil condi-
             written notice of cancellation, stat-                      tions exist on the premises. This
             ing the reason for cancellation, to                        restriction (c.) applies only if cov-
             the first Named Insured, at the                            erage is subject to one of the fol-
             mailing address shown in the poli-                         lowing, which exclude loss or dam-
             cy, and to the producer of record, at                      age caused by or resulting from
             least:                                                     corrosive soil conditions:
             (1) 10 days before the effective                           (1) Commercial Property Coverage
                  date of cancellation if we can-                           Part - Causes Of Loss - Special
                  cel for nonpayment of premium                             Form; or
                  or discovery of fraud; or
                                                                        (2) Farm Coverage Part - Causes Of
             (2) 30 days before the effective                               Loss Form - Farm Property,
                  date of cancellation if we can-                           Paragraph D. Covered Causes
                  cel for any other reason listed                           Of Loss - Special.
                  in Paragraph 3.a.




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    C.   The following is added and supersedes any                           (2) The Commissioner of Insurance
         provisions to the contrary:                                             finds that the exposure to po-
         Nonrenewal                                                              tential losses will threaten our
         1.   Subject to the provisions of Paragraphs                            solvency or place us in a haz-
              C.2. and C.3. below, if we elect not to                            ardous condition. A hazardous
              renew this policy, we will mail or de-                             condition includes, but is not
              liver written notice, stating the reason                           limited to, a condition in which
              for nonrenewal, to the first Named In-                             we make claims payments for
              sured shown in the Declarations, and to                            losses resulting from an earth-
              the producer of record, at least 60 days,                          quake that occurred within the
              but not more than 120 days, before the                             preceding two years and that
              expiration or anniversary date.                                    required     a    reduction    in
                                                                                 policyholder surplus of at least
              We will mail or deliver our notice to the
                                                                                 25% for payment        of those
              first Named Insured, and to the pro-
                                                                                 claims; or
              ducer of record, at the mailing address
              shown in the policy.                                           (3) We have:
~        2.   Residential Property                                                 (a) Lost or experienced a sub-
                                                                                       stantial    reduction in the
              This provision applies to coverage on
                                                                                       availability or scope of re-
              real property used predominantly     for
                                                                                       insurance coverage; or
              residential purposes and consisting of
              not more than four dwelling units, and                               (b) Experienced    a substantial
~             to coverage     on tenants'   household                                  increase in the premium
              property contained in a residential unit,                                charged    for   reinsurance
              if such coverage is written under one of                                 coverage of our residential
              the following:                                                           property insurance policies;
                                                                                       and
              Commercial Property Coverage Part
                                                                                   the   Commissioner     has   ap-
              Farm Coverage Part - Farm Property -
                                                                                   proved     a    plan   for  the
~             Farm Dwellings, Appurtenant Structures
                                                                                   nonrenewals    that is fair and
              And Household Personal Property Cov-
                                                                                   equitable, and that is respon-
              erage Form
                                                                                   sive to the changes in our re-
              a.   We may elect not to renew such                                  insurance position.
                   coverage for any reason, except as
                                                                        c.   We will not refuse to renew such
                   provided in b., c. and d. below.
                                                                             coverage solely because the first
              b.   We will not refuse to renew such                          Named Insured has cancelled or did
                   coverage solely because the first
                                                                             not renew a policy, issued by the
                   Named Insured has accepted an of-                         California   Earthquake  Authority,
                   fer of earthquake coverage.                               that included an earthquake policy
                   However, the following applies only                       premium surcharge.
                   to insurers who are associate par-                   d.   We will not refuse to renew such
                   ticipating insurers as established by                     coverage solely because corrosive
a                  Cal. Ins. Code Section 10089.16. We                       soil conditions exist on the prem-
o                  may elect not to renew such cov-                          ises. This restriction   (d.) applies
                   erage after the first Named Insured                       only if coverage is subject to one of
                   has accepted an offer of earthquake
                                                                             the following, which exclude loss or
                   coverage, if one or more of the fol-                      damage caused by or resulting
~                  lowing reasons applies:
                                                                             from corrosive soil conditions:
                   (1)' The nonrenewal     is based on                       (1) Commercial Property Coverage
                        sound underwriting      principles                       Part - Causes Of Loss - Special
                        that relate to the coverages                             Form; or
                        provided by this policy and that
                                                                             (2) Farm Coverage Part - Causes Of
                        are consistent    with the ap-
                                                                                 Loss Form - Farm Property,
                        proved rating plan and related
                                                                                 Paragraph D. Covered Causes
                        documents filed with the De-
                                                                                 Of Loss - Sp.ecial.
                        partment of Insurance as re-
                        quired by existing law;




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    3.   We are not required to send notice of                   d.   If the policy is for a period of no
         nonrenewal in the following situations:                      more than 60 days and you are no-
         a. If the transfer or renewal of a poli-                     tified at the time of issuance that it
             cy, without any changes in terms,                        will not be renewed.
             conditions or rates, is between us                  e.   If the first Named Insured requests
             and a member of our insurance                            a change in the terms or conditions
             group.                                                   or risks covered by the policy with-
         b. If the policy has been extended for                       in 60 days of the end of the policy
             90 days or less, provided that no-                       period.
             tice has been given in accordance                   f.   If we have made a written offer to
             with Paragraph C.I.                                      the first Named Insured, in accor-
         c. If you have obtained replacement                          dance with the timeframes shown
             coverage, or if the first Named In-                      in Paragraph C.1., to renew the
             sured has agreed, in writing, within                     policy under changed terms or con-
             60 days of the termination of the                        ditions or at an increased premium
             policy, to obtain that coverage.                         rate, when the increase exceeds
                                                                      25%.




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                                                                                                       IL 09 35 07 02

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES

    This endorsement modifies insurance provided under the following:

         COMMERCIAL INLAND MARINE COVERAGE PART
         COMMERCIAL PROPERTYCOVERAGE PART
         CRIME AND FIDELITY COVERAGE PART
         STANDARD PROPERTYPOLICY

    A.   We will not pay for loss ('9oss") or damage                  2.   Any device, consultation, design, evalu-
         caused directly or indirectly by the following.                   ation, inspection, installation, mainten-
         Such loss ('9oss") or damage is excluded re-                      ance, repair, replacement or supervision
         gardless of any other cause or event that con-                    provided or done by you or for you to
         tributes concurrently or in any sequence to                       determine, rectify or test for, any poten-
         the loss ('9oss") or damage.                                      tial or actual problems described in Para-
         1.   The failure,   malfunction   or inadequacy                   graph A.I. of this endorsement.
              of:                                                B.   If an excluded Cause of Loss as described in
              a.   Any of the following, whether be-                  Paragraph A. of this endorsement results:
                   longing to any insured or to others:               1.   In a Covered Cause of Loss under the
                   (1) Computer hardware,        including                 Crime and Fidelity Coverage Part, the
                       microprocessors;                                    Commercial Inland Marine Coverage Part
                                                                           or the Standard Property Policy; or
                   (2) Computer application software;
                                                                      2.   Under the Commercial     Property Cover-
                   (3) Computer     operating     systems
                                                                           age Part:
                       and related software;
                                                                           a.   In a"Specified Cause of Loss", or in
                   (4) Computer networks;
                                                                                elevator collision resulting from me-
                   (5) Microprocessors       (computer                          chanical   breakdown,      under  the
                       chips) not part of any computer                          Causes of Loss - Special Form; or
                       system; or
                                                                           b.   In a Covered Cause of Loss under the
                   (6) Any other computerized or elec-                          Causes of Loss - Basic Form or the
                       tronic equipment    or compo-                            Causes of Loss - Broad Form;
                       nents; or
                                                                      we will pay only for the loss ('9oss") or dam-
              b.   Any other products, and any ser-                   age caused by such "Specified Cause of
                   vices, data or functions that directly             Loss", elevator collision, or Covered Cause of
                   or indirectly use or rely upon, in any             Loss.
                   manner, any of the items listed in
                                                                 C. We will not pay for repair, replacement or
                   Paragraph A.1.a. of this endorse-
                                                                    modification    of any items in Paragraphs
                   ment;
                                                                    A.1.a. and A.1.b. of this endorsement to cor-
              due to the inability to correctly recognize,          rect any deficiencies or change any features.
              process, distinguish, interpret or accept
~             one or more dates or times. An example
              is the inability of computer software to
              recognize the year 2000.




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                                                                                                 IL09520115

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         CAP ON LOSSES FROM CERTIFIED ACTS OF
                                     TERRORISM

This endorsement modifies insurance provided under the following:

     BOILERAND MACHINERY COVERAGEPART
     COMMERCIAL INLAND MARINE COVERAGE PART
     COMMERCIAL PROPERTYCOVERAGE PART
     EQUIPMENT BREAKDOWN COVERAGE PART
     FARM COVERAGE PART
     STANDARD PROPERTYPOLICY

A.   Cap On Certified Terrorism Losses                          If aggregate insured losses attributable to ter-
                                                                rorist acts certified under the Terrorism Risk
     "Certified act of terrorism" means an act that
                                                                Insurance Act exceed $100 billion in a calen-
     is certified by the Secretary of the Treasury,
                                                                dar year and we have met our insurer deduct-
     in accordance with the provisions of the fed-
                                                                ible under the Terrorism Risk Insurance Act,
     eral Terrorism Risk Insurance Act, to be an act
                                                                we shall not be liable for the payment of any
     of terrorism pursuant to such Act. The criteria
                                                                portion of the amount of such losses that ex-
     contained in the Terrorism Risk Insurance Act
                                                                ceeds $100 billion, and in such case insured
     for a"certified act of terrorism" include the
                                                                losses up to that amount are subject to pro
     following:
                                                                rata allocation in accordance with procedures
     1. The act resulted in insured losses in ex-               established by the Secretary of the Treasury.
        cess of $5 million in the aggregate, attrib-
                                                           B. Application Of Exclusions
        utable to all types of insurance subject to
        the Terrorism Risk Insurance Act; and                  The terms and limitations of any terrorism ex-
     2.   The act is a violent act or an act that is           clusion, or the inapplicability or omission of a
          dangerous to human life, property or in-             terrorism exclusion, do not serve to create
          frastructure and is committed by an in-              coverage for any loss which would otherwise
          dividual or individuals as part of an effort         be excluded under this Coverage Part or Poli-
          to coerce the civilian population of the             cy, such as losses excluded by the Nuclear
          United States or to influence the policy or          Hazard Exclusion or the War And Military Ac-
          affect the conduct of the United States              tion Exclusion.
          Government by coercion.




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                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                    LC 87 10 05 00

                       PUNITIVE OR EXEMPLARY DAMAGES EXCLUSION


    This endorsement modifies insurance provided under the following:

             BUSINESSOWNERS POLICY
             COMMERCIAL AUTOMOBILE COVERAGE PART
             COMMERCIAL GENERAL LIABILITY COVERAGE PART
             EMPLOYEE BENEFITS COVERAGE PART
             FARM COVERAGE PART
             LIQUOR LIABILITY COVERAGE PART
             OWNERS & CONTRACTORS PROTECTIVE COVERAGE PART
             POLLUTION LIABILITY COVERAGE PART .
             PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
             PROFESSIONAL LIABILITY COVERAGE PART
             RAILROAD PROFESSIONAL COVERAGE PART

    A.   LIABILITY COVERAGE is changed by adding              B.     ADDITIONAL DEFINITION
         the following exclusion:
                                                                     "Punitive or exemplary damages" include
         Regardless of any other provision of this poli-             damages which are awarded to punish or de-
         cy, this policy does not apply to "punitive or              ter wrongful conduct, to set an example, to
~        exemplary damages" awarded against an                       fine, penalize or impose a statutory penalty,
         "insured".    However, if a suit is brought                 and damages which are awarded for any pur-
         against an "insured" arising out of a claim                 pose other than as compensatory damages
         which alleges both compensatory and "puni-                  for "bodily injury" or "property damage".
         tive or exemplary damages", we will defend
         the entire suit with the understanding that we
         pay only the compensatory damages.




    LC 87 10 05 00                                                                                    Page 1 of 1
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                            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                                 ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION



CASE NUMBER: 37-2021-00049771-CU-IC-CTL                     CASE TITLE: PONTUS MAG VALLEJO LLC VS WEST AMERICAN INSUF


 NOTICE: AII plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
 three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
                (1) this Alternative Dispute Resolution (ADR) Information form (SDSC form #CIV-730),
                (2) the Stipulation to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-359), and
                (3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

 Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

            Potential Advantages                             Potential Disadvantages
            • Saves time                                     • May take more time and money if ADR does not
            • Saves money                                      resolve the dispute
            • Gives parties more control over the dispute    • Procedures to learn about the other side's case (discovery),
              resolution process and outcome                   jury trial, appeal, and other court protections may be limited
            • Preserves or improves relationships              or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.aov/adr.

Mediation: A neutral person called a"mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a"settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SDSC CIV-730 (Rev 12-10)     ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                                Page:1
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Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of inediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.aov/adr and click on the
"Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter III and Code Civ. Proc. § 1141.10 et seg or contact the Arbitration Program Office at (619)
450-7300 for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.gov/adr or contact the
court's Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
       •   In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www.ncrconline.com or (619) 238-2400.
       •   In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.org or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Leaal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attomey, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.gov/selfhelp/lowcost.




SDSC CIV-730 (Rev 12-10)   ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                            Page: 2
F   . -
          Case
          .
               3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.165 Page 165 of 211

                                                                                                                                                                        GM-U7 U
           ATTORNEY OR PARTY wmiOUTATTORNEY (Name, State Barnumber, andaddress):                         .
                                                                                                                                     FOR COURT USE ONLY
           John J. McLeod, Esq. (SBN 174169)1Paul C- Hirst, Esq. (SBN 234460)
           McLEOD LAW GROUP, A.P.C., 1155 Camino Del Mar, Suite 510, Del Mar, CA 92014.
                                                                                                                        ELECTRONICALLY FILED
                    TELEPHONENo.: (619)236-9938                     FAxNo.(optronaq: (619)236-9943                        Superiar COurt of Califomia,
                    E-r,,u+ILAooREss: jmcleod@mcleodlawgroup.com I phirst@mcleodlawgroup.com                                    CoUnty (]f San aiego
               ATTORNEYFOR (Name): Plainfiff PONTUS MAG VALLEJO, LLC
                                                                                                                              1124~2021 a{ 02:11:40 Plyl
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
           sTREETAaDREss: 330 West Broadway                                                                                   ~Iefl( 4f tf7p ~U1r~ eri ~r        ~G4urt
           MAIUNGADDRESS: 330 West Broadway                                                                             B3f    rviarlejo GUyot,D8pU} 'SF Cl$rk
           cITYANDZIPCODe San Diego, Califomia 92101
               efuwcH NAME: Hall of Justce
           CASE NAME:
            PONTUS tilAG VALLEJO, LLC v. WEST AMERtCAN INSURANCE COMPANY, et al.
                   CIVIL CASE COVER SHEET                              Complex Case Designation             CASENUMBER:

           ~        Untimited    Q   Llmited                         Q     Counter         Q     Joinder    37-2021-0004977 1 - C U- I C- CTL
                   (Amount                       (Amount
                                                                    Fled with first appearance by defendant JuocE:
                   demanded                      demanded is
                                                                          (Cal. Rules of Court, rule 3.402)          oEPT: .1udge Keli Katz
                   exceeds $25,000)              $25,000 or less)
                                                    Items 1-6 below must be completed (see instructions on pacle 2).
                                                                                                                              — ----- -----                       --
           1. Check one box below for the case type that best describes this case:
               Auto Tort                                            Contract                                     Provisionally Complex Civil Litigation
               Q       Auto (22)                                    Q      Breach of contract/warranty (06)      (Cal. Rules of Court, rules 3.400-3.403)
               Q     Uninsured motorist (46)                        Q      Rule 3.740 collections (09)           QAntiLrust[Tmde regulation (03)
               Other PI/PDM/D (Personal Injury/Property             Q      O{hercollections (09)                 Q     Construction defect (10)
               DamagelWrongful Death) Tort                                                                             Mass tort (40)
                                                                    QX Insurance coverage (18)                  0                                                  .
               Q       Asbestos (04)                                Q                                           Q      Securifies Iitigation (28)
                                                                       Other contract (37)
               Q       Product liability (24)                                                                    Q     EnvironmentaUToxic tort (30)
                                                                    Real Property
               Q       Medical malpracfice (45)                                                                  Q     Insurance coverage claims arising from the
                                                                    Q      Eminent domainllnverse
               Q       Other PIIPDIWD (23)                                                                             above listed provisionally complex case
                                                                           condemnation (14)
                                                                                                                       tYP~ (41)
               Non-PI/PDNVD (Otfier) Tort                           Q      Wrongful eviction (33)               Errforcement of Judgment
               Q       Business tortlunfair business practice (07) Q    Other real property (26)                Q      Enforcement ofjudgment (20)
               Q       Civl rights (08)                            Unlawful Detainer
                                                                                                                 Miscellaneaus Givil Complaint
               Q       Defamation (13)                              Q      CommercPal (31)                      Q      RICO (27)
               Q      Fraud (16)                                    Q      Residential (32)
                                                                                                                Q     Other complaint (not specified above) (42)
               Q       lntellectual property (19)                   0     Drug(}
                                                                               s 38
                                                                                                                Miscellaneous Civil Petition
               Q       Professional negligence (25)                 Judicial Review
                                                                           Asset forteiture (05)                Q      Partnership and corporate governance (21)
               Q    Other non-PI/PDIWD tort (35)                    Q
               Employment                                           Q      Peti6on re: arbitration award (11)   Q      Other pefition (notspecified above) (43)

               Q      Wrongful termination (36)                     Q      Writ of mandate (02)
               Q       Other employment (15)                        Q      Other judfcial review (39)
          2.    This case Q            is    xQ     is not   complex under rule 3.400 of the Califomia Rules of Court. If the case is complex, mark the
                factors requiring exceptional judicial management:
               a. Q        Large number of separately represented parties              d. Q         Large number of witnesses
               b. Q        Extensive motion practice raising difficult or novel        e- Q         Coordina6on with related actions pending in ane or more
                           issues that will be time-consuming to resolve               courts in other counties, states, or countries, or in a feder-al
               c. Q        Substantial amount of documentary evidence                  court
                                                                            f. Q       Substantial postjudgmentjudicial supervision
          3- Remedies sought (check all that apply): a. xQ monetary b. F-R-1 nonmonetary; declaratory or injunctive relief G. xQ punitive
          4. Number of causes of action (specify): Three (3): declaratory relief, breach of contract; and bad faith-
          5. This case Q       is   xQ is not       a class action suit.
          6. If there are any known related cases, file and serve a notice of related case. (You ma use farm CM-015.)
          Date: November24, 2021
          Paul C. Hirst, Esq.                                                        '
                                      (TYPE OR PRINT NAME)                                                      IGNATURE OF PARTY OR ATTORNEY FOR PART1)

           - Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
             in sanctions.
           - File this cover sheet in addition to any cover sheet required by local court rule.
           - tf this case is complex under rule 3.400 et seq. of the Califoinia Rules of Court, you must serve a copy of this cover sheet on all
             other parties to the action or proceeding.
           - Unless this is a collections case under rule 3.740 or a comptex case, this cover sheet will be used for statisfical purposes onty.
                                                                                                                                                                       Page 1of 2
          FormAdoptedfarMandatoryUse                                                                                     CaI.RulesofCourt,niles2.30.3.220,3A00-3A03,3.740:
            Judicial Councll of Califamia                               CIVIL CASE COVER SHEET                                 Cal. Standards of Judicial Administration, std.3.10
          CM-O70 (Rev.Septomber 1, 2021]                                                                                                                      viwvccourtsca.gav
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                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                                    CM-010
      To Ptaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a compiaint) in a civil case, you must
      complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information wili be used to compile
      statistics about the types and numbers of cases fited. You must complete items 1 through 6 on the sheet. in item 1, you must check
      one box for the case type that best describes the case. If the case fits both a general and a more specific type of case tisted in item 1,
      check the more specific one. If the case has mul6ple causes of action, check the box that best indicates the primary cause of action.
      To assist you in complefing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
      sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
      its counsel, or both to sanctions under rules 2.30 and 3.220 of the Cal'rfomia Rules of Court.
     To Parties in Rute 3.740 Collections Cases. A"collections case" under rule 3_740 is defined as an action for recovery of money owed
     in a sum stated to be certain that is not more than $25,000, exclusive of interest and attomey's fees, arising from a transaction in which
     property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (i ) tort
     damages, (2) punitive damages, (3) recovery of real properry, (4) recovery of personal property, or (5) a prejudgment writ of
     attachment. The identification of a case as a rule 3.740 cotlections case on this form means that it will be exempt from the generai
     time-for-service requirements and case management rules, uniess a defendant files a responsive pleading. A rule 3.740 collections
     case will be subject to the requirements for service and obtaining a judgment in rule 3.740_
     To Parties in Compiex Cases. In complex cases oniy, parties must also use the Civil Case Cover Sheet to designate whether the
     case is complex. If a plainfiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
     completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as compiex, the cover sheet must be served with the
     complaint on alI parfies to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
     plainfiffs designation, a counter-designation that the case is not compiex, or, if the plaintiff has made no designation, a designation that
     the case is complex.                                       CASE TYPES AND EXAMPLES
        Auto Tort                                     Contract                                                Provisionally Complex Civil Litigation (Cal.
           Auto (22)-Personal InjurylProperty             Breac h of Conrac/arranty
                                                                            t tW               (06)           Rules of Court Rules 3.40Q-3.403)
                  DamagelWrongful Death                       Breach    of RentalLease
                                                                                   l                               AntitrustlTrade Regulation (03)
              Uninsured Motorist (46) Cf the                        Contract (not unlawful detainer                 Construction Defect (10)
               case involves an uninsured                                or wrohgful eviction)                      Claims Involving Mass Tort (40)
              motorist claim subject to                       ContractlWarranty Breach-Seller                      Securities Lifigafion (28)
               arbitration, check this item                         Plaintiff (not  fraud  or negligence)          EnvironmentaUToxic Tort (30)
               instead ofAuto)                                Negligent Breach of ContractJ                        Insurance Coverage Claims
        Other PI/PDIWD (Personal Injury/                            Warranty                                             (arlsing from provisionally complex
       Property DafnagelWrongful Death)                       Other   Breach    of ContractlWarranty                     casa type listed above) (41)
        Tort                                              Collections   (e.g., money      owed,  open         Enforcement of Judgment
             Asbestos (04)                                    book   accounts)    (09)                           Enforcement of Judgment (20)
                Asbestos Property Damage                      CoOection Case-Seller Plaintiff                        Abstract of Judgmenf (Out o₹
                Asbestos Personal Injury/                     Other Promissory No₹e/Collections                           Couniy)
                      Wrongful Death                                Case                                         Confession of Judgment (non-
            Product Liabitity (not asbes(os or           Insurance Coverage (not provisionally                        domestic relations)
                 toxirlenvironmental) (24)                    complex) (18)                                      Sister State Judgment
            Medical Malpractice (45)                         Auto    Subrogaiion                                 Administrative Agency Avrard
                  Medical Malpractice-                       Other Coverage                                          (not unpaid taxes)
                       Physicians & Surgeons             Other  Contract     (37)                                Petition/Certification of Entry of
            Other Professional Heaittt Care                  Contractual      Fraud                                   Judgment on Unpaid Taxes
                     Malpractice                             Other Contract Dispute                              Other Enforcement of Judgment
            Other Pt1PDNVD (23)                      Real Property                                                      Case
                  Premises Liability (e.g., slip         Eminent Domain/inverse                               Miscellaneous Civil Compiaint
                       and fall)                             Condemnation (14)                                   RICO (27)
                  Intentional Bodily Injury/PD1WD        Wrongful Eviction (33)                                  Other Complaint (not specified
                        (e.g., assauft, vandalism)       Other  Real   Property    (e.g,,  quiet  title) (26)          ebove) (42)
                  Intentional Infliction of                  U'lrit of Possession      of Real  Property              Dedaratory Relief Only
                       Emotionai Distress                    Mortgage      Foreclosure                                Injunctive ReHef Only (non-
                  Negligent Infliction of                    Qulet Tttle                                                   harassment)
                        Emotional Distress                   Other   Real    Property    (not eminent                 Mechanics Lien
                  Other PI1PDiWD                             domain, landlord/tenant,         or                       Other Commercial Complaint
       Non-PdPDMID (Other) Tort                              foreclosure)                                                  Case (non-torflnon-complex)
            Business Tort/Unfair Business            Unlawful Detainer                                                 Other Civil Complaint
                Practice (07)                            Commercial (31)                                                   (non-tortlnon-cotnplex)
            Civil Rights (e.g., discrimination,          Residential (32)                                     Mtscellaneous Civil Petition
                   false arrest) (not civil              Drugs   (38)  ('
                                                                        rfthe  case    Involves  iNegal          Partnership and Corporate
                   harassment) (08)                      drugs, check thfs item; otherwise,                          Governance (21)
            Defamation (e.g., slarider, Iibel)           reportas    Gommercial       orResiden6al)              Other Petition (notspecified
                    (13)                             Judicial Review                                                 above) (43)
            Fraud (16)                                   Asset Forfeiture (05)                                       Civil Harassment
            Intellectual Property (19)                   Petition Re: Arbitration Award (11)                         Workptace V"rolence
            Professional Negligence (25)                 Writ of Mandate (02)                                        ElderlDependentAdult
                Legal Malpractice                            Writ-Administrative Mandamus                                 Abuse
                Other Professional Malpractice               Writ-Mandamus on Limited Court                          Election Contest
                      (natmedical orlegao                        Case    Matter                                      Petition for Name Change
            Other Non-PI/PD/WD Tort (35)                     Writ-Other Limited Court Case                           Petition for Relief From Late
       Empfoyment                                                Review                                                   Glaim
            Wrongful Terfnination (36)                                     Review     (39)                           Other Civil Petition
                                                         Other Judicial
                                                             Review    of Heal,̀ti Officer Order
            Other Employment (15)
                                                             Notice of Appeal-Labor
                                                                    Cammissroner ADAeals
     CM-010 tRev. September 1, 20217                          CIVIL CASE COVER SHEET                                                                   Page 2 of 2




`
      Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.167 Page 167 of 211

                                                                                                                                FOR COURT USE ONLY
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
     STREETADDRESS:             330 West Broadway
     MAILINGADDRESS:            330 West Broadway
     CiTY, STATE, & ZIP CODE:   San Dlego, CA 92101-3827
     BRANCH NAME:               Central

 I PLAINTIFF(S):          PONTUS MAG VALLEJO LLC                                                                  I
     DEFENDANT(S): WEST AMERICAN INSURANCE COMPANY

     SHORT TITLE:        PONTUS MAG VALLEJO LLC VS WEST AMERICAN INSURANCE COMPANY [I

                                STIPULATION TO USE ALTERNATIVE
                                    DISPUTE RESOLUTION (ADR)                                                      I 37-202100049771-CU-IC-CTL                           I
 I


     Judge: Keri Katz                                                                                 Department: C-74

     The parties and their, attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
     alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.

        ❑      Mediation (court-connected)                                  ❑   Non-binding private arbitration

        ❑      Mediation (private)                                          ❑   Binding private arbitration

        ❑      Voluntary settlement conference (private)                    ❑   Non-binding judicial arbitration (discovery until 15 days before trial)

        ❑      Neutral evaluation (private)                                 ❑   Non-binding judicial arbitration (discovery until 30 days before trial)

        ❑      Other (specify e.g., private mini-trial, private judge, etc.):




     It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




     Alternate neutral (for court Civil Mediation Program and arbitration only):


     Date:                                                                                    Date:




     Name of Plaintiff                                                                        Name of Defendant




     Signature                                                                                Signature



     Name of PlaintifPs Attorney                                                              Name of Defendant's Attorney




     Signature                                                                                Signature
     If there are more parties and/or attomeys, please attach additional completed and fully executed sheets.
     It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
     the court will place this matter on a 45-day dismissal calendar.
     No new parties may be added without leave of court.
     IT IS SO ORDERED.

     Dated: 11/29/2021                                                                                        JUDGE OF THE SUPERIOR COURT

SDSC CIV-359 (Rev 12-10)                                                                                                                                      Page: 1
                                          STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.168 Page 168 of 211


SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:      330 W Broadway
 MAILING ADDRESS:     330 W Broadway
 CITY AND ZIP CODE:   San Diego, CA 92101-3827
DIVISION:         Cenlral
TELEPHONE NUMBER: (619) 450-7074

PLAINTIFF(S) / PETITIONER(S):               PONTUS MAG VALLEJO LLC

DEFENDANT(S) / RESPONDENT(S): WEST AMERICAN INSURANCE COMPANY



 PONTUS MAG VALLEJO LLC VS WEST AMERICAN INSURANCE COMPANY [IMAGED]

 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE                                     CASE NUMBER:
                                                 (CIVIL)                                      37-2021-00049771-CU-IC-CTL


CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Keri Katz                                                                     Department: C-74


COMPLAINT/PETITION FILED: 11/24/2021


TYPE OF HEARING SCHEDULED                           DATE             TIME          DEPT               JUDGE
Civil Case Management Conference                     08/12/2022      10:00 am      C-74               Keri Katz


Due to the COVID-19 pandemic, all Case Management Conferences (CMCs) are being conducted virtually unless there is a
court order stating otherwise. Prior to the hearing date, visit the "virtual hearings" page for the most current instructions on how to
appear for the applicable case-type/department on the court's website at www.sdcourt.ca.gov.

A Case Management Statement (JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court (SDSC) Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).

AII counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, including discussions of Alternative Dispute Resolution (ADR) options.

It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR) (SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases undee California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service
requirements are prescribed by law (Cal. Rules of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
   • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
      Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
   • Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
      for the response after service of the initial complaint (SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.

JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in the
action.

COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and
Unavailability of Official Court Reporters (SDSC Form #ADM-317) for further information.

ALTERNATIVE DISPUTE RESOLUTION (ADR): The court discourages any unnecessary delay in civil 'actions; therefore,
continuances are discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court
encourages and expects the parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                       Page: 1
                                  NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                                                                       (CIVIL)
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.169 Page 169 of 211



                                         NOTICE OF E-FILING REQUIREMENTS
                                             AND IMAGED DOCUMENTS

Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
are not eligible for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
court. AII e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil) (SDSC Form
#CIV-409) and Cal. Rules of Court, rules 2.250-2.261.

AII Civil cases are assigned to departments that are part of the court's "Imaging Program." This means that original documents filed with
the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
required to maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150.
Thus, original documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which
the law requires an original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the
hearing pursuant to California Rules of Court, rule 3.1302(b).

It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil) (SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.

On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words "IMAGED
FILE" in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.

The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the
court's website at www.sdcourt.ca.aov.




                                                                                                                                        Page:2
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              EXHIBIT B
                          Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.171 Page 171 of 211



                                      1   NICHOLAS J. BOOS (SBN 233399)
                                          nboos@maynardcooper.com
                                      2   NORMAN LAU (SBN 253690)
                                          nlau@maynardcooper.com
                                      3   MAYNARD COOPER & GALE LLP
                                          Two Embarcadero Center, Suite 1450
                                      4   San Francisco, California 94111
                                          Telephone:    (415) 646-4700
                                      5   Facsimile:    (205) 254-1999

                                      6   Attorneys for Defendant WEST AMERICAN INSURANCE
                                          COMPANY
                                      7

                                      8
                                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                      9
                                                                             COUNTY OF SAN DIEGO
                                     10

                                     11   PONTUS MAG VALLEJO, LLC, a Delaware                    Case No. 37-2021-00002257-CU-IC-CTL
                                          limited liability company,
                                     12                                                          [Assigned to Judge Keri Katz in Department
                                                                         Plaintiff,              C-74]
                                     13
                                                  v.                                             DEFENDANT WEST AMERICAN
Two Embarcadero Center, Suite 1450




                                     14                                                          INSURANCE COMPANY’S ANSWER
   Maynard Cooper & Gale LLP




                                          WEST AMERICAN INSURANCE                                TO COMPLAINT
     San Francisco, CA 94111




                                     15   COMPANY, an Indiana corporation, and DOES
                                          1 through 100, inclusive,                              Complaint filed: November 24, 2021
         (415) 646-4700




                                     16
                                                                         Defendants.
                                     17

                                     18

                                     19           Defendant West American Insurance Company (“Defendant”) hereby answers the

                                     20   Complaint of Plaintiff Pontus Mag Vallejo, LLC (“Plaintiff”) as follows:

                                     21                                          GENERAL DENIAL

                                     22           Pursuant to Sections 431.10, et seq., of the California Code of Civil Procedure, Defendant

                                     23   denies, both generally and specifically, each and every, all and singular, conjunctively and

                                     24   disjunctively, allegation of the Complaint and each and every part thereof, and each and every

                                     25   cause of action thereof, and further specifically deny that Plaintiff has been injured or damaged in

                                     26   the sum alleged, or in any other sum, or at all, by reason of any carelessness, negligence, act, or

                                     27   omission of Defendant.

                                     28

                                          {06316926.1}
                                                    DEFENDANT WEST AMERICAN INSURANCE COMPANY’S ANSWER TO COMPLAINT
                                                                     Case No. 37-2021-00049771-CU-IC-CTL
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.172 Page 172 of 211



    1

    2                                       AFFIRMATIVE DEFENSES

    3                                   FIRST AFFIRMATIVE DEFENSE

    4           The complaint, and each and every purported cause of action contained therein, fails to

    5   state facts sufficient to constitute a cause of action against Defendant.

    6                                  SECOND AFFIRMATIVE DEFENSE

    7           Defendant alleges that the causes of action attempted to be stated against it and set forth in

    8   the complaint are barred by the terms, conditions, limitations, exclusions, definitions and/or

    9   endorsements contained in the insurance policy at issue in this litigation.

   10                                   THIRD AFFIRMATIVE DEFENSE

   11           Plaintiff has failed to satisfy all conditions precedent to its rights, if any, to benefits under

   12   the insurance policy at issue in this litigation.

   13                                 FOURTH AFFIRMATIVE DEFENSE

   14           To the extent that Plaintiff has failed to mitigate, minimize, or avoid any damages it

   15   allegedly sustained, any recovery against Defendant must be reduced accordingly.

   16                                   FIFTH AFFIRMATIVE DEFENSE

   17           Plaintiff has not suffered any damages as a result of any actions taken by Defendant, and

   18   Plaintiff is thus barred from asserting the complaint, or any purported claim, against Defendant.

   19                                   SIXTH AFFIRMATIVE DEFENSE

   20           Plaintiff’s claims, in whole or in part, are barred by the equitable doctrines of laches,

   21   waiver, estoppel and unclean hands.

   22                                 SEVENTH AFFIRMATIVE DEFENSE

   23           Defendant has at all times exercised due care concerning any actions, conduct, or other

   24   matters alleged in the complaint, or any purported cause of action asserted therein.

   25                                  EIGHTH AFFIRMATIVE DEFENSE

   26           Defendant and its representatives acted reasonably and in good faith at all times material

   27   herein, based on all relevant facts and circumstances known by them at the time they so acted.

   28   Accordingly, Plaintiff is barred from any recovery in this action.

        {06316926.1}                                        2
                DEFENDANT WEST AMERICAN INSURANCE COMPANY’S ANSWER TO COMPLAINT
                                 Case No. 37-2021-00049771-CU-IC-CTL
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    1

    2                                    NINTH AFFIRMATIVE DEFENSE

    3           Defendant’s coverage interpretations and claims handling were and are reasonable as a

    4   matter of law and were not and are not inherently unreasonable as a matter of law.

    5                                    TENTH AFFIRMATIVE DEFENSE

    6           Defendant alleges that the complaint and each cause of action therein fail to state

    7   sufficient facts to constitute a valid claim for attorneys’ fees.

    8                               ELEVENTH AFFIRMATIVE DEFENSE

    9           Defendant alleges that Plaintiff’s injuries and damages, if any, were caused by the

   10   negligence and fault of others than Defendant, and that such fault on the part of others

   11   proximately and concurrently caused or contributed to the loss and damages complained of by

   12   Plaintiff, if any there were.

   13                                   TWELFTH AFFIRMATIVE DEFENSE

   14           The complaint fails to state facts sufficient to warrant an award of punitive or exemplary

   15   damages, and Plaintiff has failed to plead malice, fraud, and oppression with the specificity

   16   required under California Civil Code § 3294.

   17                              THIRTEENTH AFFIRMATIVE DEFENSE

   18           The complaint, to the extent it seeks punitive or exemplary damages against Defendant,

   19   violates Defendant’s right to protection from “excessive” fines as provided in the Eighth

   20   Amendment to the United States Constitution and the Constitution of the State of California,

   21   violates Defendant’s right to substantive due process and equal protection as provided in the Fifth

   22   and Fourteenth Amendments to the United States Constitution and the Constitution of the State of

   23   California, and does not meet the tests for allowing punitive damages set forth by the United

   24   States Supreme Court in BMW of North America, Inc. v. Gore, 517 U.S. 559 (1996), State Farm

   25   Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003), Philip Morris USA v. Williams, 549 U.S.

   26   346 (2007), and other cases, and therefore fails to state a cause of action supporting the punitive

   27   or exemplary damages claimed.

   28

        {06316926.1}                                      3
                DEFENDANT WEST AMERICAN INSURANCE COMPANY’S ANSWER TO COMPLAINT
                                 Case No. 37-2021-00049771-CU-IC-CTL
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.174 Page 174 of 211



    1

    2                               FOURTEENTH AFFIRMATIVE DEFENSE

    3           Defendant presently has insufficient knowledge or information on which to form beliefs

    4   as to whether there are additional, as yet unstated affirmatives defenses. Thus, to the extent the

    5   Court may have jurisdiction herein, and subject to discovery in this action, Defendant expressly

    6   reserves its right to assert additional affirmative defenses.

    7           WHEREFORE, defendant West American Insurance Company prays for relief as follows:

    8           1.     That Plaintiff take nothing by reason of the complaint and that judgment be

    9   entered against Plaintiff and in favor of defendant West American Insurance Company;

   10           2.     That defendant West American Insurance Company be awarded its costs incurred

   11   in defending this action;

   12           3.     That defendant West American Insurance Company be granted such other and

   13   further relief as the Court may deem just and proper.

   14
        Dated: February 18, 2022                                 MAYNARD COOPER & GALE LLP
   15

   16
                                                          By:        NICHOLAS J. BOOS
   17                                                                NORMAN LAU
                                                                 Attorneys for Defendant WEST
   18                                                            AMERICAN INSURANCE COMPANY
   19

   20

   21

   22

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        {06316926.1}                                     4
                DEFENDANT WEST AMERICAN INSURANCE COMPANY’S ANSWER TO COMPLAINT
                                 Case No. 37-2021-00049771-CU-IC-CTL
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    1                                         PROOF OF SERVICE

    2   STATE OF CALIFORNIA                           )
        COUNTY OF SAN FRANCISCO                       )
    3
                I am employed in the County of San Francisco, State of California. I am over the age of
    4   21 and am not a party to the within action. My business address is Maynard, Cooper & Gale,
        LLP, Two Embarcadero Center, Suite 1450, San Francisco, California 94111. On the date
    5   indicated below, I served the foregoing document described as:

    6          DEFENDANT WEST AMERICAN INSURANCE COMPANY’S ANSWER TO
                                    COMPLAINT
    7
        on the interested parties in this action by placing: [ ] the original document - OR- [X] a true and
    8   correct copy thereof enclosed in sealed envelopes addressed as follows:

    9                                      John J. McLeod (SBN 174169)
                                          jmcleod@mcleodlawgroup.com
   10                                        Paul C. Hirst (SBN 234460)
                                            phirst@mcleodlawgroup.com
   11                                    McLEOD LAW GROUP, A.P.C.
                                         1155 Camino Del Mar, Suite 510
   12                                         Del Mar, California 92014
                                                 Tel: (619) 236-9938
   13                                            Fax: (619) 236-9943

   14                                          Attorneys for Plaintiff

   15   [X]     BY MAIL: I caused such envelope(s) to be deposited in the mail at San Francisco,
        California. The envelope(s) was (were) mailed with postage fully prepaid. I am “readily familiar”
   16   with this firm’s practice of collection and processing correspondence for mailing. It is deposited
        with U.S. postal service on the same day in the ordinary course of business.
   17
        [X]     BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
   18   agreement of the parties to accept service by e-mail or electronic transmission, I caused the
        documents to be sent from email address bday@maynardcooper.com to the persons at the e-mail
   19   addresses listed above. I did not receive, within a reasonable time after the transmission, any
        electronic message or other indication that the transmission was unsuccessful.
   20
                I declare that I am employed in the office of a member who has been admitted to the bar
   21   of this Court at whose direction the service was made. I declare under penalty of perjury under
        the laws of the State of California that the foregoing is true and correct.
   22
                Executed on February 18, 2022, in San Francisco, California.
   23

   24

   25                                                         Brian Day

   26

   27

   28

        {06316926.1}                                      5
                DEFENDANT WEST AMERICAN INSURANCE COMPANY’S ANSWER TO COMPLAINT
                                 Case No. 37-2021-00049771-CU-IC-CTL
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              EXHIBIT C
            Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.177 Page 177 of 211
                                                                                                                                                              MC-051
      ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address)'.                                                    FOR COURT USE ONLY

   John J. Mcleod, Esq. (SBN 174169)/Paul C. Hirst, Esq., (SBN 234460)
 “ McLEOD LAW GROUP, A.P.C.,
       1155 Camino Del Mar, Suite 510
       Del Mar, CA 92014
            TELEPHONE NO.:   (619)236-9938       FAX NO.: (619) 236-9943
       ATTORNEY FOR (Name)'. Pontus Mag Vallejo, LLC
            NAME OF COURT:         Superior Court of California, County of San Diego
        STREET ADDRESS:            330 West Broadway
       MAILING ADDRESS:            330 West Broadway
       CITY AND ZIP CODE:          San Diego, California 92101
             BRANCH NAME:          Hall of Justice
   CASE NAME:                                                                                                        CASE NUMBER:

       Pontus Mag Vallejo, LLC, v. Liberty Mutual Insurance Company                                                   37-2021 -00049771-CU-IC-CTI
                                                                                                                     HEARING DATE: 08/22/2022
                                       NOTICE OF MOTION AND MOTION
                                                                                                                     dept.: C-74             time:    10:00AM
                                            TO BE RELIEVED AS                                                        before hon.: Keri Katz
                                              COUNSEL—CIVIL                                                          DATE ACTION FILED : 11 /24/202 1
                                                                                                                     TRIAL DATE: N/A

 TO (name and address of client)-. Pontus Mag Vallejo, LLC


 1.      PLEASE TAKE NOTICE that (name of withdrawing attorney): John J. Mcleod, Esq. (SBN 174169)
         moves under California Code of Civil Procedure section 284(2) and California Rules of Court, rule 3.1362, for an order permitting
        the attorney to be relieved as attorney of record in this action or proceeding.


 2.     A hearing on this motion to be relieved as counsel will be held as follows:


        a.        Date: 8/22/2022                            Time:    10:00am                          Dept.: C-74                        Room:


        b. The address of the court:                     same as noted above                    other (specify)-.




 3.     This motion is supported by the accompanying declaration, the papers and records filed in this action or proceeding, and
        the following additional documents or evidence (specify):




        (This motion does not need to be accompanied by a memorandum of points and authorities. Cal. Rules of Court, rule 3.1362.)

 4.     The client presently represented by the attorney is
       a.           an individual.                                                 g.   |   | a trustee.
       b.           a corporation.                                                 h.   |   | a personal representative.
       c.           a partnership.                                                 i.   |   | a probate fiduciary.
       d.           an unincorporated association.                                 j.   |   | a guardian ad litem.
       e.           a guardian.                                                    k.   |   | other (specify):
       f.           a conservator.




                                                                              (Continued on reverse)
                                                                                                                                                                 Page 1 of 2
Form Adopted for Mandatory Use                                                                                                               Code of Civil Procedure , § 284;
  Judicial CounciJ of California                             NOTICE OF MOTION AND MOTION                                                     Cal. Rules of Court, rule 3.1 362
MCO51 [Rev, January 1, 2007]                               TO BE RELIEVED AS COUNSEL—CIVIL                                                             www. courtinfa .ca.gov
        Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.178 Page 178 of 211
                                                                                                                                     MC-051
   CASE NAME;                                                                                            CASE NUMBER:

 — Pontus Mag Vallejo, LLC. v. Liberty Mutual Insurance Company                                           37-2021-00049771-CU-IC-CTI



                                                                          NOTICE TO CLIENT
          If this motion to be relieved as counsel is granted, your present attorney will no longer be representing you. You
          may not in most cases represent yourself if you are one of the parties on the following list:

          • A guardian                                  • A personal representative            * A guardian ad litem
          • A conservator                               • A probate fiduciary                  • An unincorporated association
          • A trustee                                   • A corporation


          If you are one of these parties, YOU SHOULD IMMEDIATELY SEEK LEGAL ADVICE REGARDING LEGAL
          REPRESENTATION. Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
          default judgment.



5. If this motion is granted and a client is representing himself or herself, the client will be solely responsible for the case.


                                                        NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
          If this motion to be relieved as counsel is granted, you will not have an attorney representing you. You may wish to
          seek legal assistance. If you do not have a new attorney to represent you in this action or proceeding, and you are
          legally permitted to do so, you will be representing yourself. It will be your responsibility to comply with all court
          rules and applicable laws. If you fail to do so, or fail to appear at hearings, action may be taken against you. You may
          lose your case.



6. If this motion is granted, the client must keep the court informed of the client's current address.


                                                   NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
          If this motion to be relieved as counsel is granted, the court needs to know how to contact you. If you do not keep the
          court and other parties informed of your current address and telephone number, they will not be able to send you
          notices of actions that may affect you, including actions that may adversely affect your interests or result in your
          losing the case.




Date:



John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)                                                         INATURE OF ATTORNEY)
                                                                                                          (

                                                                                      Attorm   (name):




 MC-051 [Rev. January 1, 2C07]                                                                                                       Page 2 of 2
                                                              NOTICE OF MOTION AND MOTION
                                                            TO BE RELIEVED AS COUNSEL—CIVIL
      Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.179 Page 179 of 211
                                                                                                                                                   MC-030
   ATTORNEY OR PARTY WITHOUT ATTORNEY fA/ame, State Bar number, and address):                                                 FOR COURT USE ONLY

 _ John J. Mcleod, Esq. (SBN 174169)/Paul C. Hirst, Esq., (SBN 234460)
    McLEOD LAW GROUP, A.P.C.
     1155 Camino Del Mar, Suite 510
    Del Mar, CA 92014
          TELEPHONE NO.: (6 1 9) 23 6-993 8 FAX NO. (Optional): (619)236-9943
 e-mail address (Optional): jmcleod@mcleodlawgroup.com
     ATTORNEY FOR (Name):        PontUS Mag Vallejo, LLC

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF San DiegO
          STREET ADDRESS:  330 m
                               West ~
                                    Broadway
          MAILING ADDRESS: 330 West Broadway
        CITY AND ZIP CODE: San Diego, California 92101
            BRANCH NAME: Hall of Justice

      plaintiff/petitioner:            Pontus Mag Vallejo, LLC
 defendant/respondent: West American Insurance Company
                                                                                                               CASE NUMBER:


                                                DECLARATION                                                    37-202 1 -0004977 1 -CU-IC-CTI

 John McLeod and the McLeod Law Group, A.P.C. seek to be relieved as counsel of record due to a breakdown
 in the attorney-client relationship and such other conduct that renders it unreasonably difficult for us to
 continue to provide representation.


I have informed Andrew Haley, Vice President, Pontus Mag Vallejo, LLC, and am informed and believe that
Pontus will be retaining new counsel .




    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Date:




    John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)                                                 (SIGN,     IRE OF DECLARANT}



                                                                                        tton   for         Plaintiff           Petitioner    O Defendant
                                                                                               lent        Other (Specify):


Form Approved for Optional Use                                                                                                                     Page 1 of 1
Judicial Council of California                                                  DECLARATION
MC-030 [Rev. January 1, 2006)
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.180 Page 180 of 211


 1                                            PROOF OF SERVICE
                       Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                      37-202 1 -0004977 1 -CU-IC-CTI

 3   STATE OF CALIFORNIA                  )
                                          ) ss:
 4   COUNTY OF SAN DIEGO                  )
 5           I am employed in the County of San Diego, State of California. I am over the age of eighteen
     years and not a party to the action. My business address is 1155 Camino Del Mar, Suite 510, Del
 6   Mar, CA 92014. On March 22, 2022, 1 served the document(s) on the interested parties in this action
     as follows:
 7
         1. NOTICE OF MOTION AND MOTION TO BE RELIEVED AS COUNSEL; and
 8
         2. JOHN MCLEOD’S DECLARATION TO MOTION; and
         3. PROOF OF SERVICE.
 9

10   By placing Q the original <] a true copy thereof enclosed in a sealed envelope addressed as follows:
                   SEE ATTACHED SERVICE LIST
11
            BY MAIL:      The envelope was mailed with postage thereon fully prepaid.       I am “readily
12          familiar” with the firm’s practice of collection and processing correspondence for mailing.
            Under that practice it would be deposited with the U.S. postal service on that same day with
13          postage thereon fully prepaid at Del Mar, California in the ordinary course of business. I am
            aware that on motion of the party served, service is presumed invalid if the postal
            cancellation date or postage meter date is more than one day after service of deposit for

14
15
            mailing in affidavit.

            BY OVERNIGHT DELIVERY: By causing such envelope to be deposited or delivered in
16          a box or other facility regularly maintained by Federal Express authorized to receive
            documents, or delivering to a courier or driver authorized by said express service carrier to
17          receive documents, the copy of the foregoing document in a sealed envelope designated by
            the express service carrier, addressed as stated above, with fees for overnight (next business
18          day) deliveiy paid or provided for and causing such envelope to be delivered by said express
            service carrier on
19
            BY FACSIMILE MACHINE:              The foregoing document(s) was transmitted to the above-
20          named persons by facsimile transmission from (619) 236-9943 before 5:00 p.m. on said date
            and the transmission was reported as complete and without error.
21

22          BY ELECTRONIC MAIL:            I electronically served the foregoing document(s) via
            electronic mail (email) from the email address srodriguez@mcleodlawgroup.com.    No
23          electronic message or other indication that the transmission was unsuccessful was received
            within a reasonable time after the transmission.
24
            BY PERSONAL SERVICE:              I caused to be delivered the foregoing document(s) to the
25          addressee(s) specified.


26          Executed on March 22, 2022, at Del Mar, California.


27
                                                                   xSeth Rodriguez
28


                                                       0
                                              PROOF OF SERVICE
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.181 Page 181 of 211


 1                                          SERVICE LIST
                      Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                   3 7-202 1 -0004977 1 -CU-IC-CTI

 3
     Nicholas J. Boos, Esq. (SBN 233399)                 Attorneys for Defendant,
 4
     nboos@maynardcooper.com                             WEST AMERICAN INSURANCE

 5   Norman Lau, Esq. (SBN 253690)                       COMPANY
     nlau@maynardcooper.com
 6   MAYNARD COOPER & GALE LLP
     Two Embarcadero Center, Suite 1450
 7   San Francisco, California 94111
     Telephone: (415) 646-4700
 8
     Facsimile: (205) 254-1999
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                                           PROOF OF SERVICE
     Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.182 Page 182 of 211
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS:      330 W Broadway
MAILING ADDRESS:     330 W Broadway
CITY AND ZIP CODE:   San Diego, CA 92101-3827
DIVISION:            Central
TELEPHONE NUMBER: (619) 450-7074

PLAINTIFF(S) / PETITIONER(S):              PONTUS MAG VALLEJO LLC

DEFENDANT(S) / RESPONDENT(S): WEST AMERICAN INSURANCE COMPANY


 PONTUS MAG VALLEJO LLC VS WEST AMERICAN INSURANCE COMPANY [IMAGED]
                                                                                              CASE NUMBER:
NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                           (CIVIL)                                                            37-2021-00049771-CU-IC-CTL

CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Keri Katz                                                                     Department: C-74

COMPLAINT/PETITION FILED: 11/24/2021

TYPE OF HEARING SCHEDULED                          DATE             TIME           DEPT               JUDGE
Civil Case Management Conference                   08/12/2022       10:00 am       C-74               Keri Katz


Due to the COVID-19 pandemic, all Case Management Conferences (CMCs) are being conducted virtually unless there is a
court order stating otherwise. Prior to the hearing date, visit the “virtual hearings” page for the most current instructions on how to
appear for the applicable case-type/department on the court's website at www.sdcourt.ca.gov.
A Case Management Statement (JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court (SDSC) Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).
All counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, including discussions of Alternative Dispute Resolution (ADR) options.
It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR) (SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases under California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service
requirements are prescribed by law (Cal. Rules of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
   • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
      Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
   • Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
      for the response after service of the initial complaint (SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in the
action.
COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and
Unavailability of Official Court Reporters (SDSC Form #ADM-317) for further information.
ALTERNATIVE DISPUTE RESOLUTION (ADR): The court discourages any unnecessary delay in civil actions; therefore,
continuances are discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court
encourages and expects the parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                       Page: 1
                                  NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                                                             (CIVIL)
      Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.183 Page 183 of 211


                                         NOTICE OF E-FILING REQUIREMENTS
                                             AND IMAGED DOCUMENTS

Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
are not eligible for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
court. All e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil) (SDSC Form
#CIV-409) and Cal. Rules of Court, rules 2.250-2.261.
All Civil cases are assigned to departments that are part of the court’s “Imaging Program.” This means that original documents filed with
the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
required to maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150.
Thus, original documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which
the law requires an original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the
hearing pursuant to California Rules of Court, rule 3.1302(b).
It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil) (SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.

On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words “IMAGED
FILE” in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.
The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the
court’s website at www.sdcourt.ca.gov.




                                                                                                                                        Page: 2
       Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.184 Page 184 of 211
                                                                                                                                                        MC-051
  ATTORNEY OR PARTY 'WITHOUT ATTORNEY (Name, slate bar number, and address):                                                   FOR COURT USE ONLY
   John J. Mcleod, Esq. (SBN 174169)/Paul C. Hirst, Esq., (SBN 234460)
,_ McLEOD LAW GROlJP, A.P.C.,
    1155 Camino Del Mar, Suite 510
   Del Mar, CA 92014
          TELEPHONE NO.: (619) 236-9938       FAX NO.: (619) 236-9943
   ATTORNEY FOR (Name): Pontus Mag Vall~j o, LLC

      NAME OF COURT:   Superior Court of California, County of San Diego
    STREET ADDRESS:    330 West Broadway
    MAILING ADDRESS:   330 West Broadway
   CITY AND ZIP CODE:  San Diego, California 92101
       BRANCH NAME:    Hall of Justice
  CASE NAME:                                                                                                    CASE NUMBER:

    Pontus Mag Vallejo, LLC. v. Liberty Mutual Insurance Company                                                 37-2021-00049771-CU-I C-CTI
                                                                                                                HEARING DATE:   08/22/2022
                                                                                                                DEPT.: C-74           TIME: lO:OOAM
                                  NOTICE OF MOTION AND MOTION
                                       TO BE RELIEVED AS                                                        BEFORE HON.: Keri Katz
                                         COUNSEL-CIVIL                                                          DATE ACTION FILED: 11/24/2021
                                                                                                                TRIAi. DATE: N/A

TO (name and address of client):          Pontus Mag Vallejo, LLC

 1. PLEASE TAKE NOTICE that (name of withdrawing attorney): John J. Mcleod, Esq. (SBN 174169)
    moves under California Code of Civil Procedure section 284(2) and California Rules of Court, rule 3.1362, for an order permitting
    the attorney to be relieved as attorney of record in this action or proceeding.

2. A hearing on this motion to be relieved as counsel will be held as follows:

      a.       Date:     8/22/2022                       Time:    lO:OOam                       Dept.:   C-74                        Room:


      b. The address of the court:            w      same as noted above            D      pther (specify):




3. This motion is supported by the accompanying declaration, the papers and records filed in this action or proceeding, and
      the following additional documents or evidence (specify):




     (This motion does not need to be accompanied by a memorandum of points and authorities. Cal. Rules of Court, rule 3. 1362.)

 4. The client presently represented by the attorney is
     a.    D      an individual.                                               g.   D   a trustee.
     b.    m      a corporation.                                               h.   D   a personal representative.
     c.    D      a partnership.                                               i.   D   a probate fiduciary.
     d.    D      an unincorporated association.                               j.   D   a guardian ad litem.
     e.    D      a guardian.                                                  k.   D   other (specify):
     f.    D      a conservator.



                                                                           (Continued on reverse)                                                          Pa e1of.2
Form Adopted for Mandatory Use                                                                                                          Code of Civil Procedure . § 284;
 Judicial Council of California                          NOTICE OF MOTION AND MOTION                                                    Cal. Rules of Court, rule 3.1362
MC-051 [Rev. January 1, 2007]                          TO BE RELIEVED AS COUNSEL-CIVIL                                                            www.courtinfo.ca.gov
        Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.185 Page 185 of 211
                                                                                                                                    MC-051
   CASE NAME:                                                                                      CASE NUMBER:

 -Pontus Mag Vall~jo, LLC. v. Liberty Mutual Insurance Company                                       37-2021-00049771-CU-I C-CTI


                                                                         NOTICE TO CLIENT
         If this motion to be relieved as counsel is granted, your present attorney will no longer be representing you. You
         may not in most cases represent yourself if you are one of the parties on the following list:

         ·A guardian                                    • A personal representative         •A guardian ad litem
         • A conservator                                • A probate fiduciary               • An unincorporated association
         ·A trustee                                     • A corporation

         If you are one of these parties, YOU SHOULD IMMEDIATELY SEEK LEGAL ADVICE REGARDING LEGAL
         REPRESENTATION. Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
         default judgment.


5. If this motion is granted and a client is representing himself or herself, the client will be solely responsible for the case.

                                                        NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
         If this motion to be relieved as counsel is granted, you will not have an attorney representing you. You may wish to
         seek legal assistance. If you do not have a new attorney to represent you in this action or proceeding, and you are
         legally permitted to do so, you will be representing yourself. It will be your responsibility to comply with all court
         rules and applicable laws. If you fail to do so, or fail to appear at hearings, action may be taken against you. You may
         lose your case.


6. If this motion is granted, the client must keep the court informed of the client's current address.


                                                   NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
         If this motion to be relieved as counsel is granted, the court needs to know how to contact you. If you do not keep the
         court and other parties informed of your current address and telephone number, they will not be able to send you
         notices of actions that may affect you, including actions that may adversely affect your interests or result in your
         losing the case.



Date:      .)   /i:z.-f 1:z..
John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)




 MC-051 [Rev. January 1, 2007[                                                                                                       Page2 of 2
                                                              NOTICE OF MOTION AND MOTION
                                                            TO BE RELIEVED AS COUNSEL-CIVIL
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.186 Page 186 of 211


 1                                        PROOF OF SERVICE
                       Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                    3 7-2021-00049771-CU-IC-CTI

 3   STATE OF CALIFORNIA                  )
                                          ) ss:
 4   COUNTY OF SAN DIEGO                  )

 5           I am employed in the County of San Diego, State of California. I am over the age of eighteen
     years and not a party to the action. My business address is 1155 Camino Del Mar, Suite 510, Del
 6   Mar, CA 92014. On March 22, 2022, I served the document(s) on the interested parties in this action
     as follows:
 7
         1. NOTICE OF MOTION AND MOTION TO BE RELIEVED AS COUNSEL; and
 8
         2. JOHN MCLEOD'S DECLARATION TO MOTION; and
 9       3. PROOF OF SERVICE.

10   By placing D the original [8J a true copy thereof enclosed in a sealed envelope addressed as follows:
                  SEE ATTACHED SERVICE LIST
11
     D      BY MAIL: The envelope was mailed with postage thereon fully prepaid. I am ''readily
12          familiar" with the firm's practice of collection and processing correspondence for mailing.
            Under that practice it would be deposited with the U.S. postal service on that same day with
13          postage thereon fully prepaid at Del Mar, California in the ordinary course of business. I am
            aware that on motion of the party served, service is presumed invalid if the postal
14          cancellation date or postage meter date is more than one day after service of deposit for
            mailing in affidavit.
15
     D      BY OVERNIGHT DELIVERY: By causing such envelope to be deposited or delivered in
16          a box or other facility regularly maintained by Federal Express authorized to receive
            documents, or delivering to a courier or driver authorized by said express service carrier to
17          receive documents, the copy of the foregoing document in a sealed envelope designated by
            the express service carrier, addressed as stated above, with fees for overnight (next business
18          day) delivery paid or provided for and causing such envelope to be delivered by said express
            service carrier on
                              ---
19
     D      BY FACSIMILE MACHINE: The foregoing document(s) was transmitted to the above-
20          named persons by facsimile transmission from (619) 236-9943 before 5:00 p.m. on said date
            and the transmission was reported as complete and without error.
21
22          BY ELECTRONIC MAIL: I electronically served the foregoing document(s} via
            electronic mail (email) from the email address srodriguez@mcleodlawgroup.com. No
23          electronic message or other indication that the transmission was unsuccessful was received
            within a reasonable time after the transmission.
24
     D      BY PERSONAL SERVICE: I caused to be delivered the foregoing document(s) to the
25          addressee(s) specified.

26          Executed on March 22, 2022, at Del Mar, Califo~

27
                                                                     Seth Rodriguez         =
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                                            PROOF OF SERVICE
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.187 Page 187 of 211


 1                                          SERVICE LIST
                      Pontus Mag Vallejo, ILC. v. West American Insurance Company
 2                                   3 7-2021-00049771-CU-IC-CTI

 3
     Nicholas J. Boos, Esq. (SBN 233399)                 Attorneys for Defendant,
 4   nboos@maynardcooper.com                             WEST AMERICAN INSURANCE
 5   Norman Lau, Esq. (SBN 253690)                       COMPANY
     nlau@maynardcooper.com
 6   MAYNARD COOPER & GALE LLP
     Two Embarcadero Center, Suite 1450
 7   San Francisco, California 94111
     Telephone: (415) 646-4700
 8
     Facsimile: (205) 254-1999
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                                           PROOF OF SERVICE
      Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.188 Page 188 of 211
                                                                                                                                        MC-030
   ATIORNEY OR PARTY 'MTHOUT ATTORNEY (Name, State Bar numbe1; and address):                                      FOR COURT USE ONLY

  John J. Mcleod, Esq. (SBN 174169)/Paul C. Hirst, Esq., (SBN 234460)
-McLEOD LAW GROUP, A.P.C.
  1155 Camino Del Mar, Suite 510
  Del Mar, CA 92014
                        (619) 236-9938 FAXNO.(Optional): (619) 236-9943
            TELEPHONE NO:
                        jmcleod@mcleodlawgroup.com
 E.MA1L ADDREss (Optional):
    ATTORNEYFOR(Name): Pontus Mag Vallejo, LLC

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
        srREETADDREss: 330 West Broadway
        MAILINGAooREss: 330 West Broadway
       c1TYANoz1PcoDE: San Diego, California 92101
           BRANCH NAME: Hall of Justice

      PLAINTIFF/PETITIONER:            Pontus Mag Vallejo, LLC
 DEFENDANT/RESPONDENT:                 West American Insurance Company
                                                                                                   CASE NUMBER:

                                                DECLARATION                                         37-2021-00049771-CU-IC-CTI

John McLeod and the McLeod Law Group, A.P.C. seek to be relieved as counsel ofrecord due to a breakdown
in the attorney-client relationship and such other conduct that renders it unreasonably difficult for us to
continue to provide representation.

I have informed Andrew Haley, Vice President, Pontus Mag Vallejo, LLC, and am informed and believe that
Pontus will be retaining new counsel .




    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Date:      )    /-z_'Z.{ -z.._7-
    John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)


                                                                                                                                 D     Defendant



Form Approved fOr Optional Use                                                                                                           Page 1of1
Judicial Council Of California                                                 DECLARATION
MC-030 [Rev. January 1, 2006]
     Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.189 Page 189 of 211
                                                                                                                                                      MC-051
   ATIORNEY OR PARTY WITHOUT ATIORNEY (Name, state bar number, and addmss):                                               FOR COUffT USE ONLY
    John J. Mcleod, Esq. (SBN 174169)/Paul C. Hirst, Esq., (SBN 234460)
 - McLEOD LAW GROUP, A.P.C.,
    1155 Camino Del Mar, Suite 510
   Del Mar, CA 92014
          TELEPHONE NO.: ( 619) 236-993 8     FAX NO.: (619) 236-9943
   ATIORNEY FOR (Name): Pontus Mag Vallejo, LLC

      NAME OF COURT:   Superior Court of California, County of San Diego
    STREET AODRESS: 330 West Broadway
    MAILING ADDRESS: 330 West Broadway
   CITY AND ZIP CODE:  San Diego, California 92101
       BRANCH NAME: Hall of Justice
   CASE NAME:                                                                                                 CASE NUMBER:
                                 West American
    Pontus Mag Vallejo, LLC. v. Liberty          Insurance
                                        Mutual Insurance   Company
                                                         Company                                               37-2021-00049771-CU-IC-CTI
                                                                                                              HEARING DATE:   05/27/2022
                                                                                                              DEPT.: C-74           TIME: 08:30AM
                                  NOTICE OF MOTION AND MOTION
                                       TO BE RELIEVED AS                                                      BEFORE HON.: Keri Katz
                                         COUNSEL-CIVIL                                                        DATE ACTION FILED: 11/24/2021
                                                                                                              TRIALDATE: NIA

TO (name and address of client):          Pontus Mag Vallejo, LLC

 1. PLEASE TAKE NOTICE that (name of withdrawing attorney): John J. Mcleod, Esq. (SBN 174169)
    moves under California Code of Civil Procedure section 284(2) and California Rules of Court, rule 3.1362, for an order permitting
    the attorney to be relieved as attorney of record in this action or proceeding.

 2. A hearing on this motion to be relieved as counsel will be held as follows:

      a.       Date:    5/27/2022                       Time:    08:30am                      Dept.:   C-74                     Room:

      b. The address of the court:           w      same as noted above            D     other (specify):




 3. This motion Is supported by the accompanying declaration, the papers and records filed in this action or proceeding, and
      the following additional documents or evidence (specify):




     (This motion does not need to be accompanied by a memorandum of points and authorities. Cal. Rules of Court, rule 3.1362.)

 4. The client presently represented by the attorney Is
     a.    D      an individual.                                              g.   D   a trustee.
     b.    m      a corporation.                                              h.   D   a personal representative.
     c.    D      a partnership.                                              i.   D   a probate fiduciary.
     d.    D      an unincorporated association.                              j.   D   a guardian ad litem.
     e.    D      a guardian.                                                 k.   D   other (specffy):
     f.    D      a conservator.


                                                                         (Continued on reverse)                                                         P e1 of2
Form Adcpted for Mandatoiy Use                                                                                                      Code Of Civil Proc:eclure , § 284;
  Judicial Council Of Caflfomia                         NOTICE OF MOTION AND MOTION                                                 Cal. Rules of Court. rule 3.1362
 MC-051 (Rev. January 1, 2007]                        TO BE RELIEVED AS COUNSEL-CIVIL                                                          www.crJUrlinlb.ca.gov
 Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.190 Page 190 of 211

                                                                                                                                     MC-051
   CASE NAME:                                                                                        CASE NUMBER:
                               West American
 -Pontus Mag Vall~jo, LLC. v. Liberty          Insurance
                                      Mutual Insurance   Company
                                                       Company                                         37-2021-00049771-CU-I C-CTI


                                                                           NOTICE TO CLIENT
          If this motion to be relieved as counsel Is granted, your present attorney will no longer be representing you. You
          may not In most cases represent yourself If you are one of the parties on the following fist:
          ·A guardian                                     • A personal representative         • A guardian ad litem
          • A conservator                                 • A probate fiduciary               •An unincorporated association
          •A trustee                                      • A corporation

          If you are one of these parties, YOU SHOULD IMMEDIATELY SEEK LEGAL ADVICE REGARDING LEGAL
          REPRESENTATION. Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
          default judgment.

5. If this motion is granted and a client is representing himself or herself, the client will be solely responsible for the case.

                                           NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
          If this motion to be relieved as counsel is granted, you will not have an attorney representing you. You may wish to
          seek legal assistance. If you do not have a new attorney to represent you In this action or proceeding, and you are
          legally permitted to do so, you will be representing yourself. It will be your responsibility to comply with all court
          rules and applicable laws. If you fall to do so, or fall to appear at hearings, action may be taken against you. You may
          lose your case.                                                                                          ·


6 . If this motion is granted, the client must keep the court informed of the client's cu rrent address.


                                         NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
          If this motion to be relieved as counsel ls granted, the court needs to know how to contact you. If you do not keep the
          court and other parties informed of your current address and telephone number, they will not be able to send you
          notices of actions that may affect you, lncludlng actions that may adversely affect your Interests or result in your
          loslng the case.



Date:


John J. McLeod, Esq.
                                   (TYPE OR PRINT NAME)

                                                                                                                    Vall~jo,   LLC




 MC--051 [Rev. Jenull)' 1, 2007}                                                                                                      Page 2 of 2
                                                                NOTICE OF MOTION AND MOTION
                                                              TO BE RELIEVED AS COUNSEL-CIVIL
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.191 Page 191 of 211


 1                                        PROOF OF SERVICE
                       Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                    37-2021-00049771-CU-IC-CTI
 3   STATE OF CALIFORNIA                  )
                                          ) ss:
 4   COUNTY OF SAN DIEGO                  )
 5          I am employed in the County of San Diego, State of California. I am over the age of eighteen
     years and not a party to the action. My business address is 1155 Camino Del Mar, Suite 510, Del
 6   Mar, CA 92014. On April 15, 2022, I served the document(s) on the interested parties in this action as
     follows:
 7
         1. NOTICE OF MOTION AND MOTION TO BE RELIEVED AS COUNSEL; and
 8
         2. DECLARATION OF JOHN MCLEOD; and
 9       3. PROOF OF SERVICE.

10   By placing    the original a true copy thereof enclosed in a sealed envelope addressed as follows:
                   SEE ATTACHED SERVICE LIST
11
            BY MAIL: The envelope was mailed with postage thereon fully prepaid. I am “readily
12          familiar” with the firm’s practice of collection and processing correspondence for mailing.
            Under that practice it would be deposited with the U.S. postal service on that same day with
13          postage thereon fully prepaid at Del Mar, California in the ordinary course of business. I am
            aware that on motion of the party served, service is presumed invalid if the postal
14          cancellation date or postage meter date is more than one day after service of deposit for
            mailing in affidavit.
15
            BY OVERNIGHT DELIVERY: By causing such envelope to be deposited or delivered in
16          a box or other facility regularly maintained by Federal Express authorized to receive
            documents, or delivering to a courier or driver authorized by said express service carrier to
17          receive documents, the copy of the foregoing document in a sealed envelope designated by
            the express service carrier, addressed as stated above, with fees for overnight (next business
18          day) delivery paid or provided for and causing such envelope to be delivered by said express
            service carrier on ________.
19
            BY FACSIMILE MACHINE: The foregoing document(s) was transmitted to the above-
20          named persons by facsimile transmission from (619) 236-9943 before 5:00 p.m. on said date
            and the transmission was reported as complete and without error.
21
22          BY ELECTRONIC MAIL: I electronically served the foregoing document(s) via
            electronic mail (email) from the email address srodriguez@mcleodlawgroup.com. No
23          electronic message or other indication that the transmission was unsuccessful was received
            within a reasonable time after the transmission.
24
            BY PERSONAL SERVICE: I caused to be delivered the foregoing document(s) to the
25          addressee(s) specified.

26          Executed on April 15, 2022, at Del Mar, California.

27
                                                                     Seth Rodriguez
28

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                                            PROOF OF SERVICE
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.192 Page 192 of 211


 1                                          SERVICE LIST
                      Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                   37-2021-00049771-CU-IC-CTI
 3
     Nicholas J. Boos, Esq. (SBN 233399)                 Attorneys for Defendant,
 4
     nboos@maynardcooper.com                             WEST AMERICAN INSURANCE
 5   Norman Lau, Esq. (SBN 253690)                       COMPANY
     nlau@maynardcooper.com
 6   MAYNARD COOPER & GALE LLP
     Two Embarcadero Center, Suite 1450
 7   San Francisco, California 94111
     Telephone: (415) 646-4700
 8
     Facsimile: (205) 254-1999
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                                           PROOF OF SERVICE
   Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.193 Page 193 of 211
                                                                                                                                  MC-030
  ATTORNEY OR PARTY VYITHOUT ATTORNEY (Name, S ate Bar number, and sddtess):                                FOR COURT USE ONLY
   John J. Mcleod, Esq. (SBN 174169)/Paul C. Hirst, Esq., (SBN 234460)
,_ McLEOD LAW GROUP, A.P.C.
   1155 Camino Del Mar, Suite 510
   Del Mar, CA 92014
            TELEPHONENO.:(619) 236-9938 FAXNO. (Oplional}: (619) 236-9943
                         jmcleod@mcleodlawgroup.com
 E-MAIL ADOREss (Optjooal):
    ATTORNEY FOR (NameJ: Pontus Mag Vallejo, LLC

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
        STREET ADDRESS: 330 West Broadway
        MAIUNGADDRess: 330 West Broadway
       c1TYANoziPcooe: San Diego, California 92101
           BRANCH NAME: Hall of Justice

     PLAINTIFF/PETITIONER:             Pontus Mag Vallejo, LLC
 DEFENDANT/RESPONDENT:                 West American Insurance Company
                                                                                             CASE NUMBER:

                                                DECLARATION                                  37-2021-00049771-CU-IC-CTI

John McLeod and the McLeod Law Group, A.P .C. seek to be relieved as counsel of record due to a breakdown
in the attorney-client relationship and such other conduct that renders it unreasonably difficult for us to
continue to provide representation.                                                                ·

I have informed Andrew Haley, Vice President, Pontus Mag Vallejo, LLC, and am informed and believe that
Pontus will be retaining new counsel .




    l declare under penalty of perjury under the laws of the State of California that the

    Date:      Lf/ /l/ (?.. Z
    John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)


                                                                                   IZl                                     D     Detendant
                                                                                   D
Form Approved for Optional Use                                                                                                     Page1 off
Judicial Council of Gallfomia                                                  DECLARATION
MC-030 [Rev. January 1, 2006)
   Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.194 Page 194 of 211
                             SUPERIOR COURT OF CALIFORNIA,
                                          COUNTY OF SAN DIEGO
                                             HALL OF JUSTICE
                                    TENTATIVE RULINGS - May 26, 2022


EVENT DATE: 05/27/2022              EVENT TIME:      08:30:00 AM        DEPT.: C-74
JUDICIAL OFFICER:Keri Katz


CASE NO.:      37-2021-00049771-CU-IC-CTL

CASE TITLE: PONTUS MAG VALLEJO LLC VS WEST AMERICAN INSURANCE COMPANY
            [IMAGED]

CASE CATEGORY: Civil - Unlimited                 CASE TYPE: Insurance Coverage


EVENT TYPE: Motion Hearing (Civil)
CAUSAL DOCUMENT/DATE FILED:

Attorney John J. McLeod/McLeod Law Group, A.P.C.'s unopposed motion to be relieved as counsel for
Plaintiff Pontus Mag Vallejo is DENIED for failure to comply with the requirements of California Rules of
Court, Rule 3.1362. The declaration of counsel does not use the required mandatory form [CRC
3.1362(c)] and there is no proof of service showing service of the order on the client and on all parties
[CRC 3.1362(d)].

If this tentative ruling is confirmed the Minute Order will be the final order of the court and the parties
shall not submit any further order on this motion.




Event ID: 2510030                        TENTATIVE RULINGS                 Calendar No.: 8
                                               Page: 1
     Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.195 Page 195 of 211
                             SUPERIOR COURT OF CALIFORNIA,
                                 COUNTY OF SAN DIEGO
                                       CENTRAL
                                           MINUTE ORDER
DATE: 05/27/2022                    TIME: 08:30:00 AM                 DEPT: C-74
JUDICIAL OFFICER PRESIDING: Keri Katz
CLERK: Kim Mulligan, Richard Day
REPORTER/ERM: Not Reported
BAILIFF/COURT ATTENDANT: S. Raisch

CASE NO: 37-2021-00049771-CU-IC-CTL CASE INIT.DATE: 11/24/2021
CASE TITLE: PONTUS MAG VALLEJO LLC VS WEST AMERICAN INSURANCE COMPANY
[IMAGED]
CASE CATEGORY: Civil - Unlimited  CASE TYPE: Insurance Coverage


EVENT TYPE: Motion Hearing (Civil)



APPEARANCES



There are no appearances by any party.
The Court CONFIRMS the tentative ruling as follows:

Attorney John J. McLeod/McLeod Law Group, A.P.C.'s unopposed motion to be relieved as counsel for
Plaintiff Pontus Mag Vallejo is DENIED for failure to comply with the requirements of California Rules of
Court, Rule 3.1362. The declaration of counsel does not use the required mandatory form [CRC
3.1362(c)] and there is no proof of service showing service of the order on the client and on all parties
[CRC 3.1362(d)].
If this tentative ruling is confirmed the Minute Order will be the final order of the court and the parties
shall not submit any further order on this motion.
IT IS SO ORDERED.


                                                          Judge Keri Katz




DATE: 05/27/2022                                MINUTE ORDER                                      Page 1
DEPT: C-74                                                                                  Calendar No. 8
      Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.196 Page 196 of 211

                                                                                                                                                           MC-051
  ATTORNEY OR PARTY V\ll TH OUT ATTORN EY (Name, slate bar number, and address):                                                  FOR COURT USE ONLY
  John J. Mcleod, Esq. (SBNl 74169) I Paul C. Hirst, Esq., (SBN 234460)
-McLEOD LAW GROUP, A.P.C.
  1155 Camino Del Mar, Suite 510
  Del Mar, California 92014
        TELEPHON ENO .. (619) 236-9938       FAX NO.: (619) 236-9943

  ATTORN EY FOR (Name) Pontus Mag Vallejo, LLC

    NAM E OF COU RT : Superior Court of California, County of San Diego
   STR EET ADDR ESS:  330 West Broadway
  MAILING ADDRESS:    330 West Broadway
 CITY AN D ZIP CODE:  San Diego, California 92101
      BRANCH NAME:    Hall of Justice
  CASE NAM E:                                                                                                      CASE NUMBER:

    Pontus Mag Vallejo, LLC v. West American Insurance Company, et al.                                              37-2021-00049771-CU-IC-CTL
                                                                                                                   HEARING DATE:    July 01 , 2022
                                                                                                                   DEPT.: C-74            TI ME: 8:30 a.m.
                                    NOTICE OF MOTION AND MOTION
                                         TO BE RELIEVED AS                                                         BEFOR E HON .. Keri Katz
                                           COUNSEL-CIVIL                                                           DATE ACTION FI LED: 11/24/2021

                                                                                                                   rn1 AL DATE: Not Set


TO (name and address of client):            Pontus Mag Vallejo, LLC

1. PLEASE TAKE NOTICE that (name of withdrawing attorney): John J. Mcleod, Esq. and Paul C. Hirst, Esq.
   moves under Califo rnia Code of Civil Procedure section 284(2) and Ca lifornia Rules of Court, rule 3.1362, for an order permitting
   the attorney to be rel ieved as attorney of record in this action or proceeding.

2. A hearing on this motion to be relieved as counsel wi ll be held as follows:

      a.        Date:    July 1, 2022                       Time:     08:30 a.m.                    Dept:   C-74                        Room:

      b. The address of the court:              [ZJ     same as noted above             D     other (specify):




3. This motion is supported by the accompanying declaration , the papers and records fi led in this action or proceed ing , and
      the fo llowing additional documents or evidence (specify):




     (This motion does not need to be accompanied by a memorandum of points and authorities. Cal. Rules of Court, rule 3. 1362.)

4. Th e client presently represented by the attorney is
     a.    D       an individual.                                                  g.   D    a trustee.
     b.    w       a corporation.                                                  h.   D    a personal representative.
     C.    D       a partnership.                                                  i.   CJ   a probate fiduciary .
     d.    D       an unincorporated association .                                 j.   D    a guard ian ad !item .
     e.    D       a guardian.                                                     k.   D    other (specify) :
     f.    D       a conservator.



                                                                               (Continued on reverse)                                                           Pa e 1of2
Form Adopted for Mandatory Use                                                                                                              Code of Civil Procedure , § 284;
  Judicial Council of Californ ia                            NOTICE OF MOTION AND MOTION                                                    Cal. Rules of Court, ru le 3.1362
 MC·051 [Rev. January 1, 2007]                             TO BE RELIEVED AS COUNSEL-CIVIL                                                             www.courtinfo.ca.gov
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.197 Page 197 of 211


                                                                                                                                    MC-051
  CASE NAM E:                                                                                      CASE NUMBER:

-Pontus Mag Vallejo, LLC v. West American Insurance Company, et al.                                 37-2021-00049771-CU-IC-CTL


                                                                         NOTICE TO CLIENT
         If this motion to be relieved as counsel is granted, your present attorney will no longer be representing you. You
         may not in most cases represent yourself if you are one of the parties on the following list:

        ·A guardian                                     • A personal representative         ·A guardian ad litem
        • A conservator                                 • A probate fiduciary               • An unincorporated association
        ·A trustee                                      • A corporation

         If you are one of these parties, YOU SHOULD IMMEDIATELY SEEK LEGAL ADVICE REGARDING LEGAL
         REPRESENTATION. Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
         default judgment.


5. If this motion is granted and a client is representing himself or herself, the client will be solely responsible for the case.

                                                        NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
         If this motion to be relieved as counsel is granted, you will not have an attorney representing you. You may wish to
         seek legal assistance. If you do not have a new attorney to represent you in this action or proceeding, and you are
         legally permitted to do so, you will be representing yourself. It will be your responsibility to comply with all court
         rules and applicable laws. If you fail to do so, or fail to appear at hearings, action may be taken against you. You may
         lose your case.


6. If this motion is granted, the client must keep the court informed of the client's current address.

                                                   NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
         If this motion to be relieved as counsel is granted, the court needs to know how to contact you. If you do not keep the
         court and other parties informed of your current address and telephone number, they will not be able to send you
         notices of actions that may affect you, including actions that may adversely affect your interests or result in your
         losing the case.



Date:   June 9, 2022

John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)




 MC-051 [Rev. January 1, 2007]                                                                                                       Page 2 of 2
                                                               NOTICE OF MOTION AND MOTION
                                                             TO BE RELIEVED AS COUNSEL-CIVIL
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.198 Page 198 of 211


 1                                        PROOF OF SERVICE
                       Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                    37-2021-00049771-CU-IC-CTI
 3   STATE OF CALIFORNIA                 )
                                         ) ss:
 4   COUNTY OF SAN DIEGO                 )
 5          I am employed in the County of San Diego, State of California. I am over the age of eighteen
     years and not a party to the action. My business address is 1155 Camino Del Mar, Suite 510, Del
 6   Mar, CA 92014. On June 9, 2022, I served the document(s) on the interested parties in this action as
     follows:
 7
         1. PROOF OF SERVICE OF NOTICE OF MOTION AND MOTION TO BE
 8
             RELIEVED AS COUNSEL;
 9       2. DECLARATION OF JOHN J. MCLEOD IN SUPPORT OF MOTION TO BE
             RELIEVED AS COUNSEL;
10       3. and ORDER GRANTING ATTORNEY’S AND MOTION TO BE RELIEVED
             AS COUNSEL;
11
     By placing    the original a true copy thereof enclosed in a sealed envelope addressed as follows:
12                 SEE ATTACHED SERVICE LIST
13          BY MAIL: The envelope was mailed with postage thereon fully prepaid. I am “readily
            familiar” with the firm’s practice of collection and processing correspondence for mailing.
14          Under that practice it would be deposited with the U.S. postal service on that same day with
            postage thereon fully prepaid at Del Mar, California in the ordinary course of business. I am
15          aware that on motion of the party served, service is presumed invalid if the postal
            cancellation date or postage meter date is more than one day after service of deposit for
16          mailing in affidavit.
            BY OVERNIGHT DELIVERY: By causing such envelope to be deposited or delivered in
17          a box or other facility regularly maintained by Federal Express authorized to receive
            documents, or delivering to a courier or driver authorized by said express service carrier to
18          receive documents, the copy of the foregoing document in a sealed envelope designated by
            the express service carrier, addressed as stated above, with fees for overnight (next business
19          day) delivery paid or provided for and causing such envelope to be delivered by said express
            service carrier on ________.
20
            BY FACSIMILE MACHINE: The foregoing document(s) was transmitted to the above-
21          named persons by facsimile transmission from (619) 236-9943 before 5:00 p.m. on said date
            and the transmission was reported as complete and without error.
22
            BY ELECTRONIC MAIL: I electronically served the foregoing document(s) via
23          electronic mail (email) from the email address srodriguez@mcleodlawgroup.com. No
            electronic message or other indication that the transmission was unsuccessful was received
24          within a reasonable time after the transmission.
            BY PERSONAL SERVICE: I caused to be delivered the foregoing document(s) to the
25          addressee(s) specified.
26          Executed on June 9, 2022, at Del Mar, California.
27
28                                                                   Seth Rodriguez

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                                            PROOF OF SERVICE
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.199 Page 199 of 211


 1                                          SERVICE LIST
                      Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                   37-2021-00049771-CU-IC-CTI
 3
     Nicholas J. Boos, Esq. (SBN 233399)                 Attorneys for Defendant,
 4
     nboos@maynardcooper.com                             WEST AMERICAN INSURANCE
 5   Norman Lau, Esq. (SBN 253690)                       COMPANY
     nlau@maynardcooper.com
 6   MAYNARD COOPER & GALE LLP
     Two Embarcadero Center, Suite 1450
 7   San Francisco, California 94111
     Telephone: (415) 646-4700
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     Facsimile: (205) 254-1999
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                                           PROOF OF SERVICE
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.200 Page 200 of 211

                                                                                                                                         MC-030
 ATTORNEY OR PARTY IMTHOUT ATTORNEY (Name, State Bar number, and address):                                          FOR COURT USE ONLY

   John J. Mcleod, Esq. (SBN 174169) I Paul C. Hirst, Esq., (SBN 234460)
>---McLEOD LAW GROUP, A.P.C.
   1155 Camino Del Mar, Suite 510
   Del Mar, California 92014
          TELEPHONE NO .. (619) 236-9938   FAX NO. (Optional): (619) 236-9943
E-MA1LADDREss1optiona1J   jmcleod@mcleodlawgroup.com
   ATTORNEY FOR (Name): Pontus Mag Vallejo, LLC

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
       STREET ADDRESS: 330 West Broadway

       MAILI NG ADDRESS : 330 West Broadway

      CITY AND ZIP CODE: San Diego, California 92101
          BRANCH NAME: Hall of Justice


     PLAINTIFF/PETITIONER:             Pontus Mag Vallejo, LLC
DEFENDANT/RESPONDENT:                  West American Insurance Company
                                                                                                        CASE NUMBER:

                                               DECLARATION                                              37-2021-00049771-CU-IC-CTL

John J. McLeod and Paul C. Hirst of McLeod Law Group, A.P.C. seek to be relieved as counsel ofrecord in
this action for Pontus Mag Vallejo, LLC ("Pontus"), due to a breakdown in the attorney-client relationship and
such other conduct that renders it unreasonably difficult for us to continue to provide representation.

I have informed Andrew Haley, Vice President of Pontus, that our office seeks to be relieved as counsel of
record, and I am informed and believe that Pontus will be retaining new counsel. To date, Pontus has not
identified for us their new counsel.




    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and c
   Date      June 9, 2022


   John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)


                                                                                 0   Attorney for   0   Plaintiff   D   Petitioner   D   Defendant
                                                                                 D   Respondent     D   Other (Specify):


Form Approved for Optional Use                                                                                                             Page 1 of 1
Judicial Council of California                                               DECLARATION
MC-030 [Rev. January 1, 2006]
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.201 Page 201 of 211

                                                                                                                                               MC-053
  ATTORNEY OR PARTY WITHOUT ATTORN EY (Name, state bar number, and address):                                        FOR COURT USE ONLY

...-- John J. McLeod, Esq. (SBN 174169)
       Paul C. Hirst, Esq. (SBN234460)
       McLEOD LAW GROUP, A.P.C.
       1155 Camino Del Mar, Suite 510
       Del Mar, California 92014
               TELEPHONE NO .. (619) 236-9938          FAX NO. (Optional) : (619) 236-9943

     E-M AIL ADDREss roptiona1r jmcleod@mcleodlawgroup.com

        ATTORNEYFOR(NameJ Pontus Mag Vallejo, LLC

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
              STREET ADDR ESS: 330 West Broadway

              MAILI NG ADDRESS: 330 West Broadway

            CITY AND ZIP CODE: San Diego, California 92101

                 BRANCH NAM E: Hall of Justice

  CASE NAME:                                                                                          CASE NUMBER:

  Pontus Mag Vallejo, LLC v. West American Insurance Company, et al.                                   3 7-2021-00049771-CU-I C-CTL
                                                                                                      HEARING DATE     July 01, 2022
                                                                                                      DEPT.: C-74           TIME: 8:30 a.m.
                             ORDER GRANTING ATTORNEY'S
                        MOTION TO BE RELIEVED AS COUNSEL-CIVIL                                        BEFORE HON.     Keri Katz
                                                                                                      DAT E ACTION FILED: 11124/2021

                                                                                                      rn1AL DATE Not Set

1. The motion of (name of attorney). John J. Mcleod, Esq. and Paul C. Hirst, Esq.
   to be relieved as counsel of record for (name of client): Pontus Mag Vallejo, LLC
   a party to this action or proceeding , came on regularly for hearing at the date, time , and place indicated above.

2. The following persons were present at the hearing:

    John J. McLeod, Esq.


                                                                               FINDINGS
3. Attorney has
   a. W personally served the client with papers in support of this motion .
   b.    D  served client by mail and submitted a declaration establishing that the service requirements of California Rules of Court,
            rule 3.1362 , have been satisfied .

4. Attorney has shown sufficient reasons why the motion to be relieved as counsel should be granted and why the attorney has brought
   a motion under Code of Civil Procedure section 284(2) instead of filing a consent under section 284(1 ).

                                                                                ORDER
5. Attorney is relieved as counsel of record for client
   a.    W  effective upon the filing of the proof of service of this signed order upon the client.
   b.    D  effective on (specify date) .·
6. The client's[ZJ current D last known address and telephone number:
     National Registered Agents, Inc.
     330 N. Brand Blvd., Suite 700, Glendale, California 91203
If the client's current address is known , service on the client must hereafter be made at that address unless otherwise ordered in item
13. If the current address is not known , service must be made according to Code of Civil Procedure section 1011 (b) and rule 3.252 of
the California Rules of Court.

7. a. The next scheduled hearing in this action or proceeding is set for (date, time, and place):
          A ugust 12, 2022, 10:00 a. m., Dept. C-74 of the above-entitled court
    b. The hearing will concern (subject matter):
           Case Management Conference

                                                                      NOTICE TO CLIENT
                                      You or your new attorney, if any, must prepare for and attend this hearing.
                                                                                                                                                  Page 1 of 2
Form Adopted for Mandatory Use                        ORDER GRANTING ATTORNEY'S                                               Code of Civil Proedure., § 284;
  Judicial Council of California                                                                                              Cal. Rules of Court, rule 3. 1362
 MC-053 [Rev. January 1, 2007]                   MOTION TO BE RELIEVED AS COUNSEL-CIVIL                                                 wwwcourtinfo.ca.gov
       Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.202 Page 202 of 211

                                                                                                                                                MC-053
      CASE NAME:                                                                                          CASE NUMBER

r--   Pontus Mag Vallejo, LLC v. West American Insurance Company, et al.                                   3 7-2021-00049771-CU-I C-CTL

8.      The following additional hearings and other proceedings (including discovery matters) are set in this action (describe the date,
        time, place, and subject matter of each):




9.      The trial in this action or proceeding:
        a. [ { ] is not yet set.
        b.   D     is set for (specify date, time, and place):



 10.     Client is hereby notified of the following effects this order may have upon parties.

                                                                      NOTICE TO CLIENT
             Your present attorney will no longer be representing you. You may not in most cases represent yourself if you are
             one of the parties on the following list:
             •    A guardian                       •   A personal representative                   •   A guardian ad litem
             •    A conservator                    •   A probate fiduciary                         •   An unincorporated association
             •    A trustee                        •   A corporation

             If you are one of these parties, YOU SHOULD IMMEDIATELY SEEK LEGAL ADVICE REGARDING LEGAL
             REPRESENTATION. Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
             default judgment.


 11.     Client is notified that, if the client will be representing himself or herself, the client shall be solely responsible for the case.

                                              NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
             You will not have an attorney representing you. You may wish to seek legal assistance. If you do not have a new
             attorney to represent you in this action or proceeding, and you are legally permitted to do so, you will be
             representing yourself. It will be your responsibility to comply with all court rules and applicable laws. If you fail to
             do so, or fail to appear at hearings, action may be taken against you. You may lose your case.



 12.      Client is notified that it is the client's duty to keep the court informed at all times of the client's current address.

                                                NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
              The court needs to know how to contact you. If you do not keep the court and other parties informed of your current
              address and telephone number, they will not be able to send you notices of actions that may affect you, including
              actions that may adversely affect your interests or result in your losing the case.



 13.      The court further orders (specify):




  Date:     ~/'I J~t-

  MC-053 [Rev. January 1, 2007]                      ORDER GRANTING ATTORNEY'S                                                                  Page 2 of 2

                                                MOTION TO BE RELIEVED AS COUNSEL-CIVIL
     Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.203 Page 203 of 211

                                                                                                                                                       MC-051
  ATTORNEY OR PARTY WITHOUT ATTORN EY (Name, slate bar number, and address) :                                                 FOR COURT USE ONLY

   John J. Mcleod, Esq. (SBNl 74169) I Paul C. Hirst, Esq., (SBN 234460)
>--McLEOD LAW GROUP, A.P.C.
   1155 Camino Del Mar, Suite 510
   Del Mar, California 92014
         TELEPHONE NO.   (619) 236-9938        FAX NO.: (619) 236-9943

   ATTORN EY FOR (Name)  Pontus Mag Vallejo, LLC
     NAME OF COURT:     Superior Court of California, County of San Diego
    STREET ADDR ESS:    330 West Broadway
   MAILING ADDR ESS:    330 West Broadway
  CITY AND ZIP CODE:    San Diego, California 92101
       BRANCH NAME:     Hall of Justice
  CASE NAME:                                                                                                      CASE NUMBER:

    Pontus Mag Vallejo, LLC v. West American Insurance Company, et al.                                            3 7-2021-00049771-CU-IC-CTL
                                                                                                                  HEARING DATE:   July 29, 2022
                                                                                                                  DEPT .. C-74          TIME: 8:30 a.m.
                                   NOTICE OF MOTION AND MOTION
                                        TO BE RELIEVED AS                                                         BEFORE HON .: Keri Katz
                                          COUNSEL-CIVIL                                                           DATE ACTION FILED: 11/24/2021

                                                                                                                  TRIAL DATE: Not Set


TO (name and address of client):           Pontus Mag Vallejo, LLC

1. PLEASE TAKE NOTICE that (name of withdrawing attorney) : John J. Mcleod, Esq. and Paul C. Hirst, Esq.
   moves under California Code of Civil Procedure section 284(2) and California Rules of Court, rule 3.1362 , for an order permitting
   the attorney to be relieved as attorney of record in this action or proceeding.

2. A hearing on this motion to be relieved as counsel will be held as follows:

      a.       Date:     July 29, 2022                    Time:    08:30 a.m.                    Dept. :   C-74                     Room :

      b. The address of the court:             [ZJ    same as noted above           D      other (specify):




 3. This motion is supported by the accompanying declaration, the papers and records filed in this action or proceeding , and
    the following additional documents or evidence (specify):




     (This motion does not need to be accompanied by a memorandum of points and authorities. Cal. Rules of Court, rule 3.1362.)

 4. The client presently represented by the attorney is
    a. D     an individual.                                                     g. D     a trustee.
    b. [ZJ a corporation.                                                       h. D     a personal representative.
    c. D     a partnership.                                                     i. D     a probate fiduciary.
    d. D     an unincorporated association .                                    j. D     a guardian ad litem.
    e. D     a guardian.                                                        k. D     other (specify):
    f. D     a conservator.


                                                                            (Continued on reverse)                                                         Pa e 1 of 2
Form Adopted for Mandatory Use                                                                                                          Code of Civil Procedure , § 284;
  Judicial Council of California                           NOTICE OF MOTION AND MOTION                                                  Cal. Rules of Court, rule 3.1362
 MC-051 [Rev. January 1, 2007]                           TO BE RELIEVED AS COUNSEL-CIVIL                                                           www.courtinfo.ca.gov
     Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.204 Page 204 of 211


                                                                                                                                    MC--051
  CASE NAME:                                                                                       CASE NUMBER:

-Pontus Mag Vallejo, LLC v. West American Insurance Company, et al.                                 37-2021-00049771-CU-IC-CTL


                                                                         NOTICE TO CLIENT
         If this motion to be relieved as counsel is granted, your present attorney will no longer be representing you. You
         may not in most cases represent yourself if you are one of the parties on the following list:
         •A guardian                                    • A personal representative         •A guardian ad litem
         • A conservator                                • A probate fiduciary               • An unincorporated association
         ·A trustee                                     • A corporation

         If you are one of these parties, YOU SHOULD IMMEDIATELY SEEK LEGAL ADVICE REGARDING LEGAL
         REPRESENTATION. Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
         default judgment.


5. If this motion is granted and a client is representing himself or herself, the client will be solely responsible for the case.

                                                        NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
         If this motion to be relieved as counsel is granted, you will not have an attorney representing you. You may wish to
         seek legal assistance. If you do not have a new attorney to represent you in this action or proceeding, and you are
         legally permitted to do so, you will be representing yourself. It will be your responsibility to comply with all court
         rules and applicable laws. If you fail to do so, or fail to appear at hearings, action may be taken against you. You may
         lose your case.


6. If this motion is granted, the client must keep the court informed of the client's current address.


                                                   NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
         If this motion to be relieved as counsel is granted, the court needs to know how to contact you. If you do not keep the
         court and other parties informed of your current address and telephone number, they will not be able to send you
         notices of actions that may affect you, including actions that may adversely affect your interests or result in your
         losing the case.



Date:   June 17, 2022

John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)


                                                                                                    Pontus Mag Vallejo, LLC




 MC-051 [Rev. January 1, 2007]                                                                                                       Page 2 of 2
                                                              NOTICE OF MOTION AND MOTION
                                                            TO BE RELIEVED AS COUNSEL-CIVIL
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.205 Page 205 of 211
                                                                                                                                             MC-053
 ATTORNEY OR PARTY WITHOU T ATTORNEY (Name, state bar number, and address):                                        FOR COURT USE ONLY

_John J. McLeod, Esq. (SBNl 74169)
  Paul C. Hirst, Esq. (SBN234460)
  McLEOD LAW GROUP, A.P.C.
   1155 Camino Del Mar, Suite 510
   Del Mar, California 92014
          TELEPHONE NO.: ( 619) 23 6-993 8        FAX NO. (Optional) (619) 236-9943
 E-MAIL ADDREss 1optiona1J jmcleod@mcleodlawgroup.com

    ATTORNEY FOR (Name!    Pontus Mag Vallejo, LLC
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
         STREET ADDRESS: 330 West Broadway

        MAILING ADDR ESS: 330 West Broadway

       CITY AND ZIP CODE: San Diego, California 92101

            BRANCH NAME: Hall of Justice

  CASE NAME:                                                                                         CASE NUMBER:

   Pontus Mag Vallejo, LLC v. West American Insurance Company, et al.                                37-2021-00049771-CU-IC-CTL
                                                                                                     HEARING DATE     July 29, 2022
                                                                                                     DEPT. C-74            TIME: 8:30 a.m.
                             ORDER GRANTING ATTORNEY'S
                        MOTION TO BE RELIEVED AS COUNSEL-CIVIL                                       BEFORE HON. Keri Katz

                                                                                                     DATE ACT ION FILED: 11/24/2021

                                                                                                     TRIAL DATE: Not Set

1. The motion of (name of attorney): John J. Mcleod, Esq. and Paul C. Hirst, Esq.
   to be relieved as counsel of record for (name of client): Pontus Mag Vallejo, LLC
   a party to this action or proceeding, came on regularly for hearing at the date, time, and place indicated above.

2. The following persons were present at the hearing:

    John J. McLeod, Esq.


                                                                              FINDINGS
3. Attorney has
   a. W personally served the client with papers in support of this motion.
   b.    D  served client by mail and submitted a declaration establishing that the service requirements of California Rules of Court,
            rule 3.1362, have been satisfied.

4. Attorney has shown sufficient reasons why the motion to be relieved as counsel should be granted and why the attorney has brought
   a motion under Code of Civil Procedure section 284(2) instead of filing a consent under section 284(1 ).

                                                                              ORDER
5. Attorney is relieved as counsel of record for client
   a.    m  effective upon the filing of the proof of service of this signed order upon the client
   b.    D  effective on (specify date):
6. The client's          m current       D      last known        address and telephone number:
     National Registered Agents, Inc.
     330 N. Brand Blvd., Suite 700, Glendale, California 91203
If the client's current address is known , service on the client must hereafter be made at that address unless otherwise ordered in item
13. If the current address is not known, service must be made according to Code of Civil Procedure section 1011 (b) and rule 3.252 of
the California Rules of Court.

7. a. The next scheduled hearing in this action or proceeding is set for (date, time, and place):
          August 12, 2022, 10:00 a.m., Dept. C-74 of the above-entitled court
    b. The hearing will concern (subject matter):
           Case Management Conference

                                                                    NOTICE TO CLIENT
                                     You or your new attorney, if any, must prepare for and attend this hearing.
                                                                                                                                                Page 1 of 2

Form Adopted for Mandatory Use
  Judicial Council of California
                                                     ORDER GRANTING ATTORNEY'S                                               Code of C1v1I Proedure., § 284;
                                                                                                                             Cal. Rules of Court, rule 3.1362
 MC-053 [Rev. January 1, 2007]                  MOTION TO BE RELIEVED AS COUNSEL-CIVIL                                                 www.courtinfo.ca.gov
       Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.206 Page 206 of 211

                                                                                                                                               MC-053
     CASE NAME:                                                                                         CASE NUMBER:

.__ Pontus Mag Vallejo, LLC v. West American Insurance Company, et al.                                   37-2021-00049771-CU-IC-CTL

8.     The following additional hearings and other proceedings (including discovery matters) are set in this action (describe the date,
       time, place, and subject matter of each):




9.     The trial in this action or proceeding:
       a. W is not yet set.
       b.  D      is set for (specify date, time, and place):



10.     Client is hereby notified of the following effects this order may have upon parties.

                                                                    NOTICE TO CLIENT
           Your present attorney will no longer be representing you. You may not in most cases represent yourself if you are
           one of the parties on the following list:
            •   A guardian                       •   A personal representative                   •   A guardian ad !item
            •   A conservator                    •   A probate fiduciary                         •   An un incorporated association
            •   A trustee                        •   A corporation

            If you are one of these parties, YOU SHOULD IMMEDIATELY SEEK LEGAL ADVICE REGARDING LEGAL
            REPRESENTATION. Failure to retain an attorney may lead to an order striking the pleadings or to the entry of a
            default judgment.


11 .    Client is notified that, if the client will be representing himself or herself, the client shall be solely responsible for the case.

                                            NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
            You will not have an attorney representing you. You may wish to seek legal assistance. If you do not have a new
            attorney to represent you in this action or proceeding, and you are legally permitted to do so, you will be
            representing yourself. It will be your responsibility to comply with all court rules and applicable laws. If you fail to
            do so, or fail to appear at hearings, action may be taken against you. You may lose your case.



12.     Client is notified that it is the client's duty to keep the court informed at all times of the client's current address.

                                            NOTICE TO CLIENT WHO WILL BE UNREPRESENTED
            The court needs to know how to contact you. If you do not keep the court and other parties informed of your current
            address and telephone number, they will not be able to send you notices of actions that may affect you, including
            actions that may adversely affect your interests or result in your losing the case.



13. The court further orders (specify):




Date:
                                                                                                        JUDGE OR JUDICIAL OFFICER



MC-053 [Rev. January 1, 2007]                     ORDER GRANTING ATTORNEY'S                                                                    Page 2 of 2

                                             MOTION TO BE RELIEVED AS COUNSEL-CIVIL
    Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.207 Page 207 of 211

                                                                                                                                          MC-030
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                          FOR COURT USE ONLY

  John J. Mcleod, Esq. (SBN 174169) I Paul C. Hirst, Esq ., (SBN 234460)
--McLEOD LAW GROUP, A.P.C.
  1155 Camino Del Mar, Suite 510
  Del Mar, California 92014
           TELEPHONE NO. ( 619) 236-993 8  FAX NO. (Optional) (619) 236-9943
E-MAILADDREss (Optional! jmcleod@mcleodlawgroup.com
   ATTORNEY FOR (Name): Pontus Mag Vallejo, LLC

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
       STREET ADDRESS    330 West Broadway
       MAILING ADDRESS: 330 West Broadway
      CITY AND ZIP CODE: San Diego, California 92101
          BRANCH NAME: Hall of Justice

     PLAINTIFF/PETITIONER:             Pontus Mag Vallejo, LLC
DEFENDANT/RESPONDENT:                  West American Insurance Company
                                                                                                         CASE NUMBER:

                                               DECLARATION                                               37-2021-00049771-CU-IC-CTL

John J. McLeod and Paul C. Hirst of McLeod Law Group, A.P.C. seek to be relieved as counsel ofrecord in
this action for Pontus Mag Vallejo, LLC ("Pontus"), due to a breakdown in the attorney-client relationship and
such other conduct that renders it unreasonably difficult for us to continue to provide representation.

I have informed Andrew Haley, Vice President of Pontus, that our office seeks to be relieved as counsel of
record, and I am informed and believe that Pontus will be retaining new counsel. To date, Pontus has not
identified for us their new counsel.




    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
   Date:     June I 7, 2022


   John J. McLeod, Esq.
                                 (TYPE OR PRINT NAME)


                                                                                  0   Attorney for   0   Plaintiff   D   Petitioner   D   Defendant
                                                                                  D   Respondent     D   Other (Specify):

Form Approved for Optional Use                                                                                                              Page 1of1
Judicial Council of California                                                DECLARATION
MC-030 [Rev. January 1, 2006]
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.208 Page 208 of 211


 1                                        PROOF OF SERVICE
                       Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                    37-2021-00049771-CU-IC-CTI
 3   STATE OF CALIFORNIA                 )
                                         ) ss:
 4   COUNTY OF SAN DIEGO                 )
 5          I am employed in the County of San Diego, State of California. I am over the age of eighteen
     years and not a party to the action. My business address is 1155 Camino Del Mar, Suite 510, Del
 6   Mar, CA 92014. On June 17, 2022, I served the document(s) on the interested parties in this action as
     follows:
 7
         1. NOTICE OF MOTION AND MOTION TO BE RELIEVED AS COUNSEL;
 8
         2. DECLARATION OF JOHN J. MCLEOD IN SUPPORT OF MOTION TO BE
 9           RELIEVED AS COUNSEL;
         3. and ORDER GRANTING ATTORNEY’S AND MOTION TO BE RELIEVED
10           AS COUNSEL;
11   By placing    the original a true copy thereof enclosed in a sealed envelope addressed as follows:
                   SEE ATTACHED SERVICE LIST
12
            BY MAIL: The envelope was mailed with postage thereon fully prepaid. I am “readily
13          familiar” with the firm’s practice of collection and processing correspondence for mailing.
            Under that practice it would be deposited with the U.S. postal service on that same day with
14          postage thereon fully prepaid at Del Mar, California in the ordinary course of business. I am
            aware that on motion of the party served, service is presumed invalid if the postal
15          cancellation date or postage meter date is more than one day after service of deposit for
            mailing in affidavit.
16          BY OVERNIGHT DELIVERY: By causing such envelope to be deposited or delivered in
            a box or other facility regularly maintained by Federal Express authorized to receive
17          documents, or delivering to a courier or driver authorized by said express service carrier to
            receive documents, the copy of the foregoing document in a sealed envelope designated by
18          the express service carrier, addressed as stated above, with fees for overnight (next business
            day) delivery paid or provided for and causing such envelope to be delivered by said express
19          service carrier on ________.

20          BY FACSIMILE MACHINE: The foregoing document(s) was transmitted to the above-
            named persons by facsimile transmission from (619) 236-9943 before 5:00 p.m. on said date
21          and the transmission was reported as complete and without error.

22          BY ELECTRONIC MAIL: I electronically served the foregoing document(s) via
            electronic mail (email) from the email address srodriguez@mcleodlawgroup.com. No
23          electronic message or other indication that the transmission was unsuccessful was received
            within a reasonable time after the transmission.
24          BY PERSONAL SERVICE: I caused to be delivered the foregoing document(s) to the
            addressee(s) specified.
25
            Executed on June 17, 2022, at Del Mar, California.
26
27                                                                   Seth Rodriguez
28

                                                   0
                                            PROOF OF SERVICE
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.209 Page 209 of 211


 1                                          SERVICE LIST
                      Pontus Mag Vallejo, LLC. v. West American Insurance Company
 2                                   37-2021-00049771-CU-IC-CTI
 3
     Nicholas J. Boos, Esq. (SBN 233399)                 Attorneys for Defendant,
 4
     nboos@maynardcooper.com                             WEST AMERICAN INSURANCE
 5   Norman Lau, Esq. (SBN 253690)                       COMPANY
     nlau@maynardcooper.com
 6   MAYNARD COOPER & GALE LLP
     Two Embarcadero Center, Suite 1450
 7   San Francisco, California 94111
     Telephone: (415) 646-4700
 8
     Facsimile: (205) 254-1999
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                                           PROOF OF SERVICE
      Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.210 Page 210 of 211

JOHN J. MCLEOD, (SBN 174169)
MCLEOD LAW GROUP
1155 CAMINO DEL MAR, SUITE 510
DEL MAR, CA 92014
619-236-9938
Attorney for: PONTUS MAG VALLEJO, LLC
Atty. File No.: PONTUS MAG VALLEJO,

SUPERIOR COURT OF CA., COUNTY OF SAN DIEGO
CENTRAL DIVISION-HALL OF JUSTICE

PLAINTIFF            : PONTUS MAG VALLEJO, LLC                                                 Case No.: 37-2021-00049771-CU-IC-CTL
DEFENDANT            : WEST AMERICAN INSURANCE ET AL.                                          PROOF OF SERVICE
Hearing date: July 29,2022                Time : 08:30 AM    Dept./Div. : C-74

1.     At the time of service I was at least 18 years of age and not a party to this action.

2.     I served copies of the NOTICE OF MOTION AND MOTION TO BE RELIEVED AS COUNSEL-
                              CIVIL; DECLARATION; ORDER GRANTING ATTORNEY'S MOTION
                              TO BE RELIEVED AS COUNSEL-CIVIL

3.     a. Party Served             PONTUS MAG VALLEJO, LLC
                                   AUTHORIZED AGENT FOR SERVICE: NATIONAL REGISTERED AGENTS, INC.
       b.    Person Served         JOHN MONTIJIO, CLERK
                                   (AUTHORIZED TO ACCEPT FOR NATIONAL REGISTERED AGENTS)

4.     Address where the party was served: 330 NORTH BRAND BLVD      SUITE 700
                                           GLENDALE, CA 91203 (Business)

5.     I served the party
       a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
            receive service of process for the party (1) on June 20, 2022 (2) at: 12:14 PM

6.     Witness fees were not demanded and were not paid.




7.     Person who served papers
       a. SAL DIMAS                                                   d.   Fee For Service: $ 135.75
       b. KNOX ATTORNEY SERVICE                                       e.   I am
          1550 HOTEL CIRCLE NORTH SUITE 440                                   (3) a registered California process server
          SAN DIEGO, CA 92108                                                    (i) an independent contractor
       C. 619-233-9700                                                           (ii) Registration No.: 152
                                                                                 (iii) County: San Diego


8.      I declare under penalty of perjury under the laws of the State of California that the foregoing is true




Date:       June 21, 2022                                         Signature:        dr/4              SAL DIMAS

Jud. Coun. form, rule 2.150 CRC                             PROOF OF SERVICE                                      Ref. No.: 1629167-01
JC Form POS 01 O (Rev. January 1, 2007)
Case 3:22-cv-01086-BAS-DEB Document 1 Filed 07/25/22 PageID.211 Page 211 of 211



    1                                   PROOF OF SERVICE
    2   STATE OF CALIFORNIA                               )
        COUNTY OF SAN FRANCISCO                           )
    3
               I am employed in the County of San Francisco, State of California. I am
    4   over the age of 21 and am not a party to the within action. My business address is
        Maynard, Cooper & Gale, LLP, Two Embarcadero Center, Suite 1450, San
    5   Francisco, California 94111. On the date indicated below, I served the foregoing
        document described as:
    6
                                       NOTICE OF REMOVAL
    7
        on the interested parties in this action by placing: [ ] the original document - OR-
    8   [X] a true and correct copy thereof enclosed in sealed envelopes addressed as
        follows:
    9                                John J. McLeod (SBN 174169)
                                    jmcleod@mcleodlawgroup.com
   10                                  Paul C. Hirst (SBN 234460)
                                      phirst@mcleodlawgroup.com
   11                              McLEOD LAW GROUP, A.P.C.
                                   1155 Camino Del Mar, Suite 510
   12                                   Del Mar, California 92014
                                           Tel: (619) 236-9938
   13                                     Fax: (619) 236-9943
   14                                     Attorneys for Plaintiff
   15   [X]      BY MAIL: I caused such envelope(s) to be deposited in the mail at San
                 Francisco, California. The envelope(s) was (were) mailed with postage fully
   16            prepaid. I am “readily familiar” with this firm’s practice of collection and
                 processing correspondence for mailing. It is deposited with U.S. postal
   17            service on the same day in the ordinary course of business.
   18   [X]      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court
                 order or an agreement of the parties to accept service by e-mail or electronic
   19            transmission, I caused the documents to be sent from email address
                 bday@maynardcooper.com to the persons at the e-mail addresses listed
   20            above. I did not receive, within a reasonable time after the transmission, any
                 electronic message or other indication that the transmission was
   21            unsuccessful.
   22          I declare that I am employed in the office of a member who has been
        admitted to the bar of this Court at whose direction the service was made. I declare
   23   under penalty of perjury under the laws of the State of California that the foregoing
        is true and correct.
   24
                 Executed on July 25, 2022, in San Francisco, California.
   25

   26

   27                                            Brian Day
   28
              {06316833.1}
                                                      6
                                            NOTICE OF REMOVAL
